Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 1 of 309. PageID #: 93098




                        APPENDIX A
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 2 of 309. PageID #: 93099




DRUG DIVERSION BY THIRD PARTIES IN SUMMIT AND CUYAHOGA COUNTIES

                                   Prescribing Practitioners

        Through discovery in this action, the following non-party prescribing practitioners have

been identified as having improperly prescribed or diverted prescription opioids in the Track One

Counties:

        1.      Dr. Syed Jawed Akhtar-Zaidi, a medical doctor, operated a medical office called

Pain Management of Northern Ohio in Solon, Ohio. Dr. Akhtar-Zaidi was indicted on August

27, 2014 in the Northern District of Ohio on charges including distributing Dilaudid, Duragesic

patches, methadone, morphine, morphine ER, MS Contin, Opana ER, Opana IR, OxyContin,

Percocet, Vicodin, and Vicoprofen outside the usual course of professional practice and not for a

legitimate medical purpose, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), and (b)(1)(E). Dr.

Akhtar-Zaidi was also charged with conspiring with employees of his medical staff to illegally

distribute prescription drugs. The charges were for conduct that went as far back as 2010. In

December 2013, Dr. Akhtar-Zaidi fled the United States, potentially to Pakistan; he remains a

fugitive at-large.1

        2.      Dr. Haitham Azem, a medical doctor practicing at University Hospital in Bedford,

Ohio, was sued for medical malpractice by the estate of David Skisano.2 Mr. Skisano died of an

opioid overdose on June 28, 2015. The estate alleges that Dr. Azem negligently prescribed Mr.

Skisano hydrocodone despite knowing that Mr. Skisano was addicted to opioids.3 The

proceedings are ongoing.




1
    MCKPUB00000431; MCKPUB00000506; MCKPUB00000508.
2
    MCKPUB00000072; MCKPUB00000073; MCKPUB00000077.
3
    MCKPUB00000079.


                                                1
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 3 of 309. PageID #: 93100




        3.     Dr. Stephen Bernie, a medical doctor who practiced medicine at the Medical Care

Group, which has had offices in Cleveland, North Olmsted, Parma, Euclid, and Warrensville

Heights, Ohio, pled guilty on April 5, 2017 to felony charges of drug trafficking

(codeine/acetaminophen) and workers’ compensation fraud. The convictions were for

prescribing opioids without examining or monitoring the individuals requesting them, among

other conduct. Dr. Bernie received a six-month suspended sentence and a year of probation, and

he also was required to pay $30,000 in restitution to the Ohio Bureau of Workers’

Compensation.4

        4.     Dr. Toni Carman, a medical doctor who practiced medicine in Beachwood, Ohio,

pled guilty in 2014 in the Cuyahoga County Court of Common Pleas to offenses including

trafficking drugs and deception to obtain dangerous drugs. The convictions were for writing

unlawful prescriptions of oxycodone-based drugs. Dr. Carman was sentenced to two years in

prison.5

        5.     Dr. Ronald Celeste, a medical doctor operating a pill mill (Westshore Family

Practice) in Westlake, Ohio, pled guilty in February 2016 in the Cuyahoga County Common

Pleas to drug trafficking. Dr. Celeste wrote more than 33,000 prescriptions for controlled

substances—including OxyContin, Percocet, and Codeine—from 2009 to 2011. Investigators

found that Dr. Celeste indiscriminately dispersed scheduled narcotics, engaged in only

superficial medical treatment, and failed to meet even minimal standards of medical practice. On




4
 CUYAH_000071691; MCKPUB00000418; MCKPUB00000421; MCKPUB00000422;
MCKPUB00000424; MCKPUB00000429; MCKPUB00003647; MCKPUB00029060.
5
    MCKPUB00004599; MCKPUB00024496.



                                                2
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 4 of 309. PageID #: 93101




April 5, 2016, Dr. Celeste was sentenced to three years in prison and was required to give up his

medical license permanently.6

        6.      Dr. Thomas L. Craig III of Cleveland Heights, Ohio pled guilty in Cuyahoga

Court of Common Pleas on April 16, 2018 to offenses including trafficking oxycodone and

oxymorphone. Dr. Craig ran a pill mill and peddled prescription drugs, including OxyContin,

from April 2010 to March 2012. On April 30, 2018, he was sentenced to three years in prison.7

        7.      Dr. David Carl Ernst was a flight surgeon at Metro Life Flight in Cleveland, Ohio.

Dr. Ernst improperly ordered Vicodin and tramadol between February 2001 and July 2004

through a wholesale pharmacy. Effective August 11, 2004, the Medical Board suspended Dr.

Ernst’s license indefinitely, for at least 180 days.8

        8.      Dr. Matthew Henry Evenhouse wrote prescriptions for Percocet using fictitious

patients’ names and the names and DEA numbers of other physicians without their knowledge.

Effective April 9, 2008, the Medical Board suspended Dr. Evenhouse’s license to practice

medicine and surgery indefinitely, but for no less than 180 days.9

        9.      Dr. Bruce Feldman, a medical doctor from Shaker Heights, Ohio, was indicted in

the Cuyahoga County Court of Common Pleas for offenses including drug trafficking, money

laundering, and operating a criminal enterprise. Dr. Feldman allegedly knowingly sold




6
    MCKPUB00000393; MCKPUB00000395; MCKPUB00024498.
7
 MCKPUB00000513; MCKPUB00000514; MCKPUB00000519; MCKPUB00024499;
MCKPUB00000509.
8
 Ohio_State_Medical_Board_00018962, at Ohio_State_Medical_Board_00019094;
MCKPUB00024501.
9
 Ohio_State_Medical_Board_00003769, at Ohio_State_Medical_Board_00004358;
Ohio_State_Medical_Board_00009060, at Ohio_State_Medical_Board_00009064.



                                                   3
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 5 of 309. PageID #: 93102




medically unnecessary oxycodone and hydrocodone to patients at his pain clinics in Shaker

Heights, Parma Heights, and Solon, Ohio.10

        10.    Dr. Maged Fouad was identified in an interrogatory response by Plaintiffs Summit

County and the City of Akron as a doctor prosecuted or the subject of disciplinary actions for

illegal or improper prescribing of opioids.11

        11.    Dr. Gregory Gerber, a pain management specialist, was identified by plaintiffs in

their supplemental interrogatory responses as an individual who engaged in inappropriate

prescribing or other illegal acts concerning diversion in plaintiffs’ geographical boundaries.12

Dr. Gerber was temporarily enjoined from prescribing opioids on August 30, 2018 in the

Northern District of Ohio. According to the Department of Justice, Dr. Gerber improperly

prescribed controlled substances, including Subsys (a fentanyl medication) and prescribed

oxycodone to an undercover agent who received a minimal medical examination and did not

complain of pain. In announcing the complaint filed against Dr. Gerber and another doctor, U.S.

Attorney Justin Herdman said “[t]hese doctors were simply drug dealers in white lab coats.”

According to DEA Special Agent in Charge Timothy Planon, “[t]he physicians in this

investigation were nothing short of automatic prescription machines to anyone who solicited,”




10
     MCKPUB00000042; MCKPUB00000044.
11
 Summit County and the City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories, at 5.
12
   City of Cleveland’s Amended and Supplemental Responses and Objections to Distributor
Defendants’ Interrogatories, at 26; Cuyahoga County’s Supplemental Response and Objections
to Distributor Defendants’ Interrogatories, at 22; Summit County and City of Akron, Ohio
Plaintiff’s Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos.
2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 37.



                                                 4
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 6 of 309. PageID #: 93103




and “[t]heir reckless actions and corruption has had a tremendous [effect on] opioid addiction

that is plaguing America.” Proceedings in this case are ongoing.13

        12.    Dr. Marcellus JaJuan Gilreath, also known as Stephen Wayne Gilreath, a medical

doctor from Cleveland, Ohio, pled guilty to conspiracy for indiscriminately providing cocktails

of controlled substances, including hydrocodone and oxycodone, between January 2009 and June

2011. Dr. Gilreath worked at pain clinics in central and southern Ohio that received customers

from hundreds of miles away.14 Dr. Gilreath had a disciplinary history with the Medical Board

dating back to 1995, and he surrendered his medical license on July 10, 2013.15

        13.    Dr. Aimee Haber (formerly Chappelow), a medical resident practicing at the

Cleveland Clinic, diverted Percocet from family members and wrote fictitious prescriptions for

Percocet. On or about January 26, 2009, she attempted to fill a fictitious prescription of

oxycodone but was prevented from doing so when the pharmacist flagged the prescription for

verification. The Medical Board suspended her training certificate indefinitely, but for no less

than 180 days.16

        14.    Dr. Ghassan Haddad, a medical doctor practicing at University Hospital in

Bedford, Ohio, was sued for medical malpractice by the estate of David Skisano.17 Mr. Skisano

died of an opioid overdose on June 28, 2015. The estate alleges that Dr. Haddad negligently




13
     BOP_MDL044632; MCKPUB00024505.
14
     MCKPUB00000359.
15
     MCKPUB00000307.
16
 Ohio_State_Medical_Board_00023025, at Ohio_State_Medical_ Board 00023424;
MCKPUB00024509.
17
     MCKPUB00000052; MCKPUB00000056; MCKPUB00000058.



                                                 5
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 7 of 309. PageID #: 93104




prescribed Mr. Skisano hydrocodone despite knowing that Mr. Skisano was addicted to

opioids.18 The proceedings are ongoing.

        15.    Dr. Adolph Harper, Jr., a medical doctor practicing in Akron, Ohio, pled guilty on

October 20, 2014, to conspiracy to distribute oxycodone, drug trafficking, health care fraud, and

drug trafficking. Before September 2009, Dr. Harper worked as an obstetrician/gynecologist.

Between September 2009 and May 2012, Dr. Harper operated his “medical practice” as a pain

management facility, despite not having any certification or training in pain management.

During that timeframe, Dr. Harper illegally prescribed hundreds of thousands of doses of

painkillers and other pills—including OxyContin, Percocet, Roxicet, Opana, and other opioids—

outside the usual course of professional practice and not for a legitimate medical purpose. While

Dr. Harper typically conducted cursory physical examinations for customers who came to his

office, he often issued prescriptions without seeing his customers at all, providing pre-signed

prescription pads to members of his staff. Dr. Harper also distributed drugs to his customers in

combinations and quantities that were dangerous for them to consume, such as a narcotic

painkiller prescribed in combination with a stimulant, anti-anxiety, or sleep-aid medicine. Dr.

Harper continued distributing to customers who were visibly addicted and repeatedly overdosed

on his prescription medication, as well as after at least eight of his customers died of drug

overdoses. On February 13, 2015, Dr. Harper was sentenced to ten years in prison and ordered

to pay $417,346 in restitution.19


18
     MCKPUB00000059.
19
  MCKPUB00000004; MCKPUB00000007; MCKPUB00000024; MCKPUB00000001;
MCKPUB00000033; MCKPUB00024512; MCKPUB00001310; Summit County & City of
Akron, Ohio Plaintiff First Amended Responses and Objections to Distributor Defendants’ First
Set of Interrogatories, at 36; Summit County and the City of Akron, Ohio’s Amended Responses
and Objections to the Manufacturer Defendants’ First Set of Interrogatories and the National
Retail Pharmacy Defendants’ First Set of Interrogatories; MCKPUB00004923.


                                                 6
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 8 of 309. PageID #: 93105




       16.     Dr. Brian Heim, a medical doctor practicing in Akron, Ohio, pled guilty on

December 12, 2014 in the Northern District of Ohio to conspiracy to distribute controlled

substances and distribution of controlled substances, in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(C). The convictions were for illegally distributing, and agreeing with other to illegally

distribute, oxycodone, OxyContin, and Opana outside the usual course of professional practice

and not for a legitimate medical purpose, between August 2011 and October 2012. On March

16, 2015, Dr. Heim was sentenced to 63 months in prison.20 Dr. Heim had previously (in 1998)

pled guilty to 24 felony counts of theft of drugs, after which his medical license was revoked by

the Medical Board. The Medical Board then reinstated Dr. Heim’s medical license with

restrictions, and Dr. Heim was placed on probation until January 2005. Plaintiffs identified Dr.

Heim in interrogatory responses as a physician with a criminal and disciplinary history involving

prescription opioids.21

       17.     Dr. Juan Hernandez, a medical doctor working in Parma, Ohio, was disciplined by

the State of Ohio Board of Pharmacy (“Board of Pharmacy”) on December 9, 2015. Dr.


20
   MCKPUB00000036; MCKPUB00000039; MCKPUB00000041; MCKPUB00024532;
MCKPUB00024533; Summit County & City of Akron, Ohio Plaintiff First Amended Responses
and Objections to Distributor Defendants’ First Set of Interrogatories, at 36; Plaintiffs’
Responses to the Amended and Clarified Discovery Ruling 12 Supplemental Interrogatory
Issued to Plaintiffs (Jan. 25, 2019).
21
  City of Cleveland’s Amended and Supplemental Responses and Objections to Distributor
Defendants’ Interrogatories, at 26, 33; Cuyahoga County’s Supplemental Response and
Objections to Distributor Defendants’ Interrogatories, at 19-20, 52, 122; Cuyahoga County’s
Replacement Supplemental Response and Objections to Manufacturer Defendants’
Interrogatories, at 226, 285-89, 315; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29, at 31-34, 78, 148; Summit County and the City of Akron,
Ohio Plaintiff’s Replacement Supplemental Responses and Objections to Manufacturer
Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13,15, 20, 21, 26, 27, 28 & 29, at 296-99,
328; Summit County and the City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories.



                                                 7
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 9 of 309. PageID #: 93106




Hernandez admitted that, among other improper practices, he allowed two of his employees to

access his individual Ohio Automated Rx Reporting System (“OARRS”) account without having

appropriate delegation accounts with the Board of Pharmacy, did not have a structured ongoing

quality assurance program for his pain management practice, and prescribed controlled

substances to patients without timely obtaining an OARRS report. The Board of Pharmacy

permanently revoked Dr. Hernandez’s Terminal Distributor of Dangerous Drugs with Pain

Management Classification license and fined him $2,000.22

        18.     Dr. William Husel, a medical doctor who was a resident at the Cleveland Clinic

from 2008 to 2013, is under investigation by the Ohio Department of Health, prosecutors, and

health systems for ordering excessive and possibly fatal doses of prescription fentanyl for dozens

of hospital patients.23

        19.     Dr. Gregory Ingram, a medical doctor working at Akron General Medical

Center’s Emergency Department in Akron, Ohio, was indicted on May 28, 2015 in the Northern

District of Ohio on charges including distributing oxycodone, hydromorphone, Roxicet, and

tramadol outside the usual course of professional practice and not for a legitimate medical

purpose, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). According to the indictment, Dr.

Ingram traded the illegal prescriptions for money and sexual favors, including with contacts that

he met at dancing and strip clubs, between November 2012 and October 2014. Dr. Ingram pled

guilty to all charges, and his own sentencing memorandum acknowledged that “he had become

the equivalent of a drug dealer.” He was then sentenced to one year in prison.24




22
     MCKPUB00000105.
23
     MCKPUB00023784.
24
     MCKPUB00000068; MCKPUB00000071; MCKPUB00000065; MCKPUB00024537.


                                                8
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 10 of 309. PageID #: 93107




         20.    Dr. John Kavlich III, a medical doctor practicing at Patient First in Berea, Ohio,

was sued for medical malpractice by the estate of Mark Nicholson, who died of an opioid

overdose on December 10, 2016. Dr. Kavlich, who served as Mr. Nicholson’s primary care

physician beginning in 2015, is alleged to have continued prescribing Mr. Nicholson opioid

medications despite his apparent opioid addiction. The proceedings are ongoing.25

         21.    Matthew D. Kellems, a medical doctor who practiced at University Hospital in

Cleveland, Ohio, diverted Dilaudid from operating rooms when he was an anesthesiology

resident. Effective November 12, 2009, the Medical Board indefinitely suspended Dr. Kellems’s

license to practice medicine.26

         22.    Dr. William Balint Kerek of Akron, Ohio had his medical license suspended by

the Medical Board effective February 15, 2010. From 2003 to 2007, Dr. Kerek failed to properly

document controlled substance prescriptions in patient records and inappropriately prescribed

increasing quantities of opioid medications to patients, even when they displayed signs of drug

seeking or drug abuse. He continued to prescribe MS Contin to one patient despite evidence that

the patient was dismissed from a pain clinic for trading narcotics and illegal substances. Dr.

Kerek inappropriately prescribed Dilaudid to another patient despite evidence that the patient

was seeking pain medications from multiple providers. Further, Dr. Kerek inappropriately made

no changes in treatment when a patient, for whom Dr. Kerek prescribed oxycodone, displayed no

oxycodone in a drug screen. He also increased the dosage of one patient’s chronic narcotic




25
     MCKPUB00000097; MCKPUB00000100; MCKPUB00000103.
26
     Ohio_State_Medical_Board_00034118, at Ohio_State_Medical_Board_00034613.



                                                 9
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 11 of 309. PageID #: 93108




medications, despite recommendations from a pain management specialist to refer the patient to

addiction treatment and wean that patient from narcotics in a detoxification program.27

       23.     Dr. Tony Lababidi was identified in an interrogatory response by Plaintiffs

Summit County and the City of Akron as a doctor prosecuted or the subject of disciplinary

actions for illegal or improper prescribing of opioids.28

       24.     Dr. Lorenzo Lalli, a medical doctor practicing in Cleveland, Ohio, pled guilty on

June 16, 2014 to offenses including trafficking, for operating a pill mill out of his medical office

and for selling prescriptions for powerful painkillers and other pharmaceutical drugs. On July

29, 2014, Dr. Lalli was sentenced to one year in prison and ordered to forfeit $220,000. Dr. Lalli

had earlier (in November 2013) surrendered his medical license to the Medical Board in lieu of

further investigation or formal disciplinary charges.29 Dr. Lalli was identified in the 30(b)(6)

deposition of Cuyahoga County, through designee Assistant Cuyahoga County Prosecutor James

A. Gutierrez, as a doctor who was prosecuted for misconduct related to prescription opioids.




27
 Ohio_State_Medical_Board_00005249, at Ohio_State_Medical_Board_00006456;
Ohio_State_Medical_Board_00092678, at Ohio_State_Medical_Board_00092680.
28
 Summit County and the City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories, at 6.
29
  CLEVE_001486342; MCKPUB00000304; MCKPUB00000306; MCKPUB00024546;
Summit County & City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories, at 6.



                                                 10
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 12 of 309. PageID #: 93109




         25.    Dr. Frank Lazzerini, a medical doctor practicing in Ohio, was identified in an

interrogatory response by Plaintiffs Summit County and the City of Akron as a doctor prosecuted

or the subject of disciplinary actions for illegal or improper prescribing of opioids.30

         26.    Dr. Joseph Francis Lydon, Jr. of Cleveland, Ohio diverted residual portions of

fentanyl that had not been required for patient anesthesia. Effective December 13, 2008, the

Medical Board suspended his license to practice medicine. His license was restored on March

14, 2012.31

         27.    Dr. Mark S. McAllister, a medical doctor who practiced at the Cleveland Clinic,

diverted fentanyl in December 1997, during his first year as an anesthesia resident, and falsified

documentation about the fentanyl he diverted. On March 21, 2004, Dr. McAllister also diverted

fentanyl from a surgical patient under his care. Effective May 12, 2004, the Medical Board

suspended Dr. McAllister’s medical license indefinitely, but for not less than one year.32

         28.    The Medical Care Group, a medical clinic chain, which has had offices in

Cleveland, North Olmsted, Parma, Euclid, and Warrensville Heights, Ohio, was fined $12,500 in

April 2017 for charges relating to a doctor-employee’s handing out prescription opioids without

an examination or monitoring of the individuals requesting them.33

         29.    Dr. John Nickels, an anesthesiologist practicing in Shaker Heights, Ohio, was

identified in an interrogatory response by Plaintiffs Summit County and the City of Akron as a


30
 Summit County and the City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories, at 6.
31
 Ohio_State_Medical_Board_00016487, at Ohio_State_Medical_Board_00016934;
MCKPUB00024548.
32
     Ohio_State_Medical_Board_00000830, at Ohio_State_Medical_Board_00002139.
33
     MCKPUB00000362; MCKPUB00000365; MCKPUB00003647.



                                                 11
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 13 of 309. PageID #: 93110




doctor prosecuted or the subject of disciplinary actions for illegal or improper prescribing of

opioids.34

         30.    Dr. Samuel Nigro of Cleveland, Ohio pled guilty on April 18, 2013 in the

Cuyahoga County Court of Common Pleas to offenses including tampering with drugs and

trafficking in oxycodone. Dr. Nigro used his psychiatry practice in Lakewood, Beachwood, and

Cleveland Heights, Ohio to operate a pill mill. This misconduct was exposed during an

investigation by the Ohio State Pharmacy Board and the Cleveland Police narcotics unit.

According to the Assistant Cuyahoga County Prosecutor, patients would pay Dr. Nigro $100 to

$200 for prescriptions for OxyContin, oxycodone and Percocet. He was sentenced to nine

months in prison and one year of post-release community control.35

         31.    Dr. Charles Chiedo Njoku, a medical doctor practicing in Akron, Ohio was

prosecuted for misconduct related to opioids, according to interrogatory responses of Summit

County and the City of Akron.36

         32.    Northeast Ohio Pain Clinic was identified in the 30(b)(6) deposition of Cuyahoga

County, through designee Dr. Thomas Gilson (the Cuyahoga County Medical Examiner), as a

contributor to the alleged opioid crisis because it was “an illicit source of opioid pain reliever.”37




34
 Summit County and the City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories, at 6.
35
 CUYAH_000054406; MCKPUB00000398; MCKPUB00000401; MCKPUB00000403;
MCKPUB00000406; MCKPUB00000408.
36
   Summit County and City of Akron, Ohio Plaintiffs’ First Amended Responses and Objections
to the National Retail Pharmacy Defendants’ First Set of Interrogatories, Response to
Interrogatory 4, at 14 (Sept. 26, 2018).
37
     Cuyahoga County (Thomas Gilson) Tr. 37:13-38:6.



                                                  12
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 14 of 309. PageID #: 93111




        33.    Dr. Jayati Gupta Rakhit, a medical doctor practicing in Cleveland, Strongsville,

and Parma, Ohio, was indicted in the Northern District of Ohio on January 17, 2018 on charges

including distribution of controlled substances (Percocet and tramadol) outside the usual course

of professional practice and not for a legitimate medical purpose, in violation of 21 U.S.C.

§§ 841(a)(1), (b)(1)(C), and (b)(2). The case against Dr. Rakhit is pending.38

        34.    Dr. Ashis K. Rakhit, a medical doctor practicing in Cleveland, Strongsville, and

Parma, Ohio, was indicted in the Northern District of Ohio on January 17, 2018 on charges

including distribution of controlled substances (Percocet and tramadol) outside the usual course

of professional practice and not for a legitimate medical purpose, in violation of 21 U.S.C.

§§ 841(a)(1), (b)(1)(C), and (b)(2). The case against Dr. Rakhit is pending.39

        35.    Dr. Rakesh Ranjan is a medical doctor who operates the Charak Center for Health

and Wellness. According to the replacement supplemental interrogatory responses of Summit

County and the City of Akron, Dr. Ranjan is under investigation for diversion of prescription

opioids within Summit County and Akron.40

        36.    Dr. George Smirnoff, of Cleveland, Ohio, pled guilty to drug trafficking in 1999

for unnecessarily prescribing drugs to patients—including Percocet and Vicoden—causing many

of them to become addicts. Dr. Smirnoff prescribed medication to patients in exchange for

sexual favors. More than 100 patients passed through Dr. Smirnoff’s office daily, where Dr.

Smirnoff dispensed opioids directly—sometimes providing 50 times the legal dosage of drugs in



38
     MCKPUB00000089; MCKPUB00000095.
39
     MCKPUB00000024; MCKPUB00000030.
40
  SUMMIT_001444018; Summit County and City of Akron, Ohio Plaintiff’s Supplemental
Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16,
17, 23, 24, 27 & 29, at 42.



                                                13
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 15 of 309. PageID #: 93112




a single prescription.41 More than 80 percent of Dr. Smirnoff’s approximately 3,000 patients

were addicts, and nine eventually died of overdoses. Assistant Cuyahoga County Prosecutor

James A. Gutierrez testified in his deposition that Dr. Smirnoff was “one of the larger pill mills

in” Cuyahoga County and that his misconduct was “brazen” and “outrageous.” After the DEA

investigated Dr. Smirnoff in the 1990s, but did not succeed in getting a U.S. Attorney’s Office to

prosecute him, Dr. Smirnoff renamed his boat “Injection.” Mr. Gutierrez agreed with his prior

media statement that Dr. Smirnoff “ruined lives and . . . killed people; [he] did so much damage

to the community, I can’t even put it into words.”42

          37.    Dr. Kutaiba Tabaa, a medical doctor practicing at the MetroHealth System in

Cleveland, Ohio, was sued for medical malpractice by the estate of Mark Nicholson, who died of

an opioid overdose on December 10, 2016. Dr. Kutaiba, who served as Mr. Nicholson’s pain

management physician beginning in 2015, is alleged to have continued prescribing Mr.

Nicholson opioid medications despite his apparent opioid addiction. The proceedings are

ongoing.43

          38.    Dr. Margy Temponeras, a medical doctor practicing in Ohio, pled guilty on April

7, 2017 to conspiracy to distribute a controlled substance due to her ownership and operation of a

pill mill. From June 2005 to May 2011, Dr. Temponeras and her father, another physician, saw

more than 20 patients each day, received cash payments for medical examinations, and provided

monthly prescriptions for drugs including oxycodone. Dr. Temponeras became aware that some

pharmacies had declined to accept or fill the prescriptions she wrote, so she opened a dispensary,


41
     MCKPUB00000047; MCKPUB00000522; MCKPUB00000525.
42
     Gutierrez Tr. 140:14-151:11.
43
     MCKPUB00000294; MCKPUB00000297; MCKPUB00000300.



                                                14
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 16 of 309. PageID #: 93113




called Unique Relief LLC, from the same location as her clinic in order to fill her own

prescriptions.44 Plaintiffs named Dr. Temponeras in their supplemental interrogatory responses

as a doctor who was arrested and prosecuted for misconduct involving opioids.45

        39.    Dr. Michael P. Tricaso of Akron, Ohio was permanently enjoined, on October 26,

2018 in the Northern District of Ohio, from administering, dispensing (including by prescribing),

or distributing any controlled substance. Under the consent decree, Dr. Tricaso also agreed

never to apply for, or seek the renewal or reinstatement of, a license to practice medicine or a

registration under the Controlled Substances Act.46 According to the complaint, Dr. Tricaso,

who operated the Better Living Clinic of Akron, illegally prescribed, distributed, and dispensed

controlled substances, including oxycodone, from April 2018 to August 2018, without a

legitimate medical purpose and outside the usual course of professional practice.47

        40.    Dr. Herman Weaver, a medical doctor practicing in Ohio, was arrested on May

20, 2014 in South Euclid, Ohio, while trying to fill a fraudulent prescription at Marc’s Pharmacy.

On March 2, 2015, Dr. Weaver pled guilty in the Cuyahoga Court of Common Pleas to

conspiracy, possessing criminal tools, and deception to obtain a dangerous drug. Weaver was

one of eleven defendants indicted in a fraudulent prescription drug scheme, in which he would




44
     CUYAH_009529668; MCKPUB00024559.
45
  City of Cleveland’s Amended and Supplemental Responses and Objections to Distributor
Defendants’ Interrogatories, at 31; Cuyahoga County’s Supplemental Interrogatory Responses
and Objections to Distributor Defendants’ Interrogatories, at 50; Summit County and City of
Akron, Ohio Plaintiff’s Supplemental Responses and Objections to Distributor Defendants’
Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 75-76.
46
     MCKPUB00000383.
47
     MCKPUB00000301; MCKPUB00000367; MCKPUB00000386; MCKPUB00000388.



                                                15
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 17 of 309. PageID #: 93114




write fake prescriptions for drugs, mainly oxycodone, and recruit people to fill the prescriptions.

Dr. Weaver was sentenced to twelve years and six months in prison.48

        41.    Dr. Richard Mark Weil of Akron, Ohio had his license to practice medicine

suspended indefinitely by the Medical Board effective November 12, 2008. Beginning in early

2007, Dr. Weil diverted hydrocodone syrup, including by prescribing a large volume of

hydrocodone syrup to his patients, having patients bring the medication back in follow-up

appointments, and then diverting portions of the medication under the pretense that he needed to

review the prescription or medication.49

        42.    Dr. Jerome Yokiel, a medical doctor operating a pain management center in

Beachwood, Ohio, had his license suspended indefinitely by the Medical Board, effective

November 8, 2017. Dr. Yokiel diverted fentanyl from a medical facility by taking extra vials

when obtaining medication for procedures on patients.50 Plaintiffs Summit County and the City

of Akron identified him as a doctor prosecuted or the subject of disciplinary actions for illegal or

improper prescribing of opioids.51




48
     MCKPUB00023800; MCKPUB00023801; MCKPUB00023806.
49
 Ohio_State_Medical_Board_00034118, at Ohio_State_Medical_Board_00034651;
MCKPUB00024569.
50
 Ohio_State_Medical_Board_00088369, at Ohio_State_Medical_Board_00088695-
Ohio_State_Medical_Board_00088706.
51
 Summit County and the City of Akron, Ohio’s Amended Responses and Objections to the
Manufacturer Defendants’ First Set of Interrogatories and the National Retail Pharmacy
Defendants’ First Set of Interrogatories, at 6.



                                                 16
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 18 of 309. PageID #: 93115




                        Pharmacies, Pharmacists, and Pharmacy Technicians

        Through discovery in this action, the following non-party pharmacies, pharmacists, and

pharmacy technicians have been identified as having improperly dispensed or diverted

prescription opioids in the Track One Counties:

        43.    Michael Baker was licensed to practice pharmacy in Ohio. During an

investigation, video cameras recorded Mr. Baker stealing drugs at Heritage Square Pharmacy on

two occasions on January 28, 2015. When confronted by investigators, Mr. Baker had

oxycodone pills that had not been legally prescribed on his person and admitted that he had

stolen hydrocodone and oxycodone from the pharmacy for at least one year. On August 5, 2015,

the Board of Pharmacy indefinitely suspended Mr. Baker’s license to practice pharmacy.52 On

September 12, 2017, Mr. Baker’s license was reinstated subject to terms of probation.53 In an

interrogatory response, Plaintiffs Summit County and the City of Akron named Mr. Baker as a

pharmacist who was investigated in August 2015 for the diversion of prescription opioids, in

relation to Heritage Square Pharmacy.54

        44.    Thomas Lawrence Bridge of Olmsted Township, Ohio was licensed to practice

pharmacy in Ohio. In an interrogatory response, Plaintiff Cuyahoga County named Mr. Bridge

as a pharmacist who was investigated for possible diversion or wrongful prescription of




52
     SUMMIT_002053443.
53
     MCKPUB00000727.
54
   Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Number 3 as Rewritten by Special Master David Cohen,
at 5.



                                               17
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 19 of 309. PageID #: 93116




prescription opioids.55 On October 24, 1996, the Board of Pharmacy indefinitely suspended Mr.

Bridge’s license to practice pharmacy.56

        45.    Steven J. Brownsberger was licensed to practice pharmacy in Ohio. From May 1,

1999 through October 3, 1999, Mr. Brownsberger stole hydrocodone from his employer, a

pharmacy in Strongsville, Ohio. On June 14, 2000, the Board of Pharmacy indefinitely

suspended Mr. Brownsberger’s license to practice pharmacy.57 In an interrogatory response,

Plaintiff Cuyahoga County named Mr. Brownsberger as a pharmacist who was investigated for

possible diversion or wrongful prescription of prescription opioids.58

        46.    Chesterfield Pharmacy was located in Cleveland, Ohio. On August 4, 1999, the

Board of Pharmacy revoked its terminal distributor license. From October 1995 to July 1997,

Chesterfield Pharmacy sold hydrocodone, Roxiprin, Roxicet, oxycodone, Hydromet syrup,

Endodan, Vicodin, and Hycodan syrup to numerous individuals without a legitimate medical

purpose.59 According to Assistant Cuyahoga County Prosecutor James A. Gutierrez,

“Chesterfield Pharmacy was the worst pharmacy in this town in 15 years[.] If you were a drug

addict in Cleveland, you went there.”60 In interrogatory responses, Plaintiffs Cuyahoga County




55
  Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 5.
56
     SUMMIT_002053119.
57
     MCKPUB00000814.
58
  Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6.
59
     SUMMIT_002053140.
60
     MCKPUB00000551.



                                                18
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 20 of 309. PageID #: 93117




and the City of Cleveland stated that Chesterfield Pharmacy was investigated for possible

diversion or wrongful prescription of prescription opioids.61

         47.   Jill Kristen Caruso of Middleburg Heights, Ohio was licensed to practice

pharmacy in Ohio. Ms. Caruso admitted to investigators that she stole hydrocodone products

from her employer daily. On December 3, 2013, the Board of Pharmacy suspended Ms.

Caruso’s license to practice pharmacy for two years.62 Ms. Caruso’s license to practice

pharmacy was reinstated on March 1, 2016.63 In an interrogatory response, Plaintiff Cuyahoga

County stated that Ms. Caruso was investigated for possible diversion or wrongful prescription

of prescription opioids.64

         48.   Kevin Chakos, a pharmacist in Cleveland, Ohio, admitted to stealing and forging

prescriptions for opioid medications. While employed as a pharmacy resident, Mr. Chakos stole

morphine on or about July 23, 2000. Between June 26, 2000 and February 2, 2001, Mr. Chakos

stole blank prescription forms for the purpose of creating false prescriptions to obtain drugs.

From March to April 2001, Mr. Chakos stole and forged prescriptions for hydrocodone, Vicodin,

and OxyContin. The Ohio Board of Pharmacy suspended Mr. Chakos’s license on December 10,

2001. His license was reinstated February 6, 2018.65




61
  Plaintiff the City of Cleveland’s Supplemental Response and Objections to Distributor
Defendants’ Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6;
Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6.
62
     SUMMIT_002053344.
63
     MCKPUB00000634.
64
  Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 8.
65
     Ohio BOP 00003192; BOP_MDL053938.



                                                19
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 21 of 309. PageID #: 93118




         49.   Emil Dontenville of Strongsville, Ohio was licensed to practice pharmacy in

Ohio. From July to December 1994, Mr. Dontenville stole Vicodin, hydrocodone, Hydromet

syrup, Hycodan syrup, Lorcet Plus, and Lortab Plus from a pharmacy in Cleveland. He also

forged prescriptions for hydrocodone syrup. On or about June 16, 1995, he pled guilty to

attempted trafficking in drugs in the Cuyahoga County Court of Common Pleas. The Ohio

Board of Pharmacy suspended Mr. Dontenville’s license on October 17, 1995. His license was

reinstated in 1996.66

         50.   William David Hipp of Seven Hills, Ohio was licensed to practice pharmacy in

Ohio. From November 16, 2010 through August 11, 2011, Mr. Hipp stole hydrocodone from the

Cleveland Clinic Children’s Hospital and Surgical Center Pharmacy. The Board of Pharmacy

indefinitely suspended Mr. Hipp’s license to practice pharmacy on June 12, 2012,67 but on April

8, 2013, it reinstated Mr. Hipp’s license, subject to probationary terms.68 In an interrogatory

response, Plaintiff Cuyahoga County named Mr. Hipp as a pharmacist was investigated for

possible diversion or wrongful prescription of prescription opioids.69

         51.   John H. Lafferty of Cleveland, Ohio was licensed to practice pharmacy in Ohio.

From November 15, 1995 to June 13, 1997, Mr. Lafferty sold opioid narcotics, including

Hydromet syrup, hydrocodone, and Roxicet, on numerous occasions to several patients without a

legitimate medical purpose.70 Mr. Lafferty filled illegitimate prescriptions at Chesterfield



66
     Ohio BOP 00008824; MCKPUB00024575.
67
     MCKPUB00000881.
68
     SUMMIT_002053318.
69
  Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 8.
70
     SUMMIT_002053107.



                                                20
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 22 of 309. PageID #: 93119




Pharmacy in Cleveland.71 Mr. Lafferty was convicted for his conduct in the Cuyahoga County

Court of Common Pleas, and he was sentenced to probation.72 On April 3, 2000, the Board of

Pharmacy suspended Mr. Lafferty’s license to practice pharmacy for one year. In interrogatory

responses, Plaintiffs Cuyahoga County and the City of Cleveland stated that Mr. Lafferty was

investigated for possible diversion or wrongful prescription of prescription opioids.73

        52.    Imogene Carol Maynard was licensed to practice pharmacy in Ohio. From

February 1996 to June 1997, Ms. Maynard sold Hydromet syrup, oxycodone, and hydrocodone

on numerous occasions to patients without a legitimate medical purpose.74 Ms. Maynard filled

illegitimate prescriptions at Chesterfield Pharmacy in Cleveland.75 Ms. Maynard’s license to

practice pharmacy was suspended for one year on April 3, 2000. Ms. Maynard also pled guilty

in the Cuyahoga County Court of Common Pleas for her misconduct, and she was ordered to pay

a fine.76 In interrogatory responses, Plaintiffs Cuyahoga County and the City of Cleveland stated

that Ms. Maynard was investigated for possible diversion or wrongful prescription of

prescription opioids.77



71
     MCKPUB00000664.
72
     MCKPUB00000664.
73
  Plaintiff the City of Cleveland’s Supplemental Response and Objections to Distributor
Defendants’ Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6;
Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6.
74
     SUMMIT_002052981.
75
     MCKPUB00000586.
76
     MCKPUB00000577; MCKPUB00000578; MCKPUB00000580.
77
  Plaintiff the City of Cleveland’s Supplemental Response and Objections to Distributor
Defendants’ Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6;
Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6.



                                                21
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 23 of 309. PageID #: 93120




         53.   George W. Mock of Strongsville, Ohio was licensed to practice pharmacy in

Ohio. From August 2009 to May 2010, Mr. Mock knowingly sold hydrocodone, oxycodone, and

OxyContin to patients prior to the legitimate date for refill or dispensing, while failing to review

the patient profile or to offer to counsel the patient. The Ohio Board of Pharmacy suspended Mr.

Mock’s license for five years, effective November 2, 2011.78

         54.   Suellen Ogden was licensed to practice pharmacy in Ohio. She was the

Responsible Pharmacist at Chesterfield Pharmacy in Cleveland, Ohio from November 1995 to

November 1999. During that time, Ms. Ogden or a pharmacist under her control sold Hydromet

syrup, hydrocodone, oxycodone numerous times to several patients without a legitimate medical

purpose.79 On April 3, 2000, the Board of Pharmacy suspended Ms. Ogden’s license to practice

pharmacy for three years. Ms. Ogden pled guilty for her misconduct, and she was sentenced to

one year of probation.80 In an interrogatory response, Plaintiff Cuyahoga County stated that Ms.

Ogden was investigated for possible diversion or wrongful prescription of prescription opioids.81

         55.   Robert W. Przytulski of Broadview Heights, Ohio was licensed to practice

pharmacy in Ohio. Mr. Przytulski stole oxycodone from a pharmacy in Parma, Ohio on May 9,

2006.82 The Board of Pharmacy permanently revoked Mr. Przytulski’s license to practice




78
     Ohio BOP 00004100; BOP_MDL053938.
79
     SUMMIT_002052993.
80
     MCKPUB00000869; MCKPUB00000871; MCKPUB00000873.
81
  Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 6.
82
 SUMMIT_002053080; Cuyahoga County, Ohio Plaintiff Supplemental Response and
Objections to Distributor Defendants’ Interrogatory Number 3 as Rewritten by Special Master
David Cohen, at 7.



                                                 22
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 24 of 309. PageID #: 93121




pharmacy on June 3, 2008.83 In an interrogatory response, Plaintiff Cuyahoga County stated that

Mr. Przytulski was investigated for possible diversion or wrongful prescription of prescription

opioids in June 2008.84

        56.    Christopher A. Richard, a pharmacy technician in Akron, Ohio, was identified by

Plaintiffs Summit County and the City of Akron in a replacement supplemental interrogatory

response as someone under investigation for diversion of prescription opioids within Summit

County and Akron.85 According to an Akron Police incident report, Mr. Richard stole fentanyl

on or around March 16, 2016.86

        57.    Robert J. Roth was licensed to practice pharmacy in Ohio. Mr. Roth was indicted

on February 28, 2018 for offenses including intentionally creating and/or knowingly possessing a

false or forged prescription in violation of Ohio Rev. Code § 2925.25(B)(1). He was charged

with forging a prescription for hydrocodone homatropine cough syrup on May 13, 2014, while

he was a pharmacist at Parkway Pharmacy in Cleveland, Ohio. Mr. Roth pled guilty on June 26,

2018 in the Cuyahoga County Court of Common Pleas, and he was sentenced to six days of

community control and one hundred hours of community service. Under his plea agreement, Mr.

Roth also was required to surrender his pharmacy license and sell his interest in Parkway

Pharmacy.87 Mr. Roth’s license expired effective September 15, 2018.88


83
     SUMMIT_002053080.
84
  Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 7.
85
   Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 39.
86
     AKRON_000338159.
87
     CUYAH_000080214; MCKPUB00000807; MCKPUB00000808; MCKPUB00000810.
88
     MCKPUB00000812.



                                                 23
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 25 of 309. PageID #: 93122




         58.    Anthony Savoca of Westlake, Ohio was licensed to practice pharmacy in Ohio.

From December 21, 1994 through June 5, 1996, Mr. Savoca stole Vicodin and hydrocodone

from Revco Drug in Fairview Park, Ohio, and sold the narcotics on numerous occasions without

valid prescriptions and not for a legitimate medical purpose. He forged some of these

prescriptions and falsified computer data to cover his thefts and drug trafficking.89 On April 21,

1997, the Board of Pharmacy revoked Mr. Savoca’s license to practice pharmacy.90 Mr. Savoca

also pled guilty in the Cuyahoga County Court of Common Pleas to offenses including insurance

fraud, theft, and tampering with records. He was sentenced to five eighteen-month sentences to

be served consecutively, but all but ten days of incarceration were suspended.91 In an

interrogatory response, Plaintiff Cuyahoga County stated that Mr. Savoca was investigated for

possible diversion or wrongful prescription of prescription opioids in April 1997.92

         59.    Michelle M. Solnosky of Euclid, Ohio was licensed to practice pharmacy in Ohio.

In October 1998, while employed as the Responsible Pharmacist at Medic Discount Drug in

Cleveland, Ohio, Ms. Solnosky stole Roxicet. The Board of Pharmacy indefinitely suspended

Ms. Solnosky’s license to practice pharmacy on February 8, 2002,93 but, on March 9, 2004, it

determined that Ms. Solnosky had complied with the terms of her suspension and reinstated her

license subject to terms of probation.94




89
     Ohio BOP 00000690 at 6.
90
     SUMMIT_002052964.
91
     MCKPUB00000527; MCKPUB00000529; MCKPUB00000531.
92
  Cuyahoga County’s Supplemental Response and Objections to Distributor Defendants’
Interrogatory Number 3 as Rewritten by Special Master David Cohen, at 7.
93
     SUMMIT_002053029.
94
     MCKPUB00000759.



                                                24
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 26 of 309. PageID #: 93123




              Individuals and Entities Involved in Diversion of Prescription Opioids

        Through discovery in this action, the following non-party individuals have been

identified as having diverted prescription opioids in the Track One Counties:

        60.      Caitlin Ann Abramovich, R.N., C.R.N.A. entered into a consent agreement with

the Board of Nursing on November 17, 2016, suspending her license to practice nursing

indefinitely. Ms. Abramovich admitted to diverting fentanyl, morphine, and Dilaudid from

Akron Children’s Hospital.95

        61.      Hether M. Adriano pled guilty on September 28, 2009 in the Summit County

Court of Common Pleas to deception to obtain a dangerous drug. She obtained Percocet from a

physician after acquiring Percocet in the previous ten days from another physician in the Akron,

Ohio area, and without telling the second physician that she already had other prescriptions. Ms.

Adriano was sentenced to two years of community control.96

        62.      Joana Agosta of Cleveland, Ohio pled guilty on August 7, 2008 in the Cuyahoga

Court of Common Pleas to trafficking in oxycodone, and she was sentenced to one year of

probation.97

        63.      Sandra J. Alamo of Cleveland, Ohio pled guilty on May 2, 2011 in the Cuyahoga

County Court of Common Pleas for calling in fraudulent prescriptions in another person’s name.

Ms. Alamo made fraudulent “call in” orders to various Cleveland pharmacies for prescriptions




95
  OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 109555; OBN_MDL 1st
Production 113399, at OBN_MDL 1st Production 113408; OBN_MDL 1st Production 161275 at
OBN_MDL 1st Production 161288; MCKPUB00001625.
96
     AKRON_001157373; MCKPUB00024588; MCKPUB00024589; MCKPUB00024591.
97
     CUYAH_000038870; MCKPUB00024595; MCKPUB00024597; MCKPUB00024601.



                                                25
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 27 of 309. PageID #: 93124




for OxyContin, Percocet, and Ultram under another person’s name. Ms. Alamo was sentenced to

twelve months of community control.98

         64.   Jamie L. Aleck of Independence, Ohio pled guilty on July 22, 2009 in the

Cuyahoga County Court of Common Pleas to deception to obtain a dangerous drug. Ms. Aleck

obtained prescriptions for pain medications, such as oxycodone and Darvocet, from numerous

different doctors in the Cleveland area within days of each other and without telling the

physicians that she already had other prescriptions for the medication. She was sentenced to five

years of community control.99

         65.   Marchaz Alexander of Cleveland, Ohio, pled guilty on November 24, 2015 in the

Cuyahoga County Court of Common Pleas to distributing oxycodone in May 2015. Mr.

Alexander was sentenced to six months in prison.100 Mr. Alexander also pled guilty on June 8,

2017 in the Cuyahoga County Court of Common Pleas to knowingly possessing false

prescriptions for oxycodone and distributing oxycodone from November 2016 to December

2016. For these offenses, Mr. Alexander was sentenced to four and one half years of community

control.101

         66.   Nikole M. Ambriola, R.N. of Akron, Ohio diverted Dilaudid while she was

employed as the Director of Nursing at Twin Pines Retreat in Stow, Ohio, and, on March 18,

2011, the Board of Nursing permanently revoked her registered nursing license. Ms. Ambriola

had previously failed to comply with two consent agreements with the Board of Nursing.102


98
     CLEVE_004084859; MCKPUB00024603; MCKPUB00024605; MCKPUB00024608.
99
     CLEVE_004084759; MCKPUB00024610; MCKPUB00024612; MCKPUB00024618.
100
      CUYAH_000068893; MCKPUB00004185; MCKPUB00004186; MCKPUB00004188.
101
      CUYAH_000073557; MCKPUB00004190; MCKPUB00004191; MCKPUB00004193.
102
  OBN_MDL 1st Production 016725, at OBN_MDL 1st Production 017050;
MCKPUB00004861.


                                                26
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 28 of 309. PageID #: 93125




         67.   Mychael Andrews pled guilty on August 23, 2018 in the Summit County Court of

Common Pleas to offenses including aggravated trafficking in drugs, for conduct that occurred in

Akron. On April 1, 2018, Akron police officers arrested Mr. Andrews and searched his

residence, recovering bottles of codeine cough syrup, fentanyl, drug packaging materials, cutting

agents, and two loaded firearms. He was sentenced to thirty months in prison.103

         68.   Michele J. Antonio, R.N. had her license to practice nursing suspended by the

Board of Nursing in November 2013 for an indefinite period of time. On or about September 3,

2011, while working as a nurse for Parma Care Center in Parma, Ohio, Ms. Antonio withdrew a

patient’s oxycodone and failed to account for their administration. In a written statement to

Parma Care Center, Ms. Antonio admitted taking oxycodone from one patient and giving them to

another patient.104

         69.   Catherina Marie Antonelli, R.N. of Cleveland, Ohio had her license to practice

nursing as a registered nurse suspended for an indefinite period of time by Board of Nursing in

November 2005. While working at University Hospitals in Cleveland, Ohio (through a nursing

agency, Cross Country Staffing), Ms. Antonelli signed out Dilaudid to patients with no orders

and diverted waste medications.105 Ms. Antonelli was terminated from employment in April

2005.




103
      AKRON_001237601; MCKPUB00024620; MCKPUB00024624; MCKPUB00024625.
104
   OBN_MDL 1st Production 160421, at OBN_MDL 1st Production 160439; OBN_MDL 1st
Production 043086, at OBN_MDL 1st Production 044804.
105
      MCKPUB00001789.



                                                27
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 29 of 309. PageID #: 93126




         70.   Tillman Appling of Cleveland, Ohio pled guilty on January 12, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin. Mr. Appling was

sentenced to two years in prison.106

         71.   Orville E. Arbogast of North Olmstead, Ohio pled guilty on May 1, 2007 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking oxycodone. Mr.

Arbogast was sentenced to four years of community control and ordered to forfeit $4,740.00.107

         72.   Julie M. Arnold, R.N. pled guilty on May 23, 2018 in the Summit County Court

of Common Pleas to three counts of theft of hydromorphone, for misconduct in September 2017

while Ms. Arnold was employed as a nurse at Summa Health Systems. On July 26, 2018, the

Board of Nursing indefinitely suspended her license to practice nursing.108

         73.   Patricia Arnold of Cleveland, Ohio pled to guilty on September 21, 2012 in the

Northern District of Ohio to conspiracy with intent to distribute oxycodone for forging

prescriptions for OxyContin and Percocet pills on blank prescription paper between January

2011 and January 2012, using information provided by a co-conspirator. Ms. Arnold was

sentenced to 70 months in prison.109

         74.   Andrew K. Ashcraft of North Royalton, Ohio pled guilty on June 29, 2017 in the

Cuyahoga County Court of Common Pleas to attempted trafficking of oxycodone hydrochloride

and oxycodone, as well as trafficking morphine sulfate, buprenorphine, and tramadol.110



106
      CUYAH_000032685; MCKPUB00006026; MCKPUB00006027; MCKPUB00006033.
107
      CUYAH_000034712; MCKPUB00004882; MCKPUB00004885; MCKPUB00004886.
108
      OBN_MDL 1st Production 140843, at 145683; MCKPUB00003294.
109
  MCKPUB00004916; MCKPUB00004919; MCKPUB00024627; MCKPUB00024663;
MCKPUB00024674.
110
      CUYAH_000073599; MCKPUB00001112; MCKPUB00001113; MCKPUB00001117.



                                               28
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 30 of 309. PageID #: 93127




         75.    Nicole Maree Ashworth, L.P.N. pled guilty on June 16, 2016, in the Summit

County Court of Common Pleas to theft of drugs and tampering with records. While employed

as a nurse at Stow-Glen Retirement Village in Stow, Ohio, Ms. Ashworth stole hydrocodone and

oxycodone pills. On March 9, 2017, the Board of Nursing indefinitely suspended Ms.

Ashworth’s license to practice nursing.111

         76.    Paul Aspery of Brookpark, Ohio pled guilty on June 17, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking Percocet. Mr. Aspery was sentenced to two years

in prison.112

         77.    Michael Charles Atkins, R.N. had his license to practice nursing suspended

indefinitely by the Board of Nursing on March 21, 2014. Mr. Atkins admitted that he diverted

opioids, including Dilaudid, after medicating patients at Fairview Hospital in Cleveland, Ohio.113

         78.    Gina Marie Atwood, R.N. had her license to practice nursing indefinitely

suspended by the Board of Nursing on July 21, 2016. While working as a nurse at NCO

Regency in Barberton, Ohio, she failed to document the administration or otherwise account for

the disposition of controlled substances that she removed from the drug dispensing system,

including Dilaudid.114

         79.    Stacy Lynne Azbell, L.P.N. of Oakwood, Ohio had her license to practice nursing

as a licensed practical nurse suspended by the Board of Nursing in November 2014. Ms. Azbell


111
   OBN_MDL 1st Production 110764, at OBN_MDL 1st Production
113185;MCKPUB00004793.
112
      CUYAH_000036803; MCKPUB00004930; MCKPUB00004931; MCKPUB00004935.
113
   OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 061497; OBN_MDL 1st
Production 156153 at OBN_MDL 1st Production 156330; MCKPUB00004469.
114
  OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 108850;
MCKPUB00002718.



                                                29
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 31 of 309. PageID #: 93128




admitted that she diverted oxycodone while working as a nurse for Solon Pointe, in Solon,

Ohio.115

         80.   Christina Badinski of Cleveland, Ohio pled guilty on July 28, 2017 in the

Cuyahoga County Court of Common Pleas trafficking oxycodone, hydrocodone, and Suboxone.

Ms. Badinski was sentenced to two years of community control.116

         81.   James L. Bailey of Cleveland, Ohio pled guilty on November 17, 2016 in the

Cuyahoga County Court of Common Pleas for presenting a fraudulent prescription for Percocet

on September 24, 2015. A Cleveland Police report identified the prescription as consistent with

other fraudulent prescriptions that were part of a “large scale pill ring.” Mr. Bailey reported that

he was approached by a woman who offered to pay him if Mr. Bailey submitted a fraudulent

prescription in his own name. Mr. Bailey gave the woman his personal information, and the

following day she contacted him and provided a prescription with his name on it. She then drove

him to a pharmacy in Cleveland, where Mr. Bailey was apprehended. He was sentenced to two

years of community control.117

         82.   Eric J. Baldridge of Akron, Ohio pled guilty on June 9, 2010 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs, namely Percocet. Mr.

Baldridge was sentenced to one year in prison, suspended provided that he complete two years of

community control.118




115
   OBN_MDL 1st Production 085996, at OBN_MDL 1st Production
087111;MCKPUB00005723.
116
      CUYAH_000073406; MCKPUB000018945; MCKPUB00001896; MCKPUB00001900.
117
      CLEVE_004084759; MCKPUB00024676; MCKPUB00024678; MCKPUB00024683.
118
      AKRON_001272589; MCKPUB00024685; MCKPUB00024688; MCKPUB00024689.



                                                 30
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 32 of 309. PageID #: 93129




           83.   Caren M. Ball of Akron, Ohio pled guilty on April 26, 2010 in the Summit

County Court of Common Pleas for presenting a fraudulent prescription for hydrocodone. Ms.

Ball checked herself into Barberton Hospital in Summit County under a false name and obtained

multiple prescriptions under that person’s name. Ms. Ball was sentenced to six months of

incarceration, suspended upon condition that she complete one year of community control.119

           84.   Susan Ballish pled guilty on September 9, 2008 in the Cuyahoga County Court of

Common Pleas to theft of hydrocodone. Ms. Ballish was sentenced to one day at the county

jail.120

           85.   Maegan Balog, R.N. of Cleveland, Ohio had her license to practice nursing

suspended by the Board of Nursing on September 27, 2018, with the suspension stayed subject to

probationary terms and restrictions for a minimum period of three years, for diversion of

tramadol while working as a nurse at Century Oak Care Center in Middleburg Heights, Ohio.121

           86.   Marvin Barrett of Strongsville, Ohio pled guilty on May 26, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking Percocet. Mr. Barrett was sentenced to

one year community control.122

           87.   Eddie A. Bates of Akron, Ohio pled guilty on September 16, 2013 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in oxycodone. On

September 16, 2013, he was sentenced to one year in prison.123


119
      AKRON_001216450; MCKPUB00024690; MCKPUB00024692; MCKPUB00024693.
120
      CUYAH_000039318; MCKPUB00005783; MCKPUB00005784; MCKPUB00005787.
121
   OBN_MDL 1st Production 132477, at 137909; OBN_MDL 1st Production 143830, at
149160.
122
   CUYAH_000040379, MCKPUB00004234; MCKPUB00004235; MCKPUB00004238-
04240.
123
      AKRON_000226538; MCKPUB00002565; MCKPUB00002568.



                                                 31
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 33 of 309. PageID #: 93130




         88.   Susan Battaglia, R.N. entered into a consent agreement with the Board of Nursing

in July 2011 to have her license to practice nursing as a registered nurse suspended indefinitely.

On July 9, 2010, Ms. Battaglia admitted to diverting fentanyl.124

         89.   Jon R. Bauer II of Leavittsburg, Ohio pled guilty on April 9, 2015 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in oxycodone. He

was sentenced to two years of community control.125

         90.   Kimberly Lynn Bauer, R.N. of Akron, Ohio admitted to diverting Demerol in

2004. Ms. Bauer signed out morphine for patients who did not have physicians’ orders. Ms.

Bauer entered into a consent decree with the Board of Nursing on January 16, 2008.126

         91.   April Sharice Beasley, L.P.N. of South Euclid, Ohio, had her license to practice

nursing indefinitely suspended by the Board of Nursing in September 2016. As a nurse working

at Lakewood Senior Health Campus, Ms. Beasley failed to document the administration or

otherwise account for the disposition of Percocet and Norco that she removed from the drug

dispensing system in January 2015.127

         92.   Jessie R. Bedocs (also known as Jessie Caito), R.N. had her license to practice

nursing as a licensed practical nurse suspended by the Board of Nursing in March 2015. Ms.

Bedocs admitted to the Board that she was counseled at least seven times between May 2012 and

March 2013, while working as a nurse at the Cleveland Clinic, regarding medication



124
      CUYAH_000045101; MCKPUB00005839.
125
      AKRON_000220427; MCKPUB00003257; MCKPUB00003260.
126
   OBN_MDL 1st Production 001828, at OBN_MDL 1st Production 002844; OBN_MDL 1st
Production 150868, at OBN MDL 1st Production 150879.
127
  OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100808;
MCKPUB00001339.



                                                32
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 34 of 309. PageID #: 93131




administration and documentation issues, including failure to waste morphine, documenting

administration of two doses of a drug after pulling only one dose, documenting administration of

three doses of meperidine after pulling only two doses, and failing to account for withdrawn

Percocet.128

         93.    Jason E. Bell, a registered nurse in Ohio, pled guilty on January 26, 2015 in the

Cuyahoga County Court of Common Pleas to offenses including theft of oxycodone. Bell was

sentenced to one year of community control.129 On September 19, 2014, the Board of Nursing

suspended Mr. Bell’s license to practice nursing. While working as a nurse for Larchwood

Village in Cleveland, Ohio in 2014, Mr. Bell diverted OxyContin and Percocet and falsified

medication administration records.130

         94.    Christy Belt, R.N. entered into a consent agreement with the Board of Nursing in

February 2011 to have her license to practice nursing as a registered nurse suspended indefinitely

for stealing Dilaudid/hydromorphone.131

         95.    Melissa K. Bentley of Brookpark, Ohio pled guilty on January 10, 2007 in the

Cuyahoga Court of Common Pleas to distributing opioids, including Demerol. Mr. Bentley

diverted Demerol from her employer, Parma Hospital, resulting in her termination on June 20,

2005. Ms. Bentley was sentenced to 24 months of community control.132




128
  OBN_MDL 1st Production 083864, at OBN_MDL 1st Production 084745;
MCKPUB00003197.
129
      MCKPUB00002968; MCKPUB00002969; MCKPUB00002972; MCKPUB00002974.
130
      OBN_MDL 1st Production 074923, at OBN_MDL 1st Production 076529.
131
      CUYAH_000024200; MCKPUB00001962.
132
  OBN_MDL 1st Production 018725, 020724-31; MCKPUB00004440; MCKPUB00004441;
MCKPUB00004444.



                                                 33
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 35 of 309. PageID #: 93132




         96.    Sabrina L. Berkley of Cleveland, Ohio pled guilty on March 18, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Ms. Berkley was

sentenced to seven months in prison.133

         97.    Brian D. Berlin of Wickliffe, Ohio, pled guilty on June 20, 2016 to offenses

including trafficking methadone, fentanyl, and oxymorphone. He was sentenced to eighteen

months of probation.134

         98.    Tequilla Berry of Akron, Ohio, pled guilty in 2014 to conspiracy to traffic drugs

and drug trafficking. Ms. Berry illegally distributed hundreds of thousands of doses of

prescription medications—including OxyContin, Percocet, Roxicet, Opana, and others—from

medical offices in Akron between September 2009 and May 2012. Ms. Berry distributed

prescriptions to customers when the doctor was out of the office.135 Ms. Berry was sentenced to

five years of probation.136

         99.    Cassandra Biddulph of Lakewood, Ohio pled guilty on November 18, 2009 in the

Cuyahoga Court of Common Pleas to attempted trafficking of OxyContin. Ms. Biddulph was

sentenced to one year in prison.137

         100.   Paul R. Blakeley, R.N., C.R.N.A. of Concord Township, Ohio had his license to

practice nursing as a registered nurse suspended indefinitely by the Board of Nursing in




133
      CUYAH_000039993; MCKPUB00005437; MCKPUB00005439; MCKPUB00005442.
134
      CUYAH_000068976.
135
  MCKPUB00005903; Summit County & City of Akron, Ohio Plaintiff First Amended
Responses and Objections to Distributor Defendants’ First Set of Interrogatories, at 36.
136
      MCKPUB00005900.
137
      CUYAH_000043206; MCKPUB00001776; MCKPUB00001777; MCKPUB00001780.



                                                34
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 36 of 309. PageID #: 93133




November 2013. In September 2008, while working as a certified registered nurse anesthetist at

the Cleveland Clinic, in Cleveland, Ohio, Mr. Blakeley diverted Remifentanil.138

        101.   Susan Dawn Blazeff, L.P.N. pled guilty on December 16, 2009 in the Summit

County Court of Common Pleas to theft of drugs. While employed as a licensed practical nurse

at Maison Aine in Stow, Ohio, Ms. Blazeff diverted hydrocodone. As a result of her criminal

case, Ms. Blazeff entered into a consent agreement with the Board of Nursing on September 24,

2010, to have her license to practice nursing suspended indefinitely.139

        102.   Kristen M. Boal, R.N. had her license to practice nursing suspended indefinitely

by the Board of Nursing in May 2008. As a nurse working at the Cleveland Clinic Foundation,

Ms. Boal diverted oxycodone and hydromorphone.140

        103.   Asher G. Bobrosky pled guilty on October 23, 2012 in the Cuyahoga County

Court of Common Pleas to deception to obtain a dangerous drug. Mr. Bobrosky obtained

multiple prescriptions for opioid medications, such as tramadol and oxycodone, from numerous

physicians in counties including Cuyahoga County, without informing the physicians that he

already had received other prescriptions. He was sentenced to one and a half year of community

control.141




138
  OBN_MDL 1st Production 062107, at OBN_MDL 1st Production 063160;
MCKPUB00004943.
139
   OBN_MDL 1st Production 014736, at OBN_MDL 1st Production 015134; OBN_MDL 1st
Production 021117 at OBN_MDL 1st Production 021930; MCKPUB00005790.
140
  OBN_MDL 1st Production 023282, at OBN_MDL 1st Production 023361;
MCKPUB00003672.
141
  CLEVE_004084759; MCKPUB00024701; MCKPUB00024703; MCKPUB00024705;
MCKPUB00024694; MCKPUB00024696; MCKPUB00024699.



                                                35
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 37 of 309. PageID #: 93134




         104.   William E. Booker of Streetsboro, Ohio, pled guilty on August 24, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Booker was sentenced

to one year of community control.142

         105.   Kimberly Bornino of Cleveland, Ohio, pled guilty on May 15, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Ms. Bornino was

sentenced to two years’ probation.143

         106.   Linroy Bottoson-Cox of Cleveland, Ohio, pled guilty on September 9, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone and Codeine.144

         107.   David H. Bowins of Chardon, Ohio, pled guilty on March 30, 2016 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking methadone, fentanyl,

and oxymorphone. Mr. Bowins was sentenced to two years of probation. 145

         108.   Joseph Bowins of Chardon, Ohio, pled guilty on June 20, 2016 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking methadone, fentanyl, and

oxymorphone. Mr. Bowins was sentenced to eighteen months of probation.146

         109.   Angela Kay Boyd of Akron, Ohio pled guilty on June 24, 2014 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug, namely oxycodone.

From September 27, 2013 through October 25, 2013, Ms. Boyd obtained oxycodone from two

physicians in the Akron area and failed to inform either of them that she was receiving additional


142
      CUYAH_000042946; MCKPUB00006185; MCKPUB00006186; MCKPUB00006188.
143
      CUYAH_000038080; MCKPUB00003649; MCKPUB00003650; MCKPUB00003652.
144
      CUYAH_000055865; MCKPUB00004017; MCKPUB00004018; MCKPUB00004021.
145
      CUYAH_000068976.
146
  CUYAH_000068976; MCKPUB00001580; MCKPUB00001581; MCKPUB00001584;
MCKPUB00002277; MCKPUB00002280; MCKPUB00002281; MCKPUB00003272;
MCKPUB00003273; MCKPUB00003276.



                                               36
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 38 of 309. PageID #: 93135




oxycodone prescriptions from other physicians. She was sentenced to two years of community

control.147

         110.   Reid Christian Boyer, L.P.N. of Cleveland, Ohio had his license to practice

nursing as a licensed practical nurse suspended by the Board of Nursing in May 2015. In 2010,

it was discovered that Mr. Boyer administered Percocet to a patient on several occasions after the

order was to be discontinued.148

         111.   Bobbie Boylan of Cleveland, Ohio pled guilty on March 18, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin. Ms. Boylan was sentenced

to two and one half years in prison.149

         112.   Nathan Bozeman of Lakewood, Ohio pled guilty on March 4, 2009 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking Percocet, Vicodin,

and OxyContin. Mr. Bozeman was sentenced to one year in prison.150

         113.   James Brewer of Cleveland, Ohio pled guilty on June 21, 2011 in the Cuyahoga

County Court of Common Pleas to deception to obtain a dangerous drug. Mr. Brewer presented

a fraudulent prescription for OxyContin at a pharmacy in Cuyahoga County on June 15, 2010.

Mr. Brewer reported that another person offered to pay him to fill the fraudulent prescription.

On July 28, 2011, Mr. Brewer was sentenced to four years of community control.151




147
      AKRON_001280817; MCKPUB00024707.
148
  OBN_MDL 1st Production 085996, at OBN_MDL 1st Production 087024;
MCKPUB00028911.
149
      CUYAH_000039531; MCKPUB00001508; MCKPUB00001509; MCKPUB00001511.
150
      CUYAH_000040415; MCKPUB00004764; MCKPUB00004765; MCKPUB00004768.
151
      CLEVE_004086059; MCKPUB00024713; MCKPUB00024715; MCKPUB00024720.



                                                37
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 39 of 309. PageID #: 93136




         114.   James Robert Brent, R.N. of Strongsville, Ohio admitted to the Board of Nursing

on August 22, 2012 that he stole fentanyl from the Cleveland Clinic Foundation while employed

there as a nurse in August 2011. On May 17, 2013, the Board of Nursing indefinitely suspended

his license to practice nursing.152

         115.   Michael D. Bretz, L.P.N. pled guilty on April 25, 2017 in the Cuyahoga County

Court of Common Pleas to offenses including theft of oxycodone, for conduct while he was

working as a nurse at Lutheran Home of Concord Reserve in Westlake, Ohio. On November 16,

2017, the Board of Nursing indefinitely suspended Mr. Bretz’s license to practice nursing.153

         116.   Michael Robert Briggs, R.N. of Youngstown, Ohio, pled guilty on November 18,

2015 in the Cuyahoga County Court of Common Pleas to offenses including aggravated theft of

Dilaudid. In January 2017, the Board of Nursing indefinitely suspended his license to practice

nursing as a registered nurse. Mr. Briggs admitted that, as a nurse working at University

Hospitals Bedford Medical Center (UHBMC), he diverted hydromorphone (Dilaudid).154

         117.   Amanda Brittain, R.N. had her license to practice nursing as a registered nurse

suspended indefinitely by the Board of Nursing on March 16, 2012. Ms. Brittain diverted

fentanyl while she was an employee at the Cleveland Clinic.155

         118.   Dennis M. Brody, L.P.N. pled guilty on February 2, 2009 in the Cuyahoga

County Court of Common Pleas to stealing Percocet and fentanyl, and destroying the



152
      OBN_MDL 1st Production 049841, at 051026; MCKPUB00002929.
153
   OBN_MDL 1st Production 122353, at 124734; OBN MDL 1st Production 161507, at
161724; MCKPUB00004461; MCKPUB00004462; MCKPUB00004464.
154
  OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100759;
MCKPUB00004539.
155
      OBN_MDL 1st Production 038993, at OBN_MDL 1st Production 040538.



                                                38
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 40 of 309. PageID #: 93137




corresponding controlled substance records, while he was employed as a licensed practical nurse

at Westlake Healthcare Center in Westlake, Ohio. On June 1, 2010, as a result of his criminal

case, the Board of Nursing permanently revoked Mr. Brody’s license to practice nursing.156

         119.   Ronald Brooks of Cleveland, Ohio pled guilty on August 11, 2011 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking OxyContin.

According to a police report, Mr. Brooks asked another person to fill a fraudulent prescription of

OxyContin in exchange for cash and a portion of the medication. That other person told police

that he had purchased OxyContin from Mr. Brooks for over two years. When Mr. Brooks asked

him to fill the fraudulent prescription, Mr. Brooks said “not to worry because that’s how he does

business.” Mr. Brooks was sentenced to two years in prison.157

         120.   Jassmen M. Brown of Cleveland, Ohio pled guilty on November 22, 2016 in the

Cuyahoga County Court of Common Pleas for presenting an altered prescription to a pharmacy.

Ms. Brown had attempted to fill a forged prescription, which was initially written for Prednisone,

but altered to Percocet. She was sentenced to 118 days of prison.158

         121.   Rudius Brown of Euclid, Ohio pled guilty on April 12, 2011 in the Cuyahoga

County Court of Common Pleas to trafficking in oxycodone. Mr. Brown was sentenced to

eighteen months in prison.159




156
  OBN_MDL 1st Production 010874, at OBN_MDL 1st Production 011151;
MCKPUB00028954.
157
  CLEVE_004084759; CUYAH_000047522, MCKPUB00005325; MCKPUB00005326;
MCKPUB00005329.
158
      CLEVE_004084859; MCKPUB00024722; MCKPUB00024724; MCKPUB00024729.
159
      CUYAH_000047280; MCKPUB00005388; MCKPUB00005390; MCKPUB00005393.



                                                39
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 41 of 309. PageID #: 93138




         122.   Christopher Lee Bruender, R.N. of University Heights, Ohio had his license to

practice nursing as a licensed practical nurse suspended by the Board of Nursing in January

2015. Mr. Bruender admitted to diverting Percocet and fentanyl from the Cleveland Clinic while

working there as a nurse in 2013 and 2014.160

         123.   Obie Bryant III of Euclid, Ohio pled guilty on April 22, 2014 in the Cuyahoga

County Court of Common Pleas to trafficking oxycodone. Mr. Bryant was sentenced to twelve

months in prison.161

         124.   Kristin E. Bucce, L.P.N. of Brooklyn Heights, Ohio pled guilty on June 6, 2018 in

the Cuyahoga County Court of Common Pleas to theft of drugs, including Percocet, tramadol,

Vicodin, and oxycodone in November 2017, while employed as a nurse at Southern Hills Health

and Rehabilitation in Cleveland, Ohio. On July 26, 2018, the Board of Nursing indefinitely

suspended her license to practice nursing.162

         125.   Charles E. Bullard, Jr. of Cleveland, Ohio pled guilty on November 16, 2017 in

the Cuyahoga County Court of Common Pleas to offenses including trafficking oxycodone.163

         126.   Kathleen A. Burgan of Cleveland, Ohio pled guilty on February 7, 2014 in the

Cuyahoga County Court of Common Pleas to offenses including deception to obtain a dangerous

drug, namely Percocet. According to a police report, Ms. Burgan filled multiple fraudulent

prescriptions for Percocet at a pharmacy in Cleveland, all printed on stock copy paper with black

grease smudges; Detective John Prince noted his belief that the suspect or her co-conspirators


160
   OBN_MDL 1st Production 080783, at OBN_MDL 1st Production 082512; OBN_MDL 1st
Production 085996, at OBN_MDL 1st Production 086961; MCKPUB00001933.
161
      CUYAH_000066532; MCKPUB00004869; MCKPUB00004870; MCKPUB00004873.
162
      OBN_MDL 1st Production 140843, at 145736; MCKPUB00003722.
163
      CUYAH_000075379; MCKPUB00001849; MCKPUB00001850; MCKPUB00001855.



                                                40
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 42 of 309. PageID #: 93139




“intentionally attempted to corrupt the prescriptions in order to make them look worn and draw

less scrutiny from a diligent Pharmacist.” Ms. Burgan was sentenced to one year of community

control.164

         127.   Judy Burrows of Cleveland, Ohio pled guilty on November 19, 2012 in the

Northern District of Ohio to offenses including conspiracy with intent to distribute oxycodone.

Between January 2011 and January 2012, Ms. Burrows purchased illicitly obtained OxyContin

and Percocet pills for distribution to others.165

         128.   David Adam Butler, R.N. pled guilty on July 7, 2010 in the Summit County Court

of Common Pleas to offenses including theft of drugs. On January 21, 2011, the Board of

Nursing indefinitely suspended Mr. Butler’s license to practice nursing as a registered nurse. As

a registered nurse working for Maxim Staffing Solutions at Select Specialty Hospital in Akron,

Ohio, Mr. Butler diverted Vicodin, Percocet, morphine sulfate, and Dilaudid from patients and

made false reports related to these medications.166

         129.   Andrew Byrd pled guilty on March 15, 2012 to trafficking oxycodone, oxycodone

hydrochloride, hydrocodone, and hydrocodone bitartrate.167 On March 22, 2012, Mr. Byrd was

sentenced to two years of community control.

         130.   James Byrge of Cleveland, Ohio pled guilty on October 9, 2012 in the Northern

District of Ohio to conspiracy to possess with intent to distribute oxycodone. Between January




164
      CLEVE_004083991; MCKPUB00024731; MCKPUB00024733; MCKPUB00024736.
165
      MCKPUB00003287-03289; MCKPUB00003290-03291.
166
      OBN_MDL, 1st Production 025156; MCKPUB00002231.
167
      CUYAH_000049377; MCKPUB00001120; MCKPUB00001121; MCKPUB00001124.



                                                    41
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 43 of 309. PageID #: 93140




2011 and January 2012, Mr. Byrge purchased illicitly obtained OxyContin and Percocet pills for

distribution to others. Mr. Byrge was sentenced to 27 months in prison.168

         131.   Brandon Lovell Campbell of Akron, Ohio pled guilty on September 11, 2014 in

the Summit County Court of Common Pleas to offenses including aggravated trafficking in

drugs. On July 5, 2014, officers arrested Mr. Campbell and recovered oxycodone, a loaded gun,

and, on Mr. Campbell’s phone, numerous texts about narcotics trafficking. Mr. Campbell was

sentenced to prison for eighteen months.169

         132.   Robert Campbell pled guilty on November 9, 2009 in the Cuyahoga Court of

Common Pleas to trafficking in OxyContin. Mr. Campbell was sentenced to two years in

prison.170

         133.   Mark Lee Cantrell, Jr., L.P.N. had his license to practice nursing suspended

indefinitely by the Board of Nursing on March 17, 2016. From January to April 2015, while

working at Euclid Hospital in Euclid, Ohio, Mr. Cantrell removed medications including

oxycodone, hydromorphone, and tramadol, without documenting administration and/or waste.171

         134.   Nancy Capiccioni, R.N. had her license to practice nursing suspended indefinitely

by the Board of Nursing on September 22, 2006. On or about February 21, 2006, while working

as a nurse at MetroHealth Medical Center in Cleveland, Ohio, Ms. Capiccioni removed Dilaudid

from the facility’s system.172


168
      MCKPUB00002871; MCKPUB00002874.
169
      AKRON_001282517; MCKPUB00024743; MCKPUB00024744; MCKPUB00024747.
170
      CUYAH_000043206; MCKPUB00005274; MCKPUB00005276; MCKPUB00005284.
171
  OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 109465;
MCKPUB00028962.
172
   OBN_MDL 1st Production 059516 at OBN_MDL 1st Production
060451;MCKPUB00004731.



                                                42
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 44 of 309. PageID #: 93141




         135.   Sabrina Carr of Brookpark, Ohio pled guilty on April 5, 2016 in the Cuyahoga

Court of Common Pleas to distributing oxycodone.173

         136.   Carol Carter of Brooklyn, Ohio guilty on March 3, 2009 in the Cuyahoga County

Court of Common Pleas to offenses including trafficking oxycodone. Ms. Carter was sentenced

to eighteen months of community control.174

         137.   Tammie Cartwright of Cleveland, Ohio, pled guilty on December 14, 2009 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking oxycodone. Ms.

Cartwright was sentenced sentenced to one year in prison.175

         138.   Stephanie Ann Cestnik, R.N. entered into a consent agreement with the Board of

Nursing in May 2014 to suspend indefinitely her license to practice nursing. Ms. Cestnik

admitted that, while working as a nurse at Marymount Hospital in Garfield Heights, Ohio, she

diverted Percocet, Dilaudid, Vicodin, morphine, and opiate waste. She further admitted that she

documented administering the diverted opiates to patients.176

         139.   Roland Chambers of Bedford, Ohio pled guilty on October 1, 2007 in the

Cuyahoga County Court of Common Pleas to distributing Percocet. Mr. Chambers was

sentenced to two years of community control.177




173
      CUYAH_000028937; MCKPUB00005431; MCKPUB00005432; MCKPUB00005435.
174
      CUYAH_000040415; MCKPUB00001769; MCKPUB00001770; MCKPUB00001773.
175
  CUYAH_014631107; CUYAH_014631148; MCKPUB00024482; MCKPUB00024483;
MCKPUB00024486.
176
  OBN_MDL 1st Production 102044, at OBN_MDL 1st Production 103009;
MCKPUB00005740.
177
      CUYAH_000036417; MCKPUB00005309; MCKPUB00005310; MCKPUB00005313.



                                               43
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 45 of 309. PageID #: 93142




         140.    Jennifer S. Chan of Lakewood, Ohio, pled guilty on September 16, 2010 in the

Cuyahoga County Court of Common Pleas to offenses including attempted corruption of another

with oxycodone. She was sentenced to two years in prison.178

         141.    Kevin M. Chanowski, L.P.N. pled guilty on July 13, 2017 in the Summit County

Court of Common Pleas to theft of drugs, including oxycodone, from Heartland of Twinsburg, in

Twinsburg, Ohio, where he was employed as a nurse. Mr. Chanowski was sentenced to two

years of community control. The Board of Nursing also suspended his license to practice

nursing, although the suspension was stayed for two years, subject to probationary terms and

conditions.179

         142.    Samuel Clanton pled guilty on November 12, 2009 in the Cuyahoga Court of

Common Pleas to trafficking OxyContin. Mr. Clanton was sentenced to two years in prison.180

         143.    Brandi R. Clark of Akron, Ohio, pled guilty on April 7, 2010 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug (Vicodin). In

November 2009, Ms. Clark admitted to calling in false prescription to at least seven local

pharmacies within two to three months. She used multiple fake patient names for the

prescriptions. Ms. Clark was sentenced to one year of incarceration, suspended upon the

condition that she complete two years of community control.181

         144.    Chad E. Cloer of Akron, Ohio pled guilty on July 11, 2008 in the Summit County

Court of Common Pleas to deception to obtain a dangerous drug and for presenting a fraudulent



178
      CUYAH_014631381; MCKPUB00024428; MCKPUB00024429; MCKPUB00024432.
179
      OBN_MDL 1st Production 132477, at 138477; MCKPUB00003640; MCKPUB00003641.
180
      CUYAH_000043206; MCKPUB00005450; MCKPUB00005452; MCKPUB00005455.
181
      AKRON_001158017; MCKPUB00024749; MCKPUB00024750; MCKPUB00024752.



                                                44
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 46 of 309. PageID #: 93143




prescription for Tramadol. Mr. Cloer told police he was picking up the prescription for his

brother. Mr. Cloer was sentenced to eighteen months of incarceration, suspended upon the

condition that he complete two years of community control.182

         145.   Lashar Camila Clay, L.P.N. of Cleveland, Ohio pled guilty on September 1, 2015

in the Cuyahoga County Court of Common Pleas to aggravated theft of oxycodone and

hydrocodone. In December 2015, Ms. Clay entered into a consent agreement with the Board of

Nursing, indefinitely suspending her license to practice nursing.183

         146.   Sandra Colegrove of Cleveland, Ohio pled guilty on April 27, 2010 in the

Cuyahoga Court of Common Pleas to trafficking in oxycodone and hydrocodone. Ms.

Colegrove was sentenced to two years in prison.184

         147.   Rebecca Jo Collen, R.N. had her license to practice nursing indefinitely

suspended by the Board of Nursing on July 31, 2015. While working as a nurse at the Cleveland

Clinic in Cleveland, Ohio, Ms. Collen diverted fentanyl by entering patients’ rooms and inserting

a sterile syringe into intravenous therapy (“IV”) bags that were hung for administration to the

patients.185

         148.   Jennifer Marie Collins, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing on September 20, 2013. Ms. Collins admitted to diverting




182
      AKRON_001126245; MCKPUB00024754; MCKPUB00024755; MCKPUB00024757.
183
   OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100729; OBN_MDL 1st
Production 102044, at OBN_MDL 1st Production 102972; MCKPUB00003793.
184
      CUYAH_000041260; MCKPUB00005457; MCKPUB00005458; MCKPUB00005461.
185
  OBN_MDL 1st Production 074923, at OBN_MDL 1st Production 076435;
MCKPUB00005188.



                                                45
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 47 of 309. PageID #: 93144




Percocet and Vicodin for approximately one month from ManorCare Parma in Cleveland, Ohio,

where she worked as a nurse.186

         149.   Johnnie Mae Collins of Akron, Ohio pled guilty on April 11, 2008 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug. She obtained

prescriptions for OxyContin from multiple physicians in Akron each month, without informing

the physicians that she was receiving prescriptions from other physicians. Ms. Collins was

sentenced to one year in prison, suspended provided that she complete one year of community

control.187

         150.   Luis Colon of Cleveland, Ohio pled guilty on December 16, 2010 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Colon was sentenced

to one year of community service.188

         151.   Anthony Congeni of Cleveland, Ohio pled guilty on August 1, 2006 in the

Cuyahoga Court of Common Pleas to trafficking hydrocodone and Percocet, and he was

sentenced to three years of imprisonment.189 Mr. Congeni also pled guilty on March 29, 2012 in

the Cuyahoga Court of Common Pleas to trafficking oxycodone and oxymorphone, and he was

sentenced to two years of community control.190




186
  OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 060404;
MCKPUB00003133.
187
      AKRON_001222775; MCKPUB00024759; MCKPUB00024760; MCKPUB00024762.
188
      CUYAH_000045217; MCKPUB00004162; MCKPUB00004163; MCKPUB00004166.
189
      CUYAH_000032999; MCKPUB00001283; MCKPUB00001285; MCKPUB00001288.
190
      CUYAH_000027537; MCKPUB00001290; MCKPUB00001291; MCKPUB00001293.



                                               46
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 48 of 309. PageID #: 93145




         152.   James D. Conley of Akron, Ohio pled guilty on December 29, 2015 in the

Summit County Court of Common Pleas to offenses including diverting oxycodone. On January

26, 2016, he was sentenced to eighteen months in prison.191

         153.   Michael Connelly of Cleveland, Ohio, pled guilty on March 23, 2009 in the

Cuyahoga Court of Common Pleas to trafficking suboxone/buprenophine and OxyContin. Mr.

Connelly was sentenced to two years of community control.192

         154.   Lateris A. Cook of Akron, Ohio pled guilty on September 27, 2018 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs. On April

1, 2018, Akron police officers arrested Mr. Cook and searched his residence, recovering bottles

of codeine cough syrup, fentanyl, drug packaging materials, cutting agents, and two loaded

firearms. He was sentenced to two years in prison.193

         155.   Theodore Cook of Euclid, Ohio pled guilty on February 13, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking MS Contin. Mr. Cook was sentenced to one year

of community control.194

         156.   Tevin Copes of Parma, Ohio, pled guilty on July 12, 2017 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking heroin and fentanyl. Mr. Copes

was sentenced to three years in prison.195




191
      AKRON_000290826; MCKPUB00002876; MCKPUB00002878.
192
      MCKPUB00018716; MCKPUB00018717; MCKPUB00018722.
193
      AKRON_001237601; MCKPUB00024765; MCKPUB00024767; MCKPUB00024768.
194
      CUYAH_000039385; MCKPUB00005918; MCKPUB00005920; MCKPUB00005923.
195
  CUYAH_000071879; MCKPUB00005911-05913; MCKPUB00005914;
MCKPUB00005915.



                                               47
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 49 of 309. PageID #: 93146




         157.   Chad Covey of Cleveland, Ohio pled guilty on October 6, 2008 in the Cuyahoga

County Court of Common Pleas to attempted possession or trafficking of counterfeit controlled

substances, specifically counterfeit Percocet. Mr. Covey was sentenced to six months in the

Cuyahoga County Jail.196

         158.   Kristina L. Cox, R.N. of Hudson, Ohio had her license to practice nursing as a

licensed practical nurse suspended by the Board of Nursing for diverting oxycodone in while

working as a nurse at University Hospitals Case Medical Center in Cleveland, Ohio in March

2016.197

         159.   Myron M. Crowder of Euclid, Ohio pled guilty on July 2, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking OxyContin. Mr. Crowder was sentenced to one

year in prison.198

         160.   Angela Crum of Cleveland, Ohio pled guilty on September 9, 2008 in the

Cuyahoga County Court of Common Pleas to unlawfully and intentionally making, uttering, or

selling a false or forged prescription for a controlled substance, Vicodin. Ms. Crum was

sentenced to one year of community control.199

         161.   Terrence L. Crumby of Akron, Ohio pled guilty on May 19, 2009 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs, namely Percocet. Mr.




196
      CUYAH_000038461; MCKPUB00001840; MCKPUB00001841; MCKPUB00001846.
197
  OBN_MDL 1st Production 116045, at OBN_MDL 1st Production 117965;
MCKPUB00003740.
198
      CUYAH_000035231; MCKPUB00004716; MCKPUB00004718; MCKPUB00004722.
199
      CUYAH_000039144; MCKPUB00001133; MCKPUB00001134; MCKPUB00001136.



                                                 48
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 50 of 309. PageID #: 93147




Crumby was sentenced to six months of incarceration, suspended provided that he complete one

year of community control.200

         162.   Laura Ruth Cupple, R.N. voluntarily made her license inactive and is subject to

probationary terms, conditions, and limitations until January 2012. Ms. Cupple admitted that,

while employed as a nurse at Ennis Court Skilled Nursing Care in Lakewood, Ohio, she diverted

Percocet.201

         163.   Susan Renee Dalessandro, R.N. of Mayfield Heights, Ohio pled guilty on January

13, 2015 in the Cuyahoga County Court of Common Pleas to offenses including theft of

oxycodone. Between May and July 2014, Ms. Dalessandro diverted oxycodone and Dilaudid

from University Hospital in Cleveland, falsifying records to cover up her diversion. In May

2015, the Board of Nursing suspended Ms. Dalessendro’s license to practice nursing as a

registered nurse.202

         164.   Lisa Marie Darus, R.N. had her license to practice nursing as a licensed practical

nurse suspended by the Board of Nursing in March 2015. Ms. Darus admitted that, while

working as a nurse at Life Care Center of Westlake in Westlake, Ohio, she failed to account for

the disposition of narcotics, including oxycodone and hydrocodone, that she signed out from the

scheduled drug record.203




200
      AKRON_001157890; MCKPUB00024769; MCKPUB00024770; MCKPUB00024773.
201
  OBN_MDL 1st Production 001828, at OBN_MDL 1st Production 002898;
MCKPUB00003863.
202
   CLEVE_004084491; OBN_MDL 1st Production 085996, at OBN_MDL 1st Production
087837; MCKPUB00005866.
203
  OBN_MDL 1st Production 083864, at OBN_MDL 1st Production 084608;
MCKPUB00004074.



                                                49
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 51 of 309. PageID #: 93148




         165.   Morgan E. Dasilva, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing on November 29, 2010. While employed as a registered

nurse at the Cleveland Clinic in Cleveland, Ohio, Ms. Dasilva diverted Percocet and Vicodin.204

         166.   Ashley Rebecca Davis, R.N. of University Heights, Ohio had her license to

practice nursing as a registered nurse indefinitely suspended by the Board of Nursing in April

2014. On May 28, 2013, Ms. Davis admitted that, while working as a registered nurses at the

MetroHealth systems, she diverted waste of morphine and Dilaudid in the summer of 2012 and

she diverted Dilaudid on April 8, 2013.205

         167.   Dorothy R. Davis, L.P.N. had her license suspended indefinitely by the Board of

Nursing on November 17, 2006. Pursuant to the consent agreement with the Board of Nursing in

October 2008, Ms. Davis was eligible to seek reinstatement of her license in 2009. Ms. Davis

admitted to the Board of Nursing that, from February to March 2006, she diverted Percocet from

Suburban Pavilion Nursing Home in Cleveland, Ohio.206

         168.   Elizabeth Davis of East Cleveland, Ohio pled to guilty on September 27, 2012 in

the Northern District of Ohio to conspiracy with intent to distribute oxycodone and health care

fraud. Between January 2011 and January 2012, Ms. Davis received fraudulent prescriptions and

served as a “walker” who attempted to fill the prescriptions at pharmacies in Northeast Ohio,

including several in Cleveland, Shaker Heights, and Garfield Heights. Ms. Davis then provided

the pills to the conspiracy ringleader, who paid her for filling the fraudulent prescriptions.207


204
   OBN_MDL 1st Production 014736, at OBN_MDL 1st Production 016696; OBN_MDL 1st
Production 023282, at OBN_MDL 1st Production 024670; MCKPUB00004696.
205
      MCKPUB00001417.
206
      OBN_MDL 1st Production 000001, at OBN_MDL 1st Production 000909.
207
      MCKPUB00002591; MCKPUB00002600.



                                                 50
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 52 of 309. PageID #: 93149




         169.   Francisco Davis of North Olmsted, Ohio pled guilty on August 6, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Davis was sentenced

to two years of community control.208

         170.   Lauren Marie Davis-Tissue, L.P.N. of Akron, Ohio pled guilty on July 2, 2014 to

offenses including theft of drugs. On July 31, 2015, the Board of Nursing indefinitely suspended

her license to practice nursing. As a nurse working at Danbury Woods Assisted Living in

Cuyahoga Falls, Ohio, Ms. Davis-Tissue diverted Percocet.209

         171.   Susan Desimone, R.N. of North Royalton, Ohio pled guilty on May 24, 2017 in

the Cuyahoga County Court of Common Pleas to forging prescriptions for hydrocodone. On

July 27, 2017, the Board of Nursing indefinitely suspended her license to practice nursing for

this conduct.210

         172.   Lamar Dixon of Cleveland, Ohio, pled guilty on August 16, 2016 to offenses

including trafficking morphine and tramadol. Mr. Dixon was sentenced to two years of

probation.211

         173.   Audrey Marie Domzalski, R.N. had her license to practice nursing suspended for

not less than two years by the Board of Nursing on September 20, 2013. In 2012, Ms.

Domzalski diverted Percocet, Vicodin, Morphine, and Dilaudid from Fairview Hospital, in

Cleveland, Ohio, where she worked as a nurse.212


208
      CUYAH_000080300; MCKPUB00002653; MCKPUB00002654; MCKPUB00002657.
209
   OBN_MDL 1st Production 074923, at OBN_MDL 1st Production 076378; OBN_MDL 1st
Production 154020, at OBN_MDL 1st Production 154135; MCKPUB00003886.
210
      OBN_MDL 1st Production 125822, at 128024.
211
      CUYAH_000029718; MCKPUB00003784; MCKPUB00003785; MCKPUB00003790.
212
  OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 060292;
MCKPUB00001485.



                                               51
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 53 of 309. PageID #: 93150




         174.   Jose Dones of Cleveland, Ohio, pled guilty on July 6, 2017 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking oxycodone/acetaminophen.

Mr. Dones was sentenced to eighteen months of probation.213

         175.   Tiffany L. Dosztal pled guilty on May 10, 2011 in the Cuyahoga County Court of

Common Pleas to trafficking oxycodone. Ms. Dosztal was sentenced to two years of community

control.214 On July 29, 2011, the Board of Nursing suspended her license to practice nursing for

one year.

         176.   Ashley Elizabeth Doyle, R.N. of Stow, Ohio pled guilty on May 14, 2013 in the

Summit County Court of Common Pleas to deception to obtain a dangerous drug.215 Ms. Doyle

was sentenced to eighteen months of community control. In January 2014, the Board of Nursing

indefinitely suspended her license to practice nursing. Ms. Doyle used deception to procure the

administration of, a prescription for, or the dispensing of oxycodone or possessed an

uncompleted preprinted prescription blank used for writing a prescription for a dangerous drug.

         177.   Gregory Dresko of Lakewood, Ohio pled guilty on May 11, 2011 in the Cuyahoga

County Court of Common Pleas to offenses including the assembly or possession of chemicals

used to manufacture a controlled substance and the trafficking of oxycodone. Mr. Dresko was

sentenced to three years in prison.216

         178.   Grace Genevieve Drouhard, R.N. of Akron, Ohio had her license to practice

nursing as a licensed practical nurse suspended by the Board of Nursing in November 2016. Ms.



213
      CUYAH_000072439; MCKPUB00003266; MCKPUB00003267; MCKPUB00003270.
214
  OBN_MDL 1st Production 031252, at OBN_MDL 1st Production 032969;
MCKPUB00006015; MCKPUB00006016; MCKPUB00006019.
215
      MCKPUB00001359.
216
      CUYAH_000045174; MCKPUB00002756; MCKPUB00002758; MCKPUB00002762.


                                               52
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 54 of 309. PageID #: 93151




Drouhard admitted that she failed to document the administration or otherwise account for the

disposition of controlled substances that she removed from the drug dispensing system, including

hydrocodone-acetaminophen, Percocet, and oxycodone hydrochloride IR, while she was working

as a nurse at Hudson Elms Nursing Home in Hudson, Ohio in January and March of 2016. Ms.

Drouhard also admitted that, in November 2014 and January 2015, she diverted hydromorphone

while working as a nurse at Akron General Medical Center in Akron, Ohio.217

         179.   Dawn Marie Dupont, L.P.N. pled guilty on August 14, 2018 in the Cuyahoga

County Court of Common Pleas to offenses including theft of hydrocodone. This misconduct

occurred between May 1, 2016 and January 2, 2018, while Ms. Dupont was employed as a nurse

at The Welsh Home in Rocky River, Ohio. On September 27, 2018, the Board of Nursing

indefinitely suspended her license to practice nursing.218

         180.   Crystal M. Dyer of Akron, Ohio pled guilty on February 28, 2011 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug. Ms. Dyer obtained

oxycodone from a physician in Akron on August 11, 2010, failing to inform him that she

received an additional prescription for oxycodone from another Akron area physician that same

day. According to Ms. Dyer’s boyfriend, Ms. Dyer sold the prescription medication in addition

to using it herself. She was sentenced to eighteen months of incarceration, suspended provided

that she complete eighteen months of community control.219




217
   OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 109436; OBN_MDL 1st
Production 152407 at OBN_MDL 1st Production 152417; MCKPUB00002734.
218
      OBN_MDL 1st Production 143830, at 148649; MCKPUB00002307.
219
      AKRON_001227274; MCKPUB00024776; MCKPUB00024777; MCKPUB00024779.



                                                53
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 55 of 309. PageID #: 93152




         181.   Thomas Eckel was identified by Plaintiffs Summit County and the City of Akron

in a replacement supplemental interrogatory response as someone under investigation for

diversion of prescription opioids within Summit County and Akron.220 Agent Thomas Miksch of

the Ohio State Board of Pharmacy provided a report of investigation to Detective Patrick

Leonard of the Akron Police Department. According to this report, a pharmacist in Akron, Ohio

reported that Mr. Eckel came into his pharmacy for a prescription, but the pharmacist

determined, including based on an OARRS report, that Mr. Eckel had received prescriptions for

drugs including hydrocodone, oxycodone, and hydromorphone from thirty prescribers; filled

prescriptions at sixteen pharmacies; and been arrested several times for such misconduct.221

         182.   Troy Edgehouse was identified by Plaintiffs Summit County and the City of

Akron in a replacement supplemental interrogatory response as someone under investigation for

diversion of prescription opioids within Summit County and Akron.222 Akron Police identified

Mr. Edgehouse as a suspect in a breaking and entering of a pharmacy in Akron, Ohio.223

         183.   Suzanne Lee Edwards, R.N. had her license to practice nursing permanently

revoked by the Board of Nursing. Over a six-month period, while working at Akron General

Hospital, Ms. Edwards diverted morphine.224




220
   Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 42.
221
      AKRON_001312626; AKRON_001312627; AKRON_001312629.
222
   Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 42.
223
      AKRON_001247770; AKRON_001247771.
224
  OBN_MDL 1st Production 023282, at OBN_MDL 1st Production 024135;
MCKPUB00005879.



                                                 54
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 56 of 309. PageID #: 93153




         184.   Lindsay Marie Eichenberger (also known as Lindsay Marie Albert), R.N. had her

license to practice nursing suspended by the Board of Nursing in November 2014. Ms.

Eichenberger admitted that she diverted narcotics including Percocet while working as a nurse at

Cleveland Clinic, as well as that she falsified patient medication administration records and pain

scales.225

         185.   Amon Elliott of Cleveland, Ohio pled guilty on November 29, 2012 in the

Cuyahoga County Court of Common Pleas to distributing Percocet from August 2011 to

November 2011. Mr. Elliott was sentenced to two years of community control.226

         186.   Daniel P. Ellis of Akron, Ohio was convicted by a jury on May 24, 2013 in the

Summit County Court of Common Pleas of deception to obtain a dangerous drug (hydrocodone),

aggravated trafficking of drugs (oxycodone), and for using a forged prescription for

hydrocodone. Mr. Ellis was sentenced to three years of incarceration.227

         187.   Amy C. Eloshway, L.P.N. entered into a consent agreement with the Board of

Nursing on March 20, 2009 to suspend her license to practice nursing indefinitely. As a licensed

practical nurse working at Walton Manor Health Care Center in Walton Hills, Ohio, Ms.

Eloshway diverted Vicodin and Percocet from her patients.228

         188.   Louis Eppinger of Cleveland, Ohio pled guilty on March 20, 2013 in the Northern

District of Ohio to conspiracy to possess with intent to distribute oxycodone, health care fraud,



225
  OBN_MDL 1st Production 11399, at OBN_MDL 1st Production 114362;
MCKPUB00003976.
226
      CUYAH_006985926; MCKPUB00001064; MCKPUB00001065; MCKPUB00001068.
227
  SUMMIT_000519619; MCKPUB00024787; MCKPUB00024785; MCKPUB00024784;
MCKPUB00024781.
228
      OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 004166.



                                                55
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 57 of 309. PageID #: 93154




and aggravated identity theft. Mr. Eppinger’s convictions were for leading a conspiracy between

January 2011 and January 2012 that forged prescriptions for OxyContin and Percocet pills, hired

people to have them filled at pharmacies throughout the region, then sold the pills on the street.

On June 11, 2013, Mr. Eppinger was sentenced to twelve years in prison and ordered to pay

$21,098 to Ohio Medicaid in restitution for defrauding it.229

         189.   Asmar J. Epps of Akron, Ohio pled guilty on March 30, 2018 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs. On

October 18, 2017, officers executed a search warrant at an Akron property, arresting Mr. Epps

and recovering oxycodone, fentanyl, multiple firearms, and digital scales. Mr. Epps was

sentenced to four years in prison.230

         190.   Melissa Ermacora, R.N. of Cleveland, Ohio pled guilty on January 3, 2011 in the

Cuyahoga County Court of Common Pleas to offenses including theft of Dilaudid, fentanyl, and

morphine from Metro Health Medical Center in Cleveland, Ohio, where she was employed as a

nurse. Ms. Ermacora also entered into a consent agreement with the Board of Nursing in April

2011 that suspended her license to practice nursing as a registered nurse for eighteen months.231

         191.   Ashley Evans was identified by Plaintiffs Summit County and the City of Akron

in a replacement supplemental interrogatory response as someone under investigation for




229
      MCKPUB00004152-04154; MCKPUB00004155.
230
      AKRON_001275171; MCKPUB00024790; MCKPUB00024791; MCKPUB00024793.
231
      CUYAH_000045106; OBN_MDL 1st Production 029049, at 029823; MCKPUB00004393.



                                                56
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 58 of 309. PageID #: 93155




diversion of prescription opioids within Summit County and Akron.232 Mr. Evans robbed

Percocet from a friend, and she was arrested on April 8, 2017.233

         192.   Tina Evans of Cleveland, Ohio pled guilty on January 3, 2013 in the Cuyahoga

County Court of Common Pleas to distributing Percocet from August 2011 to November 2011.

Ms. Evans was sentenced to one and a half years of community control.234

         193.   Tiauna C. Farrow of Marysville, Ohio pled guilty on June 19, 2017 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking oxycodone. Ms.

Farrow was sentenced to three years in prison.235

         194.   Darrin Fears of Cleveland, Ohio pled guilty on January 11, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking hydromorphone hydrochloride. Mr. Fears was

sentenced to twelve months in prison.236

         195.   Christopher E. Feiteira of Akron, Ohio pled guilty on June 25, 2013 in the

Summit County Court of Common Pleas to deception to obtain a dangerous drug and for using a

forged prescription for hydrocodone. Mr. Feiteira was sentenced to one year of incarceration,

suspended upon the condition that he complete two years of community control.237

         196.   Rachael J. Figuly, R.N. had her license to practice nursing as a licensed practical

nurse temporarily suspended in May 2011, and, in July 2011, suspended indefinitely, by the


232
   Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 41.
233
      AKRON_001150411; AKRON_001278322.
234
      CUYAH_006985926; MCKPUB00006043; MCKPUB00006044; MCKPUB00006046.
235
      CUYAH_000032131; MCKPUB00006007; MCKPUB00006008; MCKPUB00006012.
236
      CUYAH_000071356; MCKPUB00002222; MCKPUB00002223; MCKPUB00002228.
237
  SUMMIT_000519619; MCKPUB00024797; MCKPUB00024800; MCKPUB00024801;
MCKPUB00024804.



                                                 57
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 59 of 309. PageID #: 93156




Board of Nursing. Ms. Figuly admitted that, while employed as a nurse at the Cleveland Clinic,

she diverted Dilaudid and waste of morphine.238

         197.   Morgan Elizabeth Fitzmaurice, R.N. had her license to practice nursing as a

registered nurse temporarily suspended on March 19, 2010, and, November 19, 2010, suspended

indefinitely, by the Board of Nursing. While working as a registered nurse at the Cleveland

Clinic, Ms. Fitzmaurice stole Percocet and Vicodin.239

         198.   Michael J. Folczynski, R.N. pled guilty on January 17, 2018 in the Cuyahoga

County Court of Common Pleas to theft of tramadol. Mr. Folczynski’s misconduct occurred

while he was working as a nurse at Ennis Court in Lakewood, Ohio. In September 2018, the

Board of Nursing indefinitely suspended his license to practice nursing.240

         199.   Pamela Ford, L.P.N. had her license to practice nursing indefinitely suspended by

the Board of Nursing on January 21, 2011 for diverting oxycodone from patients while working

as a nurse at St. Augustine Manor in Cleveland, Ohio.241

         200.   Tammy S. Forrest, L.P.N. of Southington, Ohio, voluntarily surrendered her

license in 2009. Ms. Forrest admitted that, for approximately seven to eight months, while

working as a licensed practitioner nurse at Brentwood Care Center in Sagamore Hills, Ohio, she

removed Vicodin from the care center.242



238
   CUYAH_000045099; OBN_MDL 1st Production 083864, at OBN_MDL 1st Production
085054; MCKPUB00005053.
239
      CUYAH_000039060; MCKPUB00004676.
240
   OBN_MDL 1st Production 135369, at 140360; OBN_MDL 1st Production 150318, at
150598.
241
      OBN_MDL, 1st Production 025156; MCKPUB00004897.
242
   OBN_MDL 1st Production 001828, at OBN_MDL 1st Production 001923; OBN_MDL 1st
Production 155386, at OBN MDL 1st Production 150875.



                                                58
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 60 of 309. PageID #: 93157




         201.   Antwane L. Foster of Akron, Ohio pled guilty on July 21, 2014 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

oxycodone, and trafficking in heroin. On October 3, 2013, officers detained Mr. Foster in a

traffic stop in Akron and recovered bag containing heroin and oxycodone pills and heroin, as

well as a loaded gun. Mr. Foster was sentenced to two years in prison.243

         202.   Nyeisha Foster of Cleveland, Ohio pled guilty on December 11, 2012 in the

Cuyahoga County Court of Common Pleas to distributing Percocet from August 2011 to

November 2011. Ms. Foster was sentenced to two years of community control.244

         203.   Thomas Lee Fowkes, R.N. entered into a consent agreement with the Board of

Nursing on July 30, 2010 to suspend indefinitely his license to practice nursing. While

employed at Akron General Hospital in Akron, Ohio, Mr. Fowkes diverted Dilaudid and

morphine.245

         204.   Martha Jane Fries, L.P.N. voluntarily and permanently surrendered her license to

practice nursing to the Board of Nursing on September 15, 2016. While working at Edwin Shaw

Rehabilitation Hospital in Copley, Ohio, Ms. Fries diverted Dilaudid.246




243
      AKRON_001280360; MCKPUB00024835; MCKPUB00024836; MCKPUB00024839.
244
  CUYAH_006985926; MCKPUB00004864; MCKPUB00004865-04866;
MCKPUB00004867.
245
  OBN_MDL 1st Production 010874, at OBN_MDL 1st Production 011119;
MCKPUB00005981.
246
  OBN_MDL 1st Production 110764, at OBN_MDL 1st Production 113232;
MCKPUB00004226.



                                                59
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 61 of 309. PageID #: 93158




         205.   Sonja Fulton, R.N. entered into a consent agreement with Board of Nursing in

August 2011 to surrender her license to practice nursing voluntarily. While working as a nurse

for the Cleveland Clinic, Ms. Fulton diverted fentanyl.247

         206.   Naisha C. Gardner of Shaker Heights, Ohio pled guilty on June 19, 2017 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking oxycodone. Ms.

Farrow was sentenced to four years in prison.248

         207.   Carmine J. Gargano of Cleveland, Ohio pled guilty on March 21, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Gargano was

sentenced to two years of community control.249

         208.   John A. Gibson, Jr. of Akron, Ohio pled guilty on February 25, 2010 in the

Summit County Court of Common Pleas to deception to obtain a dangerous drug (oxycodone).

Mr. Gibson was sentenced to one year of incarceration, suspended upon the condition that he

complete two years of community control.250

         209.   Debra D. Gill, R.N. had her license to practice nursing suspended indefinitely by

the Board of Nursing in November 2006. While working as a nurse at the Akron City Hospital,

Ms. Gill diverted Vicodin.251

         210.   Gurkiran (Karen) Gill, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing on January 22, 2010. Ms. Gill admitted that, while



247
      MCKPUB00005595.
248
      CUYAH_000032131; MCKPUB00004724; MCKPUB000047257; MCKPUB00004728.
249
      CUYAH_000043892; MCKPUB00001763; MCKPUB00001764; MCKPUB00001767.
250
      AKRON_001157614; MCKPUB00024842; MCKPUB00024843; MCKPUB00024845.
251
  OBN_MDL 1st Production 021117 at OBN_MDL 1st Production 021796;
MCKPUB00002342.



                                                60
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 62 of 309. PageID #: 93159




employed as a nurse at University Hospital Case Medical Center, she stole Dilaudid from her

employer.252

         211.   Faith Elaine Gingerich, R.N. entered into a consent agreement with Board of

Nursing on March 9, 2017, suspending her license to practice nursing indefinitely. Ms.

Gingerich admitted that she diverted hydrocodone, oxycodone, and tramadol from Edwin Shaw

Rehabilitation Hospital in Akron, Ohio and then gave the diverted narcotics to her boyfriend.253

         212.   Brittany N. Glass of Cleveland, Ohio pled to guilty on October 30, 2012 in the

Northern District of Ohio to conspiracy with intent to distribute oxycodone and health care fraud.

Between January 2011 and January 2012, Ms. Glass received fraudulent prescriptions and served

as a “walker” who attempted to fill the prescriptions at pharmacies in Northeast Ohio, including

several in Cleveland, Shaker Heights, and Garfield Heights. Ms. Glass then provided the pills to

the conspiracy ringleader, who paid her for filling the fraudulent prescriptions.254

         213.   Christopher Glatzer of Brecksville, Ohio pled guilty on June 20, 2018 in the

Summit County Court of Common Pleas, to trafficking in buprenorphine. Mr. Glatzer was

sentenced to two years of community control.255

         214.   Mark Glockner of Berea, Ohio pled guilty on February 9, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking hydrocodone. Mr. Glockner was sentenced to one

year in prison.256



252
      OBN_MDL, 1st Production 025156; MCKPUB00002765.
253
   OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 109380; OBN_MDL 1st
Production 156827 at OBN_MDL 1st Production 156834; MCKPUB00002630.
254
      MCKPUB00001604; MCKPUB00001607.
255
      MCKPUB00008973; MCKPUB00008975; MCKPUB00008977.
256
      CUYAH_000039867; MCKPUB00004216; MCKPUB00004217; MCKPUB00004219.



                                                 61
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 63 of 309. PageID #: 93160




         215.   Margaret Mariam Goetz, R.N. of Cleveland, Ohio pled guilty on September 20,

2017 in the Cuyahoga County Court of Common Pleas to offenses including theft of oxycodone

and Percocet, for conduct that occurred when she was employed as a nurse at MetroHealth

Medical Center in Cleveland, Ohio. In January 2018, Ms. Goetz entered a consent agreement

with the Board of Nursing that suspended her license to practice nursing indefinitely.257

         216.   Kandi Renee Gold, R.N. of Akron, Ohio had her license to practice nursing as a

registered nurse permanently revoked by the Board of Nursing in July 2014. Ms. Gold admitted

that, as a nurse working at Summa Health System in Akron, Ohio, she diverted Dilaudid

(hydromorphone) and morphine from the hospital.258

         217.   Kristy Jean Goldrick, R.N. of Cleveland, Ohio had her license to practice nursing

as a registered nurse suspended for not less than 28 months by the Board of Nursing in January

2015. As a nurse working at University Hospitals, Ms. Goldrick diverted Percocet, Vicodin, and

Ultram.259

         218.   Richard A. Gomez of Akron, Ohio pled guilty on June 10, 2013 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug and for using a forged

prescription for hydrocodone/Vicodin. Mr. Gomez was sentenced to eighteen months of

incarceration.260




257
      OBN_MDL 1st Production 132477, at 134749; OBN MDL 1st Production 152729, at 152738.
258
  OBN_MDL 1st Production 072083, at OBN_MDL 1st Production 074851;
MCKPUB00003314.
259
  OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 108488;
MCKPUB00003679.
260
  SUMMIT_000519619; MCKPUB00024849; MCKPUB00024852; MCKPUB00024853;
MCKPUB00024855.



                                                62
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 64 of 309. PageID #: 93161




         219.   Franklin Goodrich of Lakewood, Ohio pled guilty on November 10, 2009 in the

Cuyahoga Court of Common Pleas to trafficking OxyContin. Mr. Goodrich was sentenced to

four years in prison.261

         220.   Elizabeth Ann Grabiec, R.N. had her license to practice nursing suspended for an

indefinite period of time by the Board of Nursing in September 2011. While employed as a

registered nurse at Fairview Hospital (Cleveland Clinic) in Cleveland, Ohio, Ms. Grabiec

diverted Percocet and Vicodin.262

         221.   Michael D. Grant II of Bedford Heights, Ohio, pled guilty on August 21, 2014 in

the Cuyahoga Court of Common Pleas to trafficking oxycodone. Mr. Grant was sentenced to

five years in prison.263

         222.   David Graybill of Brunswick, Ohio pled guilty on November 6, 2009 in the

Cuyahoga Court of Common Pleas to trafficking OxyContin. Mr. Graybill was sentenced to two

years in prison.264

         223.   Amanda C. Greene, R.N. pled guilty in the Cuyahoga County Court of Common

Pleas on February 15, 2018 to offenses including theft of hydromorphone. This misconduct

occurred on or about January 28, 2016 to February 1, 2016, while Ms. Greene was employed as a

nurse at Bedford Medical Center in Bedford, Ohio. In July 2018, the Board of Nursing agreed to

a consent agreement for these violations.265


261
      CUYAH_000043206; MCKPUB00002666; MCKPUB00002668; MCKPUB00002671.
262
  OBN_MDL 1st Production 033744 at OBN_MDL 1st Production 034235;
MCKPUB00002602.
263
      CUYAH_000057784; MCKPUB00004512; MCKPUB00004513; MCKPUB00004516.
264
      CUYAH_000043206; MCKPUB00002270; MCKPUB00002272; MCKPUB00002275.
265
   OBN_MDL 1st Production 135369, at 140297; OBN_MDL 1st Production 155070, at
155080; MCKPUB00000952; MCKPUB00000954; MCKPUB00000957.



                                               63
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 65 of 309. PageID #: 93162




         224.   Ashley Marie Greene, R.N. of Cuyahoga Falls, Ohio had her license to practice

nursing as a registered nurse suspended indefinitely by the Board of Nursing in March 2013. As

a nurse working at Akron City Hospital in Akron, Ohio, Ms. Greene diverted hydromorphone

(Dilaudid), morphine solutions, oxycodone (Percocet and OxyContin), and hydrocodone

(Vicodin) tablets from January 2011 to December 2012.266

         225.   Amanda Griss, R.N. had her license to practice nursing permanently revoked by

the Board of Nursing on July 29, 2011. While employed as a nurse at University Hospitals, Case

Medical Center, Cleveland, Ohio, Ms. Griss stole oxycodone.267

         226.   Jennifer A. Grubb pled guilty on January 25, 2012 in the Summit County Court of

Common Pleas to deception to obtain a dangerous drug, namely Vicodin. Ms. Grubb worked at

the Highland Square Veterinary Clinic in Akron and used a physician’s name and DEA number

to call in Vicodin orders without a doctor’s prescription. Ms. Grubb was sentenced to six months

of incarceration, suspended provided that she complete eighteen months of community

control.268

         227.   Anmarie Gum, R.N. of Clinton, Ohio pled guilty on April 25, 2012 in the Summit

County Court of Common Pleas to offenses including theft of Vicodin, for conduct that occurred

while she was working as a nurse at Akron General Medical Center in March 2011. On May 17,




266
      MCKPUB00001375.
267
      OBN_MDL, 1st Production 025156; MCKPUB00000959.
268
      AKRON_001276829; MCKPUB00024859; MCKPUB00024860; MCKPUB00024862.



                                               64
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 66 of 309. PageID #: 93163




2013, Ms. Gum and the Board of Nursing entered into a consent agreement suspending her

license to practice nursing indefinitely.269

         228.   Nicole M. Guzman, R.N., who was employed at Summa Health System in Akron,

Ohio, had her license to practice nursing suspended indefinitely on May 17, 2018 for theft and/or

diversion of oxycodone (Percocet) from September 1, 2016 to December 8, 2016.270

         229.   Robert A. Halabica of Lakewood, Ohio pled guilty on June 7, 2010 in the

Cuyahoga County Court of Common Pleas to trafficking hydrocodone. Mr. Halabica was

sentenced to one year of community control.271

         230.   Aaron Hall of Cleveland, Ohio pled guilty on May 22, 2013 in the Cuyahoga

County Court of Common Pleas to distributing Percocet from August 2011 to November 2011.

Mr. Hall was sentenced to one year in prison.272

         231.   Peggy Lynn Hamilton, R.N., who was employed at MetroHealth Medical Center

in Cleveland, Ohio, had her license to practice nursing suspended indefinitely on September 14,

2017 for theft of hydromorphone from MetroHealth Medical Center on or about November 11,

2014 to September 4, 2015.273

         232.   William Luther Hamilton, R.N. pled guilty on December 15, 2010 in the

Cuyahoga County Court of Common Pleas to offenses including theft of oxycodone. On July

29, 2011, the Board of Nursing indefinitely suspended Mr. Hamilton’s license to practice


269
   OBN_MDL 1st Production 054509, at 055237; OBN_MDL 1st Production 077501, at
OBN_MDL 1st Production 078962; OBN_MDL 1st Production 043086, at OBN_MDL 1st
Production 044585; MCKPUB00001155.
270
      OBN_MDL 1st Production 138020, at 143748.
271
      CUYAH_000023705; MCKPUB00005269; MCKPUB00005270; MCKPUB00005272.
272
      CUYAH_006985926; MCKPUB00000905; MCKPUB00000906; MCKPUB00000908.
273
      MCKPUB00005004; MCKPUB00005005; MCKPUB00005008.



                                                 65
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 67 of 309. PageID #: 93164




nursing. Mr. Hamilton admitted that, while he was employed at The Cleveland Clinic

Foundation in 2010, he diverted oxycodone IR.274

         233.   Jamie L. Hammonds of Akron, Ohio was convicted by a jury on May 24, 2013 in

the Summit County Court of Common Pleas of offenses including aggravated trafficking in

hydrocodone. On June 3, 2013, Mr. Hammonds was sentenced to one year in prison.275

         234.   Tina Marie Hanish, L.P.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing on March 9, 2017. On or about October 23, 2015, while

employed as a nurse for The Weils in Solon, Ohio, she diverted oxycodone-acetaminophen.276

         235.   Adria Harper of Akron, Ohio, pled guilty on October 20, 2014 in the Northern

District of Ohio to conspiracy to traffic drugs and drug trafficking. Ms. Harper illegally

distributed prescription medications—including OxyContin, Percocet, Roxicet, Opana, and

others—from a medical office in Akron between September 2009 and May 2012. Ms. Harper

distributed prescriptions to customers when the doctor was out of the office.277 Ms. Harper

admitted that she witnessed many patients exhibit clear signs of drug addiction, such as falling

asleep, vomiting, or urinating in the waiting room, and that she was aware of several patients

who had died of drug overdoses. In June 2011, Ms. Harper encouraged the doctor for whom she

worked to continue seeing a patient who was addicted to prescription drugs; this patient




274
   OBN_MDL, 1st Production 026480; OBN_MDL 1st Production 031252 at OBN_MDL 1st
Production 032021; MCKPUB00006190.
275
      AKRON_000216740; MCKPUB00002947; MCKPUB00002950.
276
  OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 109369;
MCKPUB00006048.
277
      MCKPUB00000910.



                                                66
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 68 of 309. PageID #: 93165




overdosed fatally on oxycodone four hours later. Ms. Harper was sentenced to 51 months in

prison.278

         236.   David A. Harris, Jr. of Akron, Ohio pled guilty on April 20, 2009 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug (oxycodone). Mr.

Harris obtained oxycodone from a doctor on October 9, 2008, but failed to inform the doctor that

he had received oxycodone from another doctor three days before. Mr. Harris was sentenced to

one year of incarceration, suspended upon completion of one year of community control.279

         237.   Lavelle Harris of Cleveland, Ohio, pled guilty on April 30, 2012 in the Cuyahoga

Court of Common Pleas to offenses including trafficking oxycodone. Mr. Harris was sentenced

to one year in prison.280

         238.   Monique Harris, R.N., L.P.N. of Euclid, Ohio pled guilty on September 2, 2015 in

the Cuyahoga County Court of Common Pleas to offenses including deception to obtain a

dangerous drug, and she was sentenced to one year of community control. In September 2016,

the Board of Nursing permanently revoked her licenses to practice nursing. While employed as a

nurse at Grace Hospitals in Cleveland, Ohio, Ms. Harris used blank prescription forms and

forged prescriptions using physicians’ DEA numbers and telephone numbers to divert

oxycodone pills as part of a fraudulent prescription scheme.281




278
      MCKPUB00024864; MCKPUB00024939; MCKPUB00004923.
279
      AKRON_001157676; MCKPUB00025014; MCKPUB00025015; MCKPUB00025017.
280
      CUYAH_000051471; MCKPUB00003922; MCKPUB00003923; MCKPUB00003925.
281
   OBN MDL 1st Production 095701, at OBN MDL 1st Production 097450; OBN_MDL 1st
Production 110764, at OBN_MDL 1st Production 111243; MCKPUB00004634;
MCKPUB00004636; MCKPUB00004640; MCKPUB00004642.



                                                67
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 69 of 309. PageID #: 93166




         239.   Angela L. Harrison of Cleveland, Ohio, pled guilty on October 21, 2007 in the

Cuyahoga County Court of Common Pleas to offenses including drug trafficking of a controlled

substance (oxycodone). Ms. Harrison was sentenced to two years of community control.282

         240.   Sheila S. Harvey of Cleveland, Ohio pled guilty on August 11, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin and Percocet. Ms. Harvey

was sentenced to two years in prison.283

         241.   Mary A. Havran, R.N. entered into a consent agreement with the Board of

Nursing on November 16, 2007 that indefinitely suspended her license to practice nursing as a

registered nurse. For a period of three years, while working as a nurse at Lutheran Hospital in

Cleveland, Ohio, Ms. Havran diverted Demorol, morphine, and fentanyl.284

         242.   Cynthia S. Hawkins, R.N. of Akron, Ohio entered into a consent agreement in

July 2007 to suspend her license to practice nursing as a registered nurse for an indefinite period

of time. Ms. Hawkins also pled guilty to offenses, including theft of a dangerous drug, in the

Summit County Court of Common Pleas. On or about April 1, 2005 to June 3, 2005, while

employed as a registered nurse at Summa Health System in Akron, Ohio, Hawkins diverted

Vicodin.285

         243.   Karen L. Hawkins, L.P.N. (formerly known as Karen L. Hinkle and Karen L.

Massey) of Brook Park, Ohio, entered into a consent agreement in May 2010 with the Board of

Nursing that indefinitely suspended her license. Ms. Hawkins admitted that, while employed as


282
      CUYAH_000036140; MCKPUB00001144; MCKPUB00001145; MCKPUB00001148.
283
      CUYAH_000047522; MCKPUB00005537; MCKPUB00005538; MCKPUB00005541.
284
   OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 004093; OBN_MDL 1st
Production 033744 at OBN_MDL 1st Production 035462; MCKPUB00004241.
285
      OBN_MDL 1st Production 000001, at OBN_MDL 1st Production 000937.



                                                68
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 70 of 309. PageID #: 93167




a licensed practical nurse at Pleasantview and St. Augustine, there were numerous discrepancies

in her documentation of Percocet, on Controlled Drug Records, and patient records, all of which

which were related to her diversion of Percocet. Pleasantview terminated her employment due to

narcotics discrepancies.286

         244.   Christina Elizabeth Haynes, R.N. of Brunswick, Ohio pled guilty on July 14, 2014

in the Cuyahoga Court of Common Pleas to offenses including aggravated theft of Percocet and

oxycodone. On July 31, 2015, the Board of Nursing permanently revoked her license to practice

nursing. While working as a nurse at Lakewood Hospital, Ms. Haynes diverted oxycodone.287

         245.   Timothy J. Haywood of Parma, Ohio pled guilty on January 30, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Haywood was

sentenced to one year of community control.288

         246.   Maureen Shannon Henry, L.P.N. pled guilty on November 4, 2009 in the Summit

County Court of Common Pleas to offenses including theft of morphine. While employed as a

nurse at Akron City Hospital in Akron, Ohio, Ms. Henry diverted morphine and Dilaudid. As a

result of her criminal case, Ms. Henry entered into a consent agreement with the Board of

Nursing on July 30, 2010 to have her license to practice nursing suspended indefinitely.289




286
      OBN_MDL 1st Production 016725, at OBN_MDL 1st Production 017719.
287
   OBN_MDL 1st Production 074923, at OBN_MDL 1st Production 076335; OBN_MDL 1st
Production 154020, at OBN_MDL 1st Production 154154; MCKPUB00001902.
288
  CUYAH_000053407, CUYAH_000053812; MCKPUB00006036; MCKPUB00006038;
MCKPUB00006041.
289
  OBN_MDL 1st Production 010874, at OBN_MDL 1st Production 011156;
MCKPUB00004316.



                                                 69
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 71 of 309. PageID #: 93168




         247.      Nicholas Hershbach of Euclid, Ohio pled guilty on January 4, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone and Oxycontin. Mr.

Hershbach was sentenced to two years in prison.290

         248.      Lisa Ann Hickin, R.N. of Cuyahoga Falls, Ohio had her license to practice

nursing as a licensed practical nurse suspended by the Board of Nursing in September 2015. Ms.

Hickin admitted that she failed to document the administration or otherwise account for the

disposition of controlled substances that she removed from the drug dispensing system and that

she withdrew controlled substances, including fentanyl and Dilaudid, without a physician’s order

while working as a nurse at the Cleveland Clinic Foundation in Cleveland, Ohio.291

         249.      Daniel C. Higgins, R.N. entered into a consent agreement with the Board of

Nursing on September 24, 2010, to have his license to practice nursing suspended indefinitely.

While employed as a nurse in the Medical Intensive Care Unit (“ICU”) at the Cleveland Clinic

Foundation in Cleveland, Ohio, Mr. Higgins stole fentanyl and altered drug records to conceal

the theft.292

         250.      Thomas S. Hilbert, R.N. of Akron, Ohio pled guilty on January 12, 2018 in the

Cuyahoga County Court of Common Pleas to offenses including theft of Dilaudid. On

September 27, 2018, the Board of Nursing suspended Mr. Hilbert’s license to practice nursing

indefinitely.293


290
      CUYAH_000036937; MCKPUB00019051; MCKPUB00019052; MCKPUB00019056.
291
  OBN_MDL 1st Production 085996, at OBN_MDL 1st Production 087629;
MCKPUB00004024.
292
  OBN_MDL 1st Production 021117 at OBN_MDL 1st Production 022002;
MCKPUB00002101.
293
   OBN_MDL 1st Production 135369, at 140219; OBN_MDL 1st Production 150318, at
150547; MCKPUB00005944; MCKPUB00005945; MCKPUB00005947.



                                                  70
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 72 of 309. PageID #: 93169




         251.   Michael W. Hilditch of Stow, Ohio pled guilty on February 9, 2016 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking of drugs (Percocet),

for conduct occurring in Akron, Ohio. He was sentenced to twenty-three months of

incarceration.294

         252.   Howard H. Hills, Jr. of Akron, Ohio pled guilty on November 9, 2009 in the

Summit County Court of Common Pleas to offenses including trafficking of drugs. He was

arrested on August 28, 2009 for selling his prescribed Vicodin pills. Mr. Hills was sentenced to

one year of incarceration, suspended upon completing one year of community control.295

         253.   Sean Christopher Hinkle, R.N. pled guilty on September 20, 2012 in the

Cuyahoga County Court of Common Pleas to offenses including aggravated theft of fentanyl and

Dilaudid. On July 26, 2013, the Board of Nursing indefinitely suspended his license to practice

nursing. Mr. Hinkle admitted that, while he was employed as a nurse at the Cleveland Clinic, he

diverted fentanyl, Dilaudid, and Percocet.296

         254.   Rosemary Anne Hite, L.P.N. of Sagamore Hills, Ohio pled guilty on August 31,

2009, in the Cuyahoga County Court of Common Pleas to aggravated theft. While employed as

a licensed practical nurse at Parkside Villa Nursing Home in Middleburg Heights, Ohio, Ms.

Hite stole oxycodone. Ms. Hite was sentenced to one year of community control. As a result of




294
      AKRON_001286931; MCKPUB00025019; MCKPUB00025020; MCKPUB00025023.
295
      AKRON_001157119; MCKPUB00025025; MCKPUB00025026; MCKPUB00025028.
296
  OBN_MDL 1st Production 056992 at OBN_MDL 1st Production 057800;
MCKPUB00005473; MCKPUB00005474; MCKPUB00005477.



                                                71
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 73 of 309. PageID #: 93170




her criminal case, Ms. Hite’s license to practice nursing was suspended indefinitely by the Board

of Nursing on or about November 2009.297

         255.   Angela Holcepl of Cleveland, Ohio was found guilty on January 23, 2008 in the

Cuyahoga County Court of Common Pleas of trafficking of a controlled substance, Vicodin. Ms.

Holcepl was sentenced to two years of community control.298

         256.   Tara Marie Holodnak pled guilty on February 23, 2009 in the Summit County

Court of Common Pleas to theft of drugs. While working at Pebble Creek Care Center as a

licensed practical nurse, Ms. Holodnak stole Vicodin and oxycodone. Ms. Holodnak’s license to

practice nursing was permanently revoked by the Board of Nursing on July 24, 2009.299

         257.   Wayne Holt of Cleveland, Ohio pled guilty on October 18, 2012 in the Cuyahoga

County Court of Common Pleas to attempted trafficking of oxycodone. Mr. Holt was granted

intervention in lieu of conviction.300

         258.   Morrisa Hooker of Akron, Ohio pled guilty on March 11, 2015 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

oxycodone. She was sentenced to two years of community control.301

         259.   Jesse L. Horn, Jr. of East Cleveland, Ohio pled guilty on August 22, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking methadone. Mr. Horn was sentenced to




297
  OBN_MDL 1st Production 010874, at OBN_MDL 1st Production 011135;
MCKPUB00005363; MCKPUB00005365; MCKPUB00005369-05370; MCKPUB00005371.
298
      CUYAH_000035541; MCKPUB00001138; MCKPUB00001139; MCKPUB00001142.
299
  OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 003456;
MCKPUB00005892.
300
      CUYAH_000026442; MCKPUB00006178; MCKPUB00006180; MCKPUB00006183.
301
      AKRON_001218850; MCKPUB00025030; MCKPUB00025031; MCKPUB00025034.



                                                72
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 74 of 309. PageID #: 93171




five years of community control. Upon multiple violations of the terms of his sentence, Mr.

Horn was sentenced to two years in prison.302

         260.   Gayle Ellen Houdek, R.N. had her license to practice nursing suspended by the

Board of Nursing in July 2017. Ms. Houdek admitted that she failed to document the

administration of or otherwise account for the disposition of oxycodone that she removed from

the drug dispensing system while working as a nurse at MetroHealth Medical Center in

Cleveland, Ohio.303

         261.   Molly Sue Howard (also known as Molly Melton), R.N. of Newton Falls, Ohio,

had her license to practice nursing as a registered nurse indefinitely suspended by the Board of

Nursing in May 2016. As a nurse working at University Hospitals Ahuja Medical Center in

Beachwood, Ohio (University Hospitals), Ms. Howard diverted fentanyl from an IV bag.304

         262.   Amy Heather Hudson, R.N. had her license to practice nursing as a registered

nurse suspended indefinitely by the Board of Nursing in March 2013. As a nurse working at

University Hospital in Cleveland, Ohio, Ms. Hudson stole OxyContin, oxycodone, morphine,

methadone, and codeine using various patients’ names, and did not administer the drug to the

patients, for a period of approximately one and one half years.305




302
      CUYAH_000038383; MCKPUB00003187; MCKPUB000031893; MCKPUB00003194.
303
  OBN_MDL 1st Production 11399, at OBN_MDL 1st Production 115573;
MCKPUB00002689.
304
  OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100553;
MCKPUB00004602.
305
  OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 108389;
MCKPUB00001071.



                                                73
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 75 of 309. PageID #: 93172




         263.   James Hudson-Bey pled guilty on May 23, 2017 in the Cuyahoga County Court of

Common Pleas to offenses including trafficking oxycodone. Mr. Hudson-Bey was sentenced to

one year and half in prison.306

         264.   Crystal Lynn Huffman, R.N. of Cuyahoga Falls, Ohio pled guilty on March 25,

2014 in the Summit County Court of Common Pleas to theft of drugs. In November 2014, the

Board of Nursing indefinitely suspended her license to practice nursing as a registered nurse.

Ms. Huffman admitted that on August 31, 2013, while working at Hickory Ridge Nursing and

Rehabilitation Center, in Akron, Ohio, she removed Roxanol from the bottle prescribed to a

patient and substituted water.307

         265.   Shawn W. Hughes of Cleveland, Ohio pled guilty on October 26, 2011 in the

Cuyahoga County Court of Common Pleas to distribution of, as well as attempted distribution of,

oxycodone. From November 2, 2010 to December 3, 2010, Mr. Hughes procured the

administration of, a prescription for, or the dispensing of oxycodone. Mr. Hughes was sentenced

to five years of community control.308

         266.   Theresa Impala, R.N. had her license to practice nursing suspended indefinitely

by the Board of Nursing in July 2012. As a nurse working at Metro Health Skilled Nursing

Services, Ms. Impala stole oxycodone, Percocet, and methadone.309




306
      CUYAH_000032131; MCKPUB00002879; MCKPUB00002880; MCKPUB00002885.
307
      OBN_MDL 1st Production 069491, at OBN_MDL 1st Production 160919.
308
      CUYAH_000047665; MCKPUB00005531; MCKPUB00005532; MCKPUB00005535.
309
      CUYAH_000050322; MCKPUB00005925.



                                                74
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 76 of 309. PageID #: 93173




         267.   Anthony Jackson of Cleveland, Ohio pled guilty on April 11, 2007 in the

Cuyahoga Court of Common Pleas to trafficking Percocet.310 Mr. Jackson was sentenced to six

months in prison.

         268.   Gail Jackson of Cleveland, Ohio pled guilty on October 18, 2012 in the Cuyahoga

County Court of Common Pleas to attempted trafficking of oxycodone. Ms. Jackson was

granted intervention in lieu of conviction.311

         269.   Russell R. James of Cleveland, Ohio pled guilty on December 9, 2008 in the

Cuyahoga County Court of Common Pleas to theft of methadone, codeine, oxymorphone,

oxycodone, morphine, Demerol, hydromorphone, morphone, Dilaudid; receiving stolen property

of tramadol; and wholesale and terminal distribution of dangerous drugs, including tramadol.

Mr. James also pled guilty to offenses including deception to obtain a dangerous drug, for

possessing a false prescription for and deceptively procuring the administration of, a prescription

for, or the dispensing of, hydrocodone.312

         270.   Thomas J. Janecko, L.P.N. had his license to practice nursing suspended

indefinitely on November 29, 2010 by the Board of Nursing. While employed as a licensed

practical nurse at St. Augustine Manor in Cleveland, Ohio, Mr. Janecko stole Vicodin and

Percocet.313




310
      CUYAH_000034367; MCKPUB00001299; MCKPUB00001300; MCKPUB00001302.
311
      CUYAH_000026442; MCKPUB00002673; MCKPUB00002674; MCKPUB00002679.
312
  CUYAH_000038775; CUYAH_000039842; MCKPUB00005403; MCKPUB00005405;
MCKPUB00005408; MCKPUB00005395; MCKPUB00005397; MCKPUB00005400.
313
   OBN_MDL 1st Production 010874, at OBN_MDL 1st Production 011101; OBN_MDL 1st
Production 023282, at OBN_MDL 1st Production 024811; MCKPUB00005949.



                                                 75
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 77 of 309. PageID #: 93174




         271.   Alice V. Johnson was convicted on November 11, 2011, in the Cuyahoga County

Court of Common Pleas, of deception to obtain a dangerous drug, oxycodone. Ms. Johnson was

sentenced to one year of community control.314

         272.   Jaime Lyn Johnson, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing on September 20, 2013. While working as a nurse at the

Cleveland Clinic Foundation, she failed to account for the disposition of narcotics, including

oxycodone, tramadol, and fentanyl. Ms. Johnson also pled guilty in Lakewood County

Municipal Court to misdemeanor permitting drug abuse, relating to allowing another to use

heroin while in her home.315

         273.   Perry Johnson of Cleveland, Ohio pled guilty in the Northern District of Ohio on

May 22, 2013 to offenses including possession with the intent to distribute oxycodone.316 Mr.

Johnson robbed two CVS stores in Cleveland on November 16, 2012 and November 23, 2012.

In the first robbery, Mr. Johnson took five bottles of Percocet and cash. 317 In the second

robbery, Mr. Johnson took cash, merchandise, and thirty bottles of prescription medication,

including OxyContin.318 Mr. Johnson was sentenced to 300 months’ imprisonment.319 This

Sixth Circuit has affirmed this sentence.320




314
      CUYAH_000048938; MCKPUB00000913; MCKPUB00000914; MCKPUB00000917.
315
  OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 060118;
MCKPUB00002951.
316
      MCKPUB00005032; MCKPUB00005040; MCKPUB00005017; MCKPUB00005010.
317
      MCKPUB00005019-05024.
318
      MCKPUB00005042.
319
      MCKPUB00005025.
320
      MCKPUB00005031.



                                                 76
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 78 of 309. PageID #: 93175




         274.   Vince R. Johnson, Jr. pled guilty on August 10, 2009 in the Summit County Court

of Common Pleas to offenses including deception to obtain a dangerous drug. Mr. Johnson

presented false prescriptions, including for hydrocodone, to a pharmacy and had a third party,

posing as Mr. Johnson’s doctor, call the pharmacist in furtherance of Mr. Johnson’s effort to

improperly procure prescription drugs.321 Mr. Johnson was named by Plaintiffs Summit County

and the City of Akron in supplemental interrogatory responses as someone under investigation

for diversion.322

         275.   Donte Jones of Cleveland, Ohio pled guilty on February 12, 2013 in the

Cuyahoga County Court of Common Pleas to distributing Percocet. From August 2011 to

November 2011, Mr. Jones procured the administration of, a prescription for, or the dispensing

of Percocet. Mr. Jones was sentenced to two years in prison.323

         276.   Jason Robert Jones, R.N. entered into a consent agreement with the Board of

Nursing on March 19, 2010 to have his license to practice nursing suspended indefinitely. While

employed as a registered nurse at Select Specialty Hospital in Akron, Ohio, Mr. Jones diverted

Dilaudid and fentanyl.324




321
      AKRON_001208468; SUMMIT_000407368.
322
   Summit County and City of Akron, Ohio Plaintiff’s Replacement Supplemental Responses
and Objections to Manufacturer Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
20, 21, 26, 27, 28 & 29, at 308; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29, at 41; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to National Retail Pharmacy Defendants’ Interrogatory
Nos. 4, 7, 15, 16 & 19, at 28.
323
  CUYAH_006985926; MCKPUB00002493; MCKPUB00002495; MCKPUB00002499;
MCKPUB00002501; MCKPUB00002502; MCKPUB00002504.
324
  OBN_MDL 1st Production 010874, at OBN_MDL 1st Production 011122;
MCKPUB00003012.



                                               77
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 79 of 309. PageID #: 93176




         277.   Robert Jones of Cleveland, Ohio pled guilty on August 26, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking in OxyContin. He committed the offense on

school premises, in a school building, or within 1,000 feet of the boundaries of a school in and

around the time of March 13, 2008. Mr. Jones was sentenced to one year of community

control.325

         278.   Krystyna L. Kaiser of Lakewood, Ohio pled guilty on February 15, 2017 in the

Cuyahoga County Court of Common Pleas to offenses including deception to obtain a dangerous

drug and trafficking in oxycodone. Ms. Kaiser was sentenced to two years of community

control.326

         279.   Heather Kaput of Valley View, Ohio pled guilty on October 6, 2015 in the

Cuyahoga County Court of Common Pleas to offenses including deception to obtain a dangerous

drug (Vicodin and oxycodone). From December 2012 to October 2014, Ms. Kaput transported

various individuals to pharmacies in Cuyahoga County so that these individuals could fill

fraudulent prescriptions for opioid medications for sale to others. Ms. Kaput was sentenced to

24 months of community control.327

         280.   Frank J. Kasmerski of Lakewood, Ohio pled guilty on October 28, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking in oxycodone. Mr. Kasmerski was

sentenced to one year and six months of community control.328




325
      CUYAH_000038620; MCKPUB00005286; MCKPUB00005287; MCKPUB00005289.
326
  CUYAH_000032131; MCKPUB00003779; MCKPUB00003780-03781;
MCKPUB00003782.
327
      MCKPUB00024226; MCKPUB00024229; MCKPUB00024230; MCKPUB00024233.
328
      CUYAH_000043892; MCKPUB00002659; MCKPUB00002660; MCKPUB00002663.



                                                78
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 80 of 309. PageID #: 93177




         281.   Jacob Jason Keaton, R.N. voluntarily and permanently surrendered his license to

practice nursing to the Board of Nursing on August 22, 2016. While employed as a registered

nurse for Summa Health System in Akron, Ohio, Mr. Keaton diverted hydromorphone and

morphine.329

         282.   Melinda Louise Keirsey, P.N. pled guilty on March 26, 2013 in the Cuyahoga

County Court of Common Pleas to attempted aggravated theft of Percocet. On January 17, 2014,

the Board of Nursing indefinitely suspended Ms. Keirsey’s license to practice nursing.330

         283.   David Kelly of Euclid, Ohio, pled guilty on June 17, 2010 in the Cuyahoga

County Court of Common Pleas to trafficking oxycodone and attempted corruption of another

with drugs, oxycodone. Mr. Kelly was sentenced to one year in prison.331

         284.   Zachary Kennedy of Cleveland, Ohio pled guilty on November 9, 2017 in the

Cuyahoga County Court of Common Pleas to trafficking in oxycodone. Mr. Kennedy was

sentenced to eighteen months in prison.332

         285.   Gary Keslar of Lyndhurst, Ohio, pled guilty on December 29, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking in oxycodone on school premises, in a

school building, or within 1,000 feet of the boundaries of a school premises. Keslar was

sentenced to one year in prison.333



329
  OBN_MDL 1st Production 110764, at OBN_MDL 1st Production 113223;
MCKPUB00002862.
330
   OBN_MDL 1st Production 056992 at OBN_MDL 1st Production 058684; OBN_MDL 1st
Production 151566 at OBN_MDL 1st Production 151621; MCKPUB00004384;
MCKPUB00004385; MCKPUB00004390.
331
      CUYAH_000024067; MCKPUB00002286; MCKPUB00002287; MCKPUB00002289.
332
      CUYAH_000032325; MCKPUB00003611; MCKPUB00003612; MCKPUB00003614.
333
      CUYAH_000037516; MCKPUB00002682; MCKPUB00002683; MCKPUB00002686.



                                               79
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 81 of 309. PageID #: 93178




         286.   Brian Kins of Norton, Ohio pled guilty on November 3, 2011 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking in oxycodone. Mr. Kins was

sentenced to one year of community control.334

         287.   Cecilia C. Kinsinger of Akron, Ohio pled guilty on July 27, 2006 in the Summit

County Court of Common Pleas to theft of drugs (Vicodin), deception to obtain a dangerous drug

(Vicodin), and for presenting a fraudulent prescription to obtain Vicodin. Ms. Kinsinger was

sentenced to six months of incarceration, suspended provided that she complete two years of

community control.335 Ms. Kinsinger also pled guilty on April 6, 2007 in the Summit County

Court of Common Pleas to deception to obtain a dangerous drug (Vicodin) and for presenting a

fraudulent prescription to obtain Vicodin. She was sentenced to six months of incarceration,

suspended provided that she complete one year of community control.336 Additionally, Ms.

Kinsinger pled guilty on November 21, 2007 in the Summit County Court of Common Pleas to

deception to obtain a dangerous drug. She attempted to use a forged prescription to obtain

OxyContin from a pharmacy in Akron. She was sentenced to six months of incarceration.337

         288.   Stacey M. Markelonis Kiscoe, R.N. pled guilty on January 31, 2008 to offenses

including theft of drugs and tampering with records. On November 10, 2011, Ms. Kiscoe

entered into a consent agreement with the Board of Nursing to suspend her license to practice

nursing indefinitely. Ms. Kiscoe admitted that she diverted medications from work, including

injectable Demerol, morphine, and Percocet. On numerous occasions, Ms. Kiscoe withdrew the



334
      CUYAH_000048583; MCKPUB00001591; MCKPUB00001593; MCKPUB00001596.
335
      SUMMIT_000367169; MCKPUB00025044; MCKPUB00025045; MCKPUB00025047.
336
      SUMMIT_000368090; MCKPUB00025050; MCKPUB00025051; MCKPUB00025054.
337
      AKRON_001157371; MCKPUB00025057; MCKPUB00025058; MCKPUB00025060.



                                                 80
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 82 of 309. PageID #: 93179




medications without a physician’s order and did not document administration of the medication

to any patient.338

         289.   Heather Knepper, R.N. had her license to practice nursing as a registered nurse

suspended indefinitely by the Board of Nursing on November 20, 2009. Mr. Knepper admitted

that she stole morphine from Akron Children’s Hospital for approximately eighteen months.339

         290.   Angelique M. Kolcun, L.P.N., who was employed at Bloom at Lakewood Senior

Living in Lakewood, Ohio, had her license to practice nursing suspended indefinitely by the

Board of Nursing on January 24, 2018. 340 Ms. Kolcun admitted to stealing tramadol and

oxycodone in March and April 2017.

         291.   Donald Kopp of Broadview Heights, Ohio on November 28, 2006 pled guilty in

the Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Kopp was

sentenced to one year community control.341

         292.   Mary Korybko of Brooklyn, Ohio pled guilty on May 21, 2008 in the Cuyahoga

County Court of Common Pleas of trafficking oxycodone. Ms. Korybko was sentenced to

seventeen months in prison.342




338
  OBN_MDL 1st Production 035469, at OBN_MDL 1st Production 035881;
MCKPUB00005675.
339
      OBN_MDL 1st Production 038993, at OBN_MDL 1st Production 039530.
340
      OBN_MDL 1st Production 152729, at 152738.
341
      CUYAH_000032722; MCKPUB00002457; MCKPUB00002458; MCKPUB00002461.
342
      CUYAH_000038503; MCKPUB00004287; MCKPUB00004288; MCKPUB00004291.



                                                81
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 83 of 309. PageID #: 93180




         293.   Renee Kovach of Strongsville, Ohio pled guilty July 23, 2007 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking Vicoprofen, and she was

sentenced six months in prison.343

         294.   Christopher M. Koviak, a registered nurse, had his license to practice suspended

on November 21, 2014. The Board of Nursing found that Koviak diverted opioid medications

while practicing at the Cleveland Clinic in Cleveland, Ohio.344

         295.   Nicholas Kozanas of Strongsville, Ohio pled guilty on June 22, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin. Mr. Kozanas was

sentenced to eighteen months of community control. Upon violation of the terms of his

sentence, Mr. Kozanas was subsequently sentenced to fifteen months in prison.345

         296.   Christopher Kraus of Cleveland, Ohio pled guilty on November 9, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Kraus was sentenced

to six months in prison.346

         297.   Kelly Anne Krueger, R.N. pled guilty on April 21, 2011 in the Cuyahoga County

Court of Common Pleas to theft and aggravated theft. In September 2011, the Board of Nursing

indefinitely suspended her license to practice nursing. While employed as a nurse at the

Cleveland Clinic, Ms. Krueger removed Percocet using multiple patients’ names.347

         298.   Troy David Kubincanek, R.N. of Parma, Ohio had his license to practice nursing

suspended indefinitely by the Board of Nursing on November 20, 2015. Mr. Kubincanek


343
      CUYAH_000035773; MCKPUB00005250; MCKPUB00005251; MCKPUB00005255.
344
      OBN_MDL 1st Production 083864, at OBN_MDL 1st Production 084344-45.
345
      CUYAH_000032867; MCKPUB00004787; MCKPUB00004788; MCKPUB00004791.
346
      CUYAH_000034282; MCKPUB00001926; MCKPUB00001927; MCKPUB00001930.
347
  OBN_MDL 1st Production 033744 at OBN_MDL 1st Production 034114;
MCKPUB00003616; MCKPUB00003618; MCKPUB00003620; MCKPUB00023809.


                                                82
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 84 of 309. PageID #: 93181




admitted that, for approximately two years, he diverted Dilaudid from University Hospitals in

Cleveland, Ohio, where he worked as a nurse. Mr. Kubincanek diverted Dilaudid by removing

more Dilaudid than was ordered for the patient, drawing up the patient’s dose, placing the extra

in an empty vial, and having a witness watch Mr. Kubincanek waste an empty vial. Mr.

Kubincanek sought patients in the waiting room for whom Dilaudid was likely to be ordered and

used assessment tools to try to build a case to manipulate the doctor’s choice for pain

management.348

         299.   Kourtney N. Kubicina, R.N. who was employed at University Hospitals Case

Medical Center in Cleveland, Ohio, had her license to practice nursing suspended indefinitely on

November 16, 2017. In December 2016, Ms. Kubicina obtained or exerted control over

hydromorphone beyond the scope of the express or implied consent of the owner or person

authorized to give consent.349

         300.   Majed Lababidi of Cleveland, Ohio pled guilty on August 28, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin. Mr. Lababidi was

sentenced to one year of community control.350

         301.   Patricia Sue Lahm, L.P.N. of Elyria, Ohio had her license suspended indefinitely

in November 2009. On or about January 5, 2008, Lahm stole OxyContin from St. Augustine

Manor, in Cleveland, Ohio, where she was employed as a licensed practical nurse.351




348
   OBN_MDL 1st Production 074923, at OBN_MDL 1st Production 076277; OBN_MDL 1st
Production 160964, at OBN_MDL 1st Production 160979; MCKPUB00006080.
349
      OBN_MDL 1st Production 129446.
350
      CUYAH_000035754; MCKPUB00004176; MCKPUB00004177; MCKPUB00004182.
351
      OBN_MDL 1st Production 016725, at OBN_MDL 1st Production 017927.


                                                 83
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 85 of 309. PageID #: 93182




         302.   Patricia Laughman of Barberton, Ohio pled guilty on October 20, 2014 to

conspiracy to traffic drugs and drug trafficking. Ms. Laughman illegally distributed hundreds of

thousands of doses of prescription medications—including OxyContin, Percocet, Roxicet, and

Opana—from medical offices in Akron, Ohio between September 2009 and May 2012. Ms.

Laughman distributed prescriptions to customers when the doctor was out of the office.352 Ms.

Laughman was sentenced to fifteen months in prison.353

         303.   Brian J. Lawrence of Lakewood, Ohio pled guilty on January 13, 2010 in the

Cuyahoga County Court of Common Pleas to trafficking in oxycodone. Mr. Lawrence was

sentenced to one year of community control.354

         304.   Matthew Lawson of Richmond Heights, Ohio pled guilty on April 7, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Lawson was sentenced

to six months in prison.355

         305.   Christine Anne Leatherman, R.N. of Euclid, Ohio had her license to practice

nursing as a registered nurse suspended indefinitely by the Board of Nursing in January

2010. As a nurse working at University Hospitals Case Medical Center in Cleveland, Ohio, Ms.

Leatherman withdrew oxycodone tablets for various patients in February 2008, and the tablets

were unaccounted for.356




352
  MCKPUB00004921; Summit County & City of Akron, Ohio Plaintiff First Amended
Responses and Objections to Distributor Defendants’ First Set of Interrogatories, at 36; Summit
County, Corrected Second Amended Complaint, at 211 n.197.
353
      MCKPUB00004923.
354
      CUYAH_000021940; MCKPUB00001586; MCKPUB00001587; MCKPUB00001589.
355
      CUYAH_000040016; MCKPUB00004293; MCKPUB00004294; MCKPUB00004296.
356
      OBN_MDL 1st Production 001828; OBN MDL 1st Production 150987.



                                                 84
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 86 of 309. PageID #: 93183




         306.   Karla R. Lebreton, a registered nurse practicing at the Cleveland Clinic

Foundation, diverted wastes of fentanyl. In July 2013, the Board of Nursing suspended her

license to practice nursing. On May 18, 2017, the Board of Nursing permanently revoked her

nursing license. 357

         307.   Jordan Levy of Middleburg Heights, Ohio, pled guilty on November 30, 2006 in

the Cuyahoga County Court to trafficking hydrocodone. Mr. Levy was sentenced to one day of

probation.358

         308.   Brooke Lewis of North Randall, Ohio pled guilty on January 24, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin and heroin. Ms. Lewis was

sentenced to two days in jail.359

         309.   Jeffrey Light of Cuyahoga Falls, Ohio pled guilty on April 25, 2011 in the

Summit County Court of Common Pleas to deception to obtain a dangerous drug, petty theft, and

for forging several prescriptions for oxycodone between December 2010 and February 2011. He

was sentenced to two years of community control.360

         310.   Cassandra T. Linden, R.N. pled guilty in the Cuyahoga County Court of Common

Pleas on December 27, 2017 to offenses including theft of fentanyl, for conduct occurring on or

about April 4, 2017 to May 12, 2017, while she was employed as a nurse at University Hospitals

Richmond Medical Center. Ms. Linden obtained or exerted control over fentanyl and

hydromorphone beyond the scope of the express or implied consent of the owner or person



357
      MCKPUB00003420.
358
      CUYAH_000034119; MCKPUB00003261; MCKPUB00003262; MCKPUB00003264.
359
      CUYAH_000035737; MCKPUB00001616; MCKPUB00001617; MCKPUB00001622.
360
      AKRON_001312644; MCKPUB00025068; MCKPUB00025069; MCKPUB00025072.



                                                85
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 87 of 309. PageID #: 93184




authorized to give consent and made a false statement in any prescription, order, or record. In

May 2018 the Board of Nursing agreed to a consent agreement for these violations.361

       311.    Alexander Linton of Cuyahoga Falls, Ohio pled guilty on March 1, 2016 in the

Summit County Court of Common Pleas to robbery of oxycodone. Mr. Linton robbed

pharmacies in Stow, Cuyahoga Falls, and Akron, stealing oxycodone and oxymorphone pills at

gunpoint. Linton was sented to twelve years in prison.362 Plaintiffs Summit County and the City

of Akron identified Mr. Linton as someone under investigation for diversion.363

       312.    Kimberly Marie Lockhart, R.N. entered into a consent agreement with the Board

of Nursing in April 2015 that suspended her license for an indefinite period of time, but not less

than three years. On February 8, 2015, Ms. Lockhart stole hydrocodone from her former

employer, McGregor PACE, located in Cleveland, Ohio.364

       313.    Jason A. Loftus of Akron, Ohio pled guilty on June 6, 2013 in the Summit County

Court of Common Pleas to deception to obtain a dangerous drug and for using a forged




361
   OBN_MDL 1st Production 135369, at 140127; OBN_MDL 1st Production 159202, at
159216.
362
  AKRON_000337173; AKRON_000337174; MCKPUB00025075; MCKPUB00025076;
MCKPUB00025078; MCKPUB00025079; MCKPUB00025081; MCKPUB00025082;
MCKPUB00025084; MCKPUB00025086; MCKPUB00025088.
363
   Summit County and City of Akron, Ohio Plaintiff’s Replacement Supplemental Responses
and Objections to Manufacturer Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
20, 21, 26, 27, 28 & 29, at 240; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29, at 41; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to National Retail Pharmacy Defendants’ Interrogatory
Nos. 4, 7, 15, 16 & 19, at 28.
364
  OBN_MDL 1st Production 102044, at OBN_MDL 1st Production 102565;
MCKPUB00003654.



                                                86
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 88 of 309. PageID #: 93185




prescription for hydrocodone. Mr. Loftus was sentenced to three years of incarceration,

suspended upon the condition that he complete two years of community control.365

         314.   Susan Lynn Longoria, R.N. had her license to practice nursing suspended for an

indefinite period of time in July 2009 by the Board of Nursing. While employed as a nurse in the

ICU at Cuyahoga Falls General Hospital in Cuyahoga Falls, Ohio, Ms. Longoria stole Dilaudid

for a period of approximately two months.366

         315.   Anthony Loporto of Highland Heights, Ohio pled guilty on October 4, 2011 in the

Cuyahoga County Court of Common Pleas to diverting oxycodone (Roxicodone).367 Mr.

Loporto was sentenced to eighteen months of community control.

         316.   Senolia Love of Cleveland, Ohio pled guilty on December 15, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Ms. Love was sentenced to

one year of community control.368

         317.   Devon L. Lovejoy, L.P.N. of Newton Falls, Ohio, had her license to practice

nursing indefinitely suspended by the Board of Nursing in September 2015. As a nurse working

at Legacy Place Twinsburg and Pleasant View Health and Rehabilitation Center in Barberton,

Ohio, Mr. Lovejoy failed to document the administration or otherwise account for the disposition

of oxycodone-acetaminophen (Percocet), hydrocodone-acetaminophen (Norco), and tramadol.369



365
  SUMMIT_000519619; MCKPUB00025090; MCKPUB00025093; MCKPUB00025094;
MCKPUB00025096.
366
  OBN_MDL 1st Production 033744 at OBN_MDL 1st Production 034833;
MCKPUB00005826.
367
      CUYAH_000049363; MCKPUB00001304; MCKPUB00001305; MCKPUB00001308.
368
      CUYAH_000048107; MCKPUB00005480; MCKPUB00005481; MCKPUB00005486.
369
  OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100444;
MCKPUB00002439.



                                               87
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 89 of 309. PageID #: 93186




         318.   Jerrad Lunsford of Cleveland, Ohio pled guilty on December 16, 2010 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Lunsford was

sentenced to one year in prison.370

         319.   Michael M. Lynard of Mansfield, Ohio pled guilty on May 9, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Lynard was ordered to

be screened for placement into the community-based correctional facility and was sentenced to

two years of community control.371

         320.   Daniel Macalonan of Bedford, Ohio pled guilty on April 21, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Macalonan was

sentenced to eleven months in prison.372

         321.   Sandra Malave of Cleveland, Ohio pled guilty on March 5, 2018 in the Cuyahoga

County Court of Common Pleas to attempted trafficking hydrocodone. Ms. Malave was granted

intervention in lieu of conviction.373

         322.   Andy Maldonado of Cleveland, Ohio pled guilty on September 28, 2006 in the

Cuyahoga County Court of Common Pleas to one count of trafficking oxycodone. Mr.

Maldonado was sentenced to six months in prison.374

         323.   Michael J. Malys III, R.N. of Lakewood, Ohio pled guilty on December 21, 2017

in the Cuyahoga County Court of Common Pleas to offenses including theft of morphine, for




370
      CUYAH_000045217; MCKPUB00003180; MCKPUB00003181; MCKPUB00003184.
371
      CUYAH_000028522; MCKPUB00004527; MCKPUB00004528; MCKPUB00004531.
372
      CUYAH_000040722; MCKPUB00002118; MCKPUB00002119; MCKPUB00002122.
373
      CUYAH_000079024; MCKPUB00005463; MCKPUB00005464; MCKPUB00005466.
374
      CUYAH_000034215; MCKPUB00001126; MCKPUB00001127; MCKPUB00001130.



                                               88
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 90 of 309. PageID #: 93187




conduct while he was employed as a nurse at University Hospitals Cleveland Medical Center. In

May 2018, the Board of Nursing agreed to a consent agreement for these violations.375

       324.   Monica Lee Mandich (also known as Monica Lee Arnold), R.N. of Valley View,

Ohio, had her license to practice nursing indefinitely suspended by the Board of Nursing in

September 2016. As a nurse working at Cleveland Clinic – Hillcrest Hospital in Mayfield

Heights, Ohio, Ms. Mandich failed to document the administration or otherwise account for the

disposition of hydromorphone (Dilaudid) that she removed from the drug dispensing system.376

       325.   Matthew Michael Marasch, R.N. had his license to practice nursing suspended

indefinitely by the Board of Nursing on July 29, 2011. Mr. Marasch admitted that he diverted

wastes of fentanyl from the Cleveland Clinic. Mr. Marasch sought physicians’ orders for

patients who were not in pain and did not need pain medication, and he charted administration of

medication he did not administer.377

       326.   Carreese L. Martin, R.N. of University Heights, Ohio pled guilty on November

16, 2015 in the Cuyahoga County Court of Common Pleas to offenses including aggravated

theft, for conduct involving hydromorphone. The Board of Nursing indefinitely suspended her

licenses to practice nursing as a registered nurse in September 2016. Ms. Martin admitted that,




375
   OBN_MDL 1st Production 135369, at 140120; OBN_MDL 1st Production 159202, at
159216; MCKPUB00004533; MCKPUB00004535; MCKPUB00004537.
376
  OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100433;
MCKPUB00004615.
377
  OBN_MDL 1st Production 031252 at OBN_MDL 1st Production 031787;
MCKPUB00004298.



                                               89
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 91 of 309. PageID #: 93188




as a nurse working at University Hospitals Case Medical Center, she diverted morphine,

Dilaudid and fentanyl.378

         327.   Rejina Lynn Martin of Akron, Ohio pled guilty on April 19, 2011 in the Summit

County Court of Common Pleas for obtaining Vicodin from a pharmacy in Akron using a false

name. In January 2011, Ms. Martin stole Vicodin from an Akron resident and called in a

prescription in the victim’s name. She was sentenced to two years of community control.379

         328.   Catherine Martz, R.N. entered into a consent agreement with the Board of

Nursing in August 2017 to have her license to practice nursing as a registered nurse suspended

for two years. In January 2016, while working at the Southwest General Health Center, Ms.

Martz diverted Dilaudid.380

         329.   Karen Lynn Massey (also known as Karen Lynn Hawkins and Karen Lynn

Hinkle), L.P.N. entered into a consent agreement with the Board of Nursing on May 21, 2010 to

suspend indefinitely her license to practice nursing. While employed as a licensed practical

nurse at Pleasantview Care Center in Parma, Ohio in in May 2009, Ms. Massey diverted

Percocet. Ms. Massey also diverted Percocet while employed as a licensed practical nurse at St.

Augustine Manor in Cleveland, Ohio.381

         330.   Georgia Ann Matos, R.N. pled guilty on January 7, 2008 in the Cuyahoga County

Court of Common Pleas to offenses including aggravated theft. While employed at University



378
  OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100427;
MCKPUB00001726.
379
      AKRON_001273406; MCKPUB00025098; MCKPUB00025099; MCKPUB00025101.
380
      CUYAH_000030641; MCKPUB00001820.
381
  OBN_MDL 1st Production 012869, at OBN_MDL 1st Production 013001;
MCKPUB00003354; MCKPUB00003372; MCKPUB00003390.



                                               90
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 92 of 309. PageID #: 93189




Hospitals in Cleveland, Ohio, Ms. Matos diverted Demerol and morphine. As a result of her

criminal case, Ms. Matos entered into a consent agreement with the Board of Nursing on March

19, 2010, to have her license to practice nursing suspended indefinitely.382

         331.   Lisa J. McAvinew, R.N. of Mogadore, Ohio entered into a consent agreement

with the Board of Nursing in March 2008 to suspend indefinitely her license to practice nursing.

Ms. McAvinew admitted that, while employed as a registered nurse at Akron General Medical

Center in Akron, Ohio, she diverted Vicodin, Percocet, and Darvocet.383

         332.   Denise Annette McCanna, R.N. forged prescriptions for Percocet while employed

as a nurse at Children’s Consults for Digestive Care in Akron, Ohio. As a result of this conduct,

Ms. McCanna pled guilty on September 2, 2010 in the Summit County Court of Common Pleas,

and, on May 20, 2011, the Board of Nursing indefinitely suspended her license license to

practice nursing.384

         333.   Darrian McCarroll of Lakewood, Ohio pled guilty on November 9, 2009 in the

Cuyahoga Court of Common Pleas to trafficking OxyContin. Mr. McCarroll was sentenced to

two years in prison.385




382
  OBN_MDL 1st Production 014736, at OBN_MDL 1st Production 015825;
MCKPUB00002711; MCKPUB00002712; MCKPUB00002714; MCKPUB00028988.
383
  OBN_MDL 1st Production 035469, at OBN_MDL, 1st Production 036462;
MCKPUB00004045.
384
   OBN_MDL 1st Production 023282, at OBN_MDL 1st Production 024281; OBN_MDL 1st
Production 029049, at 029556; MCKPUB00002382.
385
      CUYAH_000043206; MCKPUB00002215; MCKPUB00002217; MCKPUB00002220.



                                                91
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 93 of 309. PageID #: 93190




         334.   Alvin McCurdy of Cleveland, Ohio pled guilty on January 31, 2007 to deception

to obtain a dangerous drug and forgery of OxyContin, oxycodone, and Percocet prescriptions.386

On February 28, 2007, Mr. McCurdy was sentenced to nine months of community control.

         335.   Ryan L. McManus of Bedford, Ohio pled guilty on November 6, 2008 in the

Cuyahoga County Court of Common Pleas to one count of trafficking oxycodone. Mr.

McManus was sentenced to two years in prison.387

         336.   Shannon Davis McNamara, R.N. of Rocky River, Ohio entered into a consent

agreement with the Board of Nursing in February 2016 to suspend indefinitely her license to

practice nursing. Ms. McNamara admitted that, for two weeks, she diverted Percocet and

morphine from Southwest General in Middleburg Heights, Ohio.388

         337.   Donald McNea of Cleveland, Ohio on June 26, 2007 pled guilty in the Cuyahoga

County Court of Common Pleas to trafficking hydrocodone and oxycodone. Mr. McNea was

sentenced to three years in prison.389

         338.   Ronald G. Mainor of Cleveland, Ohio pled guilty on October 1, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Mainor was sentenced

to three years in prison.390




386
      MCKPUB00000945; MCKPUB00000948; MCKPUB00000949.
387
      CUYAH_000038627; MCKPUB00005417; MCKPUB00005419; MCKPUB00005422.
388
  OBN_MDL 1st Production 102044, at OBN_MDL 1st Production 103363;
MCKPUB00023924.
389
      CUYAH_000020924.
390
      CUYAH_000042658; MCKPUB00005335; MCKPUB00005336; MCKPUB00005341.



                                               92
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 94 of 309. PageID #: 93191




         339.   Debra S. Medovic of Garfield Heights, Ohio pled guilty on February 15, 2011 in

the Cuyahoga County Court of Common Pleas to one count of trafficking Percocet. Ms.

Medovic was sentenced to one year of community control.391

         340.   Javonnda M. Merchant, L.P.N. of Akron, Ohio had her license to practice nursing

as a licensed practical nurse indefinitely suspended by the Board of Nursing. On December 18,

2013, in the Summit County Court of Common Pleas, Ms. Merchant pled guilty to offenses

including theft of drugs. In May 2013, as a nurse working at Copley Health Center in Akron,

Ohio, Ms. Merchant stole hydrocodone and falsified a patient’s Controlled Substance Record.392

         341.   Holly Marie Metz, R.N. of Bedford, Ohio had her license to practice nursing as a

licensed practical nurse suspended by the Board of Nursing. In 2014, as a nurse at MetroHealth

Medical Center, Ms. Metz diverted oxycodone and tramadol.393

         342.   Joseph Michael was identified by Plaintiffs Summit County and the City of Akron

in a replacement supplemental interrogatory response as someone under investigation for

diversion of prescription opioids within Summit County and Akron.394 An email to Akron Police

Detective Patrick Leonard identified Mr. Michael as a potential doctor shopper because he had

forty-four prescriptions from sixteen healthcare providers across eight different pharmacies.395




391
      CUYAH_000024898; MCKPUB00002366; MCKPUB00002367; MCKPUB00002372.
392
      OBN_MDL 1st Production 064580, at OBN_MDL 1st Production 065533.
393
  OBN_MDL 1st Production 116045, at OBN_MDL 1st Production 117784;
MCKPUB00002839.
394
   Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 42.
395
      AKRON_001312637.



                                                 93
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 95 of 309. PageID #: 93192




         343.    Sabrina Mickel, a dentist who practiced dentistry in Beachwood, Ohio, had her

license suspended indefinitely by the Dental Board, effective May 18, 2016.396 Dr. Mickel pled

guilty on September 19, 2017 in the Cuyahoga Court of Common Pleas to offenses including

deception to obtain a dangerous drug (hydrocodone). She was granted intervention in lieu of

conviction.397

         344.    Christopher Mihalek of Akron, Ohio pled guilty on August 5, 2015 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking in oxycodone. Mr.

Mihalek acted as a “mule” for several individuals who paid and directed him to call in forged

prescriptions for Vicodin and oxycodone at pharmacies in Cuyahoga County. Mr. Mihalek

returned the medications to those individuals, who then sold those medications to others. Mr.

Mihalek was sentenced to two years in prison.398

         345.    Paul D. Millay of Cleveland, Ohio pled guilty on May 7, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking oxycodone. Mr. Millay was sentenced to one year

of intervention in lieu of conviction.399

         346.    Christine Elizabeth Miller (also known as Christine Elizabeth Crine), R.N. had

her license to practice nursing suspended indefinitely by the Board of Nursing in September




396
      OSDB_MDL 1st Production_007517.
397
  CUYAH_000075738; MCKPUB00005444; MCKPUB00005446; MCKPUB00005448;
MCKPUB00024552; MCKPUB00024555.
398
  MCKPUB00024114; MCKPUB00024121; MCKPUB00024122; MCKPUB00024127;
MCKPUB00024129.
399
      CUYAH_000041123; MCKPUB00004937; MCKPUB00004938; MCKPUB00004941.



                                                 94
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 96 of 309. PageID #: 93193




2010. For a period of one year, while employed as a registered nurse at the Akron General

Medical Center in Akron, Ohio, Ms. Miller diverted fentanyl.400

         347.   Derrick V. Miller, Jr. of Chillicothe, Ohio pled guilty on February 16, 2017 in the

Cuyahoga County Court of Common Pleas to deception to obtain a dangerous drug, namely

oxycodone. Mr. Miller was sentenced to eighteen months of imprisonment.401

         348.   Kenneth Mills, the former Cuyahoga County Sheriff’s Department’s Director of

Regional Corrections, was indicted by a Cuyahoga County grand jury on January 18, 2019 for

telecommunications fraud, falsification of government records, and obstructing official business,

for conduct on or about May 22, 2018. According to prosecutors, Mr. Mills lied to the Cuyahoga

County Council at a May 22, 2018 meeting about his role in blocking the hiring of necessary

nursing staff for jail facilities. At the May 22, 2018 meeting, an employee of MetroHealth also

blamed Mr. Mills for obstructing the hiring of nurses and reducing security at the medical unit of

Cuyahoga County Corrections Center. On information or belief, Mr. Mills’s conduct increased

the diversion of prescription opioids within Cuyahoga County Corrections Center.402

         349.   Monica R. Mills (also known as Monica R. Kehres), R.N., L.P.N. of Tallmadge,

Ohio had her licenses to practice nursing suspended indefinitely on November 16, 2017 for

intentionally making, selling, or knowingly possessing a false or forged prescription for

oxycodone on or about August 9, 2016. On June 12, 2017, Ms. Mills pled guilty in the Summit

County Court of Common Pleas for this conduct.403


400
  OBN_MDL 1st Production 021117 at OBN_MDL 1st Production 022446;
MCKPUB00023758.
401
      CUYAH_000032131; MCKPUB00002412; MCKPUB00002413; MCKPUB00002415.
402
      MCKPUB00024454; MCKPUB00024455; MCKPUB00024457.
403
      OBN_MDL 1st Production 125822, at 127524; MCKPUB00004631; MCKPUB00004633.



                                                 95
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 97 of 309. PageID #: 93194




         350.   Christa Marie Mistak, L.P.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing in March 2011. Ms. Mistak admitted that, while employed

as a licensed practical nurse at Algart Health Care in Cleveland, Ohio, she stole cards containing

Vicodin pills.404

         351.   Heather R. Mitchell of Cleveland, Ohio pled guilty on February 19, 2016 in the

Cuyahoga County Court of Common Pleas to offenses including engaging in a pattern of corrupt

activity, corrupting another with drugs, aggravated theft, deception to obtain a dangerous drug,

and drug trafficking, for conduct that occurred in Cuyahoga County. From December 2012 to

October 2014, Ms. Mitchell directed a conspiracy that obtained prescription narcotics, including

Vicodin and oxycodone, and sold or traded those drugs for heroin. Ms. Mitchell directed the

theft of prescription pads or creation of fictitious prescription papers and posed as a law

enforcement officer to obtain doctors’ DEA registration numbers. Ms. Mitchell then forged

prescriptions that she gave to drivers and mules to acquire prescription opioids. Ms. Mitchell

was sentenced to eleven years in prison.405

         352.   Linda Jeanne Moore (also known as Linda Jeanne Catalano), L.P.N. admitted on

September 12, 2012 to stealing Percocet and Vicodin from Life Care Center of Westlake, Ohio

while working as a nurse at that facility. On May 17, 2013, Ms. Moore and the Board of Nursing

agreed to a consent agreement to suspend indefinitely her license to practice nursing.406




404
   OBN_MDL 1st Production 021117 at OBN_MDL 1st Production 021165; OBN_MDL 1st
Production 155623 at OBN_MDL 1st Production 155721; MCKPUB00001881.
405
  MCKPUB00024322; MCKPUB00024333; MCKPUB00024334; MCKPUB00024339;
MCKPUB00024341.
406
      OBN_MDL 1st Production 054509, at 054887.



                                                 96
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 98 of 309. PageID #: 93195




         353.   Jennifer L. Moran, R.N., C.N.P. had her license to practice nursing as a licensed

practical nurse suspended by the Board of Nursing in November 2015. Ms. Moran admitted that

she failed to document the administration of medication she withdrew from the computerized

medication dispenser, including hydromorphone and fentanyl, while working as a nurse at

University Hospital in Cleveland, Ohio.407

         354.   James Joseph Morris, R.N. had his license to practice nursing as a licensed

practical nurse suspended by the Board of Nursing in November 2014. Mr. Morris admitted that,

while working as a nurse for the Cleveland Clinic, he diverted fentanyl.408

         355.   Dustin Myers of Cleveland, Ohio pled guilty on June 7, 2010 in the Cuyahoga

County Court of Common Pleas to trafficking hydrocodone. Mr. Myers was sentenced to one

year in prison.409

         356.   Jonell Alethea Neiswonger, R.N. of Maryland Heights, Ohio had her license to

practice nursing as a registered nurse permanently revoked by the Board of Nursing on

November 21, 2014. Ms. Neiswonger stated on October 17, 2013 that, while working as a nurse

at Bloom at Lakewood Senior Living in Lakewood, Ohio, she diverted Percocet. Additionally,

as a nurse working at Lakewood Senior Health Campus in Lakewood, Ohio, Ms. Neiswonger

diverted Vicodin, Percocet, and OxyContin and tampered with medication blister cards for three

residents.410



407
  OBN_MDL 1st Production 085996, at OBN_MDL 1st Production 087403;
MCKPUB00003086.
408
  OBN_MDL 1st Production 085996, at OBN_MDL 1st Production 086452;
MCKPUB00002888.
409
      CUYAH_000023705; MCKPUB00002508; MCKPUB00002509; MCKPUB00002511.
410
   OBN_MDL 1st Production 069491, at OBN_MDL 1st Production 070643; OBN_MDL 1st
Production 160588, at OBN_MDL 1st Production 160830.


                                                97
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 99 of 309. PageID #: 93196




       357.     Megan M. Neuman, R.N. had her license to practice nursing as a registered nurse

indefinitely suspended by the Board of Nursing in November 2013. On or about June 7, 2012,

Ms. Neuman admitted to a Board Compliance Agent that she diverted narcotics from University

Hospitals in Cleveland. Ms. Neuman failed to account for medications she withdrew, withdrew

medications in violation of physician orders, and documented the administration of medications

in violation of physician orders. These medications included Percocet, Dilaudid, and

oxycodone.411

       358.     Helga Janine Nicastro, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing in March 2012. Ms. Nicastro stole Percocet from

MetroHealth Medical Center in Cleveland, Ohio and falsified records.412

       359.     Annette Nigro, R.N., C.R.N.A. had her permanent voluntary retirement accepted

by the Board of Nursing in March 2014. Ms. Nigro admitted that she diverted fentanyl and

Demerol from Barberton Hospital where she worked as a certified nurse anesthetist.413

       360.     Shiyla A. Nix, R.N. of Mayfield Heights, Ohio had her license to practice nursing

as a registered nurse suspended indefinitely by the Board of Nursing in January 2015. Ms. Nix




411
   OBN_MDL 1st Production 056992 at OBN_MDL 1st Production 058584; OBN_MDL 1st
Production 160421 at OBN_MDL 1st Production 160431; MCKPUB00004354;
MCKPUB00029001.
412
   OBN_MDL 1st Production 033744 at OBN_MDL 1st Production 034807; OBN_MDL 1st
Production 155812 at OBN MDL 1st Production 155898; MCKPUB00002820-02838.
413
   OBN_MDL 1st Production 035469, at OBN_MDL 1st Production 035828; BN_MDL 1st
Production 059516 at OBN_MDL 1st Production 059951; OBN_MDL 1st Production 156153 at
OBN_MDL 1st Production 156389; MCKPUB00001229.



                                                98
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 100 of 309. PageID #: 93197




admitted to diversion of fentanyl and Dilaudid while working as a nurse at University Hospitals

of Cleveland.414

         361.   Edward Mugo Njoroge, R.N. had his license to practice nursing as a registered

nurse suspended indefinitely by the Board of Nursing in May 2013. As a nurse working in the

Cleveland Clinic ICU, Mr. Njoroge diverted waste fentanyl. Mr. Njoroge also admitted that

while working as a nurse in the Cleveland Clinic Foundation ICU, he diverted morphine and

Dilaudid.415

         362.   Jeffrey Norman of Cleveland, Ohio pled guilty on April 27, 2010 in the Cuyahoga

Court of Common Pleas to trafficking in oxycodone and hydrocodone. Mr. Norman was

sentenced to three years in prison.416

         363.   Andrew P. Norris pled guilty on May 13, 2015 in the Summit County Court of

Common Pleas to offenses including deception to obtain a dangerous drug for presenting an

altered prescription for oxycodone to a pharmacy. Mr. Norris was sentenced to two years of

community control.417 Plaintiffs Summit County and the City of Akron identified Mr. Norris in

their supplemental interrogatory responses as someone under investigation for diversion.418



414
  OBN_MDL 1st Production 080783, at OBN_MDL 1st Production 081210;
MCKPUB00005551.
415
      CUYAH_000028138; MCKPUB00002569.
416
      CUYAH_000041260; MCKPUB00003033; MCKPUB00003035; MCKPUB00003037.
417
      SUMMIT_000633119; AKRON_001139534; SUMMIT_000633096.
418
   Summit County and City of Akron, Ohio Plaintiff’s Replacement Supplemental Responses
and Objections to Manufacturer Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
20, 21, 26, 27, 28 & 29, at 240; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29, at 41; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to National Retail Pharmacy Defendants’ Interrogatory
Nos. 4, 7, 15, 16 & 19, at 27.



                                               99
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 101 of 309. PageID #: 93198




         364.   Breane Jolan O’Brien, L.P.N. of North Royalton and Middleburg Heights, Ohio

pled guilty on January 12, 2016 in the Cuyahoga County Court of Common Pleas to aggravated

theft of oxycodone. In November 2016, the Board of Nursing indefinitely suspended Ms.

O’Brien’s license to practice nursing as a licensed practical nurse.419

         365.   Lisa Offord of Akron, Ohio pled guilty on July 17, 2014 in the Summit County

Court of Common Pleas to aggravated trafficking in drugs for selling Percocet. Ms. Offord was

sentenced on July 17, 2014 to two years of community service.420

         366.   Brandy Lee Olinger, R.N. pled guilty on June 16, 2010 in the Cuyahoga County

Court of Common Pleas to offenses including theft of drugs. In January 2011, the Board of

Nursing indefinitely suspended her license to practice nursing. Ms. Olinger diverted oxycodone

from Akron General Medical Center.421

         367.   Michael Christopher Oros, R.N. of Brunswick, Ohio had his license to practice

nursing as a registered nurse suspended indefinitely by the Board of Nursing in November 2014.

On April 19, 2012, while working as a registered nurse at MetroHealth Medical Center in

Cleveland, Ohio, Mr. Oros administered MS Contin (morphine) to a patient, but according to the

patient, the MS Contin was not received as documented by Mr. Oros.422




419
   OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100391; OBN_MDL 1st
Production 113399, at OBN_MDL 1st Production 114739; MCKPUB00001530;
MCKPUB00001531; MCKPUB00001536; MCKPUB00001539.
420
  AKRON_000205318; MCKPUB00017633; MCKPUB00017635; MCKPUB00017636;
MCKPUB00029026; MCKPUB00029028; MCKPUB00029029.
421
   AKRON_001142100; OBN_MDL 1st Production 021117 at OBN_MDL 1st Production
021722; MCKPUB00001513.
422
      MCKPUB00004482.



                                                100
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 102 of 309. PageID #: 93199




         368.   Richard L. Overdorf of Akron, Ohio, pled guilty on on December 17, 2018 to

conspiracy to possess with the intent to distribute controlled substances such as oxycodone from

December 2015 to November 2016. Mr. Overdorf allegedly presented forged prescriptions to

pharmacies and used and sold the drugs that he obtained.423 Mr. Overdorf was sentenced to

eighten months in prison.424

         369.   Deborah Owens of Cleveland, Ohio pled guilty on December 20, 2012 in the

Cuyahoga County Court of Common Pleas to distributing Percocet. From August 2011 to

November 2011, Ms. Owens attempted to procure the administration of, a prescription for, or the

dispensing of Percocet. Ms. Owens was sentenced to one and a half years of community

control.425

         370.   Shalese Patterson of Cleveland, Ohio pled guilty on February 20, 2013 in the

Cuyahoga County Court of Common pleas to distributing Percocet. From August 2011 to

November 2011, Ms. Patterson procured the administration of, a prescription for, or the

dispensing of Percocet. Ms. Patterson was sentenced to one and a half years of community

control.426

         371.   Domenick Patty of Brookpark, Ohio pled guilty on October 21, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Patty was sentenced to

one year in the early intervention program.427




423
      MCKPUB00005259; MCKPUB00005257.
424
      MCKPUB00025112.
425
      CUYAH_006985926; MCKPUB00002330; MCKPUB00002331; MCKPUB00002334.
426
      CUYAH_006985926; MCKPUB00005489; MCKPUB00005490; MCKPUB00005493.
427
      CUYAH_000038876; MCKPUB00002452; MCKPUB00002453; MCKPUB00002455.



                                                 101
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 103 of 309. PageID #: 93200




         372.   Gina Marie Paugh, L.P.N., of Fairview Park, Ohio, pled guilty on July 26, 2018 in

the Cuyahoga County Court of Common Pleas to offenses including theft of oxycodone, for

conduct that occurred from February 26, 2016 to June 24, 2016. On September 27, 2018, the

Board of Nursing indefinitely suspended her license to practice nursing.428

         373.   Dan Paulk of Akron, Ohio pled guilty on July 20, 2015 in the Summit County

Court of Common Pleas to aggravated trafficking in hydromorphone. According to the county

prosecutor’s sentencing memorandum, Mr. Paulk sold hydromorphone that had been prescribed

to him, and it is “because of offenders, like the defendant, that these drugs are available to people

that normally would not have such access.” The sentencing memorandum also stated that Mr.

Paulk had a two-year-old child whom he kept in a “cage,” or a crib with a lid secured by a belt,

“to go sell drugs.” Mr. Paulk was sentenced to three years of community control.429

         374.   Christina Lee Pearsall, R.N. of Cleveland, Ohio had her license permanently

revoked. Ms. Pearsall pled guilty in the Cuyahoga County Court of Common Pleas to offenses

including theft of Percocet and oxycodone. From January 2007 to August 2007, Ms. Pearsall

forged prescriptions in the names of patients and physicians to obtain Percocet and oxycodone.

Ms. Pearsall admitted to the theft and forgery, as well as that she sold or gave away pills.430

         375.   Beth Marie Pedulla, L.P.N. of Tallmadge, Ohio pled guilty on January 29, 2010 in

the Summit County Court of Common Pleas to offenses including theft of hydrocodone, for




428
      OBN_MDL 1st Production 143830, at 148996; MCKPUB00002716.
429
  MCKPUB00025119; MCKPUB00025120; MCKPUB00025145; MCKPUB00025148;
MCKPUB00025152.
430
  OBN_MDL 1st Production 000001, at OBN_MDL 1st Production 000626
 OBN_MDL 1st Production 155386, at OBN MDL 1st Production 155460.



                                                102
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 104 of 309. PageID #: 93201




conduct that occurred while she was working as a nurse at Essex of Tallmadge. On July 30,

2010 the Board of Nursing indefinitely suspended Ms. Pedulla’s license to practice nursing.431

         376.   Kelly Michelle Pelter, R.N. entered into a consent agreement with the Board of

Nursing on January 22, 2010 to have her license to practice nursing suspended indefinitely.

While employed as a registered nurse at Favorite Nurses Agency and working at South Pointe

Hospital in Warrensville Heights, Ohio, Ms. Pelter diverted Demerol for appoximately two

months.432

         377.   Anthony H. Perry of East Cleveland, Ohio pled guilty on November 19, 2012 in

the Northern District of Ohio to conspiracy to possess with intent to distribute oxycodone,

specifically Oxycontin and Percocet. Specifically, between January 2011 and January 2012, Mr.

Perry received fraudulent prescriptions and served as a “walker” who attempted to fill the

prescriptions at pharmacies in Northeast Ohio, including several in Cleveland, Shaker Heights,

and Garfield Heights. Mr. Perry then provided the pills to the conspiracy ringleader, who paid

Mr. Perry for filling the fraudulent prescriptions.433

         378.   Nelson E. Perry of Akron, Ohio pled guilty on September 17, 2007 in the Summit

County Court of Common Pleas to aggravated trafficking of drugs, namely Percocet. He was

sentenced to one year of incarceration, suspended provided that he complete two years of

community control.434




431
      OBN_MDL 1st Production 018725, at OBN_MDL 1st Production 020983.
432
   OBN_MDL 1st Production 012869, at OBN_MDL 1st Production 013536; OBN_MDL 1st
Production 035469, at OBN_MDL 1st Production 035774; MCKPUB00003622.
433
      MCKPUB00025177; MCKPUB00001313.
434
      AKRON_001157926; MCKPUB00025204; MCKPUB00025205; MCKPUB00025207.


                                                 103
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 105 of 309. PageID #: 93202




       379.    Deirdre Anne Peters, R.N. entered a consent agreement with the Board of Nursing

in July 2012. On or about May 19, 2008, Ms. Peters was confronted about discrepancies in her

withdrawal and administration of narcotics and admitted diverting Dilaudid while working as a

registered nurse in the Emergency Room at MetroHealth Medical Center in Cleveland, Ohio. In

an interview with a Board Compliance Agent, on or about July 8, 2008, Ms. Peters admitted to

stealing Dilaudid from her employer beginning in December 2007.435

       380.    Christopher M. Petersen, L.P.N. pled guilty on January 31, 2017 in the Cuyahoga

County Court of Common Pleas to offenses including aggravated theft of oxycodone and

hydrocodone. On September 14, 2017, the Board of Nursing placed Mr. Petersen’s license to

practice nursing on a stayed suspension under probationary terms and restrictions for a minimum

period of three years.436

       381.    Rachel Joy Petti, R.N., L.P.N. of Mentor, Ohio entered into a consent agreement

with the Board of Nursing November 2011 to suspend indefinitely her license to practice

nursing. On November 12, 2010, Petti admitted to the Board of Nursing that she diverted

Percocet and Vicodin from University Hospitals and Richmond Medical Center, where she

worked as a nurse, and documented the diversions as administrations.437




435
   OBN MDL 1st Production 038993, at OBN MDL 1st Production 039899; OBN_MDL 1st
Production 153407, at OBN_MDL 1st Production 153424.
436
   OBN_MDL 1st Production 119052, at 120148; OBN MDL 1st Production 163503, at
163664; MCKPUB00001950; MCKPUB00001951; MCKPUB00001953.
437
  OBN_MDL 1st Production 035469, at OBN_MDL 1st Production 035763;
MCKPUB00005145.



                                              104
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 106 of 309. PageID #: 93203




         382.   Kevin Phan of Bedford, Ohio, pled guilty on July 11, 2007 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking oxycodone and

hydrocodone.438

         383.   Denise M. Phelps of Akron, Ohio pled guilty on May 30, 2013 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

oxycodone. Ms. Phelps was sentenced to three years of community control. 439

         384.   Ronald L. Phelps of Akron, Ohio pled guilty on September 13, 2012 in the

Summit County Court of Common Pleas to aggravated trafficking in drugs. He was sentenced to

one year in prison. Mr. Phelps trafficked oxycodone pills to a woman in a parking lot.440

         385.   Alisa M. Pitmon, L.P.N. of Maple Heights, Ohio had her license to practice

nursing indefinitely suspended by the Board of Nursing in September 2016. As a nurse working

at the Avenue Care and Rehabilitation Center in Warrensville Heights, Ohio (The Avenue), Ms.

Pitmon failed to document the administration or otherwise account for the disposition of

oxycodone (Percocet).441

         386.   Danielle Ann Pizzuli, R.N. entered into a consent agreement with the Board of

Nursing on November 17, 2016 to suspend indefinitely her license to practice nursing. While

working as a nurse for the Cleveland Clinic, Ms. Pizzuli diverted fentanyl, morphine, and

Dilaudid.442


438
      CUYAH_000035518; MCKPUB00003642; MCKPUB00003643; MCKPUB00003645.
439
      AKRON_000281601, MCKPUB00002396; MCKPUB00002398.
440
      AKRON_000287339; MCKPUB00005332; MCKPUB00005334.
441
  OBN_MDL 1st Production 098951, at OBN_MDL 1st Production 100304;
MCKPUB00000919.
442
   OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 109182; OBN_MDL 1st
Production 161275 at OBN_MDL 1st Production 161289; MCKPUB00002200.



                                               105
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 107 of 309. PageID #: 93204




         387.   Anthony Pollard of Bedford, Ohio pled guilty on March 11, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking OxyContin. Mr. Pollard was sentenced to five

years in prison.443

         388.   Sharon Popil of Cleveland, Ohio pled guilty on January 9, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking oxycodone. Ms. Popil was sentenced to one and

one half years of community control.444

         389.   J’Nette Powe of Akron, Ohio pled guilty on November 26, 2013 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs, namely oxycodone. Ms.

Powe admitted to selling oxycodone in a parking lot in Akron, Ohio on September 17, 2013.

Ms. Powe was sentenced to twenty-four months of community control.445

         390.   Carl L. Powers of Cleveland, Ohio, pled guilty on May 1, 2014 in the Cuyahoga

County Court of Common Pleas for diverting oxycodone. Mr. Powers was sentenced to one year

of community control.446

         391.   Sarah Elizabeth Prem, R.N. had her license to practice nursing suspended by the

Board of Nursing in May 2016. Ms. Prem admitted that she diverted fentanyl while working as a

nurse for University Hospitals of Cleveland Case Medical Center.447




443
      CUYAH_000035737; MCKPUB00001315; MCKPUB00001316; MCKPUB00001329.
444
      CUYAH_000036338; MCKPUB00005501; MCKPUB00005503; MCKPUB00005506.
445
      AKRON_001280294; MCKPUB00025209; MCKPUB00025210; MCKPUB00025212.
446
      CUYAH_000057440; MCKPUB00001745; MCKPUB00001746; MCKPUB00001748.
447
      OBN_MDL 1st Production 113399; MCKPUB00005468.



                                               106
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 108 of 309. PageID #: 93205




         392.   Phillip L. Prince of Cleveland Heights, Ohio pled guilty on April 19, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone and hydrocodone. Mr.

Prince was sentenced to two years of community control.448

         393.   David Race, R.N. had his license to practice nursing suspended indefinitely by the

Board of Nursing on September 28, 2007. Mr. Race admitted that, while working as a registered

nurse at Fairview Hospital, he stole morphine, took waste morphine, and removed extra doses of

morphine.449

         394.   Destiny Ramos of Cleveland, Ohio pled guilty on December 20, 2012 in the

Cuyahoga County Court of Common Pleas to distributing Percocet. From August 2011 to

November 2011, Ms. Ramos procured the administration of, a prescription for, or the dispensing

of Percocet. Ms. Ramos was sentenced to one and a half years of community control.450

         395.   Oscar R. Ramos of Cleveland, Ohio pled guilty on November 10, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Ramos was given

intervention in lieu of conviction and ordered to forfeit $29,299.00.451

         396.   Donna Ratica pled guilty on March 26, 2009 in the Cuyahoga County Court of

Common Pleas to theft of drugs and tampering with drugs. While working as a licensed

practical nurse at Mt. St. Joseph Nursing Center, Ms. Ratica diverted ETH-Oxydose from a

patient by replacing the medication with water and returning the bottles to the patient’s supply,

and she diverted hydrocodone by writing a false telephone order for a patient. On September 25,


448
      CUYAH_000027745; MCKPUB00005044; MCKPUB00005045; MCKPUB00005050.
449
  OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 060791;
MCKPUB00002291.
450
      CUYAH_006985926; MCKPUB00002426; MCKPUB00002427; MCKPUB00002430.
451
      CUYAH_000028834; MCKPUB00004891; MCKPUB00004892; MCKPUB00004895.



                                                107
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 109 of 309. PageID #: 93206




2009, the Board of Nursing permanently revoked her license to practice nursing as a licensed

practical nurse.452

         397.   Shaun M. Ray of Cleveland, Ohio pled guilty on August 24, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Ray was sentenced to

one year of community control.453

         398.   Peggy Ann Rayer, R.N. of Bedford, Ohio pled guilty on November 24, 2014 in

the Cuyahoga County Court of Common Pleas to offenses including theft and aggravated theft of

Dilaudid. In January 2015, the Board of Nursing suspended Ms. Rayer’s license to practice

nursing. Ms. Rayer admitted to the diversion of Dilaudid waste in December 2012, while

working as a nurse at University Hospitals of Cleveland.454

         399.   Erin Elizabeth Reed, D.T. entered into consent agreement with the Board of

Nursing in November 2011 to suspend indefinitely her certificate as a dialysis technician. Ms.

Reed removed blank prescriptions from her place of employment, St. Vincent Charity Hospital

in Cleveland, Ohio, and completed one of the prescription forms for Vicodin using a physician’s

name and DEA number.455

         400.   Charmin Reeves of Cleveland, Ohio was convicted by a jury on August 11, 2014

in the Northern District of Ohio of crimes including conspiracy to possess with intent to

distribute oxycodone. Ms. Reeves also had her license to practice nursing permanently revoked



452
  OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 003319;
MCKPUB00025214; MCKPUB00029030; MCKPUB00029032; MCKPUB00029035.
453
      CUYAH_000036238; MCKPUB00005508; MCKPUB00005510; MCKPUB00005512.
454
  OBN_MDL 1st Production 080783, at OBN_MDL_1st Production 082000;
MCKPUB00004988.
455
      OBN_MDL 1st Production 035469, at OBN_MDL 1st Production 035756.



                                               108
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 110 of 309. PageID #: 93207




months by the Board of Nursing in July 21, 2016. Ms. Reeves asked her cousin to fill a

prescription for OxyContin using a forged prescription on the stolen prescription pad of a

physician employed by Cleveland Clinic Hospital, where Ms. Reeves worked as an operating

room scheduler.456

         401.   Jennifer Lynn Reilly, L.P.N. of North Royalton, Ohio, had her license to practice

nursing suspended indefinitely by the Board of Nursing in November 2012. Ms. Reilly admitted

that, while employed as a licensed practical nurse at Parma Community Hospital in Parma, Ohio,

she diverted Percocet and Vicodin.457

         402.   Patrick R. Reinke, L.P.N., had his license to practice nursing as a licensed

practical nurse permanently revoked by the Board of Nursing in November 2010. Mr. Reinke

stole oxycodone, tampered with medication records, and deceived to obtain a dangerous drug.458

         403.   Nicole Leeanne Rese, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing in September 2009. Ms. Rese admitted that, as a nurse

working at the Akron Children’s Hospital, she diverted Dilaudid and morphine.459

         404.   Linda Marie Reynolds, R.N. entered into a consent agreement with the Board of

Nursing in September 2010 to suspend indefinitely her license to practice nursing. As a nurse

working at Southpointe Hospital in Warrensville Heights, Ohio, Ms. Reynolds diverted Percocet



456
   CLEVE_000331192; OBN_MDL 1st Production 074923, at OBN_MDL 1st Production
076176; OBN_MDL 1st Production 154383, at OBN_MDL 1st Production 154718;
MCKPUB00001879; MCKPUB00029037.
457
   OBN_MDL 1st Production 037202, at OBN_MDL 1st Production 038310; OBN_MDL 1st
Production 160238, at OBN MDL 1st Production 160311; MCKPUB00003120.
458
      CUYAH_000043481; MCKPUB00004925.
459
  OBN_MDL 1st Production 023282, at OBN_MDL 1st Production 023726;
MCKPUB00004806.



                                                109
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 111 of 309. PageID #: 93208




tablets from her patients between 2005 and 2006. As a nurse working at the Northeast Pre-

Release Center (“NEPRC”) in Cleveland, Ohio in 2008, she diverted pain medication by

modifying or destroying medical records. Ms. Reynolds’ license to practice as a registered nurse

was permanently revoked on July 29, 2013.460

         405.   Anthony E. Rhodes of Akron, Ohio pled guilty on April 20, 2015 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

oxycodone. Mr. Rhodes was sentenced to four years in prison.461

         406.   Richard A. Rice of Akron, Ohio pled guilty on March 26, 2014 in the Summit

County Court of Common Pleas to trafficking in drugs (Vicodin), for conduct occurring in

Akron. Mr. Rice was sentenced to twelve months of community control.462

         407.   Laura Ann Ringenbach, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing in July 2007. While working as a nurse at the Akron

General Medical Center, Ms. Ringenbach obtained injectable narcotics including morphine,

Dilaudid, and hydromorphone under patient names, and she failed to document administration of

the narcotics to patients.463

         408.   Latonya S. Robinson, L.P.N. of Cleveland, Ohio pled guilty on April 25, 2017 in

the Cuyahoga County Court of Common Pleas to offenses including theft of oxycodone. In July

2017, the Board of Nursing indefinitely suspended her license to practice nursing. Ms. Robinson


460
   OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 003430; OBN_MDL 1st
Production 021117 at OBN_MDL 1st Production 022682; MCKPUB00003956.
461
  SUMMIT_000612623; MCKPUB00025221; MCKPUB00025222; MCKPUB00025224;
MCKPUB00025227.
462
      AKRON_001280479; MCKPUB00025228; MCKPUB00025229; MCKPUB00025232.
463
  OBN_MDL 1st Production 021117 at OBN_MDL 1st Production 021560;
MCKPUB00003822.



                                               110
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 112 of 309. PageID #: 93209




diverted Percocet from a patient from February 2015 through February 2016, while she was

employed as a nurse at Eliza Bryant Village in Cleveland, Ohio. Additionally, from May 2016

through November 2016, Ms. Robinson diverted Percocet and oxycodone from Franklin Plaza in

Cleveland, Ohio, where she was subsequently employed as a nurse.464

         409.   Christopher John Roch, a practical nurse, had his license to practice suspended for

no less than two years on April 9, 2012. The Board of Nursing found that Mr. Roch diverted

oxycodone for a period of six to eight months starting in August 2011 while he was working at

the Cleveland VA Medical Center in Cleveland, Ohio.465

         410.   John Roche of Cleveland, Ohio pled guilty on March 9, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking oxycodone. Mr. Roche was sentenced to three

years of community control.466

         411.   Jason Roop of Cleveland, Ohio pled guilty on February 5, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking oxycodone. Mr. Roop was sentenced to 130 days

in jail.467

         412.   Troy Roop of Cleveland, Ohio pled guilty on March 1, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking oxycodone. Mr. Roop was sentenced to six

months in jail.468



464
   OBN_MDL 1st Production 119052, at 120078; OBN_MDL 1st Production 122353, at
124127;MCKPUB00003816; MCKPUB00003820.
465
   OBN_MDL 1st Production 045533, at OBN_MDL 1st Production 046510-11; OBN_MDL
1st Production 157945, at OBN_MDL 1st Production 158037; MCKPUB00001955;
MCKPUB00001956; MCKPUB00001959.
466
      CUYAH_000032325; MCKPUB00003251; MCKPUB00003252; MCKPUB00003255.
467
      CUYAH_000077025; MCKPUB00003028; MCKPUB00003029; MCKPUB00003031.
468
      CUYAH_000077025; MCKPUB00006172; MCKPUB00006173; MCKPUB00006176.



                                                111
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 113 of 309. PageID #: 93210




         413.   Aimee Joanne Roscoe, L.P.N. had her license to practice nursing permanently

revoked by the Board of Nursing on or about September 24, 2010. Ms. Roscoe pled guilty in the

Cuyahoga County Court of Common Pleas to offenses including forgery, forging identification

cards, tampering with records, and theft. Roscoe admitted to diverting Percocet and oxycodone

from Parma Community General Hospital in June and July 2008 and to diverting Percocet from a

resident’s supply at Normandy Manor Nursing Home.469

         414.   Dennie Rowland was indicted in February 2018 for conspiracy to possess with the

intent to distribute controlled substances including oxycodone from December 2015 to

November 2016. Mr. Rowland worked at a doctor’s office and allegedly forged signatures on

prescription pads which put thousands of doses of oxycodone on the streets of Akron and

Canton.470

         415.   Kayla L. Royko, R.N. of Parma, Ohio had her license to practice nursing

suspended indefinitely by the Board of Nursing on September 14, 2017 for obtaining or exerting

control over fentanyl beyond the scope of express or implied consent of the owner or person

authorized to give consent and for making a false statement on a prescription while employed as

a nurse at University Hospitals Parma Medical Center. Ms. Royko pled guilty in the Cuyahoga

County Court of Common Pleas to these offenses on May 9, 2017.471

         416.   Asia Tanay Rucker of Cleveland, Ohio pled guilty on May 1, 2014 in the

Cuyahoga County Court of Common Pleas to offenses including deception to obtain a dangerous


469
   OBN_MDL 1st Production 016725, at OBN_MDL 1st Production 016884; OBN_MDL 1st
Production 161901, at OBN MDL 1st Production 161990; OBN_MDL 1st Production 021117 at
OBN_MDL 1st Production 023174; MCKPUB00023746.
470
      MCKPUB00002401; MCKPUB00002399.
471
   OBN_MDL 1st Production 122353, at 124106; OBN MDL 1st Production 163503, at
163857; MCKPUB00003601; MCKPUB00003602; MCKPUB00003604; MCKPUB00029044.



                                               112
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 114 of 309. PageID #: 93211




drug, for conduct involving oxycodone. Ms. Rucker was sentenced to two years of community

control.472

         417.   Daniel Michael Rush, R.N. of University Heights, Ohio had his license to practice

nursing suspended for two years by the Board of Nursing on November 21, 2014. While

working as a nurse at the Hillcrest Hospital at the Cleveland Clinic, Mr. Rush diverted

fentanyl.473

         418.   Lisa A. Rzeszotarski of New Franklin, Ohio pled guilty on March 16, 2015 in the

Summit County Court of Common Pleas to deception to obtain a dangerous drug, namely

oxycodone. She obtained controlled narcotics from at least 32 physicians in the Akron area over

twelve months. Ms. Rzeszotarski was sentenced to one year in prison, suspended provided that

she complete eighteen months of community control.474

         419.   Mohammad H. Saedi pled guilty to two felony counts of aggravated drug

possession and, on October 8, 2014, he was sentenced to three years in prison and was ordered to

forfeit $15,000. The convictions were for using aliases to fill prescriptions within the Greater

Cuyahoga County area and maintaining possession of large quantities of oxycodone-based drugs

that he abused, sold, or traded for other drugs.475

         420.   Diane Marie Salak (also known as Diane Krupka), R.N. admitted to diverting

Percocet pills on or about October 20, 2016, while she was working as a nurse for Cleveland




472
      CUYAH_000066950; MCKPUB00001476; MCKPUB00001477; MCKPUB00001482.
473
  OBN_MDL 1st Production 072083, at OBN_MDL 1st Production 073389;
MCKPUB00002125.
474
      AKRON_001283454; MCKPUB00025234; MCKPUB00025235; MCKPUB00025238.
475
      MCKPUB00004599.



                                                 113
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 115 of 309. PageID #: 93212




Clinic Home Care in Independence, Ohio. In September 2018, the Board of Nursing indefinitely

suspended Ms. Krupka’s license to practice nursing.476

         421.      Michael D. Salo of Cleveland, Ohio, pled guilty on December 16, 2008 in the

Cuyahoga Court of Common Pleas to trafficking counterfeit Percocet. On January 22, 2009, Mr.

Salo was sentenced to six months in prison.477

         422.      Tricia Santangelo, L.P.N., pled guilty on May 7, 2018 in the Cuyahoga County

Court of Common Pleas to theft of drugs, including tramadol, hydrocodone, OxyContin, and

oxycodone. On June 4, 2018, the Board of Nursing suspended her license to practice nursing

indefinitely.478

         423.      Antonio Santiago of Cleveland, Ohio pled guilty on December 11, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Santiago was

sentenced to one year of prison.479

         424.      Amelia Frances Sartoski (formerly Amelia Housley), R.N. of Avon Lake, Ohio

had her license to practice nursing as a registered nurse suspended by the Board of Nursing in

March 2011. Ms. Housley admitted to diverting Demerol, morphine, and Dilaudid while

working as a nurse at Cleveland Clinic – Fairview Hospital.480




476
      OBN_MDL 1st Production 150318, at 150435.
477
      CUYAH_000040713; MCKPUB00004553; MCKPUB00004554; MCKPUB00004557.
478
      OBN_MDL 1st Production 140843, at 146440; MCKPUB00006066-06079.
479
      CUYAH_000034033; MCKPUB00001332; MCKPUB00001333; MCKPUB00001336.
480
   OBN_MDL 1st Production 064580, at OBN_MDL 1st Production 064732; OBN_MDL 1st
Production 107561 at OBN_MDL 1st Production 107999; MCKPUB00000991.



                                                 114
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 116 of 309. PageID #: 93213




         425.   Corey J. Schmidt pled guilty on October 7, 2013 in the Cuyahoga County Court

of Common Pleas to trafficking oxycodone and hydrocodone. Mr. Schmidt was sentenced to

five years of community control.481

         426.   Ronald Schueneman, Jr. of Cleveland, Ohio pled guilty on April 15, 2014 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking hydrocodone. Mr.

Schueneman was sentenced to two years of community control. Upon violation of the terms of

the terms of his sentence, Mr. Schueneman was sentenced to eighteen months in prison.482

         427.   Meredith Jean Schuette, R.N. pled guilty on June 2, 2016 in the Cuyahoga County

Court of Common Pleas to offenses including aggravated theft of oxycodone. On November 17,

2016, the Board of Nursing suspended indefinitely Ms. Schuette’s license to practice nursing as a

registered nurse. While working as a nurse at Altercare of Mayfield Village, Ohio, Ms. Schuette

diverted oxycodone pills from a patient, substituting Motrin pills for the oxycodone pills to

conceal the diversion.483

         428.   Susan Leigh Schur (also known as Susan Leigh Nugent), R.N. entered into a

consent agreement in September 2013 with the Board of Nursing to suspend indefinitely her

license to practice nursing. Ms. Schur admitted to diverting Dilaudid from Bedford Medical

Center, where she worked as a nurse. She also admitted to diverting increasing amounts of




481
      CUYAH_000057956; MCKPUB00002023; MCKPUB00002024; MCKPUB00002027.
482
      CUYAH_000054075; MCKPUB00005344; MCKPUB00005346; MCKPUB00005351.
483
   CUYAH_000070936; OBN_MDL 1st Production 107561 at OBN_MDL 1st Production
109115; OBN_MDL 1st Production 161275 at OBN_MDL 1st Production 161288;
MCKPUB00004446.



                                               115
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 117 of 309. PageID #: 93214




Dilaudid, diverting wastes, requesting orders increasing the dosage, and ordering for patients to

cover her diversion.484

         429.   Shannon Nicole Schwoeble, R.N. entered a consent agreement with the Board of

Nursing in July 2012. Ms. Schwoeble admitted that for approximately one and one-half years,

she diverted Dilaudid from Akron General Medical Center, where she worked as a nurse.485

         430.   Megan Elisa Scolaro, L.P.N. had her license to practice nursing suspended, with

the suspension stayed and Ms. Scolaro’s license placed in inactive status while she completed the

terms of her consent agreement, by the Board of Nursing on January 21, 2011. While working as

a nurse at Solon Pointe At Emerald Ridge in Solon, Ohio, Ms. Solon diverted and/or failed to

document administering oxycodone and morphine. Additionally, while working as a nurse at

Grande Pointe Healthcare Community in Richmond Heights, Ohio, Ms. Scolaro diverted and/or

failed to document the administration of Percocet.486

         431.   Linda A. Sedivy, R.N. pled guilty on December 28, 2017 in the Cuyahoga County

Court of Common Pleas to offenses including theft of fentanyl, for conduct occurring on June

15, 2017, while she was employed as a nurse at University Hospitals Richmond Medical Center.

Ms. Sediyy obtained or exerted control over fentanyl beyond the scope of the express or implied

consent of the owner or person authorized to give consent and made a false statement in any




484
   OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 059842; OBN_MDL 1st
Production 162423 at OBN_MDL 1st Production 162435; MCKPUB00005811.
485
   OBN_MDL 1st Production 038993, at OBN_MDL 1st Production 039883; OBN_MDL 1st
Production 153407, at OBN_MDL 1st Production 153424.
486
      OBN_MDL, 1st Production 025156; MCKPUB00004344.



                                               116
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 118 of 309. PageID #: 93215




prescription, order, or record. In July 2018, the Board of Nursing agreed to a consent

agreement.487

         432.   Lia M. Seeber of Bedford, Ohio, pled guilty on January 31, 2018 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking oxycodone. Ms. Seeber was

sentenced to nine months in prison.488

         433.   Karen Angela Seguin, R.N. of Lakewood, Ohio pled guilty on December 11, 2015

in the Cuyahoga County Court of Common Pleas to breaking and entering, aggravated theft, and

tampering with drugs. In September 2016, the Board of Nursing permanently revoked her

license to practice nursing as a registered nurse. As a nurse working at Brian K. Smith, D.D.S.,

M.D., Inc., Ms. Seguin diverted fentanyl. Specifically, Ms. Seguin entered her employer’s place

of business after hours and used a syringe to steal fentanyl from vials, replacing the fentanyl with

saline to cover her diversion.489

         434.   Kim Seltzer, a former employee of the Medical Care Group’s North Olmstead,

Ohio office, pled guilty in September 2015 to offenses including drug trafficking for handing out

prescription opioids without a proper prescription. Mr. Seltzer was sentenced to 51 months in

prison.490




487
   OBN_MDL 1st Production 135369, at 139978; OBN_MDL 1st Production 155070, at
155080.
488
      MCKPUB00003950; MCKPUB00003951-03953; MCKPUB00003955.
489
   CUYAH_000069179; MCKPUB00003341; OBN_MDL 1st Production 098951, at
OBN_MDL 1st Production 100251; OBN_MDL 1st Production 110764, at OBN_MDL 1st
Production 113194; MCKPUB00029047.
490
      MCKPUB00003647; MCKPUB00029060.



                                                117
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 119 of 309. PageID #: 93216




         435.   Erica Jean Seymour, L.P.N. had her license to practice nursing suspended by the

Board of Nursing in March 2013. Ms. Seymour admitted that she diverted fentanyl from the

Cleveland Clinic, and she also admitted to diverting Dilaudid and morphine.491

         436.   Ben Earl Sherbert of Akron, Ohio pled guilty on August 19, 2014 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug. Mr. Sherbert forged

prescriptions for schedule II controlled narcotics and presented at least two fake prescriptions for

Percocet to Ritzman’s Pharmacy on Copley Road in Akron.492 Mr. Sherbert was sentenced to

one year in prison.

         437.   Anthony F. Shue of Akron, Ohio pled guilty on August 25, 2016, in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

oxycodone. He was sentenced to one year in prison.493

         438.   Luis Sierra of Cleveland, Ohio pled guilty on June 6, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking hydrocodone. Mr. Sierra was sentenced to one

year of community control.494

         439.   Shawn Michael Sindelar, R.N. had his license to practice nursing as a registered

nurse suspended in July 2013, and then, in September 2013, suspended indefinitely by the Board




491
      OBN_MDL 1st Production 083864, at OBN_MDL 1st Production 084028.
492
  AKRON_001230790; AKRON_001280930; MCKPUB00001503; MCKPUB00001506;
MCKPUB00001507.
493
      AKRON_000294564; MCKPUB00001295; MCKPUB00001296; MCKPUB00001298.
494
      CUYAH_000081521; MCKPUB00004169; MCKPUB00004171; MCKPUB00004174.



                                                118
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 120 of 309. PageID #: 93217




of Nursing. As a nurse working at South Pointe Hospital in Warrensville Heights, Ohio, Mr.

Sindelar stole morphine, hydromorphone, oxycodone, and hydrocodone from his employer.495

         440.   Carl Sisley of Cleveland, Ohio, pled guilty on October 20, 2010 in the Cuyahoga

County Court of Common Pleas to offenses including engaging in a pattern of corrupt activity to

sell diverted opioids, including Lorcet, Vicodin, and Norco. Mr. Sisley was sentenced to two

years and six months in prison.496

         441.   Michael Joseph Slagle of Cleveland, Ohio pled guilty on October 15, 2014 in the

Cuyahoga County Court of Common Pleas to trafficking Percocet or oxycodone. Mr. Slagle

found eligible for intervention in lieu of conviction.497

         442.   Jodi Slider of Strongsville, Ohio, pled guilty on September 20, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Ms. Slider was sentenced

to one year of community control.498

         443.   Nanette Theresa Smalcer, L.P.N. of Parma, Ohio pled guilty on August 27, 2018

in the Cuyahoga County Court of Common Pleas to theft of drugs, including oxycodone,

Percocet, and tramadol, from December 5, 2016 to August 16, 2017, while working as a nurse at

Pleasantview Care Center in Cleveland, Ohio. On September 27, 2018, the Board of Nursing

suspended her license to practice nursing indefinitely.499




495
   CUYAH_000028137; OBN_MDL 1st Production 056992 at OBN_MDL 1st Production
058449; OBN_MDL 1st Production 162423 at OBN_MDL 1st Production 162435;
MCKPUB00005514.
496
      CUYAH_000044020; MCKPUB00001750; MCKPUB00001751; MCKPUB00001753.
497
      CUYAH_009003041; MCKPUB00004519; MCKPUB00004520; MCKPUB00004525.
498
      CUYAH_000034041; MCKPUB00003244; MCKPUB00003245; MCKPUB00003248.
499
      OBN_MDL 1st Production 143830, at 149048; MCKPUB00004762.



                                                 119
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 121 of 309. PageID #: 93218




         444.    Aryell Smith of Cleveland, Ohio pled guilty on December 14, 2012 in the

Cuyahoga County Court of Common Pleas to attempted deception to obtain a dangerous drug,

Percocet. Ms. Smith was sentenced to one year of community control.500

         445.    Christy A. Soltay, R.N. of Westlake, Ohio pled guilty on May 4, 2017 in the

Cuyahoga County Court of Common Pleas to theft of oxycodone for obtaining or exerting

control over Percocet and/or oxycodone beyond the scope of express or implied consent of the

owner or person authorized to give consent, from January 1, 2014 through August 30, 2016. In

January 2018, the Board of Nursing accepted a consent agreement with Ms. Soltay for these

violations.501

         446.    Angelo Isaiah Sommerville of Akron, Ohio pled guilty on June 20, 2018 in the

Summit County Court of Common Pleas to crimes including aggravated trafficking in drugs,

namely oxycodone. On August 22, 2018, he was sentenced to two years of community

control.502

         447.    Annamaria Somogyi, R.N. entered into a consent agreement in September 2013

with the Board of Nursing to suspend indefinitely her license to practice nursing. Ms. Somogyi

admitted that she stole oxycodone and hydrocodone from Lorantffy Care Center in Akron, Ohio,

where she worked as a nurse. Ms. Somogyi stated she falsified records each time she diverted

narcotics meant for administration to patients. Ms. Somogyi also admitted that she diverted




500
      CUYAH_006985926; MCKPUB00001352; MCKPUB00001353; MCKPUB00001356.
501
      OBN_MDL 1st Production 125822, at 127304; OBN MDL 1st Production 152729, at 152738.
502
  AKRON_000296839; MCKPUB00006873; MCKPUB00006875; MCKPUB00006876;
MCKPUB00006878; MCKPUB00006881; MCKPUB00006883; MCKPUB00001150;
MCKPUB00001151; MCKPUB00001154.



                                                120
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 122 of 309. PageID #: 93219




hydrocodone from two home care clients of Menorah Park Center for Senior Living in

Beachwood, Ohio.503

         448.   Heather Lynn Spirhanzl (also known as Heather Lynn Forinash), L.P.N. of Brook

Park, Ohio entered into a consent agreement effective May 21, 2010 with the Board of Nursing,

suspending her license to practice nursing indefinitely. Ms. Spirhanzl diverted Ultram

(tramadol) on or about May 18, 2009 from Altenheim Nursing Home in Strongsville, Ohio,

where she was employed as a licensed practical nurse.504

         449.   Damien R. Stafford of Akron, Ohio pled guilty on January 7, 2019 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs

(oxycodone). He was sentenced to two years in prison.505

         450.   Edward States of Cleveland, Ohio pled guilty on September 25, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking controlled substances, OxyContin and

Percocet. Mr. States was sentenced to five years in prison.506

         451.   Rachelle R. Stawicki, R.N. of Cleveland, Ohio pled guilty on March 7, 2017 in

the Cuyahoga County Court of Common Pleas to offenses including deception to obtain a

dangerous drug, for forging a prescription for Vicodin on or about October 27, 2016. In January




503
   OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 059717; OBN_MDL 1st
Production 161275 at OBN_MDL 1st Production 161288; MCKPUB00001190.
504
   OBN_MDL 1st Production 012869, at OBN_MDL 1st Production 012984; OBN_MDL 1st
Production 029049, at 029236; MCKPUB00002792.
505
      AKRON_001278733; MCKPUB00025242; MCKPUB00025246; MCKPUB00025247.
506
      CUYAH_000039144; MCKPUB00002585; MCKPUB00002586; MCKPUB00002589.



                                               121
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 123 of 309. PageID #: 93220




2018, the Board of Nursing approved a consent agreement under which Ms. Stawicki’s license to

practice nursing was suspended.507

         452.   Reginald Stearns pled guilty on February 22, 2017 in the Cuyahoga County Court

of Common Pleas to trafficking Suboxone and fentanyl. Mr. Stearns was sentenced to eighteen

months in prison.508

         453.   Maureen R. Stith, R.N. of Cuyahoga Falls, Ohio pled guilty on February 1, 2012

in the Summit County Court of Common Pleas to offenses including theft of drugs. Ms. Stith

made false statements in order to obtain a prescription for hydromorphone and stole

hydromorphone from Akron General Medical Center, where she was employed as a nurse. On

January 25, 2013, Ms. Stith and the Board of Nursing entered into a consent agreement

suspending indefinitely her license to practice nursing.509

         454.   Jodi Ann Stokes, R.N. pled guilty on January 8, 2010 in the Cuyahoga County

Court of Common Pleas to aggravated theft and tampering with drugs. While employed as a

home care nurse at University Hospital Home Care Services in Warrensville, Ohio, Ms. Stokes

stole Vicodin and Percocet. As a result of her criminal case, Ms. Stokes entered into a consent

agreement with the Board of Nursing on September 24, 2010, to have her license to practice

nursing suspended indefinitely.510



507
  OBN_MDL 1st Production 132477, at 134370; MCKPUB00005175; MCKPUB00005176;
MCKPUB00005178; MCKPUB00005180.
508
      CUYAH_000071561; MCKPUB00019486; MCKPUB00019487; MCKPUB00019492.
509
   OBN_MDL 1st Production 049841, at 051200; OBN_MDL 1st Production 049841, at
051192.
510
   OBN_MDL 1st Production 014736, at OBN_MDL 1st Production 015181; OBN_MDL 1st
Production 021117 at OBN_MDL 1st Production 022499; MCKPUB00003217;
MCKPUB00003218; MCKPUB00003221; MCKPUB00003224.



                                                122
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 124 of 309. PageID #: 93221




       455.    Pamela C. Stover (formerly known as Pamela Terry), R.N. of Brook Park, Ohio

pled guilty on January 4, 2018 in the Cuyahoga County Court of Common Pleas to theft of

drugs, including oxycodone and hydrocodone. Ms. Stover diverted the drugs while working as a

nurse at O’Neill Healthcare Center in Fairview Park, Ohio. On September 27, 2018, Ms.

Stover’s license to practice nursing was suspended indefinitely.511

       456.    Kathryn M. Struna, R.N. had her license to practice nursing suspended

indefinitely by the Board of Nursing in May 2009. While working as a clinical instructor in

nursing at Case Western Reserve University, Ms. Struna took Dilaudid from waste containers.512

       457.    Karen Svoboda, R.N. of Seven Hills, Ohio entered a consent agreement with the

Board of Nursing on August 2009 to suspend indefinitely her license to practice nursing, but to

stay the suspension subject to successful completion of the requirements set out in the consent

agreement. Ms. Svoboda admitted to stealing blank prescription forms from Parma Community

Hospital while employed there as a registered nurse. She filled forged prescriptions for

medications including Darvocet using physicians’ names and DEA numbers.513

       458.    Shinita Rainette Swails, R.N. pled guilty on June 6, 2018 in the Cuyahoga County

Court of Common Pleas to offenses including theft of hydromorphone, for conduct occurring

from June 4, 2017 to September 8, 2018, while she was employed at University Hospitals Ahuja




511
   OBN_MDL 1st Production 135369, at 139930; OBN_MDL 1st Production 150318. at
150644.
512
  OBN_MDL 1st Production 021117 at OBN_MDL 1st Production 022726;
MCKPUB00003445.
513
  OBN_MDL 1st Production 000001, at OBN_MDL 1st Production 001350;
MCKPUB00003391.



                                               123
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 125 of 309. PageID #: 93222




Medical Center in Beachwood, Ohio. On July 26, 2018, the Board of Nursing indefinitely

suspended her license to practice nursing.514

         459.   Brittany Sweeny of Euclid, Ohio pled guilty on December 14, 2012 in the

Cuyahoga County Court of Common Pleas to attempted deception to obtain Percocet. From

August 2011 to November 2011, Ms. Sweeny attempted to procure the administration of, a

prescription for, or the dispensing of Percocet. Ms. Sweeny was sentenced to one and a half

years of community control.515

         460.   Nicole Lynn Szymczyk (also known as Nicole Lynn Tackett), R.N. had her

license to practice nursing indefinitely suspended by the Board of Nursing on July 21, 2016. Ms.

Szymczyk admitted that she diverted Dilaudid while working as a nurse at MetroHealth Medical

Center.516

         461.   Sanita Annmarie Taylor, a registered nurse, had her license to practice suspended

on April 2, 2014 by the Board of Nursing. The Board of Nursing found that Ms. Taylor diverted

drugs, including Percocet, OxyIR, and Nucynta, at least six times in March 2013, while working

at Lutheran Hospital in Cleveland, Ohio.517

         462.   Michael Thies of Garfield Heights, Ohio pled guilty on May 28, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking hydrocodone. Mr. Thies was sentenced

to one year of community control.518


514
  CUYAH_000081189; OBN_MDL 1st Production 140843, at 146502; MCKPUB00005544;
MCKPUB00005545; MCKPUB00005547; MCKPUB00005549.
515
      CUYAH_006985926; MCKPUB00001609; MCKPUB00001610; MCKPUB00001613.
516
  OBN_MDL 1st Production 107561 at OBN_MDL 1st Production 107771;
MCKPUB00004841.
517
      OBN_MDL 1st Production 083864, at OBN_MDL 1st Production 083914-15.
518
      CUYAH_000038593; MCKPUB00004560; MCKPUB00004561; MCKPUB00004564.



                                                124
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 126 of 309. PageID #: 93223




         463.     DeNeik Lashell Thornton, L.P.N. had her license to practice nursing permanently

revoked by the Board of Nursing on September 21, 2012. Ms. Thornton admitted that, while she

worked as a nurse at Euclid Hospital in Euclid, Ohio, she diverted Dilaudid that was prescribed

to patients.519

         464.     Terry T. Thurman of Cleveland, Ohio pled guilty on March 15, 2017 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone. Mr. Thurman was

sentenced to one year in prison.520

         465.     Frances Torres of Cleveland, Ohio pled guilty on May 29, 2012 in the Cuyahoga

County Court of Common Pleas to trafficking in oxycodone. Mr. Torres was sentenced to one

year of community control.521

         466.     Jessica L. Townsend of Cuyahoga Falls, Ohio pled guilty on February 3, 2015 in

the Summit County Court of Common Pleas to attempted aggravated trafficking in drugs

(oxycodone). Ms. Townsend was sentenced to eighteen months of incarceration, but the

sentence was suspended on the condition that Ms. Townsend complete community control

through February 20, 2016.522

         467.     Mark S. Townsend of Akron, Ohio pled guilty on February 1, 2012 in the Summit

County Court of Common Pleas to deception to obtain a dangerous drug. Mr. Townsend was




519
   OBN_MDL 1st Production 031252 at OBN_MDL 1st Production 032449; OBN_MDL 1st
Production 162189 at OBN_MDL 1st Production 162287; MCKPUB00002375;
MCKPUB00003915.
520
      CUYAH_000032210; MCKPUB00005905; MCKPUB00005906; MCKPUB00005909.
521
      CUYAH_000051819; MCKPUB00002647; MCKPUB00002648; MCKPUB00002651.
522
      AKRON_000205584; MCKPUB00015605; MCKPUB00015607; MCKPUB00015608.



                                                125
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 127 of 309. PageID #: 93224




paid by two women to pick up fake prescriptions for Vicodin from pharmacies in Akron. Mr.

Townsend was sentenced to one year of community control.523

         468.   Amber D. Trusso, R.N. had her license to practice nursing suspended indefinitely

by the Board of Nursing on January 20, 2012. Ms. Trusso admitted that, while working as a

nurse at the Cleveland Clinic, she diverted Percocet, Vicodin, hydromorphone, and oxycodone.

Ms. Trusso diverted medications from patients not assigned to her, and she went to other units to

remove medication.524

         469.   Christine Turner, L.P.N. had her license to practice nursing as a licensed practical

nurse suspended by the Board of Nursing in May 2015. Ms. Turner withdrew hydrocodone for a

patient but did not document administration and/or waste of these tablets on several occasions

while working as a nurse at Crestmont North Healthcare in Lakewood, Ohio.525

         470.   Dawn M. Turshon, R.N. entered into a consent agreement with the Board of

Nursing on March 18, 2005 to have her license to practice nursing suspended indefinitely. While

employed as a nurse at St. Vincent Charity Hospital in Cleveland, Ohio, Ms. Turshon stole

Vicodin from the hospital, posed as a patient’s sister in an attempt to fill a prescription for

Percocet, and in June 2004, obtained oxycodone and hydrocodone by filling prescriptions from

five different physicians at four different pharmacies.526




523
      AKRON_001228207; MCKPUB00025250; MCKPUB00025251; MCKPUB00025253.
524
   OBN_MDL 1st Production 031252 at OBN_MDL 1st Production 032442; OBN_MDL 1st
Production 151237 at OBN_MDL 1st Production 151331; MCKPUB00000963.
525
  OBN_MDL 1st Production 085996, at OBN_MDL 1st Production 088072;
MCKPUB00001924.
526
  OBN_MDL 1st Production 012869, at OBN_MDL 1st Production 013942;
MCKPUB00002309.



                                                 126
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 128 of 309. PageID #: 93225




          471.   Cortney Louise Tylicki, L.P.N. had her license to practice nursing indefinitely

suspended by the Board of Nursing in January 2018. As a nurse working at Euclid Hospital in

Euclid, Ohio, Ms.Tylicki failed to document the administration of hydromorphone (Dilaudid)

and oxycodone-acetaminophen (Percocet) that she removed, and the drugs were not accounted

for.527

          472.   Lauretta A. Umana-Kipp, R.N. of Fairlawn, Ohio had her license to practice

nursing indefinitely suspended for a period no less than nine months in September 2011. While

working as a nurse at University Hospitals Bedford Medical Center, Ms. Umana-Kipp withdrew

Percocet, OxyContin, oxycodone, and morphine for twelve patients without documentation or

physicians’ orders.528

          473.   Lisa Ann Urich pled guilty on June 24, 2008, in the Cuyahoga County Court of

Common Pleas, to theft/aggravated theft of drugs. While working as a licensed practical nurse at

Bradley Bay Health Center in Bay Village, Ohio, Ms. Urich stole cards of Vicodin and Percocet

and discarded corresponding controlled drug logs. Ms. Urich’s license to practice nursing was

suspended indefinitely on March 30, 2009.529

          474.   Dustin Thomas Van Der Voort, R.N. had his license to practice nursing

suspended by the Board of Nursing in December 2016. Mr. Van Der Voort diverted Percocet

while working as a nurse at the Cleveland Clinic Health System at Hillcrest Hospital in Mayfield

Heights, Ohio.530



527
      MCKPUB00002036.
528
      OBN_MDL 1st Production 018725, OBN_MDL 1st Production at 019028.
529
      OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 004757.
530
  OBN_MDL 1st Production 11399, at OBN_MDL lst Production 114533;
MCKPUB00002513.


                                                 127
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 129 of 309. PageID #: 93226




         475.   Robert Van Maele, L.P.N. pled guilty on September 29, 2009 in the Cuyahoga

County Court of Common Pleas to aggravated theft. In May 2009, while employed by

Larchwood Village Care Center in Cleveland, Ohio, Mr. Van Maele stole Vicodin. As a result of

his criminal case, Mr. Van Maele entered into a consent agreement on or about July 30, 2010, to

have his license to practice nursing suspended indefinitely.531

         476.   Neidalyz Vazquez of Lorian, Ohio pled guilty on January 12, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin. Ms. Vazquez was

sentenced to six months in prison.532

         477.   Anthony M. Velleca of Akron, Ohio pled guilty on February 4, 2009 in the

Summit County Court of Common Pleas to deception to obtain a dangerous drug (oxycodone

and Vicodin). Mr. Velleca obtained prescription opioids from multiple physicians in the Akron

area, without informing them that he was receiving prescription opioids from other physicians.

He was sentenced to two years of community control.533

         478.   Jessica Sara Velsor, L.P.N. pled guilty on January 16, 2013 in the Summit County

Court of Common Pleas to theft of tramadol from Briarwood Assisted Living and Skilled

Nursing Care in Stow, Ohio in August 2012. In March 2014, the Board of Nursing suspended

Ms. Velsor’s license to practice nursing indefinitely.534




531
   OBN_MDL 1st Production 014736, at OBN_MDL 1st Production 015149; OBN_MDL 1st
Production 018725, 020021; MCKPUB00005291; MCKPUB00005293; MCKPUB00005295;
MCKPUB00005297.
532
      CUYAH_000032685, MCKPUB00004771; MCKPUB00004772; MCKPUB00004775.
533
      AKRON_001157344; MCKPUB00025255; MCKPUB00025256; MCKPUB00025258.
534
   OBN_MDL 1st Production 054509, at 055582; OBN_MDL 1st Production 156153, at
156198.



                                                128
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 130 of 309. PageID #: 93227




         479.   Melissa K. Veverka, R.N. had her license to practice nursing as a registered nurse

temporarily suspended in January 2015, and then, in July 2015, suspended indefinitely, by the

Board of Nursing. Ms. Veverka diverted hydrocodone and oxycodone while working as a nurse

at University Hospital’s Ahuja Medical Center.535

         480.   Randy Vodicka of Brooklyn, Ohio pled guilty on October 14, 2008 in the

Cuyahoga Court of Common Pleas to trafficking oxycodone. On November 11, 2008, Mr.

Vodicka was sentenced to one year of community control.536

         481.   Justin C. Wagner of Akron, Ohio pled guilty on April 21, 2014 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs

(oxycodone), for conduct occurring in Akron. Mr. Wagner was sentenced to two years in prison,

suspended provided that he complete two years of community control.537

         482.   Rachel H. Wallace, L.P.N. of North Royalton, Ohio pled guilty on April 17, 2013

in the Cuyahoga County Court of Common Pleas for diverting Percocet and oxycodone while

working as a nurse for a home and long-term care facility. Ms. Wallace was sentenced to five

years of community control. Ms. Wallace executed a Voluntary Surrender of her nursing license

on February 4, 2013 in connection with her guilty plea.538

         483.   Luciano R. Waller pled guilty on July 10, 2012 in the Cuyahoga County Court of

Common Pleas to attempted trafficking of hydrocodone. Mr. Waller was sentenced to two days

in jail.539


535
      CUYAH_000052729; MCKPUB00004424.
536
      CUYAH_000039960; MCKPUB00005181; MCKPUB00005182; MCKPUB00005185.
537
      AKRON_001217713; MCKPUB00025262; MCKPUB00025263; MCKPUB00025266.
538
      MCKPUB00005131; MCKPUB00005133; MCKPUB00005136; MCKPUB00005138.
539
      CUYAH_000052154; MCKPUB00004157; MCKPUB00004158; MCKPUB00004160.



                                               129
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 131 of 309. PageID #: 93228




         484.   Melanie Anne Walter, R.N. entered into a consent agreement with the Board of

Nursing on May 18, 2012 suspending her license indefinitely for not less than one year. Ms.

Walter admitted that she diverted liquid Dilaudid syringes.540

         485.   Rachel Ann Walters, R.N. of Hudson, Ohio, admitted on February 4, 2013 to

diverting Dilaudid and Demerol from Marymount Hospital in Garfield Heights, Ohio, where she

was employed as a nurse. In March 2014, the Board of Nursing suspended Ms. Walters’ license

to practice nursing indefinitely.541

         486.   Jamie Ward pled guilty on July 3, 2008 in the Cuyahoga County Court of

Common Pleas to theft of drugs. While working as a licensed practical nurse at Hillcrest

Hospital in Mayfield, Ohio, Ms. Ward stole methadone tablets by withdrawing the methadone

tablets under patients’ names. On March 20, 2009, Ms. Ward entered a consent agreement with

the Board of Nursing to suspend indefinitely her license to practice nursing.542

         487.   Andre Warren of Akron, Ohio was indicted on May 10, 2018 in the Summit

County Court of Common Pleas for offenses including trafficking in Suboxone and heroin. The

case is pending.543

         488.   Carl Watkins of Cleveland, Ohio pled guilty on January 12, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking OxyContin. Mr. Watkins was sentenced to one

year in prison.544


540
  OBN_MDL 1st Production 037202, at OBN_MDL 1st Production 038178;
MCKPUB00004356.
541
   OBN_MDL 1st Production 054509, at 055567; OBN_MDL 1st Production 156153, at
156344; MCKPUB00005116.
542
      OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 004732.
543
      MCKPUB00006597; MCKPUB00006599; MCKPUB00006606.
544
      CUYAH_000032685, MCKPUB00001756; MCKPUB00001757; MCKPUB00001760.



                                               130
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 132 of 309. PageID #: 93229




         489.   Candi Webb of Akron, Ohio, was indicted for conspiracy to possess with the

intent to distribute controlled substances, including oxycodone, for conduct that occurred in

Akron. According to the Government, between December 2015 and November 2016, Ms. Webb

stole prescription pads from her employer and and forged prescriptions for oxycodone.545

         490.   Charles Webster of Cleveland, Ohio, pled guilty on October 5, 2015 in the

Cuyahoga Court of Common Pleas to offenses including violation of state drug laws. Webster

obtained oxycodone pills from a Walgreens in Cleveland by using two prescriptions with DEA

numbers that did not match the doctor listed on the prescriptions. On November 10, 2011, he

was sentenced to two years in prison.546

         491.   Herman Weaver of Cleveland, Ohio pled guilty on March 2, 2015, in the

Cuyahoga Court of Common Pleas, to crimes including conspiracy and deception to obtain a

dangerous drug. The Ohio Court of Appeals found that Weaver was involved in a fraudulent

prescription scheme, and according to law enforcement, he wrote fake prescriptions for drugs,

mainly oxycodone, and recruited others to fill them. On March 31, 2015, he was sentenced to

twelve years and six months in prison, a sentenced that the Ohio Court of Appeals affirmed.547

         492.   Cassandra Welch of Cleveland, Ohio pled guilty on January 23, 2007 in the

Cuyahoga County Court of Common Pleas to offenses including theft of drugs (Percocet). Ms.

Welch was sentenced to one year of community control. As part of her plea agreement, Ms.

Welch agreed to put her nursing license on inactive status for a period of five years.548



545
      MCKPUB00001721; MCKPUB00001723.
546
      CUYAH_014631775; MCKPUB00001858; MCKPUB00001859; MCKPUB00001864.
547
      MCKPUB00023800; MCKPUB00023801; MCKPUB00023806; MCKPUB00024567.
548
      CUYAH_000034490; MCKPUB00001782; MCKPUB00001783; MCKPUB00001786.



                                                131
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 133 of 309. PageID #: 93230




         493.   Joshua Weppelman pled guilty on July 8, 2008 in the Cuyahoga County Court of

Common Pleas to trafficking oxycodone. Mr. Weppelman was sentenced to one year of

probation.549

         494.   Robert West of Cleveland, Ohio pled guilty on July 19, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking Dilaudid. Mr. West was sentenced to one year in

prison.550

         495.   Derrick L. Whatley pled guilty on April 4, 2012 in the Summit County Court of

Common Pleas to offenses including deception to obtain a dangerous drug. On October 22,

2011, Mr. Whatley attempted to obtain Opana from a pharmacy with a fake prescription.551

Plaintiffs Summit County and the City of Akron identified Mr. Whatley in supplemental

interrogatory responses as someone under investigation for diversion.552

         496.   Philip Whited was identified in a replacement supplemental interrogatory

response by Plaintiffs Summit County and the City of Akron as someone under investigation for

diversion of prescription opioids within Summit County and Akron.553 He met with officers in a

Walgreens parking lot in Akron, Ohio to sell them oxycodone and was stopped with pills on his


549
      CUYAH_000038083; MCKPUB00003278; MCKPUB00003279; MCKPUB00003284.
550
      CUYAH_000035016; MCKPUB00005299; MCKPUB00005300; MCKPUB00005307.
551
  AKRON_001160846; SUMMIT_000467880; SUMMIT_000467882; SUMMIT_000467886;
SUMMIT_000467888; SUMMIT_000467910.
552
   Summit County and City of Akron, Ohio Plaintiff’s Replacement Supplemental Responses
and Objections to Manufacturer Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
20, 21, 26, 27, 28 & 29, at 308; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29, at 41; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to National Retail Pharmacy Defendants’ Interrogatory
Nos. 4, 7, 15, 16 & 19, at 28.
553
   Summit County and City of Akron, Ohio Plaintiff’s Supplemental Responses and Objections
to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8, 12, 14, 15, 16, 17, 23, 24, 27 & 29, at 42.



                                                132
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 134 of 309. PageID #: 93231




person. Akron Police identified Mr. Whited as a suspect in connection with a breaking and

entering of the Highland Square Pharmacy in Akron, Ohio.554

         497.   Meagan Leigh Wickline, R.N. of Cleveland, Ohio pled guilty on April 13, 2015 in

the Cuyahoga Court of Common Pleas to offenses including theft of oxycodone and forgery of

individual controlled substance records. In May 2015, the Board of Nursing suspended Ms.

Wickline’s license to practice nursing as a registered nurse.555

         498.   Rickeay Wilford of Cleveland, Ohio pled guilty on November 2, 2007 in the

Cuyahoga County Court of Common Pleas to deception to obtain a dangerous drug

(hydrocodone). In September 2007, she sought to procure the administration of, a prescription

for, or the dispensing of hydrocodone. Ms. Wilford was sentenced to six months in prison.556

         499.   Charlie Williams, Jr. of Cleveland, Ohio pled guilty on September 16, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking oxycodone and heroin. Mr. Williams

was sentenced to eighteen months in prison.557

         500.   Felicia Williams of Akron, Ohio pled guilty on March 24, 2008 in the Summit

County Court of Common Pleas to offenses including deception to obtain a dangerous drug, for

forging prescriptions for Vicodin. Ms. Williams was sentenced to eighteen months of

incarceration, suspended provided that she complete ten months of community control.558




554
      AKRON_001247770; AKRON_001247771.
555
  OBN_MDL 1st Production 085996, at OBN_MDL 1st Production 087160;
MCKPUB00004330.
556
      CUYAH_000036860; MCKPUB00005262; MCKPUB00005263; MCKPUB00005266.
557
      CUYAH_000054791; MCKPUB00001872; MCKPUB00001873; MCKPUB00001876.
558
      AKRON_001157883, MCKPUB00025268; MCKPUB00025269; MCKPUB00025271.



                                                 133
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 135 of 309. PageID #: 93232




         501.   Kenneth Williams of Brooklyn, Ohio, pled guilty on September 23, 2013 to

trafficking oxycodone, among other offenses. The Cuyahoga County Court of Common Pleas

ordered him to serve two years of probation.559

         502.   William Winca of Cleveland, Ohio pled guilty on January 9, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking Dilaudid. Mr. Winca was sentenced to

ten months in prison.560

         503.   Calvin Winston of Cleveland, Ohio pled guilty on September 3, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin. Mr. Winston was

sentenced to one year of community control.561

         504.   Robert Wiseman of Akron, Ohio was indicted on May, 7, 2015 in the Summit

County Court of Common Pleas for deception to obtain a dangerous drug, namely hydrocodone

and Percocet. In March 2015, Mr. Wiseman allegedly lied to a pharmacy by claiming that he

had turned in a prescription for hydrocodone, but had not received it because he could not pay

for it. Mr. Wiseman also sought Percocet, claiming that his had been stolen.562 Plaintiffs

Summit County and the City of Akron identified Mr. Wiseman as someone under investigation

for diversion.563


559
      CUYAH_000028203; MCKPUB00003629; MCKPUB00003630; MCKPUB00003637.
560
      CUYAH_000036646; MCKPUB00006205; MCKPUB00006207; MCKPUB00006210.
561
      CUYAH_000038947; MCKPUB00001714; MCKPUB00001715; MCKPUB00001718.
562
      AKRON_000336020; AKRON_000369539; AKRON_000369555.
563
   Summit County and City of Akron, Ohio Plaintiff’s Replacement Supplemental Responses
and Objections to Manufacturer Defendants’ Interrogatory Nos. 1, 2, 3, 5, 8, 9, 11, 12, 13, 15,
20, 21, 26, 27, 28 & 29, at 306; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to Distributor Defendants’ Interrogatory Nos. 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29, at 40; Summit County and City of Akron, Ohio Plaintiff’s
Supplemental Responses and Objections to National Retail Pharmacy Defendants’ Interrogatory
Nos. 4, 7, 15, 16 & 19, at 27.



                                               134
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 136 of 309. PageID #: 93233




         505.   Clarissa Marie Witchey, L.P.N. of Windham, Ohio, had her license suspended

indefinitely by the Board of Nursing. Ms. Witchey pled guilty on March 9, 2016 to offenses

including theft. While employed as a nurse at Summa Transitional Care, located in Akron, Ohio,

Ms. Witchey diverted oxycodone.564

         506.   Charles P. Wolfe of Akron, Ohio pled guilty on May 12, 2008 in the Summit

County Court of Common Pleas to forging a prescription for Percocet and deception to obtain a

dangerous drug. Mr. Wolfe was sentenced to community control. On January 9, 2009, Mr.

Wolfe pled guilty in the Summit County Court of Common Pleas to forging a prescription for

Vicodin and deception to obtain a dangerous drug. He was sentenced to the Ohio Department of

Rehabilitation and Correction for a period of one year, served concurrently with his previous

sentence.565

         507.   Julia Anne Workman, R.N. pled guilty on June 13, 2018 in the Cuyahoga County

Court of Common Pleas to theft of oxycodone in November 2017, while working as a nurse at

Cleveland Clinic in Cleveland, Ohio. On August 10, 2018, the Board of Nursing indefinitely

suspended her license to practice nursing.566

         508.   James A. Wooley of Akron, Ohio pled guilty on January 15, 2014 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs (Percocet), for conduct that

occurred in Akron. Mr. Wooley was sentenced to two years of community control.567


564
      OBN_MDL 1st Production 104683; MCKPUB00001997.
565
  AKRON_001157223; SUMMIT_000368345; SUMMIT_000368383; SUMMIT_000390394;
SUMMIT_000374414; SUMMIT_000374372; MCKPUB00025273; MCKPUB00025275;
MCKPUB00025276; MCKPUB00025279; MCKPUB00025282; MCKPUB00025284;
MCKPUB00025285; MCKPUB00025287.
566
      OBN_MDL 1st Production 143830, at 149109; MCKPUB00003292.
567
      AKRON_001280468; MCKPUB00025290; MCKPUB00025291; MCKPUB00025294.



                                                135
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 137 of 309. PageID #: 93234




         509.   David Wright of Cleveland, Ohio pled guilty on December 12, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking Percocet and Roxicodone. He was

sentenced to five years of community control.568

         510.   Courtney Irene Yates, R.N. of Parma, Ohio had her license to practice nursing as

a licensed practical nurse suspended by the Board of Nursing in January 2017. Ms. Yates

admitted that she diverted Dilaudid and oral oxycodone while working as a nurse at the Ohio

State University Wexner Medical Center in August and September 2016. 569

         511.   Lottie Susan Yeager, L.P.N. of Parma, Ohio had her license to practice nursing as

a licensed practical nurse indefinitely suspended by the Board of Nursing on March 16, 2012.

On August 15, 2011, in the Cuyahoga County Court of Commons Pleas, Ms. Yeager pled guilty

to theft and aggravated theft of oxycodone. Ms. Yeager admitted that she diverted oxycodone

from Mount Royal Villa in North Royalton, Ohio, where she worked as a nurse.570

         512.   Kristian D. Yingling, R.N. entered into a consent agreement with the Board of

Nursing in March 2008 to suspend indefinitely her license to practice nursing as a registered

nurse. As a nurse working at University Hospitals of Cleveland in Ohio, Ms. Yingling diverted

Dilaudid and Vicodin.571




568
      CUYAH_000039193; MCKPUB00002301; MCKPUB00002302; MCKPUB00002305.
569
  OBN_MDL 1st Production 085996, at OBN_MDL 1st Production 117560;
MCKPUB00002062.
570
   OBN_MDL 1st Production 035469, at OBN_MDL 1st Production 036315; OBN_MDL 1st
Production 038993, at OBN MDL 1st Production 039000; MCKPUB00003646;
MCKPUB00004135.
571
  OBN_MDL 1st Production 003315, at OBN_MDL 1st Production 004073;
MCKPUB00029065.



                                               136
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 138 of 309. PageID #: 93235




         513.   Charles Yonkings of Lakewood, Ohio pled guilty on January 24, 2011 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking oxycodone. Mr.

Yonkings was sentenced to two years in prison.572

         514.   Margaret Mary Zalar, R.N. entered into a consent agreement with the Board of

Nursing in November 2011 to suspend indefinitely her license to practice nursing. Ms. Zalar

admitted that while working as a nurse at the Cleveland Clinic, she signed out Percocet using

fictitious names or names of patients whose procedures had been cancelled.573

         515.   Jennifer R. Zarick, R.N. of Strongsville, Ohio pled guilty on September 29, 2017

in the Cuyahoga County Court of Common Pleas to offenses including aggravated theft of

oxycodone, for conduct in March 2017. In January 2018, the Board of Nursing approved a

consent agreement that suspended Ms. Zarick’s license to practice nursing.574

         516.   Lee Alexander Zartman, L.P.N. had his license to practice nursing suspended

indefinitely, for not less than two years, by the Board of Nursing on July 29, 2011. Mr. Zartman

admitted to diverting oxycodone while working as a nurse at Emeritus of Stow in Stow, Ohio.

He pled guilty November 22, 2010 in the Summit County Court of Common Pleas to theft of

drugs.575

         517.   Michael Zebrowski, R.N. had his license to practice nursing suspended

indefinitely by the Board of Nursing on May 18, 2012. Mr. Zebrowski admitted that while


572
      CUYAH_000044641; MCKPUB00008901; MCKPUB00008902; MCKPUB00008905.
573
   OBN_MDL 1st Production 031252 at OBN_MDL 1st Production 032411; OBN_MDL 1st
Production 160119 at OBN_MDL 1st Production 160134; MCKPUB00004195.
574
   OBN_MDL 1st Production 132477, at 134295; OBN MDL 1st Production 152729, at
152738; MCKPUB00003161.
575
  OBN_MDL 1st Production 031252; at OBN_MDL 1st Production 000012
MCKPUB00003927.



                                               137
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 139 of 309. PageID #: 93236




working as a nurse at MetroHealth Medical Center in Cleveland, Ohio he took fentanyl from

work.576

         518.    Jenna Lynn Zolensky, R.N. of Cleveland, Ohio had her license to practice nursing

as a registered nurse suspended indefinitely by the Board of Nursing on or about September

2014. Ms. Zolensky admitted to diversion of fentanyl and Percocet while working as a nurse at

the Cleveland Clinic in October 2013.577

           Individuals and Entities Involved in Distribution and Sale of Illegal Opioids

         Through discovery in this action, the following non-party individuals and entities have

been identified as having illegally trafficked (including by distributing or selling), conspired to

traffic, or attempted to traffic illegal opioid drugs, including (among others) heroin, fentanyl, and

carfentanil:

         519.    Vincente Acevedo of Cleveland, Ohio, pled guilty on May 9, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Acevedo was sentenced to

two years in prison.578

         520.    Ismael Jacinto Acosta of Cleveland Heights, Ohio pled guilty on January 23, 2018

in the Northern District of Ohio to offenses including conspiring to distribute and possess with

intent to distribute controlled substances, including heroin and fentanyl, and to possessing with

intent to distribute heroin.579 Mr. Acosta participated in a conspiracy that spanned from January



576
  OBN_MDL 1st Production 059516 at OBN_MDL 1st Production 059528;
MCKPUB00004567.
577
   OBN_MDL 1st Production 074923, at OBN_MDL 1st Production 076026; OBN_MDL 1st
Production 080783, at OBN_MDL 1st Production 080807; MCKPUB00003039.
578
      CUYAH_000033836; MCKPUB00022712; MCKPUB00022714; MCKPUB00022719.
579
      MCKPUB00025296.



                                                138
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 140 of 309. PageID #: 93237




1, 2010 through September 28, 2016, including by obtaining heroin from suppliers in Chicago,

Illinois; using vehicles to transport narcotics; and directing others to carry out trafficking

activity; and possessing heroin with the intent to distribute. On May 25, 2018, Mr. Acosta was

sentenced to 190 months in prison.580

         521.   Valerio Adames of Brooklyn, Ohio pled guilty on May 22, 2006 in the Cuyahoga

County Court of Common Pleas to attempted trafficking in heroin. Mr. Adames was sentenced

to three years of community control.581

         522.   Derrick A. Adams II of Akron, Ohio pled guilty on October 4, 2018 to conspiracy

to possess with intent to distribute fentanyl and carfentanil, for actions in Akron between May

2016 and February 2018. Mr. Adams is awaiting sentencing.582

         523.   Clyde Adkins of Cleveland, Ohio pled guilty on October 9, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking in fentanyl. Mr. Adkins was sentenced to one year

in prison.583

         524.   Kevin Adkins of Maple Heights, Ohio pled guilty on April 5, 2017 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin and fentanyl.584 The conspiracy took place from July 2015 to March 2016. Mr. Adkins

supplied heroin to his co-defendants, who helped Mr. Adkins arrange meetings with customers




580
  MCKPUB00014185; MCKPUB00014260; MCKPUB00014267; MCKPUB00014278;
MCKPUB00025379; MCKPUB00025386.
581
      CUYAH_000032923; MCKPUB00022433; MCKPUB00022434; MCKPUB00022436.
582
      MCKPUB00010474; MCKPUB00010482; MCKPUB00010486.
583
      MCKPUB00009052; MCKPUB00009054; MCKPUB00009058.
584
      MCKPUB00016298; MCKPUB00029096.



                                                 139
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 141 of 309. PageID #: 93238




who wanted to purchase heroin and fentanyl.585 On October 10, 2017, Mr. Adkins was

sentenced to 63 months in prison.586

         525.   Deandre S. Agree of Cleveland, Ohio pled guilty on January 9, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking heroin and fentanyl. Mr. Agree was

sentenced to nine months in prison.587

         526.   Brittany Akers of Akron, Ohio pled guilty on June 16, 2014 in the Summit

County Court of Common Pleas to charges, including trafficking in heroin. On July 31, 2014,

Ms. Akers was sentenced to two years of community control.588

         527.   Carl Akins of Cleveland, Ohio pled guilty on May 14, 2015 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.589 Mr.

Akins participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013,590 including by buying heroin and reselling it to others.591 On August 11, 2015,

Mr. Akins was sentenced to 132 months in prison.592

         528.   Dantez D. Alexander of Cleveland, Ohio pled guilty on May 25, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking in heroin. Mr. Alexander was

sentenced to two years of community control.593


585
      MCKPUB00016296.
586
      MCKPUB00014527; MCKPUB00016316; MCKPUB00016290; MCKPUB00016324.
587
      MCKPUB00010361; MCKPUB00010362; MCKPUB00010364.
588
      AKRON_000201538; MCKPUB00008224; MCKPUB00008226; MCKPUB00008227.
589
      MCKPUB00008283.
590
      MCKPUB00008476.
591
      MCKPUB00008283.
592
      MCKPUB00008268; MCKPUB00008270; MCKPUB00008474.
593
      CUYAH_000028383; MCKPUB00009580; MCKPUB00009582; MCKPUB00009586.



                                                140
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 142 of 309. PageID #: 93239




         529.   Darnell Alexander of Brooklyn, Ohio pled guilty on April 10, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.594 Mr. Alexander participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.595 On July 7, 2015, Mr. Alexander was sentenced to 120

months in prison.596

         530.   Donte Alexander of Akron, Ohio pled guilty on July 5, 2017 in the Summit

County Court of Common Pleas to crimes including trafficking in heroin.597

         531.   Michael Alexander of Euclid, Ohio pled guilty on March 21, 2013 in the Northern

District of Ohio to possession with intent to distribute heroin in Euclid, Ohio on or about August

1, 2012.598 He successfully appealed his sentence and was resentenced to 63 months’

imprisonment.599

         532.   Tiffany M. Alston of Cleveland, Ohio pled guilty on April 19, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Alston was sentenced to

one and one half years of community control.600




594
      MCKPUB00009625.
595
      MCKPUB00009831.
596
      MCKPUB00009816; MCKPUB00009818; MCKPUB00009829.
597
  AKRON_000208641; MCKPUB00011566; MCKPUB00011568; MCKPUB00011570;
MCKPUB00011571; MCKPUB00011572; MCKPUB00011576.
598
      MCKPUB00018614.
599
      MCKPUB00018616; MCKPUB00018618; MCKPUB00018629.
600
      CUYAH_000032751; MCKPUB00022172; MCKPUB00022174; MCKPUB00022176.



                                                141
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 143 of 309. PageID #: 93240




         533.   Luis Alvarez of Cleveland, Ohio pled guilty on January 25, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Alvarez was sentenced to eight

months in prison.601

         534.   Maycon Alvarez of Akron, Ohio pled guilty on September 21, 2015 in the

Summit County Court of Common Pleas to involuntary manslaughter, aggravated trafficking in

drugs (fentanyl), and trafficking in heroin. Mr. Alvarez sold heroin and fentanyl, including to

Zachary Smith of Akron, Ohio, who died of a fentanyl overdose. On November 4, 2015, he was

sentenced to eight years in prison.602

         535.   Jonnell L. Ammons of Akron, Ohio pled guilty on November 6, 2012 in the

Northern District of Ohio to possession with intent to distribute heroin. The criminal conduct

occurred in Akron on or about May 3, 2012.603 On February 5, 2013, Mr. Ammons was

sentenced to 37 months’ imprisonment.604 In February 2017, Mr. Ammons was indicted in the

Summit County Court of Common Pleas for trafficking in heroin and aggravated trafficking in

drugs.605 He pled guilty to offenses including aggravated trafficking in drugs, including heroin

and carfentanil.606 He was sentenced to three and a half years’ imprisonment, and the Ohio

Court of Appeals affirmed his conviction on May 9, 2018.607



601
      CUYAH_000034094, MCKPUB00017689; MCKPUB00017690; MCKPUB00017693.
602
  AKRON_000207436; AKRON_000220829; MCKPUB00018560; MCKPUB00018563;
MCKPUB00018567; MCKPUB00018568.
603
      MCKPUB00015798; MCKPUB00015792.
604
      MCKPUB00015800.
605
  MCKPUB00015809; MCKPUB00015810; MCKPUB00015813; MCKPUB00015814;
MCKPUB00015815; MCKPUB00015817; MCKPUB00015819.
606
      MCKPUB00015806.
607
      MCKPUB00029097.



                                               142
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 144 of 309. PageID #: 93241




         536.   Garrett L. Anderson of Cleveland, Ohio, pled guilty on March 12, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl and carfentanil, and he was

sentenced to four years of probation.608

         537.   John F. Anderson of Cleveland, Ohio pled guilty on June 16, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Anderson was sentenced to

three years in prison.609

         538.   Alex Raysean Andrus of Akron, Ohio pled guilty on April 16, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin, and he was sentenced to six months in

prison. In addition, Mr. Andrus pled guilty on August 1, 2016 in the same court to another

charge of trafficking in heroin, and he was sentenced to six months in prison.610

         539.   Efrain Anglero of Cleveland, Ohio pled guilty on January 19, 2017 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking heroin. Mr. Anglero

was sentenced to seven years in prison.611

         540.   Robert Anglesino of Cleveland, Ohio pled guilty on December 22, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Anglesino was sentenced

to six months in prison.612




608
      CUYAH_000079266; MCKPUB00013524; MCKPUB00013525; MCKPUB00013527.
609
      CUYAH_000039975; MCKPUB00015660; MCKPUB00015661; MCKPUB00015664.
610
      AKRON_000201567; MCKPUB00006294; MCKPUB00006295; MCKPUB00006296.
611
      CUYAH_000032221; MCKPUB00012253; MCKPUB00012254; MCKPUB00012256.
612
      CUYAH_000039490; MCKPUB00019606; MCKPUB00019607; MCKPUB00019610.



                                               143
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 145 of 309. PageID #: 93242




         541.   Terrance A. Anthony of Akron, Ohio pled guilty on October 28, 2015, in the

Summit County Court of Common Pleas, to offenses including aggravated trafficking in drugs.

On December 16, 2015, he was sentenced to fourteen months of community control.613

         542.   Donnie R. Antoine of Akron, Ohio pled guilty on March 28, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin. According to an email from Akron

Police Lieutenant Terry Pasko, Mr. Antoine had a number of heroin-addicted women work as

prostitutes for him in exchange for heroin. At least one of these women was pregnant. Mr.

Antoine was sentenced to prison for six months.614

         543.   Flor Arroyo was found guilty on March 28, 2012 in the Cuyahoga County Court

of Common Pleas of trafficking heroin, and he was sentenced to twelve years in prison.615

         544.   Antoin Austin of Euclid, Ohio pled guilty on July 24, 2018 in the Northern

District of Ohio to conspiracy to distribute controlled substances, including fentanyl and fentanyl

analogues, attempted possession with intent to distribute fentanyl, distribution of a controlled

substance by means of the internet, advertising controlled substances by means of the internet,

maintaining a drug-involved premises, and maintaining a drug-involved premises near a

school.616 From August 1, 2017 through March 28, 2018, Mr. Austin sold fentanyl on the dark




613
      AKRON_000289540; MCKPUB00021603; MCKPUB00021605; MCKPUB00021606.
614
      AKRON_001156524; MCKPUB00025389; MCKPUB00025390; MCKPUB00025392.
615
      MCKPUB00013022; MCKPUB00013023; MCKPUB00013028.
616
      MCKPUB00006964; MCKPUB00006957.



                                                144
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 146 of 309. PageID #: 93243




web from his home.617 Mr. Austin ordered thousands of deadly doses of fentanyl from China.618

On November 5, 2018, Mr. Austin was sentenced to two years’ imprisonment.619

         545.   Dustin C. Austin of Akron, Ohio pled guilty on November 21, 2012 in the

Summit County Court of Common Pleas to trafficking in heroin. Mr. Austin was sentenced to

one year of incarceration.620 Mr. Austin also pled guilty on May 2, 2013 in the Summit County

Court of Common Pleas to offenses including trafficking in heroin. Mr. Austin was sentenced to

four years in prison.621

         546.   Lanell L. Austin of Akron, Ohio pled guilty on September 9, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin, and he was sentenced to twelve months

in prison.622

         547.   Todd S. Austin pled guilty on April 30, 2013 in the Summit County Court of

Common Pleas to offenses including trafficking in heroin. On May 21, 2013, Mr. Austin was

sentenced to one year in prison.623

         548.   Joseph Aveni of South Euclid, Ohio pled guilty on May 15, 2012 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Aveni was sentenced to eighteen

months of probation. After failing to comply with the terms of his probation, the Court extended




617
      MCKPUB00006957.
618
      MCKPUB00006978.
619
      MCKPUB00006966; MCKPUB00006974; MCKPUB00006981.
620
      MCKPUB00025394; MCKPUB00025395.
621
      MCKPUB00025397; MCKPUB00025398.
622
      AKRON_000201657; MCKPUB00017109; MCKPUB00017110.
623
  AKRON_000200898; AKRON_000281858; MCKPUB00022239; MCKPUB00022241;
MCKPUB00022242.



                                              145
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 147 of 309. PageID #: 93244




his probation sentence on May 16, 2014. After Mr. Aveni again violated his probation, the Court

sentenced him to fifteen months in prison on October 1, 2014.624

         549.   Alvin D. Bailey of Akron, Ohio pled guilty on February 6, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin. On March 5, 2013, Mr. Bailey was

sentenced to one year of community control.625

         550.   Reginald P. Baker of Cleveland, Ohio pled guilty on July 10, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Baker was sentenced to

four years in prison.626

         551.   Troy Baker of Euclid, Ohio was indicted on October 25, 2017 for crimes

including possession with intent to distribute carfentanil. The conduct allegedly took place in

Euclid, Ohio on June 27, 2017. At the time of the indictment, U.S. Attorney Justin Herdman

stated, “This amount of carfentanil could kill tens of thousands of people.” Proceedings are

currently ongoing in the Northern District of Ohio.627

         552.   Octavio Barragan-Manzo, a Mexican national, pled guilty in the Northern District

of Ohio on July 20, 2018 to possession with intent to distribute heroin.628 According to the

complaint, on March 21, 2018, a highway state trooper effected a traffic stop of Mr. Barragan-

Manzo in Akron. A K-9 unit positively alerted the officer to the presence of narcotics in Mr.

Barragan-Manzo’s vehicle. Officers searched the vehicle and recovered twenty brick-shaped




624
      CUYAH_000025888; MCKPUB00015926; MCKPUB00015927; MCKPUB00015931.
625
      AKRON_000204690; MCKPUB000065346535; MCKPUB00006536; MCKPUB00006537.
626
      CUYAH_000028012; MCKPUB00019479; MCKPUB00019480; MCKPUB00019484.
627
      MCKPUB00022345; MCKPUB00022347; MCKPUB00022349; MCKPUB00022351.
628
      MCKPUB00019100; MCKPUB00029099.



                                               146
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 148 of 309. PageID #: 93245




objects, the contents of which tested positive for heroin and/or fentanyl in the field.629 On

November 2, 2018, Mr. Barragan-Manzo was sentenced to 58 months’ imprisonment.630

         553.   Ricardo Barrett of Cleveland, Ohio pled guilty on September 19, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin, and he was sentenced to nine

months of community control.631

         554.   Kalvin O. Barry of Cleveland, Ohio pled guilty on June 26, 2012 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. He was sentenced to two years of

probation. After violating the terms of his probation, the Court sentenced Mr. Barry to prison on

August 22, 2012.632

         555.   Brandon Bartoe of Barberton, Ohio, pled guilty to charges of corrupting another

with drugs and trafficking in heroin. On January 13, 2015, Mr. Bartoe helped facilitate a deal to

obtain heroin for Brandy Amaro, who died after overdosing on the drug. On February 10, 2016,

Mr. Bartoe was sentenced to four years in prison.633

         556.   William R. Barton of Barberton, Ohio pled guilty on July 12, 2010 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

fourteen months in prison, suspended provided that he complete two years of community

control.634




629
      MCKPUB00019093.
630
      MCKPUB00019103; MCKPUB00019110; MCKPUB00019115.
631
      CUYAH_000036066; MCKPUB00019535; MCKPUB00019536; MCKPUB00019538.
632
      CUYAH_000026289; MCKPUB00016013; MCKPUB00016015; MCKPUB00016017.
633
  SUMMIT_000645466; AKRON_000286744; MCKPUB00007669; MCKPUB00007671;
MCKPUB00007673; MCKPUB00007674.
634
      MCKPUB00025400; MCKPUB00025401; MCKPUB00025403.



                                                147
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 149 of 309. PageID #: 93246




         557.   Brandy M. Bates of Cleveland Heights, Ohio pled guilty on May 21, 2015 in the

Northern District of Ohio to traveling in interstate commerce with the intent to carrying on a

business enterprise involving the distribution of heroin.635 Ms. Bates participated in a heroin

trafficking enterprise that spanned from September 2011 to September 2013.636 On August 21,

2015, Ms. Bates was sentenced to one year in prison.637

         558.   Keith Bearden of Cleveland, Ohio, pled guilty on May 9, 2017 to trafficking

fentanyl and heroin. He was sentenced to nine months in prison.638

         559.   Tydon Beaver of Akron, Ohio, pled guilty in the Summit County Court of

Common Pleas to involuntary manslaughter. Mr. Beaver helped facilitate a deal to obtain heroin

for Brandy Amaro, who died after overdosing on the drug. On February 17, 2016, he was

sentenced to three years in prison.639

         560.   Keith Beavers of Akron, Ohio pled guilty on May 12, 2015 in the Summit County

Court of Common Pleas to offenses including trafficking in heroin. On June 16, 2015, he was

sentenced to eighteen months in prison.640

         561.   Jonathan Becker of Akron, Ohio, pled guilty in March 2017 to involuntary

manslaughter and drug trafficking, and he was sentenced to four years and eleven months in




635
      MCKPUB00025405; MCKPUB00025444.
636
      MCKPUB00007947.
637
      MCKPUB00007926; MCKPUB00007932; MCKPUB00007945.
638
      CUYAH_000072825; MCKPUB00016050; MCKPUB00016051; MCKPUB00016054.
639
  SUMMIT_000645542; AKRON_000286744; MCKPUB00022359; MCKPUB00022360;
MCKPUB00022362; MCKPUB00022363.
640
      AKRON_000288039; MCKPUB00016056; MCKPUB00016058; MCKPUB00016059.



                                               148
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 150 of 309. PageID #: 93247




prison. He supplied carfentanil to 19-year-old Alexandria Hoover, who died of an overdose in

July 2016.641

         562.   Beneditto Belfiore of South Euclid, Ohio pled guilty on May 6, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.642 Mr. Belfiore participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.643 On August 11, 2014, Mr. Belfiore was sentenced to time

served.644

         563.   Robert Belk of Cleveland, Ohio pled guilty on January 24, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute one kilogram

or more of heroin.645 Mr. Belk participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013,646 at one point complaining to a co-conspirator that the pace

of drug deals were too “slow.”647 On May 2, 2014, Mr. Belk was sentenced to 36 months in

prison.648

         564.   Edguardo Beltran of Cleveland, Ohio pled guilty on December 19, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr. Beltran

was sentenced to two years in prison.649


641
      SUMMIT_000031572; MCKPUB00015680; MCKPUB00015683.
642
      MCKPUB00007588.
643
      MCKPUB00007606.
644
      MCKPUB00007590; MCKPUB00007592; MCKPUB00007604.
645
      MCKPUB00025635; MCKPUB00019613.
646
      MCKPUB00019823.
647
      MCKPUB00025635.
648
      MCKPUB00019804; MCKPUB00019810; MCKPUB00019821.
649
      CUYAH_000033768; MCKPUB00011908; MCKPUB00011909; MCKPUB00011912.



                                                149
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 151 of 309. PageID #: 93248




         565.   Timothy I. Benford, Jr. of Akron, Ohio pled guilty on October 10, 2017 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. Mr. Benford

was sentenced to nine months of incarceration.650

         566.   Marlon L. Benn of Hudson, Ohio pled guilty on June 5, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking in heroin and fentanyl. Mr. Benn was sentenced

to three and one half years in prison.651

         567.   Ernest Eugene Bennett pled guilty on August 9, 2017 in the Summit County Court

of Common Pleas to trafficking in heroin, for conduct that occurred in Akron, Ohio. He was

sentenced to prison for nine years with five years of post-release control.652

         568.   Timothy Bennett II of Euclid, Ohio pled guilty on March 24, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Bennett was sentenced to

two years of community control.653

         569.   Martin Bido of Cleveland, Ohio pled guilty on June 13, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Bido was sentenced to three years in

prison.654

         570.   Todd B. Bittner of Akron, Ohio pled guilty on October 30, 2012 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On November 27,

2012, he was sentenced to ten months in prison.655


650
      AKRON_001126044; MCKPUB00025671; MCKPUB00025673; MCKPUB00025674.
651
      CUYAH_000031349; MCKPUB00018261; MCKPUB00018262; MCKPUB00018265.
652
      AKRON_001219892; MCKPUB00025676; MCKPUB00025677; MCKPUB00025681.
653
      CUYAH_000044349; MCKPUB00022178; MCKPUB00022179; MCKPUB00022183.
654
      CUYAH_000035319; MCKPUB00018280; MCKPUB00018281; MCKPUB00018286.
655
      AKRON_000295612; MCKPUB00022236; MCKPUB00022238.



                                                150
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 152 of 309. PageID #: 93249




         571.   Stevenson Black of Cleveland, Ohio pled guilty on December 17, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.656 Mr. Black participated in a heroin trafficking enterprise that operated from September

2011 to September 2013.657 On March 18, 2015, Mr. Black was sentenced to three years of

probation.658

         572.   Demetric Deshaun Blackwell of Akron, Ohio, was convicted on July 17, 2014 in

the Summit County Court of Common Pleas of offenses including trafficking in heroin. Mr.

Blackwell was sentenced to two years of community control.659

         573.   Dominique Blair of Euclid, Ohio pled guilty on June 24, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.660 Ms.

Blair participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.661 On November 13, 2014, Ms. Blair was sentenced to three years of

probation.662

         574.   Carl J. Blake of Akron, Ohio pled guilty on August 11, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. He was sentenced to two years in

prison.663




656
      MCKPUB00021193; MCKPUB00021389; MCKPUB00021401.
657
      MCKPUB00021404.
658
      MCKPUB00021384.
659
      AKRON_000204877; MCKPUB00010402; MCKPUB00010404; MCKPUB00010405.
660
      MCKPUB00011050.
661
      MCKPUB00011256.
662
      MCKPUB00011241; MCKPUB00011253; MCKPUB00029100.
663
      AKRON_000286465; MCKPUB00008498; MCKPUB00008500; MCKPUB00008501.



                                                151
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 153 of 309. PageID #: 93250




         575.   Latrice Blevins of Cleveland, Ohio pled guilty on December 16, 2014 to

conspiracy to possess with intent to distribute and to distribute heroin.664 Mr. Blevins

participated in a heroin trafficking enterprise that operated from September 2011 to September

2013.665 On July 15, 2015, Ms. Blevins was sentenced to three years of probation.666

         576.   Marcus Blue of Euclid, Ohio pled guilty on January 27, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.667 Mr.

Blue participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.668 Mr. Blue was sentenced to 41 months in prison.669

         577.   Anthony Board, Jr., of Akron and Barberton, Ohio pled guilty on July 25, 2017 in

the Northern District of Ohio to possession with intent to distribute fentanyl.670 On December

14, 2016, law enforcement officials executed a search warrant on Mr. Board’s Akron residence

and recovered carfentanil and drug packaging materials (the Government agreed not to return to

the grand jury after finding that the drugs were carfentanil rather than fentanyl).671 On December

1, 2017, Mr. Board was sentenced to 63 months in prison.672 The Sixth Circuit denied Mr.

Board’s appeal on September 28, 2018.673



664
      MCKPUB00017137.
665
      MCKPUB00011256.
666
      MCKPUB00017328; MCKPUB00017332; MCKPUB00017345.
667
      MCKPUB00017940.
668
      MCKPUB00018149.
669
      MCKPUB00018131; MCKPUB00018133; MCKPUB00018147.
670
      MCKPUB00006901; MCKPUB00006904.
671
      MCKPUB00025692; MCKPUB00006892.
672
      MCKPUB00029102.
673
      MCKPUB00006906; MCKPUB00006907; MCKPUB00006914; MCKPUB00025685.



                                                152
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 154 of 309. PageID #: 93251




         578.   Delena Bolden of Maple Heights, Ohio pled guilty on January 4, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking acrylfentanyl. Ms. Bolden was

sentenced to one year of community control.674

         579.   Joseph C. Bolinger of Cuyahoga Falls, Ohio, pled guilty on March 14, 2013 in the

Summit County Court of Common Pleas to offenses including trafficking heroin. Mr. Bolinger

was sentenced to two years in prison.675

         580.   Elliott Bonner of Cleveland, Ohio pled guilty on March 22, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Bonner was sentenced to eighteen

months in prison.676

         581.   Christopher Bowen of South Euclid, Ohio, pled guilty on September 9, 2018 in

the Northern District of Ohio to offenses including distribution of a substance containing heroin

and fentanyl; distribution of a substance containing heroin, fentanyl, and acetylfentanyl;

distribution of a substance containing heroin; possession with intent to distribute a substance

containing heroin and fentanyl; possession with intent to distribute a substance containing heroin

and tramadol; and possession with intent to distribute a substance containing heroin.677 Law

enforcement officials oversaw a number of controlled purchases of narcotics from Mr. Bowen

between May and June 2018.678 Mr. Bowen is awaiting sentencing. At the time he was arrested




674
      CUYAH_000074377; MCKPUB00010391; MCKPUB00010392; MCKPUB00010399.
675
      AKRON_00200794; MCKPUB00015933; MCKPUB00015935; MCKPUB00015936.
676
      CUYAH_000032528; MCKPUB00012278; MCKPUB00012279; MCKPUB00012286.
677
      MCKPUB00008951; MCKPUB00008946; MCKPUB00025716.
678
      MCKPUB00008923.



                                                153
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 155 of 309. PageID #: 93252




in this matter, he had a conviction in the Cuyahoga County Court of Common Pleas for drug

trafficking.679

         582.     Gerald Bowerman of Cuyahoga Falls, Ohio pled guilty on August 17, 2018 in the

Northern District of Ohio to conspiracy to possess with intent to distribute fentanyl.680 On April

17, 2018, law enforcement officers surveilled Mr. Bowerman coming and going from an Akron,

Ohio residence. Law enforcement observed Mr. Bowerman carrying a package with him into the

home. They executed a search warrant at the residence later that day and recovered pills on the

kitchen counter next to an empty U.S. Postal Service package. The pills were stamped to look

like oxycodone but were fentanyl and cutting agents. In announcing the indictment, U.S.

Attorney Justin E. Herdman stated, “These arrests helped save at least 1,500 lives.” At the same

time, Akron Police Chief Kenneth Ball described the defendants as “criminal predators [who]

were willing to put so many at great risk by poisoning prescription drugs with fentanyl.”681 Mr.

Bowerman is awaiting sentencing.682

         583.     Andrew R. Bowers of Akron, Ohio pled guilty on August 25, 2016 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs (fentanyl). Mr. Bowers was

sentenced to twelve months in prison.683

         584.     Alexander J. Bowles of Akron, Ohio pled guilty on March 28, 2008 in the

Summit County Court of Common Pleas offenses including trafficking in heroin. Mr. Bowles


679
  MCKPUB000089534; MCKPUB00008955; MCKPUB00008958; MCKPUB00008960;
MCKPUB00008965.
680
      MCKPUB00013570.
681
      MCKPUB00013583.
682
      MCKPUB00013572; MCKPUB00013575; MCKPUB00013581.
683
  AKRON_000206068; AKRON_000223279; MCKPUB00006836; MCKPUB00006837;
MCKPUB00006839; MCKPUB00006840.



                                                154
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 156 of 309. PageID #: 93253




was sentenced to one year of incarceration for this offense, suspended provided that he complete

two years of community control.684

         585.   Peter L. Boyd of Cleveland, Ohio, pled guilty on November 28, 2017 in the

Summit County Court of Common Pleas to aggravated trafficking in drugs (fentanyl). Mr. Boyd

was sentenced to eighteen months of incarceration, suspended upon the condition that he

complete two years of community control.685

         586.   Rodney Boyd of Akron, Ohio pled guilty on July 12, 2018 in the Summit County

Court of Common Pleas to aggravated trafficking in drugs, namely fentanyl. Mr. Boyd was

sentenced to two years of community control.686

         587.   Stuart J. Boykin of Akron, Ohio pled guilty on March 11, 2016 in the Northern

District of Ohio to offenses including possession with intent to distribute fentanyl and heroin.687

On June 14, 2016, Mr. Boykin was sentenced to 108 months in prison.688 The Court of Appeals

for the Sixth Circuit affirmed Mr. Boykin’s sentence, and the United States Supreme Court

denied his petition for a writ of certiorari.689

         588.   Germine Bradley of Cleveland, Ohio pled guilty on November 8, 2018 in the

Northern District of Ohio to intent to distribute fentanyl.690 Mr. Bradley is currently awaiting


684
  SUMMIT_000375431; MCKPUB00025736; MCKPUB00025732; MCKPUB00025728;
MCKPUB00025733.
685
  AKRON_001274723; AKRON_000203371; MCKPUB00025738; MCKPUB00025739;
MCKPUB00025742; MCKPUB00025744.
686
      MCKPUB00020239; MCKPUB00020240; MCKPUB00020242.
687
      MCKPUB00021408.
688
      MCKPUB00021410.
689
  MCKPUB00021417; MCKPUB00021418; MCKPUB00021431; MCKPUB00021433;
MCKPUB00025748; MCKPUB00025757; MCKPUB00029111.
690
      MCKPUB00013607.



                                                   155
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 157 of 309. PageID #: 93254




sentencing. Mr. Bradley has a prior drug-related federal conviction, as well as drug-related

convictions in the Cuyahoga County Court of Common Pleas.691

         589.   Javion L. Brandon of Akron, Ohio pled guilty on May 3, 2017 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

eighteen months in prison.692

         590.   Vernita Brent of Cleveland, Ohio pled guilty on October 31, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Brent was sentenced to six

months in prison.693

         591.   Sharod J. Britt pled guilty on July 9, 2015 in the Summit County Court of

Common Pleas to trafficking in heroin. Mr. Britt was sentenced to eighteen months of

incarceration, but the sentence was suspended upon the condition that he complete two years of

community control.694

         592.   Davell L. Brock of Akron, Ohio pled guilty on March 13, 2013 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. Mr. Brock was

sentenced to twelve months of incarceration.695

         593.   Howard Brockman, Jr. of Akron, Ohio pled guilty on December 9, 2013 in the

Summit County Court of Common Pleas to trafficking in heroin. On June 27, 2013, Akron



691
  MCKPUB00013609; MCKPUB00013611; MCKPUB00013613; MCKPUB00013615;
MCKPUB00013617; MCKPUB00013620; MCKPUB00013592; MCKPUB00013604;
MCKPUB00013606.
692
      AKRON_000221651; MCKPUB00015367; MCKPUB00015369; MCKPUB00015370.
693
      CUYAH_000033971; MCKPUB00022446; MCKPUB00022447; MCKPUB00022450.
694
  AKRON_000205747; AKRON_000286790; MCKPUB00020904; MCKPUB00020906;
MCKPUB00020907.
695
      MCKPUB00009978-9979; MCKPUB00009980; MCKPUB00009981; MCKPUB00009984.



                                               156
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 158 of 309. PageID #: 93255




police observed Mr. Brockman selling drugs outside of a bar in Akron. Officers apprehended

Mr. Brockman and recovered heroin, a digital scale, Percocet, and hydrocodone. Mr. Brockman

was sentenced to three years in prison.696

         594.   Lewis Brooks of Cleveland, Ohio, pled guilty on August 19, 2010 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Brooks was sentenced to

one year of probation.697

         595.   Ricky Lamar Brooks of Akron, Ohio pled guilty on November 17, 2014 in the

Summit County Court of Common Pleas to trafficking in heroin.698 Mr. Brooks was sentenced

to one year in prison, but the sentence was suspended on the condition that he complete eighteen

months of community control.

         596.   Adolph R. Brown, Sr. of Akron, Ohio was indicted on April 2, 2014, in the

Summit County Court of Common Pleas, for trafficking in heroin. Mr. Brown pled guilty on

February 27, 2015, but, between October 2015 and July 2018, he filed multiple motions to

withdraw his plea and a motion to dismiss. The Court denied his motions. Mr. Brown is

awaiting sentencing.699

         597.   Chad Brown of Cleveland, Ohio pled guilty on April 22, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Brown was sentenced to 107 days in

the Cuyahoga County Jail.700



696
      AKRON_001279859; MCKPUB00025826; MCKPUB00025827; MCKPUB00025829.
697
      CUYAH_000024875; MCKPUB00017628; MCKPUB00017629; MCKPUB00017631.
698
      AKRON_000201799; MCKPUB00019589; MCKPUB00019591; MCKPUB00019592.
699
  AKRON_000205137; MCKPUB00006243; MCKPUB00006268; MCKPUB00006272;
MCKPUB00006274; MCKPUB00006275; MCKPUB00006276; MCKPUB00029112.
700
      CUYAH_000039490; MCKPUB00008861; MCKPUB00008862; MCKPUB00008866.



                                              157
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 159 of 309. PageID #: 93256




          598.   Diion J. Brown of Cleveland, Ohio, pled guilty on September 26, 2017 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl. Mr. Brown was sentenced to

eighteen months in prison.701

          599.   Melton J. Brown of Akron, Ohio was convicted by a jury on November 22, 2012

in the Summit County Court of Common Pleas of offenses including trafficking in heroin. Mr.

Brown was sentenced to twelve months in prison.702

          600.   Rudius Abijah Brown of Euclid, Ohio pled guilty on April 12, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr. Brown

was sentenced to two years in prison.703

          601.   Detroit Demorriss Brown-Yates of Akron, Ohio pled guilty on March 23, 2016 in

the Summit County Court of Common Pleas to offenses including aggravated trafficking in

drugs, namely fentanyl. He was sentenced to fourteen months of community control.704

          602.   Tennille Bryant pled guilty on May 16, 2017 in the Northern District of Ohio to

conspiracy with intent to distribute and to distribute drugs including heroin and fentanyl. Ms.

Bryant participated in a conspiracy that spanned from January 1, 2010 to September 28, 2016,

including by delivering fentanyl from Yonkers, New York to Maple Heights, Ohio on March 21,

2016.705 On August 23, 2017, Ms. Bryant was sentenced to 65 months in prison.706




701
       CUYAH_000030101; MCKPUB00010824; MCKPUB00010825; MCKPUB00010828.
 702
       AKRON_001273928; MCKPUB00025831; MCKPUB00025832; MCKPUB00025834.
703
  CUYAH_000025876; MCKPUB00005388; MCKPUB00005390; MCKPUB00005393;
MCKPUB00020588; MCKPUB00020589; MCKPUB00020591.
704
       AKRON_000290350; MCKPUB00010586; MCKPUB00010588; MCKPUB00010589.
705
       MCKPUB00021497.
706
       MCKPUB00021580; MCKPUB00021587; MCKPUB00021595.



                                                158
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 160 of 309. PageID #: 93257




         603.   Michael Buchanan of Cleveland, Ohio pled guilty on May 6, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.707 Mr.

Buchanan participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.708 On August 12, 2014, Mr. Buchanan was sentenced to 24 months in

prison.709

         604.   Terri Buckner of Cleveland, Ohio pled guilty on April 27, 2016 in the Cuyahoga

County Court of Common Pleas to conspiracy to trafficking heroin. Ms. Buckner was sentenced

to one year of community control.710

         605.   James Buell of Akron, Ohio pled guilty on April 30, 2015 in the Summit County

Court of Common Pleas to involuntary manslaughter and aggravated trafficking in drugs. Mr.

Buell sold heroin laced with fentanyl to Alicia Dice of Akron, Ohio, who died from fentanyl

toxicity. Mr. Buell was sentenced to three years in prison. 711

         606.   Vernon R. Buffington of Cleveland, Ohio pled guilty on January 4, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr.

Buffington was sentenced to eighteen months in prison.712




707
      MCKPUB00018631; MCKPUB00018635; MCKPUB00018646.
708
      MCKPUB00018648.
709
      MCKPUB00018633.
710
      CUYAH_000070777; MCKPUB00021862; MCKPUB00021863; MCKPUB00021865.
711
  AKRON_001151503; MCKPUB00014994; MCKPUB00014996; MCKPUB00014997;
MCKPUB00014991.
712
      CUYAH_000025876; MCKPUB00022453; MCKPUB00022454; MCKPUB00022457.



                                                159
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 161 of 309. PageID #: 93258




         607.     Barbara Burncheck of Cleveland, Ohio pled guilty on August 9, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Burcheck was sentenced to

six months in prison.713

         608.     Michael T. Butts of Cleveland, Ohio pled guilty on January 5, 2010 in the

Cuyahoga County Court of Common Pleas to drug trafficking, possession or trafficking of

counterfeit controlled substances, and aggravated theft. Mr. Butts participated in several heroin

transactions with the Cleveland Police Narcotics Unit. Mr. Butts was sentenced to six months in

county jail.714

         609.     Jonah M. Byard of Akron, Ohio pled guilty on October 6, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred between May

25, 2014 and June 1, 2014. Mr. Byard was sentenced to two years of community control.715

         610.     Roderick A. Byrd of Mansfield, Ohio pled guilty on February 12, 2014 in the

Summit County Court of Common Pleas to trafficking heroin, and he was sentenced to two years

of community control.716 On August 17, 2016, Mr. Byrd pled guilty again, in the same court, to

trafficking heroin, and he was sentenced to eleven months in prison.717

         611.     Edwin O. Cain III of Akron, Ohio pled guilty on April 5, 2013 in the Northern

District of Ohio to offenses including possession with intent to distribute heroin. The offenses




713
      CUYAH_000036103; MCKPUB00007566; MCKPUB00007567; MCKPUB00007569.
714
  CUYAH_014631435; CUYAH_014631409; MCKPUB00024468; MCKPUB00024470;
MCKPUB00024473.
715
      AKRON_001157001; MCKPUB00025838; MCKPUB00025839; MCKPUB00025841.
716
      MCKPUB00020218; MCKPUB00020219; MCKPUB00020222.
717
      MCKPUB00020220; MCKPUB00020221.



                                                 160
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 162 of 309. PageID #: 93259




took place in Akron on or about May 3, 2012.718 Mr. Cain was initially given one 24-month

sentence and one 36-month sentence to run consecutively, for a total of 60 months’

imprisonment.719 On May 28, 2015, the court granted Mr. Cain’s motion to reduce his two-year

sentence to eighteen months.720 On March 1, 2017, after his release in the above matter, Mr.

Cain was convicted in the Summit County Court of Common Pleas of trafficking in heroin.721

         612.   Reiko Calmese of Akron, Ohio was convicted on September 10, 2013 in the

Summit County Court of Common Pleas of offenses including trafficking in heroin. Mr.

Calmese was sentenced to two years of community control.722

         613.   Tyrone Cammon of Garfield Heights, Ohio was indicted on February 6, 2018 for

possession with the intent to distribute fentanyl, heroin, methoxyacetylfentanyl, carfentanil, and

fentanyl pharmacophore.723 According to the complaint, in October 2017, investigators oversaw

controlled purchases of narcotics from Mr. Cammon. On November 16, 2017, law enforcement

officials arrested Mr. Cammon on outstanding warrants and executed a search warrant at his

home. They recovered firearms, a substance containing heroin and fentanyl, and a substance

containing methoxyacetylfentanyl, carfentanil, and fentanyl pharmacophore.724 Proceedings are




718
      MCKPUB00012229; MCKPUB00012226.
719
      MCKPUB00012231.
720
      MCKPUB00012240; MCKPUB00012231; MCKPUB00012233; MCKPUB00012239.
721
  AKRON_000296704; MCKPUB00012249; MCKPUB00012251; MCKPUB00012252;
MCKPUB00012219; MCKPUB00025843.
722
      AKRON_000205036; MCKPUB00019495; MCKPUB00019497; MCKPUB00019498.
723
      MCKPUB00022376.
724
      MCKPUB00022370.



                                               161
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 163 of 309. PageID #: 93260




ongoing in the Northern District of Ohio. Mr. Cammon has a number of prior drug-related

convictions in the Cuyahoga County Court of Common Pleas.725

         614.   Glenn Campbell of Akron, Ohio pled guilty on April 8, 2014 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On September 12,

2013, the Akron Police Department’s Street Narcotics Units Detail and SWAT team executed a

search warrant at Mr. Campbell’s apartment in Akron and recovered three firearms, heroin,

syringes, and digital scales. Mr. Campbell said that he regularly held “dope” for his son and that

he sold drugs out of the apartment. Mr. Campbell was sentenced to prison for five years.726

         615.   Pierre Campbell of Cleveland, Ohio pled guilty on May 13, 2015 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin. Mr.

Campbell participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.727 On October 5, 2015, Mr. Campbell was sentenced to 222 months in

prison.728

         616.   Raymond L. Canales of Cleveland, Ohio pled guilty on April 24, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Canales was sentenced to

two years of community control.729




725
  MCKPUB00022380; MCKPUB00022381; MCKPUB00022384; MCKPUB00022386;
MCKPUB00022387; MCKPUB00022389; MCKPUB00022391; MCKPUB00022392;
MCKPUB00022394; MCKPUB00022396; MCKPUB00022397; MCKPUB00022399;
MCKPUB00022401; MCKPUB00022408; MCKPUB00025873.
726
      AKRON_001217583; MCKPUB00025875; MCKPUB00025876; MCKPUB00025879.
727
      MCKPUB00019329.
728
      MCKPUB00019299; MCKPUB00019306; MCKPUB00019323; MCKPUB00019325.
729
      CUYAH_000035145; MCKPUB00019426; MCKPUB00019427; MCKPUB00019429.



                                                162
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 164 of 309. PageID #: 93261




          617.   Alvin Caraballo pled guilty on January 1, 2012 in the Cuyahoga Country Court of

Common Pleas to trafficking heroin.730 Mr. Caraballo was sentenced to eight and a half years in

prison.

          618.   Bryan James Carney of Akron, Ohio was convicted on February 19, 2014 in the

Summit County Court of Common Pleas of offenses including trafficking in heroin. Mr. Carney

was sentenced to eighteen months of community control.731

          619.   Sandra Carte of Cleveland, Ohio pled guilty on June 23, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Ms. Carte was sentenced to one year of

community control.732

          620.   Danielle M. Carter of Akron, Ohio pled guilty on October 28, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. She was sentenced to sixteen months of

community control.733

          621.   Genevus Carter of Akron, Ohio, was convicted on September 22, 2016 in the

Summit County Court of Common Pleas of offenses including involuntary manslaughter. Mr.

Carter had sold a heroin-fentanyl mix to Nina Formosa, a cosmetologist residing in Akron, Ohio,

leading to her fatal overdose in November 2015. On September 22, 2016, Mr. Carter was

sentenced to four years and eleven months in prison.734



730
      CUYAH_000043787: MCKPUB00006539; MCKPUB00006540; MCKPUB00006543.
731
  AKRON_000201407; MCKPUB00008237; MCKPUB00008238; MCKPUB00008240;
MCKPUB00008241; MCKPUB00008174; MCKPUB00019305; MCKPUB00019328.
732
      CUYAH_000033229, MCKPUB00020871; MCKPUB00020872; MCKPUB00020875.
733
  AKRON_000205625; AKRON_000288343; MCKPUB00009511; MCKPUB00009512;
MCKPUB00009515; MCKPUB00009520; MCKPUB00009517.
734
  AKRON_000290719; SUMMIT_000681607; MCKPUB00013558; MCKPUB00013559;
MCKPUB00013567; MCKPUB00013563; MCKPUB00029114.



                                               163
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 165 of 309. PageID #: 93262




         622.   Gregory Brian Carter of Akron, Ohio pled guilty on March 21, 2016 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. On May 9,

2016, he was sentenced to thirty months in prison.735

         623.   Tevin Carter of Youngstown, Ohio pled guilty on March 22, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl. Mr. Carter was sentenced to

eighteen months in prison.736

         624.   James Carver was convicted by a jury in the Northern District of Ohio on March

14, 2018 of conspiracy to possess with intent to distribute and to distribute illegal drugs,

including heroin and fentanyl, as well as possession with intent to distribute fentanyl.737 Mr.

Carver participated in a conspiracy that spanned from January 1, 2010 to September 28, 2016,

including by transporting fentanyl from Yonkers, New York to Maple Heights, Ohio in March

2016.738 On June 28, 2018, Mr. Carver was sentenced to 121 months in prison.739

         625.   Claudia Cazarez-Quintero, a Mexican national, pled guilty on March 23, 2017 in

the Northern District of Ohio to possession with intent to distribute heroin.740 On August 17,

2016, law enforcement officers stopped Ms. Cazarez-Quintero while she was driving in

Westlake, Ohio, at which time a K-9 unit alerted officers to the presence of drugs in her vehicle.




735
      AKRON_000228418; MCKPUB00013666; MCKPUB00013668; MCKPUB00013669.
736
      CUYAH_000078887; MCKPUB00021932; MCKPUB00021933; MCKPUB00021935.
737
      MCKPUB00015081; MCKPUB00014998.
738
      MCKPUB00014998; MCKPUB00029116.
739
      MCKPUB00015090; MCKPUB00015104; MCKPUB00015118; MCKPUB00025882.
740
      MCKPUB00009026.



                                                164
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 166 of 309. PageID #: 93263




Officers recovered controlled substances, including heroin, from Ms. Cazarez-Quintero’s

vehicle.741 On July 10, 2017, Ms. Cazarez-Quintero was sentenced to 51 months in prison.742

         626.   William A. Checo of Cleveland, Ohio, pled guilty on June 19, 2006 in the

Cuyahoga County Court of Common Pleas to attempted trafficking in heroin. Mr. Checo was

sentenced to two years of community control.743

         627.   David M. Cheeks of Cleveland, Ohio, pled guilty on July 27, 2010 to offenses

including trafficking in heroin. He was sentenced to ten years in prison.744

         628.   Deon Antonio Christian of Akron, Ohio, pled guilty on October 4, 2016 in the

Summit County Court of Common Pleas to aggravated trafficking in drugs, including heroin and

carfentanil. The misconduct occurred on July 8, 2016. Mr. Christian was sentenced to two years

of community control. On April 25, 2018, Mr. Christian pled guilty in the Summit County Court

of Common Pleas to crimes including aggravated trafficking in drugs, namely fentanyl. He was

sentenced to one year in prison.745

         629.   Terry Lee Christian of Cleveland, Ohio was indicted on October 24, 2018 in the

Northern District of Ohio for distribution of cocaine-laced opioids with a death enhancement and

using a telephone in furtherance of a drug trafficking offense. On or about July 13, 2018, Mr.

Christian sold a mixture of heroin, fentanyl, and cocaine to an individual who was found dead in

a hotel room in Cleveland, Ohio the following day. Proceedings are ongoing in this matter. Mr.



741
      MCKPUB00009021.
742
      MCKPUB00009029; MCKPUB00009037; MCKPUB00009043.
743
      CUYAH_000032629; MCKPUB00022733; MCKPUB00022734; MCKPUB00022737.
744
      CUYAH_000021917; MCKPUB00010201; MCKPUB00010202; MCKPUB00010209.
745
  AKRON_000206111; AKRON_000296366; MCKPUB00010426; MCKPUB00010428;
MCKPUB00010429; MCKPUB00010430; MCKPUB00010432; MCKPUB00010433.



                                               165
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 167 of 309. PageID #: 93264




Christian has two prior drug-related convictions in the Cuyahoga County Court of Common

Pleas.746

         630.   Andre R. Clark pled guilty on October 25, 2016 in the Summit County Court of

Common Pleas to trafficking in heroin. He was sentenced to twelve months of community

control.747

         631.   Bernard Clark of Bedford, Ohio pled guilty on January 10, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking in heroin. Mr. Clark was sentenced to five years

in prison.748 Mr. Clark also pled guilty on April 18, 2018 in the Cuyahoga County Court of

Common Pleas to trafficking heroin, fentanyl, and carfentanil. Mr. Clark was sentenced to six

years in prison.749

         632.   Monique Sharay Clemons of Cleveland, Ohio pled guilty on April 19, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Clemons was sentenced to

one and one half years of community control.750

         633.   Davonte Clepper pled guilty on January 18, 2018 in the Summit County Court of

Common Pleas to aggravated trafficking in drugs, namely carfentanil. Mr. Clepper was




746
  MCKPUB00021886; MCKPUB00021887; MCKPUB00021890; MCKPUB00021892;
MCKPUB00021893; MCKPUB00021895.
747
      AKRON_000292867; MCKPUB00006593; MCKPUB00006595; MCKPUB00006596.
748
  CUYAH_000032973; MCKPUB00007614; MCKPUB00007615; MCKPUB00007621;
MCKPUB00007624; MCKPUB00007625; MCKPUB00007632.
749
  CUYAH_000020975; CUYAH_000079139; MCKPUB00007634; MCKPUB00007635;
MCKPUB00007640.
750
      CUYAH_000032751; MCKPUB00018997; MCKPUB00018998; MCKPUB00019000.



                                              166
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 168 of 309. PageID #: 93265




sentenced to two years in prison.751 Mr. Clepper had a prior conviction for trafficking in

heroin.752

         634.   Michael Cleveland of Cleveland, Ohio pled guilty on December 21, 2017 in the

Northern District of Ohio to distribution of a mixture of heroin and fentanyl, with a death

enhancement.753 On August 2, 2016, Mr. Cleveland sold a mixture of heroin and fentanyl to a

46-year-old resident of Cleveland Heights, Ohio who fatally overdosed after ingesting the

narcotics.754 On May 14, 2018, Mr. Cleveland was sentenced to 135 months in prison.755 Mr.

Cleveland has at least one conviction involving heroin in the Cuyahoga County Court of

Common Pleas.756

         635.   Paul A. Cline, Jr. of Parma Heights, Ohio pled guilty on December 15, 2014 in

the Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Cline was sentenced to

three years in prison.757

         636.   Tonio Coffey of Akron, Ohio, pled guilty on January 8, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. On January 15, 2015, Mr. Coffey was

sentenced to a mandatory term of four years of incarceration for the charge.758



751
  AKRON_001128716; AKRON_001221663; MCKPUB00025932; MCKPUB00025933;
MCKPUB00025935; MCKPUB00025937.
752
      MCKPUB00025925; MCKPUB00025929; MCKPUB00025926.
753
      MCKPUB00018656; MCKPUB00018652.
754
      MCKPUB00029159.
755
      MCKPUB00018659.
756
  MCKPUB00018666; MCKPUB00018667; MCKPUB00018669; MCKPUB00018671;
MCKPUB00018673.
757
      CUYAH_000067870; MCKPUB00019253; MCKPUB00019254; MCKPUB00019259.
758
  AKRON_000205517; MCKPUB00022250; MCKPUB00022252; MCKPUB00022253;
MCKPUB00022254; MCKPUB00022257.



                                               167
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 169 of 309. PageID #: 93266




         637.   Dora L. Colbert (also known as Dora Bingham) of Akron, Ohio pled guilty on

April 12, 2010 in the Summit County Court of Common Pleas to trafficking in heroin. Ms.

Colbert was sentenced to one year in prison.759

         638.   Tyler K. Colbert of Akron, Ohio pled guilty on March 4, 2010 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred in Akron. Mr.

Colbert was sentenced to fourteen months in prison.760

         639.   Royce A. Colburne of Akron, Ohio pled guilty on August 13, 2014 in the Summit

County Court of Common Pleas to crimes including two counts of aggravated trafficking in

drugs, namely hydromorphone. On September 17, 2014, he was sentenced to two years of

community control.761

         640.   Granville Christopher Collins of Akron, Ohio pled guilty on May 27, 2015 in the

Summit County Court of Common Pleas to aggravated trafficking in drugs (fentanyl). On

July 13, 2015, Mr. Collins was sentenced to twelve months of incarceration.762

         641.   Reginald Collins of Akron, Ohio pled guilty on April 9, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Collins facilitated drug transactions

by accepting drug deliveries at his house in Akron and then contacting the intended recipients to

come and pick up the drugs. Mr. Collins was sentenced to two years in prison.763




759
      AKRON_001157134; MCKPUB00025940; MCKPUB00025941; MCKPUB00025944.
760
      AKRON_001216262; MCKPUB00025947; MCKPUB00025948; MCKPUB00025950.
761
      AKRON_000207131; MCKPUB00020572; MCKPUB00020575.
762
      AKRON_000205596; MCKPUB00013661; MCKPUB00013663; MCKPUB00013664.
763
      AKRON_001230697; MCKPUB00025952; MCKPUB00025953; MCKPUB00025955.



                                                  168
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 170 of 309. PageID #: 93267




         642.   Eric Cook of Cleveland, Ohio pled guilty on December 6, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Cook was sentenced to four years in

prison.764

         643.   George Cook of Akron, Ohio pled guilty on September 17, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. He was sentenced to eight months in

prison.765

         644.   Da’zaun L. Coppinger of Akron, Ohio pled guilty on January 2, 2014 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to one year

in prison.766

         645.   Malik D. Corbin of Cincinnati, Ohio pled guilty on March 9, 2017 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

four years in prison.767

         646.   Kristopher Courtney of Cleveland, Ohio was convicted by a jury in the Northern

District of Ohio on November 29, 2016 of offenses including possession with intent to distribute

a mixture of fentanyl and heroin, possession with intent to distribute heroin, and managing a

drug premise.768 According to the complaint, Mr. Courtney would buy a house, move his sister

in, use the house to facilitate drug trafficking, and then purchase another house to move his drug

operation continually.769 On September 2, 2016, following an investigation, law enforcement


764
      CUYAH_000074939; MCKPUB00012521; MCKPUB00012522; MCKPUB00012527.
765
      AKRON_001144906; MCKPUB00025957; MCKPUB00025958; MCKPUB00025960.
766
      AKRON_000298571; MCKPUB00010343; MCKPUB00010345; MCKPUB00010346.
767
      AKRON_000297011; MCKPUB00017924; MCKPUB00017927; MCKPUB00017928.
768
      MCKPUB00016656; MCKPUB00016652.
769
      MCKPUB00016638.



                                               169
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 171 of 309. PageID #: 93268




officers executed a search warrant at one of Mr. Courtney’s properties, recovered narcotics, and

arrested Mr. Courtney.770 In Mr. Cortney’s sentencing hearing on March 22, 2017, the judge

remarked that Mr. Cortney had set up a an “ongoing” and “major operation” and sentenced Mr.

Cortney to 140 months in prison.771

         647.   Jadonta J. Cousins of Canton, Ohio pled guilty on June 21, 2016 in the Summit

County Court of Common Pleas to crimes including trafficking in heroin. On October 11, 2016,

he was sentenced to two years of community control.772

         648.   Jack D. Couts of Akron, Ohio pled guilty on June 16, 2014 in the Summit County

Court of Common Pleas to offenses including trafficking in heroin. On July 31, 2014, Mr. Couts

was sentenced to two years of community control.773

         649.   Wendell Cox of Bedford, Ohio pled guilty on June 21, 2016 in the Cuyahoga

County Court of Common Pleas to trafficking fentanyl. Mr. Cox was sentenced to one and a half

years of community control.774

         650.   Anfenee J. Crandall of Akron, Ohio pled guilty on August 21, 2017 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs (carfentanil). Mr. Crandall

was sentenced to two years of community control.775




770
      MCKPUB00016662; MCKPUB00016638.
771
      MCKPUB00016662; MCKPUB00016664; MCKPUB00016666; MCKPUB00025976.
772
      AKRON_000220047; MCKPUB00014764; MCKPUB00014767; MCKPUB00014768.
773
  AKRON_000201538; MCKPUB00014493; MCKPUB00014494; MCKPUB00014496;
MCKPUB00014497.
774
      CUYAH_000029676; MCKPUB00022721; MCKPUB00022722; MCKPUB00022725.
775
  SUMMIT_000788689; AKRON_000203254; MCKPUB00026014; MCKPUB00026018;
MCKPUB00026020.



                                              170
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 172 of 309. PageID #: 93269




         651.   Erica M. Crawford of Maple Heights, Ohio pled guilty on April 25, 2016 in the

Cuyahoga County Court of Common Pleas to conspiracy to traffic heroin. Ms. Crawford was

sentenced to one year of community control.776

         652.   Amy L. Croft of Akron, Ohio was convicted on October 8, 2013 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs. At the

time of her arrest, the police confiscated drugs including oxycodone and heroin. Ms. Croft was

sentenced to twenty-four months of community control.777

         653.   Andres Cruz was found guilty on March 28, 2012 in the Cuyahoga County Court

of Common Pleas of trafficking heroin, and he was sentenced to 33 years in prison.778

         654.   Efrain Cruz of Cleveland, Ohio pled guilty on November 14, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Cruz was sentenced to one

year of community control.779

         655.   Melvin Cruz of Cleveland, Ohio pled guilty on January 19, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Cruz was sentenced to eighteen

months of probation.780

         656.   Vernell Curry of Akron, Ohio pled guilty to first-degree felony involuntary

manslaughter and fifth-degree felony drug trafficking in a controlled substance on August 29,




776
      CUYAH_000070777; MCKPUB00012777; MCKPUB00012778; MCKPUB00012780.
777
  AKRON_000201101; MCKPUB00006569; MCKPUB00006571; MCKPUB00006572;
MCKPUB00006575; MCKPUB00006579.
778
      CUYAH_000043787; MCKPUB00006608; MCKPUB00006609; MCKPUB00006618.
779
      CUYAH_000036390; MCKPUB00012253; MCKPUB00012254; MCKPUB00012256.
780
      CUYAH_000032221; MCKPUB00018569; MCKPUB00018570; MCKPUB00018572.



                                               171
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 173 of 309. PageID #: 93270




2017. Mr. Curry was sentenced to ten years in prison for causing the deaths of two women,

Abigail Hackett and Sara White, both of whom died of acute fentanyl toxicity.781

         657.   Willie Curry of Cleveland, Ohio pled guilty on March 27, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Curry was sentenced to two years of

community control.782

         658.   Daymere Marveeouns Dabney of Akron, Ohio pled guilty on May 22, 2014 in the

Summit County Court of Common Pleas to trafficking heroin. On July 8, 2014, Mr. Dabney was

sentenced to eighteen months in prison.783

         659.   Michael D. “Mook” Dandridge pled guilty in the Northern District of Ohio on

May 16, 2013 to conspiracy to distribute and to possess with the intent to distribute heroin, in

violation of 21 U.S.C. § 846, and possession with intent to distribute heroin, in violation of 21

U.S.C. § 841(a)(1), (b)(1)(B). From 2007 and 2012, Mr. Dandridge was involved in a heroin

trafficking conspiracy, in which the co-conspirators traveled to Chicago and Detroit to obtain

heroin for distribution in Akron, Ohio.784 On September 17, 2013, Mr. Dandridge was sentenced

to 84 months in prison. Mr. Dandridge’s prison term was subsequently reduced to 70 months.785

         660.   Gregory Carnell Daniels of Akron, Ohio pled guilty on December 8, 2014 in the

Summit County Court of Common Pleas to trafficking in heroin, and he was sentenced to four

years in prison.786


781
      MCKPUB00022444.
782
      CUYAH_000020911; MCKPUB00022764; MCKPUB00022765; MCKPUB00022768.
783
      AKRON_000201609; MCKPUB00010331; MCKPUB00010332; MCKPUB00010334.
784
      MCKPUB00018688; MCKPUB00029160; MCKPUB00029186.
785
      MCKPUB00018711; MCKPUB00018683.
786
      AKRON_000201218; MCKPUB00013670; MCKPUB00013671; MCKPUB00013674.



                                                172
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 174 of 309. PageID #: 93271




         661.   Steven D. Daniels of Akron, Ohio pled guilty in the Northern District of Ohio on

April 6, 2017 to distribution of fentanyl with an enhancement for causing death or serious bodily

injury.787 Mr. Daniels had obtained the fentanyl over the internet from China and sold it to

Timothy Barnett in Akron, who suffered a fatal overdose on April 2, 2016.788 When officers

executed a search warant at Mr. Daniels’ residence on May 26, 2016, they seized fentanyl, which

Mr. Daniels had dyed pink to distinguish from his cocaine. During sentencing, the judge

commented that Daniels was “clearly a drug dealer and clearly making [his] living by selling

drugs.” 789 On September 24, 2018, the court denied Mr. Daniels’ ineffective assistance of

counsel claim.790 An appeal is now pending before the Sixth Circuit.791 Mr. Daniels has two

prior convictions for drug-related offenses in the Summit County Court of Common Pleas.792

         662.   Frederick L. Darling of Cleveland, Ohio pled guilty on October 2, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.793 Mr. Darling participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013,794 including by selling heroin to a confidential informant in

Cleveland, Ohio on January 7, 2013.795 During his sentencing hearing, the Government

identified Mr. Darling as “one of the more major players” in his heroin ring, distributing heroin


787
      MCKPUB00017618; MCKPUB00020865; MCKPUB00021157; MCKPUB00021143.
788
      MCKPUB00021144; MCKPUB00029247.
789
      MCKPUB00026047.
790
      MCKPUB00029240.
791
      MCKPUB00021147; MCKPUB00021155; MCKPUB00029245.
792
      MCKPUB00029212; MCKPUB00029213.
793
      MCKPUB00026107; MCKPUB00029214.
794
      MCKPUB00013472.
795
      MCKPUB00013255.



                                                173
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 175 of 309. PageID #: 93272




to other dealers who would then cut it with other substances and sell it on the street. Mr. Darling

used proceeds from his drug sales to buy an additional house and used two other houses he

owned as sites to conduct drug trafficking.796 On May 8, 2015, Mr. Darling was sentenced to 75

months in prison.797

         663.   Tevaughn Darling of Cleveland, Ohio pled guilty on April 25, 2016 in the

Cuyahoga County Court of Common Pleas to conspiracy to traffic heroin and trafficking heroin.

Mr. Darling was sentenced to fourteen years in prison.798

         664.   Tiree S. Davenport was convicted on September 27, 2016 in the Summit County

Court of Common Pleas of involuntary manslaughter and aggravated possession of drugs. Ms.

Davenport sold heroin to an individual who later overdosed and died following ingestion of that

drug. Ms. Davenport was sentenced to seven years in prison.799

         665.   Cortez L. Davis pled guilty on July 2, 2014 in the Northern District of Ohio to

conspiracy to distribute and to possess with intent to distribute heroin. He was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Mr. Cortez was sentenced to 57 months in prison.800

         666.   Da’Quan Davis of Akron, Ohio pled guilty on December 17, 2014 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. While out on bond



796
      MCKPUB00026073.
797
      MCKPUB00013446; MCKPUB00013452; MCKPUB00013469.
798
      CUYAH_000070777; MCKPUB00021922; MCKPUB00021923; MCKPUB00021930.
799
  SUMMIT_001137532; SUMMIT_001137610; SUMMIT_001137540;
SUMMIT_001137541; MCKPUB00022232; MCKPUB00022234; MCKPUB00022235.
800
      MCKPUB00009080; MCKPUB00009197; MCKPUB00009206.



                                                174
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 176 of 309. PageID #: 93273




after a prior offense, Mr. Davis attempted to pass a forged prescription for Phenergan with

codeine. Trial for Mr. Davis was set for July 14, 2014, but Mr. Davis did not appear, and a

warrant for his arrest was issued. Akron Police’s Street Narcotics Uniform Detail later observed

Mr. Davis driving, and a car chase ensued. Police eventually recovered heroin and cash from

Mr. Davis and his vehicle. Mr. Davis was sentenced to seven years in prison.801

         667.   Devonte Deshawn Davis of Akron, Ohio pled guilty on November 20, 2014 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, and he was

sentenced to one year in prison.802

         668.   Rodney Sterling Davis of Akron, Ohio pled guilty on November 3, 2016, in the

Summit County Court of Common Pleas, to aggravated trafficking in drugs, namely heroin. He

was sentenced to two years of community control.803

         669.   Tamicka R. Davis pled guilty in the Northern District of Ohio on May 13, 2013 to

conspiracy to distribute and to possess with the intent to distribute heroin in violation of 21

U.S.C. § 846. The conduct occurred in Akron, Ohio, among other locations. On August 26,

2013, Ms. Davis was sentenced to 27 months in prison.804

         670.   Tedre Davis of Akron, Ohio pled guilty in the Northern District of Ohio on

December 21, 2017 to being a felon in possession of a firearm and to possession with intent to




801
  AKRON_000334646; MCKPUB00026298; MCKPUB00026299; MCKPUB00026303;
MCKPUB00026307.
802
      AKRON_000201812; MCKPUB00010801; MCKPUB00010802; MCKPUB00010804.
803
      AKRON_000223079; MCKPUB00020249; MCKPUB00020251; MCKPUB00020252.
804
      MCKPUB00021451; MCKPUB00021456.



                                                175
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 177 of 309. PageID #: 93274




distribute carfentanil, for conduct on May 30, 2017.805 On March 30, 2018, Mr. Davis was

sentenced to seventy months’ imprisonment.806

         671.   Tyrone Davis of Cleveland, Ohio pled guilty on September 26, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl and carfentanil. Mr. Davis

was sentenced to 36 months of community control.807

         672.   Marcos Dejesus of Euclid, Ohio, pled guilty on January 17, 2013 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Dejesus was sentenced to one and one

half years of community control.808

         673.   Darwyn de la Cruz of Brooklyn, Ohio pled guilty on June 19, 2006 in the

Cuyahoga County Court of Common Pleas to attempted trafficking of heroin. Mr. de la Cruz

was sentenced to nine months of community control.809

         674.   Zakiya Z. Delaney of Cleveland, Ohio was convicted by a jury on May 30, 2017,

in the Summit County Court of Common Pleas, of crimes including trafficking in heroin. She

was sentenced to two years in prison.810

         675.   Jacob Derrickson of Euclid, Ohio pled guilty on April 4, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.811 Mr.

Derrickson participated in a heroin trafficking enterprise that operated from September 2011 to



805
      MCKPUB00021485; MCKPUB00021487.
806
      MCKPUB00021495; MCKPUB00021488; MCKPUB00021489; MCKPUB00029249.
807
      CUYAH_000081328; MCKPUB00022410; MCKPUB00022411; MCKPUB00022414.
808
      CUYAH_000027860; MCKPUB00017934; MCKPUB00017935; MCKPUB00017938.
809
      CUYAH_000032629; MCKPUB00009911; MCKPUB00009912; MCKPUB00009915.
810
      AKRON_000213174; MCKPUB00022814; MCKPUB00022818.
811
      MCKPUB00014544.



                                                176
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 178 of 309. PageID #: 93275




September 2013.812 According to the superseding indictment, Mr. Derrickson sent a series of

text messages discussing his being present at another’s recent heroin overdose.813 On July 8,

2014, Mr. Derrickson was sentenced to nine months in prison.814

         676.   Luis Diaz of Cleveland, Ohio pled guilty on February 12, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Diaz was sentenced to two years of

community control.815

         677.   Reynaldo Diaz-Guzman pled guilty on August 27, 2018 in the Northern District

of Ohio to possession with intent to distribute heroin.816 Ohio Highway Patrol officers stopped

Mr. Diaz-Guzman while he was driving in Summit County, Ohio on November 14, 2017. When

the officers asked him to exit the vehicle, Mr. Diaz-Guzman fled by car, in excess of a hundred

miles an hour, and was pursued with aerial surveillance. When officers eventually arrested Mr.

Diaz-Guzman, they searched his vehicle and recovered heroin.817 On December 12, 2018, Mr.

Diaz-Guzman was sentenced to 120 months in prison.818

         678.   Randall Keith Dickey of Akron, Ohio was convicted on November 24, 2015 in

the Summit County Court of Common Pleas of offenses including corrupting another with drugs

and trafficking in heroin. The convictions stemmed from selling heroin to Sarah Woodward of

Akron, who then died of a heroin overdose. On November 12, 2015, Mr. Dickey was sentenced



812
      MCKPUB00014751.
813
      MCKPUB00014544.
814
      MCKPUB00014735; MCKPUB00014737; MCKPUB00014748.
815
      CUYAH_000037639; MCKPUB00017696; MCKPUB00017698; MCKPUB00017702.
816
      MCKPUB00019512; MCKPUB00019529; MCKPUB00019534; MCKPUB00026501.
817
      MCKPUB00019521; MCKPUB00026501.
818
      MCKPUB00019514.



                                              177
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 179 of 309. PageID #: 93276




to two years in prison. Mr. Dickey was also convicted on October 7, 2005, and sentenced to four

years in prison, for aggravated drug trafficking, including of heroin.819

         679.   Danny Digregorio of Cleveland, Ohio pled guilty on December 3, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Digregorio was sentenced

to three years of community control.820

         680.   Dante D. Dixon of Cleveland, Ohio pled guilty on February 27, 2014 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Dixon was sentenced to

five years in prison.821

         681.   Gabriel H. Dixon of Akron, Ohio pled guilty on January 4, 2016 in the Summit

County Court of Common Pleas to trafficking in heroin. He was sentenced to thirty months in

prison.822

         682.   Karshif A. Dobson of Akron, Ohio, was convicted on January 30, 2015 in the

Summit County Court of Common Pleas of trafficking in heroin. Mr. Dobson was sentenced to

two years of community control.823

         683.   Antonio V. Dorman pled guilty on August 14, 2014 in the Northern District of

Ohio to conspiracy to distribute and to possess with intent to distribute heroin. He was one of

twenty people indicted in a case brought by the U.S. Attorney’s Office for the Northern District

of Ohio for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago



819
  AKRON_000207384; AKRON_001151503; MCKPUB00019383; MCKPUB00019386;
MCKPUB00019388; MCKPUB00019382; MCKPUB00019379; MCKPUB00019389.
820
      CUYAH_000036638; MCKPUB00009524; MCKPUB00009525; MCKPUB00009527.
821
      CUYAH_000056835; MCKPUB00009569; MCKPUB00009570; MCKPUB00009577.
822
      AKRON_000288578; MCKPUB00013482; MCKPUB00013485; MCKPUB00013486.
823
      AKRON_000200975; MCKPUB00016040; MCKPUB00016042; MCKPUB00016041.



                                                178
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 180 of 309. PageID #: 93277




and Atlanta, between 2011-2014. 824 Mr. Dorman’s own sentencing memorandum concedes that

Mr. Dorman is a “career offender.”825 He was sentenced to 54 months in prison.826

         684.   Larry Dorsey of Cleveland, Ohio, pled guilty on April 17, 1998 in the Cuyahoga

County Court of Common Pleas to trafficking in heroin.827

         685.   Larry P. Dorsey of Copley, Ohio, was convicted on June 2, 2015 in the Summit

County Court of Common Pleas of trafficking in heroin. On July 31, 2014, Mr. Dorsey pled

guilty in the Northern District of Ohio to conspiracy to distribute and to possess with intent to

distribute heroin, as well as attempted possession with intent to distribute heroin. He was one of

twenty people indicted in a case brought by the U.S. Attorney’s Office for the Northern District

of Ohio for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago

and Atlanta, between 2011-2014. Mr. Dorsey was sentenced to 60 months in prison.828

         686.   Edwin Dortch, Jr. of Akron, Ohio pled guilty on May 29, 2018 in the Northern

District of Ohio to possession with intent to distribute a controlled substance, including fentanyl,

heroin, and carfentanil. Mr. Dortch was sentenced to 87 months in prison.829




824
      MCKPUB00026521; MCKPUB00007010.
825
      MCKPUB00026521.
826
      MCKPUB00007010; MCKPUB00006999; MCKPUB000070089.
827
      MCKPUB00017111.
828
  AKRON_000201096; MCKPUB00017127; MCKPUB00017129; MCKPUB00029250;
MCKPUB00017122.
829
  SUMMIT_000071039; MCKPUB00012180; MCKPUB00012189; MCKPUB00012196;
MCKPUB00012202; MCKPUB00012204.



                                                179
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 181 of 309. PageID #: 93278




         687.   Gibraun Y. Dowdell of Akron, Ohio pled guilty on July 14, 2015, in the Summit

County Court of Common Pleas to aggravated trafficking in heroin. Mr. Dowdell was sentenced

to fifteen months of community control.830

         688.   Jonathan Madison Dowdell of Akron, Ohio, was convicted on August 7, 2010 and

November 30, 2012 in the Summit County Court of Common Pleas of trafficking in heroin.831

         689.   Robert Dowdell of Cleveland, Ohio pled guilty on April 6, 2009 in the Cuyahoga

County Court of Common Pleas to attempted trafficking of opioids, including heroin. Mr.

Dowdell was sentenced to two years of community control.832

         690.   Nashaun L. Drake of Cleveland, Ohio pled guilty on November 16, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl. He was sentenced to eighteen

months in prison.833

         691.   Victor S. Duckworth of Cleveland, Ohio pled guilty on October 24, 2012 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Duckworth was sentenced

to two years in prison.834




830
  AKRON_000205211; AKRON_000281110; MCKPUB00013622; MCKPUB00013625;
MCKPUB00013627; MCKPUB00013628.
831
  AKRON_000204332; AKRON_000287518; MCKPUB00015688; MCKPUB00015689;
MCKPUB00015696; MCKPUB00015690.
832
      CUYAH_000038772; MCKPUB00019827; MCKPUB00019829; MCKPUB00019834.
833
      CUYAH_000031080; MCKPUB00019027; MCKPUB00019028; MCKPUB00019031.
834
      CUYAH_000050405; MCKPUB00022490; MCKPUB00022491; MCKPUB00022495.



                                              180
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 182 of 309. PageID #: 93279




         692.   Calvin L. Dudley of Akron, Ohio pled guilty on June 12, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. On July 6, 2015, he was sentenced to

one year in prison.835

         693.   Floyd J. Dunlap, Jr. of Mansfield, Ohio pled no contest on July 19, 2017 in the

Summit County Court of Common Pleas to crimes including trafficking in heroin. He was

sentenced to four years in prison.836

         694.   Leron Dashawn Eady of Akron, Ohio pled guilty on April 8, 2015 in the Summit

County Court of Common Pleas to crimes including trafficking in heroin. On May 20, 2015, he

was sentenced to three years in prison.837

         695.   Antonia D. Easter pled guilty on July 24, 2014 in the Northern District of Ohio to

conspiracy to distribute and to possess with intent to distribute heroin. She was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for her role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Ms. Easter was sentenced to three months in prison.838

         696.   Kevin Ecker of Barberton, Ohio, was convicted of involuntary manslaughter and

corrupting another with drugs, and he was sentenced to 21 years in prison. Mr. Ecker sold

fentanyl to 20-year-old Jessica Holmes, who died of a fentanyl overdose.839




835
  AKRON_000288474; AKRON_000288727; MCKPUB00008250; MCKPUB00008254;
MCKPUB00008255.
836
      AKRON_000290464; MCKPUB00013030; MCKPUB00013039; MCKPUB00013041.
837
      AKRON_000220815; MCKPUB00017595; MCKPUB00017597; MCKPUB00017598.
838
      MCKPUB00006984; MCKPUB00029253; MCKPUB00029255.
839
  SUMMIT_000119150; MCKPUB00016358; MCKPUB00016356; MCKPUB00016339;
MCKPUB00016354; MCKPUB00016360.



                                                181
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 183 of 309. PageID #: 93280




         697.   Mario Edmonds of Cleveland, Ohio was convicted on March 30, 2016 in the

Cuyahoga County Court of Common Pleas of offenses including involuntary manslaughter, drug

trafficking, and corrupting another with drugs. Mr. Edmonds had sold a mixture of heroin and

fentanyl to William Cohen of Cleveland, who then suffered a fatal overdose. On April 20, 2016,

Mr. Edmonds was sentenced to nine years in prison. The Ohio Court of Appeals affirmed the

conviction on March 2, 2017.840

         698.   Melvin Edwards of Cleveland, Ohio pled guilty on August 6, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl. Mr. Edwards was sentenced

to three years in prison.841

         699.   Rayshawn Edwards of Cleveland, Ohio pled guilty on February 22, 2012 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Edwards was sentenced to

twelve months of community control.842

         700.   Dashawn Elder of Cleveland, Ohio pled guilty on June 13, 2017 in the Northern

District of Ohio to offenses including possession with intent to distribute a mixture containing

carfentanil and possession with intent to distribute a mixture containing fentanyl.843 On

November 28, 2016, law enforcement officers surveilled Mr. Elder leaving a Cleveland

residence, observed him conduct a drug transaction, and found drugs in Mr. Elder’s vehicle when

he was arrested. 844 Officers then executed a search warrant on the residence and recovered



840
      MCKPUB00018183; MCKPUB00029258.
841
  CUYAH_000020887; CUYAH_000034686; MCKPUB00018574; MCKPUB00018575;
MCKPUB00018578.
842
      CUYAH_000049465; MCKPUB00019461; MCKPUB00019462; MCKPUB00019466.
843
      MCKPUB00009943.
844
      MCKPUB00009937.



                                               182
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 184 of 309. PageID #: 93281




additional narcotics.845 Mr. Elder was sentenced on October 11, 2017 to 57 months in prison.846

Mr. Elder had previously been convicted in the Cuyahoga County Court of Common Pleas of

heroin trafficking, for conduct on September 13, 2014.847

            701.   Richard D. Ellis of Akron, Ohio pled guilty on June 24, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin. On August 14, 2013, he was sentenced

to two years in prison.848

            702.   Antwain Emory of Cleveland, Ohio pled guilty on June 29, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Emory was sentenced to two years in

prison.849

            703.   Dana M. Ervin of Cleveland, Ohio pled guilty on December 4, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.850 Mr. Ervin participated in a heroin trafficking enterprise that operated from September

2011 to September 2013.851 On July 8, 2014, Mr. Ervin was sentenced to 24 months in prison.852

            704.   Antwon Evans of University Heights, Ohio pled guilty on March 4, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.853 Mr. Evans participated in a heroin trafficking enterprise that was operated from


845
      Id.
846
      MCKPUB00009946; MCKPUB00009964; MCKPUB00009971.
847
      MCKPUB00009953; MCKPUB00009960; MCKPUB00009962.
848
      AKRON_000281294; MCKPUB00019546; MCKPUB00019548; MCKPUB00019549.
849
      CUYAH_000040245; MCKPUB00007014; MCKPUB00007015; MCKPUB00007020.
850
      MCKPUB00009295.
851
      MCKPUB00009502.
852
      MCKPUB00009486; MCKPUB00009488; MCKPUB00009500.
853
      MCKPUB00007031.



                                                  183
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 185 of 309. PageID #: 93282




September 2011 to September 2013.854 On July 14, 2015, Mr. Evans was sentenced to 35

months in prison.855

         705.   Aaron S. Farrey pled guilty on August 12, 2014 in the Northern District of Ohio

to conspiracy to distribute and to possess with intent to distribute heroin. He was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Mr. Farrey was sentenced to 51 months in prison.856

         706.   Frederick Ferrell of Cleveland Heights, Ohio pled guilty on March 24, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.857 Mr. Ferrell participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.858 On July 1, 2015, Mr. Ferrell was sentenced to time

served.859

         707.   Deante R. Finney of Akron, Ohio pled guilty on February 6, 2018 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs. On

August 8, 2017, the Akron Police Department’s Narcotics Unit executed a search warrant at Mr.

Finney’s residence, recovering fentanyl packaged for sale, a loaded pistol, and digital scales.

According to the police report, the materials recovered “indicate a steady distribution of Fentanyl




854
      MCKPUB00007237-07240.
855
      MCKPUB00007224; MCKPUB00007235; MCKPUB00007237; MCKPUB00029264.
856
      MCKPUB00006222; MCKPUB00029266; MCKPUB00029268.
857
      MCKPUB00013047.
858
      MCKPUB00013251.
859
      MCKPUB00013238; MCKPUB00013240.



                                                184
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 186 of 309. PageID #: 93283




from the residence.” Mr. Finney conducted his drug sales in close proximity to three schools in

Akron. He was sentenced to two years of community control.860

         708.   Harlen T. Finney of Akron, Ohio pled guilty on September 25, 2014 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. He prepared

and sold heroin from his apartment, cutting his heroin with powdered sugar. Mr. Finney was

sentenced to three years in prison.861

         709.   Darelle D. Fischer of Akron, Ohio was convicted on March 10, 2014 in the

Summit County Court of Common Pleas of offenses including trafficking in heroin. Mr. Fischer

was sentenced to four years in prison. Mr. Fischer’s motion for judicial release was granted on

December 18, 2014, and he was placed on a two-year term of community control.862

         710.   William Fitzer of Middleburg Heights, Ohio pled guilty on January 24, 2007 in

the Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Fitzer was sentenced to

four years in prison.863

         711.   Terrance L. Fletcher of Cleveland, Ohio pled guilty on February 24, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin. 864 Mr. Fletcher participated in a heroin trafficking enterprise that operated from




860
      AKRON_001221650; MCKPUB00026523; MCKPUB00026526; MCKPUB00026527.
861
      AKRON_001218583; MCKPUB00026529; MCKPUB00026530; MCKPUB00026532.
862
      AKRON_000205051; MCKPUB00009603; MCKPUB00009606; MCKPUB00009607.
863
      CUYAH_000034468; MCKPUB00022753; MCKPUB00022754; MCKPUB00022757.
864
      MCKPUB00021607; MCKPUB00029271.



                                                185
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 187 of 309. PageID #: 93284




September 2011 to September 2013.865 On May 28, 2014, Mr. Fletcher was sentenced to 38

months in prison.866

         712.   Tammi Vontella Flint of Akron, Ohio pled guilty on October 1, 2013 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. She was

sentenced to two years of community control.867

         713.   Dierre D. Folk of Akron, Ohio pled guilty on April 15, 2015 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

two years in prison.868

         714.   Terrance L. Ford of Akron, Ohio pled guilty on December 27, 2016 in the

Northern District of Ohio to possession with intent to distribute fentanyl.869 During Mr. Ford’s

sentencing hearing, Akron Detective Michael Gilbride testified that Mr. Ford was selling drugs

from his residence in a “large-scale trafficking operation.” Law enforcement officers executed a

search warrant at Mr. Ford’s residence, and they recovered fentanyl, heroin, plastic baggies,

digital scales, grinders, and cutting agents. As Detective Gilbride testified, grinders and cutting

agents are necessary to crush heroin, purchased in bulk, into powder and process it for further

distribution. The sentencing judge observed that Mr. Ford resided in a “drug house.” In April

2017, Mr. Ford was sentenced to 120 months in prison.870




865
      MCKPUB00021814.
866
      MCKPUB00021798; MCKPUB00021800; MCKPUB00029271.
867
      AKRON_000216595; MCKPUB00021458-21459; MCKPUB00021460.
868
      AKRON_000220545; MCKPUB00010820; MCKPUB00010822; MCKPUB00010823.
869
      MCKPUB00021818; MCKPUB00029273.
870
  MCKPUB00021820; MCKPUB00021823; MCKPUB00021822; MCKPUB00021819;
MCKPUB00026535; MCKPUB00029273.



                                                186
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 188 of 309. PageID #: 93285




         715.   James Foreman of Akron, Ohio pled guilty on July 20, 2015 in the Summit

County Court of Common Pleas to involuntary manslaughter and trafficking in heroin, for

causing the death of Krista Barker. Mr. Foreman was sentenced on September 22, 2015 to four

years of imprisonment.871

         716.   Miranda B. Forsyth of Akron, Ohio pled guilty on December 1, 2016 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, for conduct

that occurred in Akron. Ms. Forsyth was sentenced to four years and eleven months in prison.872

         717.   Tierra Fort of Lakewood, Ohio pled guilty on February 21, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking in heroin and fentanyl. Ms. Fort was sentenced to

two years of community service for each offense.873

         718.   Tommie Lee Fortson of Akron, Ohio pled guilty on May 21, 2012 in the Summit

County Court of Common Pleas to offenses including trafficking heroin. Mr. Fortson was

sentenced to two years of community control.874

         719.   Romando Foster of Akron, Ohio pled guilty on January 24, 2018 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin.875 Mr. Foster was

sentenced to fifteen months of community control.

         720.   Robert L. Fowlkes, Jr., of Cleveland, Ohio pled guilty on May 2, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute




871
      SUMMIT_000064877; MCKPUB00015120; MCKPUB00015121; MCKPUB00015124.
872
      AKRON_001125725; MCKPUB00026625; MCKPUB00026629; MCKPUB00026630.
873
      MCKPUB00022161; MCKPUB00022162; MCKPUB00022169.
874
      AKRON_00200617; MCKPUB00022243; MCKPUB00022246; MCKPUB00022249.
875
      AKRON_000208566; MCKPUB00020513; MCKPUB00020516; MCKPUB00020517.



                                                187
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 189 of 309. PageID #: 93286




heroin.876 Mr. Fowlkes participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.877 On August 11, 2014, Mr. Fowlkes was sentenced to time

served.878

         721.   Lafayette M. Frazier of Akron, Ohio pled guilty on May 30, 2018 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

carfentanil. He was sentenced to four years and six months in prison.879

         722.   Jermaine D. Freeman pled guilty on July 29, 2014 in the Northern District of Ohio

to conspiracy to distribute and to possess with intent to distribute heroin. He was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Mr. Freeman was sentenced to 27 months in prison.880

         723.   Cory W. Frogge of Akron, Ohio pled guilty on February 4, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On February 9,

2016, he was sentenced to four years and eleven months in prison.881

         724.   Nathan Fryberger of Coventry Township, Ohio pled guilty on January 14, 2015 in

the Summit County Court of Common Pleas to offenses including trafficking in heroin. On

February 25, 2015, Mr. Fryberger was sentenced to two years of community control.882


876
      MCKPUB00019965; MCKPUB00020162; MCKPUB00020176.
877
      MCKPUB00020178.
878
      MCKPUB00020156.
879
  AKRON_000206247; MCKPUB00016883; MCKPUB00016889; MCKPUB00016891;
MCKPUB00016884; MCKPUB00016880.
880
      MCKPUB00015371; MCKPUB00029363; MCKPUB00029365.
881
      AKRON_000289693; MCKPUB00009223; MCKPUB00009225; MCKPUB00009226.
882
      MCKPUB00026632; MCKPUB00026633; MCKPUB00026636.



                                               188
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 190 of 309. PageID #: 93287




         725.   Brenda Frye of Akron, Ohio pled guilty on September 8, 2016 in the Summit

County Court of Common Pleas to involuntary manslaughter and trafficking heroin. Ms. Frye

was sentenced to nine years in prison. Ms. Frye sold her daughter heroin while her grandson, 16-

year-old Andrew Frye, was present. Andrew Frye was found dead in a Green, Ohio hotel room

after overdosing on the drug.883

         726.   Heather Frye of Akron, Ohio, pled guilty on September 8, 2016 in the Summit

County Court of Common Pleas to involuntary manslaughter, endangering children, and

tampering with evidence. Ms. Frye was sentenced to nine years in prison. Ms. Frye provided

her son, sixteen-year-old Andrew Frye, with heroin. Andrew Frye was found dead in a Green,

Ohio hotel room after overdosing on the drug.884

         727.   Aaron D. Fuqua of Akron, Ohio pled guilty on June 15, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On July 13, 2016, he

was sentenced to five years in prison.885

         728.   Ernest Gaines of Akron, Ohio, was indicted on February 6, 2013 in the Northern

District of Ohio for offenses including using and maintaining a premise for the purpose of

manufacturing and distributing heroin and conspiracy to distribute and to possess with the intent

to distribute heroin.886 Law enforcement officials searched Mr. Gaines’s car and home,

recovering heroin, loaded weapons, and equipment associated with drug trafficking.887 On July




883
      SUMMIT_000119174; MCKPUB00007958.
884
      SUMMIT_000119174; MCKPUB00014171.
885
      AKRON_000213383; MCKPUB00006218; MCKPUB00006220; MCKPUB00006221.
886
      AKRON_000204400; MCKPUB00012801; MCKPUB00012789.
887
      MCKPUB00012794; MCKPUB00029368.



                                               189
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 191 of 309. PageID #: 93288




29, 2013, Mr. Gaines pled guilty to possession with the intent to distribute heroin. He was

sentenced to 135 months in prison, which was eventually reduced to 120 months.888

         729.   Terrell D. Gaiter of Akron, Ohio pled guilty on August 8, 2016 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs, namely heroin.889 Mr. Gaiter

was arrested on February 10, 2016, after the Akron Police Department’s Street Narcotics Unit

Detail executed a search warrant at his girlfriend’s apartment in the course of a narcotics

investigation. In the apartment, officers discovered heroin, fentanyl, drug paraphernalia, and a

gun.890 Mr. Gaiter was sentenced to seventeen months in prison, with his sentence suspended

upon the condition that Mr. Gaiter complete two years of community control.891

         730.   Josean Garcia-Rivera of Cleveland, Ohio pled guilty on January 19, 2017 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Garcia-Rivera was

sentenced to eighteen months of probation.892

         731.   Thomas Lanerr Garrett, Jr. of Akron, Ohio pled guilty on September 12, 2013 in

the Summit County Court of Common Pleas to trafficking in heroin, for conduct that occurred in

Akron. Mr. Garrett was sentenced to of two years of community control.893




888
  AKRON_000204400; MCKPUB00012801; MCKPUB00012793; MCKPUB00026638;
MCKPUB00012782.
889
      MCKPUB00026668; MCKPUB00026669.
890
      AKRON_001140139.
891
      MCKPUB00026668; MCKPUB00026669.
892
      CUYAH_000032221; MCKPUB00015921; MCKPUB00015922; MCKPUB00015924.
893
  AKRON_000201071; MCKPUB00022151; MCKPUB00022152; MCKPUB00022153;
MCKPUB00022155; MCKPUB00022157.



                                                190
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 192 of 309. PageID #: 93289




         732.   Tammie Garver of Cleveland, Ohio pled guilty on February 20, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Garver was sentenced to

one year of community control.894

         733.   Ryan Gaston of Euclid, Ohio pled guilty on August 16, 2016 in the Northern

District of Ohio to offenses including possession with intent to distribute fentanyl.895 On

February 3, 2016, law enforcement officials stopped Mr. Gaston’s vehicle in Euclid, a K-9 unit

on the scene signaled the presence of illegal narcotics. A search of the vehicle recovered

narcotics, scales, and loaded handguns. Officers then executed a search warrant at Mr. Gaston’s

residence and recovered additional narcotics, including fentanyl that was mismarked as

oxycodone.896 On November 21, 2016, Mr. Gaston was sentenced to 120 months in prison.897
         734.
                Da’Nico D. “Dupree” Geter of Akron, Ohio has multiple convictions for

trafficking illegal opioids. Mr. Geter pled guilty on August 12, 2014 in the Summit County

Court of Common Pleas to trafficking in heroin, and he was sentenced to six months in prison.

On April 7, 2016, Mr. Geter was convicted of trafficking in heroin, and he was sentenced to

eighteen months in prison. On October 6, 2017, Mr. Geter was indicted in the Summit County

Court of Common Pleas on multiple charges, including aggravated trafficking in drugs and

possession of drugs, including fentanyl. The indictment was dismissed because Mr. Geter was

indicted in the Northern District of Ohio on January 10, 2018. On March 23, 2018, Mr. Geter

pled guilty to possession with intent to distribute carfentanil and possession of a firearm in



894
      CUYAH_000040397; MCKPUB00021461; MCKPUB00021462; MCKPUB00021467.
895
      MCKPUB00020602.
896
      MCKPUB00026674; MCKPUB00020593.
897
      MCKPUB00020604; MCKPUB00020611; MCKPUB00020618.



                                                191
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 193 of 309. PageID #: 93290




furtherance of drug trafficking. 898 During sentencing, the judge noted that Mr. Geter was a

“career offender,” and the “organizer, leader, manager, or supervisor” of his drug trafficking

operations. Moreover, the sentencing judge observed that Mr. Geter’s criminal history showed

that “each time [he’s] been incarcerated, [he’s] turned back to the same type of dealing.”899

Upon learning that Mr. Geter was pleading guilty, Akron Chief of Police Kenneth Ball said that

“310 people have died as a result of drug overdoses in Akron since the start of 2016. Drug

dealers like Da’Nico Geter are largely responsible.”900 Mr. Geter was sentenced on June 7, 2018

to 300 months in prison, including 240 months for the carfentanil offense. 901

         735.   Anthony Wayne Gibbons of Akron, Ohio pled guilty on September 26, 2013 in

the Summit County Court of Pleas to offenses including trafficking in heroin. He was sentenced

to prison for ten months.902

         736.   Audrey Gibson of Akron, Ohio pled guilty on September 25, 2018 in the Northern

District of Ohio to offenses including conspiracy to possess and distribute fentanyl and

carfentanil, for conduct between May 2016 and February 2018.903 Ms. Gibson bought fentanyl

and carfentanil over the internet from China, had it delivered to Akron through the U.S. Postal




898
  AKRON_000201619; MCKPUB00009238; MCKPUB00009240; MCKPUB00009241;
MCKPUB00009242; MCKPUB00009244; MCKPUB00009245; MCKPUB00009246;
MCKPUB00009248; MCKPUB00009249; MCKPUB00009250; MCKPUB00009252;
MCKPUB00009254; MCKPUB00009235.
899
      MCKPUB00029398.
900
      AKRON_000325481.
901
  MCKPUB00026700; MCKPUB00009255; MCKPUB00009257; MCKPUB00009262;
MCKPUB00009263.
902
      AKRON_001177332; MCKPUB00026711; MCKPUB00026712; MCKPUB00026714.
903
      MCKPUB00007510.



                                               192
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 194 of 309. PageID #: 93291




Service, and distributed the narcotics to others to sell in Akron.904 Ms. Gibson’s young daughter

overdosed on fentanyl that she found at home.905 Ms. Gibson is awaiting sentencing.906

         737.   Dontaysha Gibson of Akron, Ohio pled guilty on October 3, 2018 in the Northern

District of Ohio to offenses including conspiracy to possess and distribute fentanyl and

carfentanil, for conduct between May 2016 and February 2018.907 Ms. Gibson distributed the

drugs in Akron.908 Ms. Gibson is awaiting sentencing.909

         738.   Donte Gibson of Akron, Ohio pled guilty on September 24, 2018 in the Northern

District of Ohio to offenses including conspiracy to possess and distribute fentanyl and

carfentanil, for conduct between May 2016 and February 2018.910 Mr. Gibson bought fentanyl

and carfentanil over the internet from China, had it delivered to Akron through the U.S. Postal

Service, and distributed the narcotics to others to sell in Akron.911 Mr. Gibson’s young daughter

overdosed on fentanyl that she found at home.912 Mr. Gibson is awaiting sentencing.913




904
      MCKPUB00007510; MCKPUB00007542
905
      MCKPUB00007542.
906
      MCKPUB00007545; MCKPUB00007554.
907
      MCKPUB00011520.
908
      MCKPUB00011552.
909
      MCKPUB00011556; MCKPUB00011564.
910
      MCKPUB00011579; MCKPUB00029410.
911
      MCKPUB00011579; MCKPUB00011611.
912
      MCKPUB00011611.
913
      MCKPUB00011615; MCKPUB00011624; MCKPUB00029410.



                                               193
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 195 of 309. PageID #: 93292




         739.   Tyrone Gilbert of Cleveland Heights, Ohio pled guilty on November 14, 2006 in

the Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Gilbert was sentenced

to five years in prison.914

         740.   Chaz M. Gilchrist pled guilty on January 23, 2013 in the Summit County Court of

Common Pleas to offenses including trafficking in heroin. On February 4, 2014, he was

sentenced to two years of community control.915

         741.   Matthew G.F. Gisentaner of Akron, Ohio pled guilty on March 29, 2012 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. On March

30, 2012, he was sentenced to three years in prison.916

         742.   Christopher Glatzer of Brecksville, Ohio pled guilty on June 20, 2018 in the

Summit County Court of Common Pleas to trafficking in drugs (namely buprenorphine). Mr.

Glatzer was sentenced to twelve months incarceration, but the sentence was suspended upon the

condition that Glatzer complete two years of community control.917

         743.   Maurice Golston of Cleveland, Ohio pled guilty on April 7, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.918 Mr.

Golston participated in a heroin trafficking enterprise that operated between September 2011 to

September 2013,919 including by pooling his money with others to ship heroin from Atlanta,




914
      CUYAH_000034353; MCKPUB00022416; MCKPUB00022417; MCKPUB00022420.
915
      AKRON_000200590; MCKPUB00008915; MCKPUB00008918; MCKPUB00008922.
916
      AKRON_000330911; MCKPUB00018310; MCKPUB00018313; MCKPUB00018314.
917
      MCKPUB00008973; MCKPUB00008975; MCKPUB00008977.
918
      MCKPUB00018342.
919
      MCKPUB00018556.



                                                194
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 196 of 309. PageID #: 93293




Georgia to Cleveland, Ohio and selling heroin to a confidential informant in Euclid, Ohio on

February 22, 2013.920 On July 6, 2014, Mr. Golston was sentenced to 176 months in prison.921

         744.   Barbra Gonzales of Cleveland, Ohio pled guilty on April 24, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Gonzales was sentenced to

two years of community control.922

         745.   Jeronimo Gonzalez of Cleveland, Ohio, pled guilty on January 23, 2008 in the

Cuyahoga Court of Common Pleas to trafficking heroin. Mr. Gonzalez was sentenced to one

year in prison.923

         746.   D’Angelo A. Gordon of Cleveland, Ohio pled guilty on March 8, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Gordon was sentenced to

nineteen months in prison.924

         747.   Leonard Graceffo of Garreld Heights, Ohio pled guilty on March 30, 2009 in the

Cuyahoga Court of Common Pleas to trafficking heroin. Mr. Graceffo was sentenced to one

year in prison.925

         748.   Christopher Graham, Jr. pled guilty on November 7, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking fentanyl, heroin, and acrylfentanyl. Mr. Graham

was sentenced to six years in prison.926



920
      MCKPUB00018342.
921
      MCKPUB00018533; MCKPUB00018539; MCKPUB00018553.
922
      CUYAH_000035145; MCKPUB00007571; MCKPUB00007572; MCKPUB00007574.
923
      CUYAH_000036277; MCKPUB00015594; MCKPUB00015595; MCKPUB00015597.
924
      CUYAH_000077963; MCKPUB00009506; MCKPUB00009507; MCKPUB00009509.
925
      CUYAH_000040609; MCKPUB00017590; MCKPUB00017591; MCKPUB00017593.
926
      CUYAH_000074377; MCKPUB00008978; MCKPUB00008980; MCKPUB00008991.



                                               195
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 197 of 309. PageID #: 93294




         749.   Bryant Grant was convicted on August 9, 2016 in the Cuyahoga County Court of

Common Pleas of trafficking in heroin and conspiracy to commit corrupting another with drugs.

Mr. Grant was charged with selling heroin to Alan Gisewhite of Akron, Ohio, who died of an

overdose on September 27, 2014, and also trying to deliver heroin to Mr. Gisewhite’s home

about five hours after the overdose death.927

         750.   Dyshawn D. Gray of Akron, Ohio pled guilty on December 4, 2015 in the Summit

County Court of Common Pleas to involuntary manslaughter. On January 27, 2016, he was

sentenced to six years in prison. He sold heroin to Harry Martin, who died of a heroin

overdose.928

         751.   Jermaine D. Grayson of Cleveland, Ohio pled guilty on August 27, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.929 Mr. Grayson participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.930 On December 3, 2014, Mr. Grayson was sentenced to 42

months in prison.931

         752.   Hamilton Greathouse of Cleveland, Ohio was indicted on April 11, 2018 for

possession with intent to distribute fentanyl.932 The proceedings are ongoing in the Northern




927
  AKRON_001151503; MCKPUB00008246; MCKPUB00008245; MCKPUB00008249;
MCKPUB00008242.
928
  AKRON_000286843; MCKPUB00011883; MCKPUB00011885; MCKPUB00011886;
MCKPUB00011882; MCKPUB00022267; MCKPUB00022269; MCKPUB00022270.
929
      MCKPUB00015375; MCKPUB00029454.
930
      MCKPUB00012560; MCKPUB00015583.
931
      MCKPUB00015566; MCKPUB00015568; MCKPUB00015580.
932
      MCKPUB00014113.



                                                196
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 198 of 309. PageID #: 93295




District of Ohio. Mr. Greathouse has a number of prior drug-related convictions in the

Cuyahoga County Court of Common Pleas.933

         753.   Brian Gregory of Cleveland, Ohio pled guilty on December 1, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Gregory was sentenced to

two years of community control.934

         754.   Brian Keith Griffin of Akron, Ohio pled guilty on August 18, 2017 in the Summit

County Court of Common Pleas to offenses including involuntary manslaughter, corrupting

another with drugs, and aggravating trafficking in heroin.935 Mr. Griffin was sentenced to eight

years in prison.

         755.   Duane E. Griffin of Akron, Ohio pled guilty on February 8, 2016 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Griffin was sentenced to one year

of incarceration, suspended upon completion of two years of community control.936

         756.   Pierce S. Griffin of Akron, Ohio pled guilty on August 6, 2013 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that

occurred in Akron. Mr. Griffin was sentenced to one year and eleven months of incarceration.937

         757.   David L. Grogan of Barberton, Ohio pled guilty on November 4, 2013 in the

Summit County Court of Common Pleas to trafficking in heroin. Mr. Grogan was sentenced to


933
  MCKPUB00014147; MCKPUB00014149; MCKPUB00014150; MCKPUB00014137;
MCKPUB00014136; MCKPUB00014141; MCKPUB00014134; MCKPUB00014130;
MCKPUB00014131; MCKPUB00014128; MCKPUB00014125; MCKPUB00014126;
MCKPUB00014123; MCKPUB00014120; MCKPUB00014121; MCKPUB00014118;
MCKPUB00014115; MCKPUB00014116; MCKPUB00014155.
934
      CUYAH_000038436; MCKPUB00008177; MCKPUB00008178; MCKPUB00008180.
935
      MCKPUB00008182; MCKPUB00008184; MCKPUB00008185; MCKPUB00008186.
936
      AKRON_001154747; MCKPUB00026717; MCKPUB00026718; MCKPUB00026720.
937
      AKRON_001353715; MCKPUB00026722; MCKPUB00026723; MCKPUB00026725.



                                               197
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 199 of 309. PageID #: 93296




sixteen months in prison, a sentence that was suspended on the condition that he complete two

years of community control.938

         758.   Eric D. Grundy pled guilty on June 12, 2013 in the Northern District of Ohio to

conspiracy to distribute and to possess with the intent to distribute heroin, in violation of 21

U.S.C. § 846. He participated in a conspiracy to transport heroin from Chicago and Detroit

toAkron, Ohio, among other locations. On September 16, 2013, Mr. Grundy was sentenced to

77 months in prison. Mr. Grundy’s prison term was subsequently reduced to 55 months.939

         759.   Nathaniel D. Grundy pled guilty in the Northern District of Ohio on May 16, 2013

to conspiracy to distribute and to possess with the intent to distribute heroin, in violation of 21

U.S.C. § 846. He participated in a conspiracy to transport heroin from Chicago and Detroit to

Akron, Ohio, among other locations. On August 22, 2013, Mr. Grundy was sentenced to 151

months in prison.940

         760.   Antonio L. Guice of Akron, Ohio pled guilty on June 21, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

twelve months in prison.941

         761.   Tremayne Guin of Cleveland, Ohio pled guilty on January 20, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking heroin, and he was sentenced to two

years community control.942



938
      AKRON_000201238; MCKPUB00010197; MCKPUB00010198; MCKPUB00010200.
939
      MCKPUB00026728; MCKPUB00012552; MCKPUB00012558.
940
  MCKPUB00018688; MCKPUB00018704; MCKPUB00026732; MCKPUB00019033;
MCKPUB00019040.
941
      AKRON_000294758; MCKPUB00006988; MCKPUB00006990; MCKPUB00006991.
942
      CUYAH_000039813; MCKPUB00022328; MCKPUB00022329; MCKPUB00022332.



                                                 198
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 200 of 309. PageID #: 93297




         762.   Anthony S. Guthrie of Akron, Ohio pled guilty on October 10, 2012 in the

Summit County Court of Common Pleas to offenses including attempted trafficking of heroin,

for conduct that occurred in Akron. He was sentenced to prison for thirty months.943

         763.   Christopher E. Hale of Akron, Ohio, was convicted in the Summit County Court

of Common Pleas on August 15, 2014 of aggravated drug trafficking. Mr. Hale was arrested on

a warrant for heroin trafficking after the Summit County Drug Unit had raided his home.944

         764.   Charles Hall of Cleveland, Ohio pled guilty on April 3, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Hall was sentenced to one and a half

years in prison.945

         765.   Lachelle T. Hall of Euclid, Ohio pled guilty on April 17, 2014 in the Northern

District of Ohio to traveling in interstate commerce with the intent to carry on a business

enterprise involving the distribution of heroin.946 Ms. Hall participated in a heroin trafficking

enterprise that operated from September 2011 to September 2013,947 including by transporting

heroin by car from Atlanta, Georgia to Cleveland, Ohio on May 25, 2013.948 On August 6, 2014,

Ms. Hall was sentenced to three years of probation.949

         766.   Bassem Hamed of Akron, Ohio pled guilty on October 25, 2018 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On June 26, 2018


943
      AKRON_001277621; MCKPUB00026764; MCKPUB00026765; MCKPUB00026767.
944
  AKRON_000201153; MCKPUB00008967; MCKPUB00008968; MCKPUB00008971;
MCKPUB00008972.
945
      MCKPUB00008868; MCKPUB00008869; MCKPUB00008872.
946
      MCKPUB00016667.
947
      MCKPUB00016876.
948
      MCKPUB00016667.
949
      MCKPUB00016858; MCKPUB00016863; MCKPUB00016874.



                                                199
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 201 of 309. PageID #: 93298




officers arrested Mr. Hamed and recovered heroin, Percocet, and Suboxone. Officers procured a

search warrant for his apartment and further recovered heroin packaged for sale, multiple

firearms, digital scales, oxycodone, and tramadol. Mr. Hamed was sentenced to two years of

community control.950

         767.   Derek Hamilton of Cleveland, Ohio was indicted on September 13, 2017 on

counts including distribution of furanyl fentanyl with an enhancement for causing death;

distribution of furanyl fentanyl; and possession with intent to distribute heroin, a mixture of

cocaine and fentanyl, heroin, and fentanyl. The conduct allegedly took place in Cleveland from

August 2, 2017 to August 9, 2017.951 Proceedings are ongoing in the Northern District of

Ohio.952

         768.   Gregory Hamilton of Cleveland, Ohio pled guilty on May 27, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.953 Mr. Hamilton participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.954 During sentencing, the judge noted Mr. Hamilton’s

lengthy criminal history of drug offenses and found that Mr. Hamilton was “deservedly a career

offender.” On October 14, 2015, Mr. Hamilton was sentenced to 120 months in prison.955

         769.   Desean R. Harbin of Akron, Ohio, pled guilty on June 9, 2014 in the Northern

District of Ohio, to possession with the intent to distribute and distribution of heroin, for conduct


950
      AKRON_001276324; MCKPUB00026769; MCKPUB00026770; MCKPUB00026772.
951
      MCKPUB00010446.
952
      MCKPUB00010451; MCKPUB00010458.
953
      MCKPUB00013675.
954
      MCKPUB00013886.
955
      MCKPUB00026778; MCKPUB00013866; MCKPUB00013868; MCKPUB00013884.



                                                200
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 202 of 309. PageID #: 93299




on October 31, November 12, December 16, and December 19, 2013. Mr. Harbin was sentenced

to 110 months’ imprisonment. After an appeal, Mr. Harbin’s sentence was reduced to 27

months.956

         770.   Keith Hardy of Cleveland, Ohio, pled guilty on June 30, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. He was sentenced to three years in

prison.957

         771.   Charles Harris of Cleveland, Ohio pled guilty on December 14, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Harris was sentenced to

eight months in prison.958

         772.   Kenneth Harris of Cleveland, Ohio pled guilty on December 29, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.959 Mr. Harris participated in a heroin trafficking enterprise that operated from September

2011 to September 2013.960 On March 30, 2015, Mr. Harris was sentenced to 60 months in

prison.961

         773.   Lamar D. Harris of Akron, Ohio was indicted on May 1, 2018 in the Northern

District of Ohio on charges including possession with intent to distribute a mixture containing

carfentanil. The case is pending.962


956
  AKRON_000205083; MCKPUB00010501; MCKPUB00010518; MCKPUB00010494;
MCKPUB00010515; MCKPUB00029456; MCKPUB00029458.
957
      CUYAH_000040168; MCKPUB00016060; MCKPUB00016061; MCKPUB00016064.
958
      CUYAH_000033971; MCKPUB00008875; MCKPUB00008877; MCKPUB00008891.
959
      MCKPUB00016072.
960
      MCKPUB00016278.
961
      MCKPUB00016263; MCKPUB00016265; MCKPUB00016276.
962
      MCKPUB00014163; MCKPUB00014157; MCKPUB00014167; MCKPUB00014168.



                                                201
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 203 of 309. PageID #: 93300




          774.   Robert E. Harris of Cuyahoga Falls, Ohio pled guilty on August 16, 2010 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to one year

of incarceration, a sentence that was suspended on the condition that he complete one year of

community control.963

          775.   Ryland L. Harris, Jr. of Cleveland, Ohio pled guilty on December 1, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.964 Mr. Harris participated in a heroin trafficking enterprise that operated from September

2011 to September 2013.965 In furtherance of the conspiracy, Mr. Harris communicated

regularly over phone with several suppliers, commenting repeatedly that the heroin they supplied

was not potent enough.966 On March 11, 2015, Mr. Harris was sentenced to time served.967

          776.   Dante D. Harrison was convicted on January 22, 2016 in the Northern District of

Ohio of possession with the intent to distribute heroin.968 He was sentenced to 24 months in

prison.

          777.   David Harsley of Cleveland, Ohio pled guilty on June 12, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.969 Mr.

Harsley participated in a heroin trafficking enterprise that operated from September 2011 to




963
      AKRON_000204364; MCKPUB00019836; MCKPUB00019838; MCKPUB00019839.
964
      MCKPUB00026801; MCKPUB00020635.
965
      MCKPUB00020833.
966
      MCKPUB00026801; MCKPUB00020830; MCKPUB00026870.
967
      MCKPUB00020826; MCKPUB00020828.
968
      MCKPUB00009539; MCKPUB00009546; MCKPUB00009548; MCKPUB00009567.
969
      MCKPUB00009987.



                                                202
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 204 of 309. PageID #: 93301




September 2013.970 On September 24, 2014, Mr. Harsley was sentenced to 110 months in

prison.971

         778.   Erian Harwell of Cleveland, Ohio pled guilty on October 1, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.972 Mr.

Harwell participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.973 In his sentencing memorandum, Mr. Harwell admitted, “[h]eroin is killing

people in the neighborhood I live in, [it’s] poison I’m sick that I was involved in spreading it.”974

On January 6, 2015, Mr. Harwell was sentenced to 27 months in prison.975

         779.   Alyssa Hatfield of Akron, Ohio, pled guiltyin the Summit County Court of

Common Pleas to corrupting another with drugs. Ms. Hatfield provided Otto Christopher Jarvis

with heroin, on which Mr. Jarvis later overdosed and died. Ms. Hatfield was sentenced to three

years in prison.976

         780.   Ricardo Hawkins of Cleveland, Ohio pled guilty on November 11, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin, and he was sentenced to one

year in prison.977




970
      MCKPUB00010193.
971
      MCKPUB00010178; MCKPUB00010180; MCKPUB00010191; MCKPUB00010193.
972
      MCKPUB00012310; MCKPUB00012503; MCKPUB00012514.
973
      MCKPUB00012517.
974
      MCKPUB00026876.
975
      MCKPUB00012501.
976
      SUMMIT_000662148; MCKPUB00006545.
977
      CUYAH_000036142; MCKPUB00019540; MCKPUB00019541; MCKPUB00019544.



                                                203
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 205 of 309. PageID #: 93302




         781.   Rodney A. Haynes of Maple Heights, Ohio pled guilty on May 24, 2016 in the

Northern District of Ohio to distribution of heroin, for conduct on September 28, 2015, October

14, 2015, and November 2, 2015.978 Mr. Haynes was sentenced on September 8, 2016 to 60

months in prison. 979 He had at least six previous drug-related convictions.980

         782.   Ronald Lamont Haynes of Akron, Ohio pled guilty on March 20, 2017 in the

Summit County Court of Common Pleas to aggravated trafficking in drugs, namely fentanyl. He

was sentenced to eighteen months of community control.981

         783.   Deadonte Haywood of Akron, Ohio was indicted on November 10, 2016 in the

Summit County Court of Common Pleas for offenses including trafficking in heroin. The case is

pending.982

         784.   Jerry Lee Henderson of Akron, Ohio pled guilty on January 30, 2013 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to eighteen

months of community control.983

         785.   Kareem Hennings of Cleveland, Ohio, pled guilty on August 16, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking heroin and fentanyl. He was sentenced

to nine years in prison.984




978
      MCKPUB00020227; MCKPUB00020224.
979
      MCKPUB00020229.
980
      MCKPUB00020231-20232; MCKPUB00020233; MCKPUB00029461.
981
      AKRON_000210513; MCKPUB00020525-20526; MCKPUB00020527.
982
      MCKPUB00026879; MCKPUB00026883; MCKPUB00026884.
983
      AKRON_000204531; MCKPUB00015599; MCKPUB00015601; MCKPUB00015602.
984
  CUYAH_000078275; MCKPUB00016025; MCKPUB00016027; MCKPUB00016030;
MCKPUB00016032; MCKPUB00016034; MCKPUB00016038.



                                               204
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 206 of 309. PageID #: 93303




         786.   John Hernandez of Cleveland, Ohio, pled guilty on June 27, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. He was sentenced to four years

in prison.985

         787.   Jose Hernandez pled guilty on December 4, 2017 in the Northern District of Ohio

to conspiracy to possess with intent to distribute and to distribute drugs including heroin and

fentanyl. Mr. Hernandez participated in a conspiracy that spanned from January 1, 2010 to

September 28, 2016, including by attempting to transport two kilograms of heroin from Chicago,

Illinois to Cleveland, Ohio via a commercial bus on December 12, 2014.986 On March 15, 2018,

Mr. Hernandez was sentenced to 57 months in prison.987

         788.   Dewitt Herring of Akron, Ohio pled guilty on March 24, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On March 24, 2016,

he was sentenced to one year in prison.988

         789.   Nickolas Hershbach of Euclid, Ohio pled guilty on June 5, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Hershbach was sentenced to one year

of community control. Upon violation of the terms of his sentence, Mr. Hershbach was

sentenced to one year in prison.989

         790.          Carlton Higdon of Cleveland, Ohio pled guilty on August 20, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute




985
      CUYAH_000035494; MCKPUB00015666; MCKPUB00015668; MCKPUB00015672.
986
      MCKPUB00015820.
987
      MCKPUB00015903; MCKPUB00015910; MCKPUB00015919.
988
      AKRON_001151503; MCKPUB00010816; MCKPUB00010818; MCKPUB00010819.
989
      CUYAH_000078008; MCKPUB00019051; MCKPUB00019052; MCKPUB00019056.



                                                205
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 207 of 309. PageID #: 93304




heroin.990 Mr. Higdon participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.991 On November 26, 2014, Mr. Higdon was sentenced to

120 months in prison.992

         791.   Alonzo Hill of Cleveland, Ohio pled guilty on March 15, 2018 to offenses

including possession with intent to distribute heroin and carfentanil, for conduct on June 27,

2017.993 After a confrontation with police, Mr. Hill was detained and his car was searched.

Officers found items including heroin, carfentanil, a cutting agent, a Smith & Wesson magazine

with 15 rounds of ammunition, and a scale with carfentanil and cocaine residue.994 On June 19,

2018, Mr. Hill was sentenced to 66 months’ imprisonment.995 Mr. Hill had three prior drug-

related convictions in the Cuyahoga County Court of Common Pleas.996

         792.   April N. Hill of Akron, Ohio, was indicted guilty on April 4, 2018 in the Summit

County Court of Common Pleas for offenses including trafficking heroin. Ms. Hill was placed in

the intervention in lieu of conviction program on November 5, 2018.997

         793.   Gene A. Hill of Akron, Ohio pled guilty on October 21, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. On July 3, 2014, the Akron Police

SWAT team executed a search warrant on Mr. Hill’s residence. Officers recovered heroin,



990
      MCKPUB00008508.
991
      MCKPUB00008721.
992
      MCKPUB00008699; MCKPUB00008705; MCKPUB00008718.
993
      MCKPUB00006507; MCKPUB00006504.
994
      MCKPUB00006508; MCKPUB00026886.
995
      MCKPUB00006528; MCKPUB00006533; MCKPUB00029462.
996
  MCKPUB00006520; MCKPUB00006522; MCKPUB00006518; MCKPUB00006516;
MCKPUB00006524; MCKPUB00006526.
997
      MCKPUB00007449; MCKPUB00007450; MCKPUB00007452.



                                               206
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 208 of 309. PageID #: 93305




empty gel cap pills, and drug paraphernalia. According to the police report, Mr. Hill was

preparing and packaging heroin for sale. Mr. Hill was sentenced to twelve months of community

control.998

         794.   Lamarr D. Hill pled guilty on July 17, 2015 in the Summit County Court of

Common Pleas to offenses including trafficking in heroin. On August 17, 2015, he was

sentenced to thirty months in prison.999

         795.   Sean Hinkle of Parma, Ohio pled guilty on September 20, 2012 in the Cuyahoga

County Court of Common Pleas to offenses including aggravated theft of fentanyl and Dilaudid.

Mr. Hinkle was sentenced to one year of intervention in lieu of conviction.1000

         796.   Raymond B. Hinton of Cleveland, Ohio pled guilty on July 1, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl. Mr. Hinton was sentenced to

one and one half years in prison.1001 Mr. Hinton also pled guilty on May 3, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Hinton was sentenced to

two years of community control.1002

         797.   Christopher J. Hitchcock of Akron, Ohio pled guilty on September 7, 2016, in the

Summit County Court of Common Pleas, to aggravated trafficking in drugs, namely fentanyl.

He was sentenced to three years in prison.1003




998
      AKRON_000207262; MCKPUB00026893; MCKPUB00026894; MCKPUB00026896.
999
      AKRON_000220740; MCKPUB00017098; MCKPUB00017102; MCKPUB00017103.
1000
       CUYAH_000026640; MCKPUB00020884; MCKPUB00020887; MCKPUB00020888.
1001
  CUYAH_000038219; CUYAH_000046483; MCKPUB00019419; MCKPUB00019421;
MCKPUB00019424.
1002
       MCKPUB00029470; MCKPUB00029472; MCKPUB00029475.
1003
       AKRON_000293336; MCKPUB00009227; MCKPUB00009229; MCKPUB00009231.



                                                 207
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 209 of 309. PageID #: 93306




         798.    Nicolette Hite of Cleveland, Ohio pled guilty on February 9, 2009 in the

Cuyahoga County Court of Common Pleas to drug trafficking (morphine). Ms. Hite was

sentenced to three years of community control.1004

         799.    Robert Lewis Hoard of Akron, Ohio pled guilty on January 7, 2016 in the Summit

County Court of Common Pleas to trafficking heroin. On January 19, 2017, he was sentenced to

nine months in prison.1005

         800.    Willie Hodge of Euclid, Ohio pled guilty on February 27, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking heroin and carfentanil. Mr. Hodge was sentenced

to time served.1006

         801.    Victor Hohlakis of Parma, Ohio pled guilty on May 9, 2012 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Hohlakis was sentenced to ten months

in prison.1007

         802.    Marvin J. Holmes, Jr. of Akron, Ohio pled guilty on March 28, 2013 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, for conduct

that occurred in Akron. He was sentenced to two and a half years of imprisonment.1008

         803.    Zenock H. Hood of Akron, Ohio pled guilty on October 2, 2014 in the Summit

County Court of Commons Pleas to aggravated trafficking in drugs, including fentanyl and




1004
       CUYAH_000037028; MCKPUB00019058; MCKPUB00019059; MCKPUB00019063.
1005
       AKRON_000280650; MCKPUB00020182; MCKPUB00020184.
1006
       CUYAH_000074939; MCKPUB00022771; MCKPUB00022772; MCKPUB00022775.
1007
       CUYAH_000052783; MCKPUB00022459; MCKPUB00022460; MCKPUB00022462.
1008
       AKRON_001279352; MCKPUB00026898; MCKPUB00026899; MCKPUB00026901.



                                                208
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 210 of 309. PageID #: 93307




buprenophine. Mr. Hood was sentenced on November 12, 2014 to 30 months in prison and three

years’ post-release control.1009

          804.   Rico M. Hooks of Barberton, Ohio pled guilty on November 7, 2017 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, for conduct

that occurred in Akron, Ohio. Mr. Hooks was sentenced to thirty-six months of community

control.1010

          805.   Danielle M. Hoover of Akron, Ohio, pled guilty on October 15, 2013 in the

Summit County Court of Common Pleas to involuntary manslaughter. On two separate

occasions, men using heroin with Ms. Hoover died of overdoses: Richard Davis in 2009, and

Roland Harmon in December 2012. Ms. Hoover fled the scene of these incidents instead of

calling 911.1011

          806.   Torrod C. Hopson of Akron, Ohio pled guilty on June 12, 2012 in the Summit

County Court of Common Pleas to trafficking in heroin. He was sentenced to one year in

prison.1012

          807.   Carlos Horton of Cleveland, Ohio pled guilty on January 31, 2017 in the

Cuyahoga County Court of Common Pleas to trafficking heroin and fentanyl. Mr. Horton was

sentenced to three and a half years in prison.1013




1009
  AKRON_000201729; MCKPUB00022819; MCKPUB00022822; MCKPUB00022823;
MCKPUB00022826.
1010
       AKRON_001274716; MCKPUB00026903; MCKPUB00026906; MCKPUB00026907.
1011
       SUMMIT_001144919; MCKPUB00009521.
1012
       AKRON_000219698; MCKPUB00022260; MCKPUB00022263; MCKPUB00022264.
1013
       CUYAH_000031349; MCKPUB00008502; MCKPUB00008503; MCKPUB00008506.



                                                 209
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 211 of 309. PageID #: 93308




          808.   Christopher Howze of Cleveland, Ohio was convicted on March 30, 2018 in the

Cuyahoga County Court of Common Pleas of involuntary manslaughter as a proximate result of

attempting to corrupt another with drugs, as well as trafficking fentanyl, heroin, acrylfentanyl,

carfentanil, furanylfentanyl, 4-ANPP, and 4-Fluoroisobutyryfentanyl. Mr. Howze was sentenced

to sixteen years in prison.1014

          809.   Michael W. Hudson of Bedford, Ohio pled guilty on June 26, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Hudson was sentenced to

one and one half years of community control.1015

          810.   Hollis A. Huff of Akron, Ohio pled guilty on February 20, 2013 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that

occurred in Akron. Mr. Huff was sentenced to three years community control.1016

          811.   Imari James Hughes of Akron, Ohio pled guilty on June 16, 2010 in the Summit

County Court of Common Pleas to trafficking in heroin, for conducted that occurred in Akron.

He was sentenced to one year of incarceration, suspended provided that he complete two years of

community control.1017

          812.   Eric L. Humphrey of Akron, Ohio pled guilty on January 20, 2010 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On November 4,

2009, the Akron Police Department’s Street Narcotics Uniform Detail Unit executed a search




1014
       CUYAH_000076070; MCKPUB00008993; MCKPUB00008994; MCKPUB00008998.
1015
       CUYAH_000055327; MCKPUB00018955; MCKPUB00018957.
1016
       AKRON_001274277; MCKPUB00026909; MCKPUB00026910; MCKPUB00026913.
1017
       AKRON_001272640; MCKPUB00026916; MCKPUB00026917; MCKPUB00026920.



                                                210
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 212 of 309. PageID #: 93309




warrant on Mr. Humphrey’s residence and recovered heroin, a digital scale, and packaging

equipment used for the sale of heroin. He was sentenced to one year in prison.1018

          813.   Carl Hundley, Jr. of Akron, Ohio was indicted on August 14, 2018 (with a

superseding indictment filed on October 11, 2018) in the Northern District of Ohio for offenses

including possession with intent to distribute fentanyl and heroin, in violation of 21 U.S.C.

§ 841(a)(1), (b)(1)(C). 1019 Beginning in April 2018, members of the Akron Police Department

began using a confidential source to conduct controlled purchases of narcotics, including

fentanyl, from Mr. Hundley. Law enforcement officers obtained and executed a search warrant

on Mr. Hundley’s home in Akron on April 10, 2018, at which time they recovered a substance

that field tested positive for heroin. Proceedings are ongoing in this case. Mr. Hundley was

previously convicted, on March 16, 2011 in the Summit County Court of Common Pleas of

crimes including trafficking in heroin.1020

          814.   Norman Hunter of Bedford Heights, Ohio pled guilty on October 18, 2016 in the

Northern District of Ohio to offenses including conspiracy to possess with intent to distribute

fentanyl.1021 Mr. Hunter conducted a drug transaction at a McDonald’s parking lot in Maple

Heights, Ohio in May 2016.      During sentencing, the judge stated, “[w]hat we’re faced with here

is someone who is trafficking in extraordinary amounts of the drugs that are killing people in our

community.”1022 On January 25, 2017, Mr. Hunter was sentenced to 200 months in prison.1023


1018
       AKRON_001216210; MCKPUB00026922; MCKPUB00026923; MCKPUB00026925.
1019
       MCKPUB00008480; MCKPUB00008491; MCKPUB00008492; MCKPUB00008484.
1020
       AKRON_001151503; MCKPUB00008486; MCKPUB00008489; MCKPUB00008490.
1021
       MCKPUB00019065.
1022
       MCKPUB00026927.
1023
       MCKPUB00019068; MCKPUB00019078; MCKPUB00019080.



                                                211
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 213 of 309. PageID #: 93310




         815.   Tedario Hunter of Cleveland, Ohio pled guilty on July 19, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Hunter was sentenced to two years

and six months in prison.1024

         816.   Jessica Irons of Stow, Ohio, pled guilty to involuntary manslaughter and

tampering with evidence in August 2016. Ms. Irons was sentenced to four years in prison. Ms.

Irons was present in a hotel room in which her friend’s son, 16-year-old Andrew Frye, overdosed

and died from a heroin overdose.1025

         817.   Dominique Ivory of Euclid, Ohio pled guilty on May 5, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1026 Mr.

Ivory participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1027 On August 8, 2014, Mr. Ivory was sentenced to 36 months in prison.1028

         818.   Andrew Jackson was convicted by a jury on May 30, 2017 in the Summit County

Court of Common Pleas of offenses including trafficking in heroin. He was sentenced to six

years in prison.1029

         819.   Darcell Jackson of Cleveland, Ohio pled guilty on July 21, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Ross was sentenced to nine months in

prison.1030


1024
       CUYAH_000073102; MCKPUB00021476; MCKPUB00021477; MCKPUB00021482.
1025
       SUMMIT_001137100; MCKPUB00015604.
1026
       MCKPUB00011260.
1027
       MCKPUB00011469.
1028
       MCKPUB00011451; MCKPUB00011453; MCKPUB00011466.
1029
  AKRON_000213174; MCKPUB00006828; MCKPUB00006829; MCKPUB00006834;
MCKPUB00006835.
1030
       CUYAH_000038875; MCKPUB00009588; MCKPUB00009589; MCKPUB00009594.



                                                212
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 214 of 309. PageID #: 93311




         820.   Marcus T. Jackson of Akron, Ohio pled guilty on June 13, 2016 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

heroin. He was sentenced to eighteen months in prison.1031

         821.   Sundy Jackson of Garfield Heights, Ohio, pled guilty on October 21, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking a controlled substance, heroin. Ms.

Jackson was sentenced to twelve months of community control.1032

         822.   Terrell L. Jarvis of Akron, Ohio pled guilty on March 18, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin on February 17, 2014. On April 21,

2015, Mr. Jarvis was sentenced to one year in prison.1033

         823.   Arthur Lee Jefferson of Barberton, Ohio pled guilty on October 17, 2014 in the

Summit County Court of Common Pleas, in two separate criminal cases, to trafficking in heroin.

The substance confiscated from Mr. Jefferson at the time of his arrest on or about March 11,

2014 tested positive for heroin and fentanyl. Mr. Jefferson was sentenced to two years in prison

for each case, to be served concurrently.1034




1031
       AKRON_000213986; MCKPUB00018180; MCKPUB00018182.
1032
       CUYAH_000039107; MCKPUB00021435; MCKPUB00021436; MCKPUB00021439.
1033
  AKRON_000205017; MCKPUB00021855; MCKPUB00021856; MCKPUB00021859;
MCKPUB00021861.
1034
  AKRON_000201488; MCKPUB00007479; MCKPUB00007474; MCKPUB00007478;
MCKPUB00007476; MCKPUB00007480; MCKPUB00007482; MCKPUB00007483;
MCKPUB00007484; MCKPUB00007486; MCKPUB00007488; MCKPUB00007489;
MCKPUB00007491; MCKPUB00007496; MCKPUB00007498; MCKPUB00007499;
MCKPUB00007501.



                                                213
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 215 of 309. PageID #: 93312




          824.   Brandon M. Jefferson of Akron, Ohio pled guilty on November 2, 2009 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, for conduct

that occurred in Akron. He was sentenced to three years of incarceration.1035

          825.   Jurmaine A. Jeffries of Akron, Ohio, was convicted by a jury on April 5, 2018 in

the Northern District of Ohio of distribution of fentanyl and possession with intent to distribute

fentanyl, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), though the court granted Mr. Jeffries’s

motion for a new trial due to a faulty jury instruction.1036 Mr. Jeffries sold fentanyl that caused

the overdose death of an Akron woman, Jamie Huffer.1037

          826.   Edward Jewell (also known as Rayshawn Williams) of Cleveland, Ohio pled

guilty on June 14, 2017 in the Northern District of Ohio to possession with intent to distribute a

mixture containing fentanyl.1038 On or before January 10, 2017, Mr. Jewell traveled from

Cleveland, Ohio to Las Vegas, Nevada to procure heroin. He acquired a mixture containing

fentanyl, and he arranged delivery of the substances to Cleveland by U.S. Postal Service for the

purpose of street-level sale. On November 1, 2017, Mr. Jewell was sentenced to 188 months in

prison.1039 Mr. Jewell had a prior conviction in the Cuyahoga County Court of Common Pleas

for trafficking heroin.1040




1035
       AKRON_001216068; MCKPUB00026972; MCKPUB00026973; MCKPUB00026975.
1036
       MCKPUB00015978-15999; MCKPUB00016000-16001; MCKPUB00016002-16004
1037
       MCKPUB00015965; MCKPUB00015967; MCKPUB00015975; MCKPUB00029477;
MCKPUB00029479.
1038
       MCKPUB00012151; MCKPUB00012165; MCKPUB00012142.
1039
       MCKPUB00027016.
1040
       MCKPUB00026978.



                                                214
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 216 of 309. PageID #: 93313




          827.   Anthony D. Johnson of Cleveland, Ohio pled guilty on November 1, 2017 in the

Cuyahoga Court of Common Pleas to trafficking fentanyl.1041 Mr. Johnson was sentenced to pay

a fine.

          828.   Darrell R. Johnson of Cleveland Heights, Ohio pled guilty on June 30, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Johnson was sentenced to

one year of community control.1042

          829.   Douglas T. Johnson of Cleveland, Ohio pled guilty on March 20, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1043 Mr. Johnson participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1044 Mr. Johnson was sentenced to eighteen months in

prison.1045

          830.   Dwayne A. Johnson of Akron, Ohio pled guilty on August 13, 2008 in the

Summit County Court of Common Pleas to trafficking heroin. On September 5, 2008, Mr.

Johnson was sentenced to eighteen months’ imprisonment and two years of community

control.1046




1041
       CUYAH_000074721; MCKPUB00006916; MCKPUB00006917; MCKPUB00006920.
1042
       CUYAH_000032821; MCKPUB00009887; MCKPUB00009888; MCKPUB00009891.
1043
       MCKPUB00011642.
1044
       MCKPUB00011835.
1045
       MCKPUB00011833; MCKPUB00011838; MCKPUB00011840.
1046
  AKRON_000200740; MCKPUB00011866; MCKPUB00011868; MCKPUB00011869;
MCKPUB00011871.



                                                215
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 217 of 309. PageID #: 93314




         831.    Jarmarcus M. Johnson of Akron, Ohio pled guilty on December 29, 2014 in the

Summit County Court of Common Pleas to trafficking in heroin. On January 5, 2015, he was

sentenced to twelve months in prison.1047

         832.    Joe Johnson of Cleveland, Ohio pled guilty on December 5, 2016 in the Cuyahoga

Court of Common Pleas to attempted involuntary manslaughter, corrupting another with drugs,

and trafficking in drugs (heroin). Mr. Johnson sold heroin to a person who fatally overdosed on

the drug. On December 6, 2016, Mr. Johnson was sentenced to four years in prison.1048

         833.    Kevin D. Johnson of Akron, Ohio pled guilty on October 13, 2016 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, for

conduct involving opioids. He was sentenced to three years and six months in prison.1049

         834.    Lamont Johnson of Cleveland, Ohio pled guilty on May 11, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Johnson was sentenced to six months

in prison.1050

         835.    Luther B. Johnson of Cleveland, Ohio pled guilty on February 25, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1051 Mr. Johnson participated in a heroin trafficking enterprise that operated from




1047
       AKRON_000220638; MCKPUB00015351; MCKPUB00015354.
1048
  CUYAH_000028411; CUYAH_014632182; MCKPUB00015631; MCKPUB00015633;
MCKPUB00015638; MCKPUB00029483.
1049
  AKRON_000294846; MCKPUB00016333; MCKPUB00016334; MCKPUB00016336;
MCKPUB00016338.
1050
       CUYAH_000033188; MCKPUB00017104; MCKPUB00017105; MCKPUB00017106.
1051
       MCKPUB00017704.



                                                216
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 218 of 309. PageID #: 93315




September 2011 to September 2013.1052 On May 28, 2014, Mr. Johnson was sentenced to 21

months in prison.1053

         836.   Paul Jewel Johnson of Akron, Ohio pled guilty on October 14, 2009 in the

Summit County Court of Commons Pleas to trafficking in heroin. Mr. Johnson was sentenced to

one year of incarceration, suspended provided that he complete two years of community

control.1054

         837.   Robert J. Johnson of Cleveland, Ohio pled guilty on February 22, 2017 in the

Northern District of Ohio to distribution of fentanyl and distribution of fentanyl resulting in

death or serious bodily injury.1055 On August 25, 2015, Mr. Johnson sold fentanyl to Kimberly

Ferline and Carl Laucher in Cleveland, and later that day, Ms. Ferline suffered a fatal overdose.

At trial, the Government presented evidence that, when Mr. Johnson was arrested and brought to

the police station, he said, “Yeah, I deal drugs. I’m a drug dealer, and I dealt to Carl Laucher.”

In addition, the Government identified a text message sent by Mr. Johnson referring to one of his

drug sales, saying, “I’ve decided that’s def[initely] fent[anyl] cut.” 1056 On June 8, 2017, Mr.

Johnson was sentenced to 72 months in prison.1057




1052
       MCKPUB00017911.
1053
       MCKPUB00017895; MCKPUB00017897; MCKPUB00017909.
1054
       MCKPUB00027106; MCKPUB00027107; MCKPUB00027110.
1055
       MCKPUB00019843; MCKPUB00019840.
1056
       MCKPUB00027113.
1057
       MCKPUB00019946; MCKPUB00019953; MCKPUB00019963.



                                                217
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 219 of 309. PageID #: 93316




         838.   Ronnie L. Johnson, Jr. of Cleveland Heights, Ohio pled guilty on May 8, 2006 in

the Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr.

Johnson was sentenced to four years in prison.1058

         839.   William Johnson of Euclid, Ohio pled guilty on October 30, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Johnson was sentenced to

two years of community control.1059

         840.   Willie Jerome Johnson of Akron, Ohio pled guilty on January 2, 2018 in the

Summit County Court of Common Pleas to offenses including aggravated trafficking of heroin

and fentanyl. After an investigation by the Akron Police Narcotics Unit, officers detained Mr.

Johnson at a traffic stop on July 27, 2017. They recovered a scale and four cellular phones. The

officers then brought Mr. Johnson to his residence, where they recovered heroin, fentanyl, and a

loaded handgun. Mr. Johnson was sentenced twelve months in prison.1060

         841.   Darnell A. Jones of Akron, Ohio pled guilty on January 29, 2014 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On September 14,

2013, officers detained Mr. Jones in a traffic stop in Akron, recovering packaged bags of heroin,

a loaded semi-automatic pistol, and electronic digital scales. Mr. Jones was sentenced to two

years of incarceration, suspended provided that he complete two years of community control.1061




1058
       CUYAH_000032762; MCKPUB00020558; MCKPUB00020560; MCKPUB00020563.
1059
       CUYAH_000033757; MCKPUB00022759; MCKPUB00022760; MCKPUB00022762.
1060
       AKRON_000206610; MCKPUB00027316; MCKPUB00027317; MCKPUB00027319.
1061
       AKRON_001217598; MCKPUB00027322; MCKPUB00027323; MCKPUB00027325.



                                               218
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 220 of 309. PageID #: 93317




         842.   Darrone D. Jones of Akron, Ohio pled guilty on August 31, 2009 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Jones was sentenced to one year of

incarceration.1062

         843.   Jerry D. Jones of Akron, Ohio pled guilty on September 19, 2012 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that

occurred in Akron. Mr. Jones was sentenced to three years in prison.1063

         844.   Laurie D. Jones of Cleveland, Ohio pled guilty on April 20, 2016 in the Cuyahoga

County Court of Common Pleas to conspiracy to traffic heroin. Ms. Jones was sentenced to one

and a half years of community control.1064

         845.   Michael L. Jones of Cleveland, Ohio pled guilty on January 27, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1065 Mr. Jones participated in a heroin trafficking enterprise that operated from September

2011 to September 2013.1066 On April 29, 2014, Mr. Jones was sentenced to eighteen months in

prison.1067

         846.   Rafael Jones of Cleveland, Ohio pled guilty on August 10, 2018 in the Northern

District of Ohio to distribution of fentanyl with a death enhancement.1068 On May 13, 2017, Mr.

Jones sold fentanyl to a man who died after ingesting it. On October 25, 2018, Mr. Jones was


1062
  AKRON_001157235; SUMMIT_000405599; MCKPUB00027327; MCKPUB00027329;
MCKPUB00027330.
1063
       AKRON_001175708; MCKPUB00027333; MCKPUB00027334; MCKPUB00027336.
1064
       CUYAH_000070777; MCKPUB00017347; MCKPUB00017348; MCKPUB00017350.
1065
       MCKPUB00018733.
1066
       MCKPUB00018939.
1067
       MCKPUB00018924; MCKPUB00018926; MCKPUB00018937.
1068
       MCKPUB00019352.



                                                219
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 221 of 309. PageID #: 93318




sentenced to twelve years’ imprisonment.1069 Mr. Jones had a number of prior drug-related

convictions in the Cuyahoga County Court of Common Pleas, including for trafficking in

heroin.1070

          847.   Reginald L. Jones of Akron, Ohio pled guilty on April 12, 2011 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that

occurred in Akron. Mr. Jones was sentenced to five years in prison.1071

          848.   Shatosha Ugaunda Jones of Akron, Ohio pled guilty on July 28, 2015 in the

Summit County Court of Common Pleas to trafficking in heroin. Ms. Jones was sentenced to

eighteen months in the Ohio Department of Rehabilitation and Correction.1072 Ms. Jones had a

prior conviction for deception to obtain hydrocodone with a forged prescription.1073

          849.   Tion D. Jones of Akron, Ohio, pled guilty on November 2, 2009 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Jones was sentenced to one year of

incarceration.1074

          850.   William Jones of Cleveland, Ohio pled guilty on May 22, 2008 in the Cuyahoga

County Court of Common Pleas to attempted trafficking of fentanyl. Mr. Jones was sentenced to

two years of community control.1075




1069
        MCKPUB00019353; MCKPUB00019360; MCKPUB00019369.
 1070
        MCKPUB00019355; MCKPUB00019358.
1071
        AKRON_001216398; MCKPUB00027339; MCKPUB00027340; MCKPUB00027344.
1072
        MCKPUB00027348; MCKPUB00027349; MCKPUB00027351.
1073
        AKRON_001157034; MCKPUB00027353; MCKPUB00027354; MCKPUB00027357.
1074
        MCKPUB00027360; MCKPUB00027361; MCKPUB00027363.
1075
        CUYAH_000037739; MCKPUB00022728; MCKPUB00022729; MCKPUB00022731.



                                               220
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 222 of 309. PageID #: 93319




          851.   Gerardo Juarez of Columbus, Ohio pled guilty on February 27, 2012 in the

Cuyahoga County Court of Common Pleas to trafficking heroin, and he was sentenced to three

years in prison.1076

          852.   Carter A. Juhard of Akron, Ohio pled guilty on April 21, 2009 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Juhard was sentenced to fourteen

months of incarceration, suspended upon the condition that he complete two years of community

control.1077

          853.   David M. Justice of Akron, Ohio pled guilty on May 19, 2016 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

fentanyl. On June 22, 2016, he was sentenced to two years of community control.1078

          854.   Valerie Karosy of North Royalton, Ohio pled guilty on May 28, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Karosy was sentenced to

one year of community control.1079

          855.   Brandon L. Kelly of Akron, Ohio, pled guilty on November 13, 2017 to

involuntary manslaughter. Mr. Kelly provided his friend with carfentanil in July 2016, which

resulted in his friend’s death. Mr. Kelly was sentenced to four years in prison.1080




1076
       CUYAH_000043787; MCKPUB00013586; MCKPUB00013587; MCKPUB00013590.
1077
       AKRON_001157288; MCKPUB00027365; MCKPUB00027366; MCKPUB00027368.
1078
       AKRON_000212940; MCKPUB00010211; MCKPUB00010214; MCKPUB00010215.
1079
       CUYAH_000028012; MCKPUB00022428; MCKPUB00022429; MCKPUB00022431.
1080
       SUMMIT_001136501; MCKPUB00007664; MCKPUB00027371.



                                                221
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 223 of 309. PageID #: 93320




         856.   Richard Kessler of Cleveland, Ohio pled guilty August 10, 2007 in the Cuyahoga

County of Common Pleas to trafficking opioids, including heroin. Mr. Kessler was sentenced to

six months of community control.1081

         857.   Jesse Kinder of pled guilty on July 10, 2013 in the Summit County Court of

Common Pleas to trafficking in heroin. Mr. Kinder was sentenced to fifteen months in

prison.1082

         858.   Angela L. King of Akron, Ohio pled guilty on January 17, 2018 in the Summit

County Court of Common Pleas to involuntary manslaughter. Ms. King sold or supplied

heroin/fentanyl to Dennis Bakeman, who then died of an overdose. On January 31, 2018, Ms.

King was sentenced to three years in prison.1083

         859.   Earl King of Cleveland, Ohio pled guilty on July 20, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. King was sentenced to one year and

six months in prison.1084

         860.   Kashrail Mark King of Akron, Ohio pled guilty on August 30, 2017 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to seven

years in prison.1085 He had previously pled guilty on April 26, 2016 in the Summit County of




1081
       CUYAH_000033669; MCKPUB00019550; MCKPUB00019551; MCKPUB00019556.
1082
       MCKPUB00027381; MCKPUB00027382; MCKPUB00027384.
1083
  AKRON_000214143; SUMMIT_000064886; SUMMIT_000704436;
SUMMIT_000704475; SUMMIT_000704477; SUMMIT_001517361; MCKPUB00006860;
MCKPUB00006863; MCKPUB00006864; MCKPUB00006867.
1084
       CUYAH_000035688; MCKPUB00011887; MCKPUB00011888; MCKPUB00011890.
1085
       AKRON_000210996; MCKPUB00016046; MCKPUB00016049.



                                               222
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 224 of 309. PageID #: 93321




Common Pleas to offenses including aggravated trafficking in drugs, namely fentanyl, and was

sentenced to two years of community control.1086

         861.   Michaelas F. King pled guilty on August 14, 2014 in the Northern District of

Ohio to possession with intent to distribute and distribute heroin. He was one of twenty people

indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio for his

role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and Atlanta,

between 2011-2014. Mr. King was sentenced to 57 months in prison.1087

         862.   Henry Knight III of Akron, Ohio was convicted on March 3, 2015 in the Summit

County Court of Common Pleas of offenses including trafficking in heroin. Mr. Knight was

sentenced to eighteen months of community control.1088

         863.   Barry Kobzowicz of Cleveland, Ohio pled guilty on February 14, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking heroin and hydrocodone. Mr.

Kobzowicz was sentenced to twelve months in prison.1089

         864.   Arthur Lee Kubalek of Stow, Ohio was convicted on July 12, 2013 in the Summit

County Court of Common Pleas of offenses including trafficking in heroin.1090




1086
       AKRON_000214324; MCKPUB00016043; MCKPUB00016045.
1087
       MCKPUB00018971; MCKPUB00029486; MCKPUB00029488.
1088
  AKRON_000204842; MCKPUB00014172; MCKPUB00014175; MCKPUB00014177;
MCKPUB00014178.
1089
       CUYAH_000037224; MCKPUB00007576; MCKPUB00007577; MCKPUB00007579.
1090
       AKRON_000200965; MCKPUB00007469; MCKPUB00007472; MCKPUB00007473.



                                               223
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 225 of 309. PageID #: 93322




         865.   Bonnie L. Lambert pled guilty on April 21, 2015 in the Summit County Court of

Common Pleas to trafficking in heroin on or about February 17, 2014. On April 21, 2015, Ms.

Lambert was sentenced to two years of community control.1091

         866.   Scott Layne of Akron, Ohio pled guilty on May 1, 2018 in the Summit County

Court of Common Pleas to involuntary manslaughter. Mr. Layne supplied his mother, Deborah

Layne, with carfentanil, and she subsequently died of carfentanil toxicity.1092 Mr. Layne was

sentenced to three years in prison.

         867.   Lorenzo Leatherwood of Akron, Ohio pled guilty on March 29, 2018 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin.1093 Mr.

Leatherwood was sentenced to 24 months of community control.

         868.   Cy L. Lee pled guilty on July 23, 2015 in the Summit County Court of Common

Pleas to offenses including trafficking in heroin. On September 2, 2015, he was sentenced to

five years in prison.1094

         869.   Kenneth M. Leland of Akron, Ohio pled guilty on May 27, 2015 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On July 27, 2015, he

was sentenced to two years of community control.1095




1091
  AKRON_000205017; MCKPUB00007654; MCKPUB00007656; MCKPUB00007657;
MCKPUB00007649; MCKPUB00007652; MCKPUB00007653; MCKPUB00007658;
MCKPUB00007660; MCKPUB00007661.
1092
       AKRON_0002086666; MCKPUB00020878; MCKPUB00020880.
1093
  AKRON_000208683, AKRON_000208702; MCKPUB00017682; MCKPUB00017684;
MCKPUB00017685; MCKPUB00017686.
1094
  AKRON_000280536; AKRON_001289269; MCKPUB00009231; MCKPUB00009233;
MCKPUB00009234.
1095
       AKRON_000220862; MCKPUB00016282; MCKPUB00016285; MCKPUB00016286.



                                              224
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 226 of 309. PageID #: 93323




         870.   Darrell Lempeck of Cleveland, Ohio pled guilty on October 20, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Lempeck was sentenced to

42 months in prison.1096

         871.   Ben Lenoir, Jr. of Cleveland, Ohio pled guilty on June 13, 2013 in the Cuyahoga

County Court of Common Pleas to attempted trafficking of heroin. Mr. Lenoir was sentenced to

six months in prison.1097

         872.   Michael D. Lenoir of Akron, Ohio pled guilty on December 19, 2017 in the

Summit County Court of Common Pleas to trafficking in heroin. Mr. Lenoir was sentenced to

one year in prison.1098

         873.   Justin P. Lewis pled guilty on July 16, 2018 in the Cuyahoga County Court of

Common Pleas to offenses including trafficking heroin. Mr. Lewis was sentenced to twelve

years in prison.1099

         874.   Robert Lee Lewis of Cleveland, Ohio pled guilty on February 28, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr. Lewis

was sentenced to two years and six months in prison.1100




1096
       CUYAH_000048640; MCKPUB00009835; MCKPUB00009836; MCKPUB00009841.
1097
       CUYAH_000054223; MCKPUB00007581; MCKPUB00007582; MCKPUB00007586.
1098
       AKRON_001125497; MCKPUB00027386; MCKPUB00027389; MCKPUB00027390.
1099
       CUYAH_000078572; MCKPUB00003296; MCKPUB00003297; MCKPUB00003304.
1100
  CUYAH_000033806; CUYAH_000034553; MCKPUB00020192; MCKPUB00020193;
MCKPUB00020195; MCKPUB00020197; MCKPUB00020198; MCKPUB00020201.



                                               225
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 227 of 309. PageID #: 93324




         875.    Maurice D. Lightner of Bedford Heights, Ohio pled guilty on June 12, 2017 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Lightner was sentenced to

twenty months in prison.1101

         876.    John E. Little of Akron, Ohio pled guilty on July 20, 2015 in the Summit County

Court of Common Pleas to trafficking in heroin. He was sentenced to two years of community

control.1102

         877.    William A. Little of Akron, Ohio pled guilty on June 12, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. On July 6, 2015, he was sentenced to

one year in prison.1103

         878.    Armando Lopez-Diaz pled guilty on January 16, 2007 in the Cuyahoga County

Court of Common Pleas to trafficking heroin. Mr. Lopez-Diaz was sentenced to twelve months

of community control.1104

         879.    Michael Jackson Love of Akron, Ohio pled guilty on October 26, 2016 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to one year

in prison.1105

         880.    Andrew Loving of Cleveland, Ohio pled guilty on July 30, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1106 Mr.


1101
       CUYAH_000072865; MCKPUB00018328; MCKPUB00018329; MCKPUB00018331.
1102
       AKRON_000288460; MCKPUB00015655; MCKPUB00015658; MCKPUB00015659.
1103
  AKRON_000288474; AKRON_000288727; MCKPUB00022739; MCKPUB00022741;
MCKPUB00022742.
1104
       CUYAH_000034648; MCKPUB00007462; MCKPUB00007464; MCKPUB00007467.
1105
  AKRON_000206089; MCKPUB00018725; MCKPUB00018727; MCKPUB00018728;
MCKPUB00018730; MCKPUB00018732.
1106
       MCKPUB00006620; MCKPUB00029491.



                                                226
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 228 of 309. PageID #: 93325




Loving participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1107 Mr. Loving typically referred customers to a who sold heroin.1108 On May

6, 2015, Mr. Loving was sentenced to two months in prison.1109

         881.   Richard Lowe of Bedford Heights, Ohio pled guilty on October 11, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr. Lowe

was sentenced to eight months in prison.1110

         882.   Alfonso D. Lujan of Cuyahoga Falls, Ohio pled guilty on January 27, 2015 in the

Summit County Court of Common Pleas to involuntary manslaughter and trafficking in heroin.

Mr. Lujan sold fentanyl to Lawrence Lay of Akron, Ohio, who died of a fentanyl overdose and

alcohol poisoning on June 13, 2014. When interviewed by police, Mr. Lujan said that he sold

heroin every day from his house, and that he used to cut his heroin with acetaminophen.

Investigators from Akron Police’s Narcotics Unit executed a search of Mr. Lujan’s residence and

uncovered heroin, fentanyl patches, powdered fentanyl, and packaging materials. Mr. Lujan was

sentenced to seven years in prison.1111

         883.   Marchello D. Lumbus of Cleveland, Ohio pled guilty on July 10, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Lumbus was sentenced to

two years in prison.1112


1107
       MCKPUB00006824.
1108
       MCKPUB00027392.
1109
       MCKPUB00006811; MCKPUB00006813.
1110
       CUYAH_000035982; MCKPUB00019559; MCKPUB00019560; MCKPUB00019565.
1111
  AKRON_000207295; AKRON_001151503; MCKPUB00006302; MCKPUB00006303;
MCKPUB00006305; MCKPUB00006306; MCKPUB00006307; MCKPUB00006309;
MCKPUB00006312; MCKPUB00006313; MCKPUB00006314; MCKPUB00006316.
1112
       CUYAH_000028012; MCKPUB00017929; MCKPUB00017930; MCKPUB00017932.



                                               227
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 229 of 309. PageID #: 93326




         884.   Jeffery W. Lusher of Cuyahoga Falls, Ohio pled guilty on November 1, 2017 in

the Summit County Court of Common Pleas to offenses including trafficking in heroin and

aggravated drug trafficking. According to a police report, Mr. Lusher had a prior arrest for drug

dealing in January 2017. He was sentenced to five years of prison.1113

         885.   Anthony Mack of Cleveland, Ohio pled guilty on February 20, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Mack was sentenced to one

year of community control.1114

         886.   Reginald Madgett of Cleveland, Ohio pled guilty on September 25, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin, and he was sentenced to two

years of community control.1115

         887.   Don A. Maigari of Munroe Falls, Ohio pled guilty in the Northern District of

Ohio to possession with intent to distribute a mixture or substance containing

methoxyacetylfentanyl, which he purchased and received from a manufacturer in China. Mr.

Miagari was sentenced on November 8, 2018 to nine years and eight months in federal

prison.1116




1113
       AKRON_001151032; MCKPUB00027429; MCKPUB00027432; MCKPUB00027433.
1114
       CUYAH_000040397; MCKPUB00006926; MCKPUB00006928; MCKPUB00006932.
1115
       CUYAH_000033073; MCKPUB00019473; MCKPUB00019474; MCKPUB00019477.
1116
  AKRON_000206429; MCKPUB00011498; MCKPUB00011499; MCKPUB00011506;
MCKPUB00011509; MCKPUB00011511; MCKPUB00011514; MCKPUB00011515;
MCKPUB00011473; MCKPUB00011474; MCKPUB00011483; MCKPUB00011490;
MCKPUB00011491 ; MCKPUB00011516; MCKPUB00011518.



                                               228
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 230 of 309. PageID #: 93327




         888.   Aris Lamont Mann of Akron, Ohio pled guilty on January 17, 2017 in the Summit

County Court of Commons Pleas to aggravated trafficking in drugs (fentanyl). Mr. Mann was

sentenced to twelve months of incarceration.1117

         889.   Charles Marotto of Silver Lake, Ohio, pled guilty on January 20, 2016 to

involuntary manslaughter and trafficking in heroin. Mr. Marotto sold heroin to a 23-year-old

Cuyahoga Falls man who was found dead after overdosing on the heroin. Mr. Marotto was

sentenced to five years in prison.1118

         890.   Rafael Matos Marrero, Jr. of Rocky River, Ohio pled guilty on May 15, 2008 in

the Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Marrero was sentenced

to six months in prison.1119

         891.   Jameire A. Marrow of Akron, Ohio pled guilty on January 26, 2017 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. Mr. Marrow

was sentenced to three years and six months in prison.1120

         892.   Audrey J. Martin of Akron, Ohio pled guilty on June 29, 2010 in the Summit

County Court of Common Pleas to trafficking in heroin. Ms. Martin was sentenced to one year

of incarceration, but the sentence was suspended upon the condition that Ms. Martin successfully

complete two years of community control.1121



1117
  AKRON_000206007; AKRON_000294658; MCKPUB00007453; MCKPUB00007457;
MCKPUB00007460; MCKPUB00007461.
1118
       SUMMIT_001439258; MCKPUB00008887.
1119
       CUYAH_000037120; MCKPUB00019371; MCKPUB00019373; MCKPUB00019376.
1120
  AKRON_000205533; AKRON_000222486; AKRON_000292910; MCKPUB00014981;
MCKPUB00014984; MCKPUB00014985.
1121
  AKRON_000205362; MCKPUB00007556; MCKPUB00007561; MCKPUB00007562;
MCKPUB00007563.



                                               229
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 231 of 309. PageID #: 93328




         893.   Gino Martin of Cleveland, Ohio pled guilty on January 30, 2017 in the Northern

District of Ohio to possession with intent to distribute a mixture of heroin and fentanyl and

possession with intent to distribute fentanyl.1122 On May 16, 2017, he was sentenced to 120

months in prison.1123 At the time of his arrest in this matter, Mr. Martin had at least one prior

conviction involving heroin in the Cuyahoga County Court of Common Pleas.1124

         894.   Matthew Martin pled guilty on October 5, 2016 in the Northern District of Ohio

to conspiracy to possess with intent to distribute fentanyl and possession with intent to distribute

fentanyl.1125 Mr. Martin conducted a drug transaction in Maple Heights, Ohio in May 2016.1126

On February 27, 2017, Mr. Martin was sentenced to 87 months in prison.1127

         895.   Angel Martinez of Cleveland, Ohio pled guilty on October 7, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Martinez was sentenced to

twelve months in prison.1128

         896.   Pedro Martinez of Cleveland, Ohio pled guilty on September 4, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Martinez was sentenced to

twelve months in prison.1129




1122
       MCKPUB00013641; MCKPUB00013638.
1123
       MCKPUB00013643.
1124
  MCKPUB00013653; MCKPUB00013655; MCKPUB00013659; MCKPUB00013645;
MCKPUB00013649; MCKPUB00013651.
1125
       MCKPUB00018315.
1126
       MCKPUB00018325.
1127
       MCKPUB00018318; MCKPUB00018319; MCKPUB00018325.
1128
       CUYAH_000039086; MCKPUB00006846; MCKPUB00006847; MCKPUB00006850.
1129
       CUYAH_000036231; MCKPUB00019261; MCKPUB00019263; MCKPUB00019265.



                                                230
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 232 of 309. PageID #: 93329




         897.   Darrell Massingille of Cleveland, Ohio pled guilty on March 15, 2017 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin and fentanyl.1130 The conspiracy took place from July 2015 to March 2016. Mr.

Massingille obtained heroin from his co-defendant, whom he helped find customers.1131 Mr.

Massingille made multiple sales of heroin to an undercover law enforcement officer.1132 On July

14, 2017, Mr. Massingille was sentenced to 60 months in prison.1133

         898.   Gary J. Mathews of Cleveland, Ohio, pled guilty on April 26, 2016 to trafficking

in heroin and involuntary manslaughter, and he was sentenced to seven years in prison. On

August 2, 2015, Mr. Mathews sold heroin to Jordan Gerycz, who died of an overdose.1134

         899.   Mario Mattox of Euclid, Ohio pled guilty on June 20, 2017 in the Northern

District of Ohio to possession with intent to distribute heroin.1135 On October 3, 2017, Mr.

Mattox was sentenced to 51 months in prison.1136

         900.   Devonta Maxwell of Euclid, Ohio pled guilty on January 1, 2015 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1137 Mr.




1130
       MCKPUB00009843.
1131
       MCKPUB00009877; MCKPUB00009869.
1132
       MCKPUB00027435.
1133
       MCKPUB00009861; MCKPUB00009881.
1134
  SUMMIT_001142917; AKRON_000337585; MCKPUB00013529; MCKPUB00013532;
MCKPUB00013533; MCKPUB00029493.
1135
       MCKPUB00018187; MCKPUB00018185.
1136
       MCKPUB00018189; MCKPUB00018197; MCKPUB00018202.
1137
       MCKPUB00010590.



                                                231
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 233 of 309. PageID #: 93330




Maxwell participated in a heroin enterprise that operated from September 2011 to September

2013. On April 22, 2015, Mr. Maxwell was sentenced to 110 months in prison.1138

         901.   Darryl Mayes of Cleveland, Ohio pled guilty on April 12, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Mayes was sentenced to one year of

community control.1139

         902.   Michael A. McCalister of Akron, Ohio pled guilty on June 19, 2014 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, for conduct

occurring in Akron. He was sentenced to two and a half years of incarceration, suspended

provided that he complete two years of intensive community control.1140

         903.   Dave McCall of Cleveland, Ohio pled guilty on February 22, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. McCall was sentenced to

one year in prison.1141

         904.   Terrance Norman-Devin McCormick of Akron, Ohio pled guilty on August 13,

2018 in the Summit County Court of Common Pleas to aggravated trafficking in drugs, namely

fentanyl. He was sentenced to eighteen months of community control.1142




1138
  MCKPUB00010795; MCKPUB00010797; MCKPUB00010781; MCKPUB00010783;
MCKPUB00027468.
1139
       CUYAH_000032902; MCKPUB00009893; MCKPUB00009894; MCKPUB00009897.
1140
       AKRON_001281013; MCKPUB00027506; MCKPUB00027507; MCKPUB00027509.
1141
       CUYAH_000032673; MCKPUB00009973; MCKPUB00009974; MCKPUB00009976.
1142
  AKRON_000204706; MCKPUB00021828; MCKPUB00021830; MCKPUB00021831;
MCKPUB00021836; MCKPUB00021838.



                                              232
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 234 of 309. PageID #: 93331




         905.   Shawn Christopher McCoy of Akron, Ohio was convicted by a jury on August 10,

2010 in the Summit County Court of Common Pleas of trafficking in heroin. Mr. McCoy was

sentenced to eighteen months in prison.1143

         906.   Dejuan B. McCraney pled guilty on April 14, 2014 in the Summit County Court

of Common Pleas to offenses including trafficking in heroin. On March 13, 2016, officers

conducted a traffic stop of Mr. McCraney and his vehicle in Akron and recovered heroin, a

loaded handgun, and a digital scale. Mr. McCraney was sentenced to eighteen months of

community control.1144

         907.   Thomas McCully of Cleveland, Ohio pled guilty on August 5, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1145 Mr. McCully participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1146 As part of the conspiracy, Mr. McCully met with his co-

conspirators customers when his co-conspirators were unavailable, and he participated in

numerous conversations about the quality of heroin he was selling and how to cut the heroin to

improve its quality. In one conversation about a dissatisfied heroin customer, Mr. McCully

stated, “I know how to play this game. He will be back this way.”1147 On April 9, 2015, Mr.

McCully was sentenced to time served.1148




1143
       AKRON_001216104; MCKPUB00027511; MCKPUB00027512; MCKPUB00027515.
1144
       AKRON_001279435; MCKPUB00027519; MCKPUB00027520; MCKPUB00027523.
1145
       MCKPUB00027527; MCKPUB00021937.
1146
       MCKPUB00022147.
1147
       MCKPUB00021937; MCKPUB00027527.
1148
       MCKPUB00022128; MCKPUB00022134; MCKPUB00022145.



                                                233
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 235 of 309. PageID #: 93332




         908.   Otis J. McDay of Akron, Ohio pled guilty on May 9, 2016, in the Summit County

Court of Common Pleas to crimes including aggravated trafficking in drugs, namely fentanyl, for

conduct that occurred in Akron. On May 16, 2016, he was sentenced to two years in prison.1149

         909.   Anthony Ray McGowan of Akron, Ohio pled guilty on October 27, 2016 in the

Summit County Court of Common Pleas to offenses including aggravated trafficking in drugs,

namely fentanyl. On December 1, 2016, he was sentenced to one year and eleven months in

prison.1150

         910.   Jonathan E. McGrady of Akron, Ohio pled guilty on February 25, 2016 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. He was

sentenced to six months in prison.1151

         911.   Tavares Jarod McIntosh of Akron, Ohio pled guilty on September 7, 2016 in the

Summit County Court of Common Pleas to trafficking in heroin. On September 28, 2016, he

was sentenced to three years in prison.1152

         912.   Thessalonians McMillan, Jr. of Akron, Ohio pled guilty on September 24, 2015 in

the Summit County Court of Common Pleas to offenses including aggravated trafficking in

drugs, namely fentanyl. He was sentenced to seven years in prison.1153

         913.   Tramontay D. McWain pled guilty on July 25, 2014 in the Northern District of

Ohio to conspiracy to distribute and to possess with intent to distribute heroin. He was one of


1149
  AKRON_001289828; AKRON_000213404; MCKPUB00019244; MCKPUB00019245;
MCKPUB00019248.
1150
       AKRON_000296482; MCKPUB00006935; MCKPUB00006938; MCKPUB00006939.
1151
       AKRON_000291078; MCKPUB00015684; MCKPUB00015686; MCKPUB00015687.
1152
       MCKPUB00021470; MCKPUB00021472.
1153
  AKRON_001287618; AKRON_000286863; MCKPUB00021912; MCKPUB00021914;
MCKPUB00021915.



                                               234
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 236 of 309. PageID #: 93333




twenty people indicted in a case brought by the U.S. Attorney’s Office for the Northern District

of Ohio for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago

and Atlanta, between 2011-2014. Mr. McWain was sentenced to 37 months in prison.1154

         914.   Cedric Means of Cleveland, Ohio pled guilty on April 24, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Means was sentenced to three years in

prison.1155

         915.   Alyssa N. Mears of Akron, Ohio pled guilty on January 27, 2016 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs, namely heroin. She was

sentenced to nine months in prison for this offense.1156

         916.   Terron Lamar Melton of Akron, Ohio pled guilty on March 2, 2015 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

two years of community control.1157

         917.   Edison Mercado of Cleveland, Ohio pled guilty on October 5, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking in heroin. Mr. Mercado was sentenced

to six months in prison.1158

         918.   Kenneth Lamar Merritt of Akron, Ohio pled guilty on October 9, 2012 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. He was

sentenced to one year in prison. On December 10, 2018, Mr. Merritt pled guilty in the Summit



1154
       MCKPUB00022271; MCKPUB00022282; MCKPUB00022284.
1155
       CUYAH_000036934; MCKPUB00008750; MCKPUB00008751; MCKPUB00008754.
1156
  SUMMIT_000672205; SUMMIT_000672222; SUMMIT_000672225;
AKRON_000218494; MCKPUB00006548; MCKPUB00006550; MCKPUB00006551.
1157
       AKRON_001153878; MCKPUB00025831; MCKPUB00025832; MCKPUB00025834.
1158
       CUYAH_000047308; MCKPUB00011915; MCKPUB00011916; MCKPUB00011920.



                                                235
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 237 of 309. PageID #: 93334




County Court of Common Pleas to trafficking in heroin, involuntary manslaughter, and

aggravated trafficking in drugs. He sold drugs to Jessica Wiseman, who died of a drug overdose

as a result. In a separate and subsequent case, Mr. Merritt pled guilty on December 10, 2018 in

the Summit County Court of Common Pleas to trafficking in heroin. On January 17, 2019, Mr.

Merritt was sentenced to six years’ incarceration.1159

         919.   Jimmy L. Michaels of Akron, Ohio pled guilty on October 10, 2018 in the

Summit County Court of Common Pleas to offenses including involuntary manslaughter and

aggravated trafficking in carfentanil.1160 Mr. Michaels was sentenced to four years in prison.

         920.   Robvedo J. Middlebrook of Warrensville Heights, Ohio pled guilty on July 11,

2016 in the Cuyahoga County Court of Common Pleas to trafficking fentanyl. Mr. Middlebook

was sentenced to eighteen months in prison.1161

         921.   Lamar Middleton of Cleveland, Ohio pled guilty on February 19, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1162 Mr. Middleton participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1163 On May 20, 2015, Mr. Middleton was sentenced to 151

months in prison.1164



1159
  AKRON_000200558; MCKPUB00018581; MCKPUB00018582; MCKPUB00018585;
MCKPUB00018587; MCKPUB00018588; MCKPUB00018590; MCKPUB00018593;
MCKPUB00018594; MCKPUB00018595; MCKPUB00018597; MCKPUB00018599;
MCKPUB00018601; MCKPUB00018603; MCKPUB00018607; MCKPUB00018608;
MCKPUB00018609.
1160
       AKRON_000208532; MCKPUB00015610; MCKPUB00015613; MCKPUB00015614.
1161
       CUYAH_000029247; MCKPUB00020212; MCKPUB00020213; MCKPUB00020216.
1162
       MCKPUB00016898.
1163
       MCKPUB00017094; MCKPUB00029494.
1164
       MCKPUB00017089; MCKPUB00017091.



                                                236
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 238 of 309. PageID #: 93335




         922.   Eugene Miller of Cleveland, Ohio pled guilty on June 13, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1165 Mr.

Miller participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1166 Mr. Miller facilitated the distribution of heroin, including to an undercover

officer in Cleveland, Ohio on September 22, 2011.1167 On July 14, 2015, Mr. Miller was

sentenced to 36 months in prison.1168

         923.   Edward Mitchell of Cleveland, Ohio pled guilty on July 31, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking in heroin and trafficking in U-47700 (“Pink”).

Mr. Mitchell was sentenced to one year and nine months in prison.1169

         924.   Gabrielle M. Moneypenny of Akron, Ohio pled guilty on July 9, 2014 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. Ms.

Moneypenny was sentenced to eighteen months of community control.1170

         925.   Rayshawn A. Montgomery of Akron, Ohio pled guilty on February 19, 2014 in

the Summit County Court of Common Pleas to trafficking in heroin, and he was sentenced to

twelve months in prison.1171




1165
       MCKPUB00012807.
1166
       MCKPUB00013018.
1167
       MCKPUB00012807.
1168
       MCKPUB00012998; MCKPUB00013004; MCKPUB00013016.
1169
       CUYAH_000074070; MCKPUB00012168; MCKPUB00012170; MCKPUB00012173.
1170
  AKRON_000201579; MCKPUB00013487; MCKPUB00013488; MCKPUB00013491;
MCKPUB00013493; MCKPUB00013496; MCKPUB00013497; MCKPUB00013498;
MCKPUB00013501; MCKPUB00013503; MCKPUB00013505.
1171
       AKRON_000201807; MCKPUB00019456; MCKPUB00019459; MCKPUB00019460.



                                                237
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 239 of 309. PageID #: 93336




         926.   Christopher Moore of Cleveland, Ohio pled guilty on November 1, 2017 in the

Cuyahoga Court of Common Pleas to trafficking fentanyl.1172 Mr. Moore was sentenced to two

years of community control.

         927.   Ernest W. Moore of Akron, Ohio pled guilty on March 24, 2016 in the Summit

County Court of Common Pleas of trafficking in heroin. On April 21, 2016, he was sentenced to

two years of community control.1173

         928.   Kevin D. Moore of Akron, Ohio, pled guilty on June 17, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Moore was sentenced to 30 months

of community control and to enter into and successfully complete the Community Based

Correctional Facility Program operated by Oriana House.1174

         929.   Larry L. Moore, III of Akron, Ohio pled guilty on May 10, 2016 to offenses

including involuntary manslaughter, aggravated drug trafficking, and trafficking in heroin. He

was sentenced to five years and six months in prison. Mr. Moore sold a fentanyl-heroin mix to

his uncle, Robert Mullens, who died of an overdose. Even after he was charged with this

offense, Mr. Moore continued to sell drugs out of the house where his uncle had died.1175

         930.   Maceo Moore of Cleveland, Ohio pled guilty in February 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute heroin, for his role in a major

heroin trafficking conspiracy. Mr. Moore was sentenced to 210 months in federal prison. Mr.


1172
       CUYAH_000074721; MCKPUB00009008; MCKPUB00009009; MCKPUB00009012.
1173
       AKRON_000218427; MCKPUB00012803; MCKPUB00012805; MCKPUB00012806.
1174
  AKRON_000205310; MCKPUB00016326; MCKPUB00016328; MCKPUB00016329;
MCKPUB00016330.
1175
  AKRON_000287003; SUMMIT_001144901; MCKPUB00017114; MCKPUB00017117;
MCKPUB00017118; MCKPUB00017113; MCKPUB00029541; MCKPUB00029542;
MCKPUB00029998.



                                                 238
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 240 of 309. PageID #: 93337




Moore obtained heroin that was originally shipped from Atlanta to Northeast Ohio, which he, in

turn, sold to others. Prosecutors characterized the conspiracy as the largest-ever heroin bust in

Northeast Ohio.1176

         931.   Shatora Moore of Akron, Ohio, pled guilty on May 11, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. Ms. Moore was sentenced to three

years imprisonment.1177

         932.   Timothy DJ Moore of Akron, Ohio was indicted on July 31, 2018 in the Northern

District of Ohio for conspiracy to possess with the intent to distribute 40 grams of fentanyl from

April 20, 2018 to July 11, 2018.1178

         933.   Rashawn Moorer of Canton, Ohio pled guilty on September 3, 2015 in the

Summit County Court of Common Pleas to trafficking in heroin. On October 8, 2015, Mr.

Moorer was sentenced to eighteen months of incarceration, but the sentence was suspended upon

the condition that he complete two years of community control.1179

         934.   Victor Morales-Garcia, a Mexican national, pled guilty on October 21, 2015 in

the Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1180 The conspiracy took place in Cuyahoga County and other counties in Northern Ohio

from April 2012 through April 2015. Mr. Morales-Garcia used couriers, some of whom he and

his co-conspirators had illegally brought to the United States from Mexico, to deliver heroin to


1176
       MCKPUB00017915; MCKPUB00017918.
1177
       AKRON_000205355; MCKPUB00020908; MCKPUB00020911; MCKPUB00020912.
1178
  AKRON_000205355; MCKPUB00022186; MCKPUB00022192; MCKPUB00022194;
MCKPUB00022200; MCKPUB00022208.
1179
  AKRON_000205747; AKRON_000286790; MCKPUB00019407; MCKPUB00019409;
MCKPUB00019410.
1180
       MCKPUB00022464; MCKPUB00029544.



                                                239
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 241 of 309. PageID #: 93338




their customers in Northern Ohio, including the far west suburbs of Cuyahoga County.1181 On

February 2, 2017, Mr. Morales-Garcia was sentenced to 41 months in prison.1182

         935.   Ricky Moreland of University Heights, Ohio pled guilty on February 17, 2009 in

the Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr.

Moreland was sentenced to three years in prison.1183

         936.   Dontez L. Morgan of Cleveland, Ohio pled guilty on February 21, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Morgan was sentenced to

eight months in prison.1184

         937.   Eddie Morgan III of Akron, Ohio pled guilty on January 12, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Morgan was sentenced to eighteen

months of community control.1185

         938.   Jack Morgan of Cleveland, Ohio pled guilty on April 7, 2017 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin and

fentanyl.1186 The conspiracy took place from July 2015 to March 2016. Mr. Morgan obtained

heroin from his co-defendant, and he sold it to others.1187 On July 14, 2017, Mr. Morgan was

sentenced to 33 months in prison.1188



1181
       MCKPUB00019275; MCKPUB00019288; MCKPUB00022487.
1182
       MCKPUB00022472; MCKPUB00022479; MCKPUB00022480.
1183
       CUYAH_000038718; MCKPUB00019593; MCKPUB00019594; MCKPUB00019597.
1184
       CUYAH_000077258; MCKPUB00011626; MCKPUB00011627; MCKPUB00011631.
1185
  AKRON_000205421; MCKPUB00011892; MCKPUB00011894; MCKPUB00011895;
MCKPUB00011896.
1186
       MCKPUB00014516; MCKPUB00014498.
1187
       MCKPUB00014525; MCKPUB00014527; MCKPUB00014529.
1188
       MCKPUB00014517.



                                                240
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 242 of 309. PageID #: 93339




         939.   Marcus Morgan of Cleveland, Ohio, pled guilty on September 28, 2011 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Morgan was sentenced to

one year of community control.1189

         940.   Vince Morgan of North Olmsted, Ohio pled guilty on June 16, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1190 Mr. Morgan participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1191 On September 11, 2014, Mr. Morgan was sentenced to

thirteen months in prison.1192

         941.   Marcus Labrone Morris of University Heights, Ohio pled guilty on August 22,

2017 in the Northern District of Ohio to attempted possession with intent to distribute heroin and

other charges.1193 Mr. Morris was sentenced on November 29, 2017 to 63 months in prison.1194

         942.   Jordan Motley of Akron, Ohio pled guilty on July 3, 2014 in the Summit County

Court of Common Pleas to offenses including trafficking in heroin. On April 1, 2014, officers

arrested Mr. Motley in a McDonalds parking lot in Akron and recovered heroin, two pistols, and

boxes of ammunition. Mr. Motley was sentenced to four years and eleven months in prison.1195




1189
  CUYAH_000048180; CUYAH_000051048; MCKPUB00018174; MCKPUB00018175;
MCKPUB00018178.
1190
       MCKPUB00022497.
1191
       MCKPUB00022707.
1192
       MCKPUB00022688; MCKPUB00022694; MCKPUB00022710.
1193
       MCKPUB00018153.
1194
       MCKPUB00018156; MCKPUB00018163; MCKPUB00018172; MCKPUB00018170.
1195
       AKRON_001218169; MCKPUB00027570; MCKPUB00027571; MCKPUB00027574.



                                                241
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 243 of 309. PageID #: 93340




         943.   Homer Moton of Cleveland, Ohio pled guilty on October 19, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Moton was sentenced to

three years in prison.1196

         944.   Tazae Rasheed Muhammad of Barberton, Ohio pled guilty on July 22, 2015 in the

Summit County Court of Common Pleas to permitting drug abuse, for conduct related to opioids.

On July 22, 2015, he was sentenced to two years of community control.1197

         945.   Edward Munoz of Parma, Ohio pled guilty on April 12, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Munoz was sentenced to one year in

prison.1198

         946.   Sherman C. Murdock of Akron, Ohio, pled guilty on August 5, 2015 in the

Summit County Court of Common Pleas to trafficking in heroin. On August 19, 2015, Mr.

Murdock was sentenced a total of four years of incarceration.1199

         947.   Jerome L. Murphy, Jr. of Akron, Ohio pled guilty on June 16, 2010 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred in Akron. He

was sentenced to one year of incarceration, suspended provided that he complete two years of

community control.1200




1196
       CUYAH_000033602; MCKPUB00014179; MCKPUB00014180; MCKPUB00014183.
1197
       AKRON_000280536; MCKPUB00021473; MCKPUB00021475.
1198
       CUYAH_000032859; MCKPUB00012175; MCKPUB00012176; MCKPUB00012178.
1199
       AKRON_000205576; MCKPUB00021125; MCKPUB00021128; MCKPUB00021129.
1200
       AKRON_001272640; MCKPUB00027576; MCKPUB00027577; MCKPUB00027580.



                                               242
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 244 of 309. PageID #: 93341




         948.   Mohanad Y. Najjar of Westlake, Ohio pled guilty on January 25, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Najjar was sentenced to ten

months in prison.1201

         949.   Fred Nakagawa pled guilty on May 1, 2006 in the Cuyahoga County Court of

Common Pleas to trafficking in heroin. Mr. Nakagawa was sentenced to three years in

prison.1202

         950.   Benjamin T. Napier of Akron, Ohio pled guilty on March 13, 2012 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, and he was sentenced

to 24 months of community control.1203

         951.   Van Dyke Neal of Richmond Heights, Ohio pled guilty on June 26, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Neal was sentenced to one

year in prison.1204

         952.   Charles W. Nelson of Brooklyn, Ohio pled guilty on March 26, 2018 in the

Cuyahoga County Court of Common Pleas to involuntary manslaughter, corrupting another with

drugs (fentanyl), trafficking fentanyl, and trafficking heroin. Mr. Nelson was sentenced to five

years in prison.1205

         953.   Emmett Nelson of Akron, Ohio pled guilty on August 22, 2018 in the Northern

District of Ohio to conspiracy to possess with intent to distribute fentanyl.1206 On April 17,



1201
       CUYAH_000034507; MCKPUB00018992; MCKPUB00018993; MCKPUB00018995.
1202
       CUYAH_000032780; MCKPUB00013042; MCKPUB00013043; MCKPUB00013045.
1203
       AKRON_000204238; MCKPUB00007610; MCKPUB00007612; MCKPUB00007613.
1204
       CUYAH_000040218; MCKPUB00022438; MCKPUB00022439; MCKPUB00022442.
1205
       CUYAH_000077080; MCKPUB00008890; MCKPUB00008891; MCKPUB00008899.
1206
       MCKPUB00012295; MCKPUB00029546.


                                                243
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 245 of 309. PageID #: 93342




2018, law enforcement officers surveilled Mr. Nelson coming and going from an Akron, Ohio

residence. They executed a search warrant at the residence later that day and recovered pills on

the kitchen counter. Mr. Nelson told officers that he had been in the process of counting the

pills. The pills were stamped to look like oxycodone, but were fentanyl and cutting agents. In

announcing the indictment, U.S. Attorney Justin E. Herdman stated, “These arrests helped save

at least 1,500 lives.” At the same time, Akron Police Chief Kenneth Ball described the

defendants as “criminal predators [who] were willing to put so many at great risk by poisoning

prescription drugs with fentanyl.”1207 Mr. Nelson is awaiting sentencing.1208

         954.    Calvin Nettles of Cleveland, Ohio pled guilty on October 13, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Nettles was sentenced to

four years in prison.1209

         955.    Brian K. Newell of Akron, Ohio pled guilty on June 10, 2015 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. Mr. Newell sold

drugs that ultimately led to the death by overdose of Julia Robbins. Mr. Newell was sentenced to

a total of three years in prison.1210

         956.    Angel Nieves of Cleveland, Ohio pled guilty on March 27, 2007 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Nieves was sentenced to six months

in prison.1211


1207
       MCKPUB00012306.
1208
       MCKPUB00012297; MCKPUB00012299; MCKPUB00012308.
1209
       CUYAH_000030470; MCKPUB00008256; MCKPUB00008258; MCKPUB00008262.
1210
  AKRON_001151503; AKRON_000220615; AKRON_000220617; MCKPUB00008212;
MCKPUB00008215; MCKPUB00008216; MCKPUB00008217; MCKPUB00008222;
MCKPUB00008223.
1211
       CUYAH_000034094, MCKPUB00006852; MCKPUB00006853; MCKPUB00006858.



                                                244
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 246 of 309. PageID #: 93343




         957.   Edward F. Nix of Euclid, Ohio pled guilty on April 6, 2015 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1212 Mr.

Nix participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1213 On June 30, 2015, Mr. Nix was sentenced to six months in prison.1214

         958.   Brenda H. Norman of Cleveland, Ohio pled guilty on August 6, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1215 Ms. Norman participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1216 On November 13, 2014, Ms. Norman was sentenced to

twelve months in prison.1217

         959.   Antwone Nowden of Cleveland, Ohio pled guilty on November 21, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1218 Mr. Nowden participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1219 Mr. Nowden was sentenced to time served.1220

         960.   Octavious Odom of Garfield Heights, Ohio pled guilty on June 26, 2017 in the

Cuyahoga County Court of Common Pleas to attempted corrupting another with drugs

(fentanyl), trafficking fentanyl, and trafficking opioids, including heroin. He knowingly


1212
       MCKPUB00011922; MCKPUB00029562.
1213
       MCKPUB00012130.
1214
       MCKPUB00012113; MCKPUB00012115; MCKPUB00012133.
1215
       MCKPUB00007959; MCKPUB00029573.
1216
       MCKPUB00007947.
1217
       MCKPUB00008150; MCKPUB00008156; MCKPUB00008169.
1218
       MCKPUB00007241; MCKPUB00029606.
1219
       MCKPUB00007237.
1220
       MCKPUB00007432; MCKPUB00007434; MCKPUB00007447.



                                                245
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 247 of 309. PageID #: 93344




administered, furnished, induced, or cause another to use fentanyl. He also distributed and sold

or offered to sell fentanyl on school premises, in a school building, or within 1,000 feet of the

boundaries of a school. Mr. Odom was sentenced to one year of community control.1221

         961.   Dalvyn R. Oliver of Akron, Ohio pled guilty on October 25, 2016 in the Summit

County Court of Common Pleas to trafficking in heroin. He was sentenced to twelve months of

community control.1222

         962.   Deshawn Leon Oliver of Akron, Ohio pled guilty on April 29, 2015 in the

Summit County Court of Common Pleas to trafficking in heroin. Mr. Oliver was sentenced to

twelve months in prison. Mr. Oliver was subsequently indicted in the Summit County Court of

Common Pleas, first on December 20, 2017, for trafficking in heroin, and then on June 14, 2018,

for aggravated trafficking in drugs (fentanyl); these cases are pending.1223

         963.   Emilia Orengo of Cleveland, Ohio pled guilty on November 14, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Orengo was sentenced to

twelve months of community control.1224

         964.   Catherine Orges of Parma, Ohio, pled guilty on April 26, 2006 to trafficking

heroin. Ms. Orges was sentenced to six months in prison.1225




1221
       CUYAH_000029454; MCKPUB00019212; MCKPUB00019213; MCKPUB00019218.
1222
       AKRON_000292867; MCKPUB00009270; MCKPUB00009272; MCKPUB00009273.
1223
  AKRON_000201422; AKRON_000220451; MCKPUB00010525; MCKPUB00010526;
MCKPUB00010528; MCKPUB00010529; MCKPUB00010531; MCKPUB00010532;
MCKPUB00010533; MCKPUB00010535; MCKPUB00010536.
1224
       CUYAH_000036390; MCKPUB00012289; MCKPUB00012291; MCKPUB00012293.
1225
  CUYAH_000032679; MCKPUB00008745; MCKPUB00008746; MCKPUB00008748;
MCKPUB00008739; MCKPUB00008740; MCKPUB00008742.



                                                246
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 248 of 309. PageID #: 93345




         965.    David Orges of Parma, Ohio pled guilty on April 26, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Orges was sentenced to ten months in

prison.1226

         966.    Pedro Ortega-Gomez, a Mexican national, pled guilty on October 21, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1227 The conspiracy took place in Cuyahoga County and other counties in Northern Ohio

from April 2012 through April 2015. Mr. Ortega-Gomez used couriers, some of whom he and

his co-conspirators had illegally brought to the United States from Mexico, to deliver heroin to

their customers in Northern Ohio, including the far west suburbs of Cuyahoga County.1228 On

December 7, 2016, Mr. Ortega-Gomez was sentenced to time served.1229

         967.    Raphael Ortiz of Cleveland, Ohio pled guilty on October 29, 2007 in the

Cuyahoga Court of Common Pleas to trafficking heroin. Mr. Ortiz was sentenced to five years

in prison.1230

         968.    Charles K. Osei of Akron, Ohio pled guilty on February 15, 2017 in the Summit

County Court of Common Pleas to trafficking in drugs, for conduct involving opioids. He was

sentenced to three years in prison.1231




1226
  CUYAH_000032679; MCKPUB00010223; MCKPUB00010224; MCKPUB00010226;
MCKPUB00010216; MCKPUB00010217; MCKPUB00010220.
1227
       MCKPUB00019267.
1228
       MCKPUB00019289.
1229
       MCKPUB00019277; MCKPUB00019286.
1230
       CUYAH_000036277; MCKPUB00019396; MCKPUB00019397; MCKPUB00019401.
1231
       AKRON_000211552; MCKPUB00008883; MCKPUB00008885; MCKPUB00008886.



                                                247
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 249 of 309. PageID #: 93346




         969.   Juan A. Otero pled guilty on August 22, 2017 in the Summit County of Common

Pleas to offenses including aggravated trafficking in drugs (fentanyl), for conduct that occurred

in Akron, Ohio. He was sentenced to three years in prison.1232

         970.   Frederick Thomas Owens of Akron, Ohio pled guilty on May 12, 2014 in the

Summit County Court of Common Pleas to trafficking in heroin. Mr. Owens was sentenced to

prison for one year, suspended provided that he complete two years of community control.1233

         971.   Kamilah Owens of Cleveland, Ohio pled guilty on July 31, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking heroin and U-47700 (“Pink”). Ms. Owens was

sentenced to two years of community control.1234

         972.   Renardo Owens, Jr. of Akron, Ohio pled guilty on February 10, 2016 in the

Summit County Court of Common Pleas to involuntary manslaughter and aggravated trafficking

in drugs. Mr. Owens sold fentanyl to Georgia Speck on September 3, 2015, who then died of an

overdose. On February 23, 2016, Mr. Owens was sentenced to eight years in prison.1235 Mr.

Owens was also convicted of trafficking in heroin on June 20, 2014.1236

         973.   Alicia Paradise of Cleveland, Ohio pled guilty on March 26, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin, and he was sentenced to

two years in prison.1237




1232
       AKRON_001281635; MCKPUB00027582; MCKPUB00027586; MCKPUB00027587.
1233
       MCKPUB00027589; MCKPUB00027590; MCKPUB00027592.
1234
       CUYAH_000074070; MCKPUB00016019; MCKPUB00016020; MCKPUB00016023.
1235
  AKRON_001151503; MCKPUB00019507; MCKPUB00019510; MCKPUB00019511;
MCKPUB00019500.
1236
       MCKPUB00019503; MCKPUB00019506.
1237
       CUYAH_000038326; MCKPUB00006461; MCKPUB00006462; MCKPUB00006466.



                                               248
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 250 of 309. PageID #: 93347




         974.    Robert K. Parham pled guilty on June 26, 2018 in the Summit County Court of

Common Pleas to offenses including aggravated trafficking in drugs, namely fentanyl, for

conduct that occurred in Akron. On July 11, 2017, officers arrested Mr. Parham and discovered

three individuals in his residence who had overdosed. Mr. Parham was sentenced to four years

of prison.1238

         975.    Darryl D. Pariseau of Broadview Heights, Ohio pled guilty on April 20, 2018 in

the Cuyahoga County Court of Common Pleas to involuntary manslaughter as the proximate

result of attempting to corrupt another with drugs, trafficking fentanyl, and trafficking heroin.

Mr. Pariseau was sentenced to four years in prison.1239

         976.    Alan S. Parker of Cleveland, Ohio pled guilty on April 2, 2014 in the Cuyahoga

County Court of Common Pleas to offenses including trafficking oxycodone. Mr. Parker was

sentenced to seventeen months in prison and ordered to pay a $1,000 fine.1240

         977.    Brandon Parker of Cleveland, Ohio pled guilty on January 8, 2018 to counts

including possession with intent to distribute heroin and fentanyl for conduct on November 29,

2016 and July 15, 2017.1241 On April 20, 2018, Mr. Parker was sentenced to 92 months

imprisonment.1242 Mr. Parker had a number of prior drug-related convictions in the Cuyahoga

County Court of Common Pleas, at least one of which involved heroin.1243




1238
       AKRON_001279098; MCKPUB00027594; MCKPUB00027595; MCKPUB00027600.
1239
       CUYAH_000075602; MCKPUB00009900; MCKPUB00009901; MCKPUB00009904.
1240
       CUYAH_000067017; MCKPUB00006277; MCKPUB00006279; MCKPUB00006282.
1241
       MCKPUB00007675.
1242
       MCKPUB00007678.
1243
  MCKPUB00007686; MCKPUB00007687; MCKPUB00007690; MCKPUB00007692;
MCKPUB00007699.



                                                249
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 251 of 309. PageID #: 93348




         978.   Demetrius L. Parker II of Akron, Ohio pled guilty on July 13, 2018 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs. The

Akron Police Department’s Street Narcotics Unit Detail and SWAT team executed a search

warrant on a site of suspected drug activity in Akron, arresting Mr. Parker and recovering heroin,

scales, two handguns, and two rifles. Mr. Parker was sentenced to nineteen months of

incarceration.1244 Mr. Parker also pled guilty on July 9, 2014 in the Summit County Court of

Common Pleas to deception to obtain a dangerous drug and for using fraudulent prescriptions for

promethazine with codeine. Mr. Parker was sentenced to one year of incarceration for those

offenses.1245

         979.   Brandon M. Payne of Akron, Ohio pled guilty on September 1, 2015 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. On

September 29, 2015, Payne was sentenced to three years in prison.1246

         980.   Dominic J. Pelle of Akron, Ohio, pled guilty to involuntary manslaughter, and he

was sentenced to four years in prison. Mr. Pelle provided heroin to Deobrah Catalano, who died

of an overdose on February 27, 2015.1247

         981.   Ivan Percy of Cleveland, Ohio pled guilty on July 16, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1248 Mr.




1244
       AKRON_001237583; MCKPUB00027611; MCKPUB00027612.
1245
       SUMMIT_000575887; MCKPUB00027605; MCKPUB00027607; MCKPUB00027608.
1246
       AKRON_000280791; MCKPUB00007665; MCKPUB00007667; MCKPUB00007668.
1247
       SUMMIT_001140603; MCKPUB00011049.
1248
       MCKPUB00014280; MCKPUB00029638.



                                                250
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 252 of 309. PageID #: 93349




Percy participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1249 Mr. Percy was sentenced to 125 months in prison.1250

          982.   Edwin Perez pled guilty on November 2, 2006 in the Cuyahoga County Court of

Common Pleas to trafficking heroin. Mr. Perez was sentenced to three years in prison.1251

          983.   Andre Person of Cleveland, Ohio pled guilty on August 2, 2018 in the Cuyahoga

Country Court of Common Pleas to trafficking heroin, and he was sentenced to four years in

prison.1252

          984.   Antoine Petty pled guilty on May 29, 2018 in the Summit County Court of

Common Pleas to offenses including aggravated trafficking in drugs (carfentanil), for conduct

that occurred in Akron, Ohio. Officers executed a search on Mr. Petty’s residence and recovered

carfentanil, oxycodone, loaded guns, and digital scales. Mr. Petty was sentenced to two years in

prison.1253

          985.   Antoine Phelps of Akron, Ohio pled guilty on August 21, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred in Akron. Mr.

Phelps was sentenced to one year in prison.1254

          986.   Garland V. Phelps, Jr. pled guilty on July 28, 2014 in the Northern District of

Ohio to conspiracy to distribute and to possess with intent to distribute heroin, as well possession

with intent to distribute and distribute drugs including heroin. He was one of twenty people


1249
       MCKPUB00014487.
1250
       MCKPUB00014471; MCKPUB00014473 MCKPUB00014490.
1251
       CUYAH_000034067; MCKPUB00012211; MCKPUB00012213; MCKPUB00012217.
1252
       CUYAH_000079198; MCKPUB00006580; MCKPUB00006581; MCKPUB00006585.
1253
       AKRON_000203447; MCKPUB00027615; MCKPUB00027620; MCKPUB00027621.
1254
       AKRON_001211268; MCKPUB00027623; MCKPUB00027624; MCKPUB00027627.



                                                  251
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 253 of 309. PageID #: 93350




indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio for his

role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and Atlanta,

between 2011-2014. Mr. Phelps was sentenced to 200 months in prison.1255

         987.   Ronald L. Phelps of Akron, Ohio was convicted on September 18, 2012 in the

Summit County Court of Common Pleas of aggravated trafficking in drugs, including

oxycodone. Mr. Phelps was sentenced to one year of imprisonment and two years of community

control.1256

         988.   Rodrick Phillips of Ohio pled guilty on April 16, 2018 in the Cuyahoga County

Court of Common Pleas to trafficking in heroin, and he was sentenced to three years in

prison.1257

         989.   Anton R. Picket of Akron, Ohio pled guilty to offenses including involuntary

manslaughter and aggravated drug trafficking, and he was sentenced to four years in prison. Mr.

Picket sold fentanyl to a man whose body was later dumped in a vacant lot in Coventry

Township.1258

         990.   Richard Pinson of Cleveland, Ohio pled guilty on July 5, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking opioids, including heroin. Mr. Pinson unlawfully

and knowingly sold or offered to sell heroin on school premises, in a school building, or within




1255
       MCKPUB00013521; MCKPUB00029664; MCKPUB00029666.
1256
       AKRON_00200682; MCKPUB00020544; MCKPUB00020546; MCKPUB00020547.
1257
  CUYAH_000079198; MCKPUB00020258; MCKPUB00020259; MCKPUB00020262;
MCKPUB00029669; MCKPUB00029671; MCKPUB00029676.
1258
       AKRON_000336714; MCKPUB00006983.



                                               252
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 254 of 309. PageID #: 93351




1,000 feet of the boundaries of a school. Mr. Pinson was sentenced to one year of community

control.1259

         991.   Jason L. Pitts of Akron, pled guilty on July 9, 2014 in the Summit County Court

of Common Pleas to offenses including trafficking in heroin. The offenses occurred on May 9,

2014 and June 12, 2014. Mr. Pitts was sentenced to 36 months in prison.1260

         992.   Corey Pope of Cleveland, Ohio pled guilty on July 8, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Pope was sentenced to one and one

half years in prison. Also on July 8, 2008 in the Cuyahoga County Court of Common Pleas, Mr.

Pope pled guilty to trafficking heroin, for which he was sentenced to one year in prison.1261

         993.   James M. Porter pled guilty on July 31, 2014 in the Northern District of Ohio to

conspiracy to distribute and to possess with intent to distribute heroin. He was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Mr. Porter was sentenced to 46 months in prison.1262

         994.   Deangelo R. Portis of Akron, Ohio pled guilty on January 31, 2017 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that




1259
       CUYAH_000033149.
1260
  AKRON_000201686; MCKPUB00015355; MCKPUB00015357; MCKPUB00015358;
MCKPUB00015359; MCKPUB00015361; MCKPUB00015363; MCKPUB00015364;
MCKPUB00015365.
1261
  CUYAH_000036102; MCKPUB00009064; MCKPUB00009066; MCKPUB00009071;
MCKPUB00009073; MCKPUB00009075; MCKPUB00009078; MCKPUB00019568;
MCKPUB00019569; MCKPUB00019572.
1262
       MCKPUB00013521; MCKPUB00029678; MCKPUB00029680.



                                               253
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 255 of 309. PageID #: 93352




occurred in Akron. Mr. Portis was sentenced to two years in prison, suspended provided that he

complete two years of community control.1263

         995.   Lakisha L. Portis of Akron, Ohio pled guilty on November 26, 2013 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. Ms. Portis

was sentenced to 24 months of community control.1264

         996.   Eric Powell of Cleveland, Ohio pled guilty on December 4, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1265 Mr.

Powell participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1266 Mr. Powell was sentenced to 130 months in prison.1267

         997.   Kevin K. Preston of Copley Township, Ohio pled guilty on October 1, 2015 in the

Summit County Court of Common Pleas to crimes including trafficking in heroin. He was

sentenced to four years and six months in prison.1268

         998.   Mark Price of Cleveland, Ohio was convicted by a jury on March 2, 2008 in the

Cuyahoga County Court of Common Pleas of corrupting another with drugs, heroin; corrupting

another with drugs, fentanyl; trafficking heroin; and trafficking fentanyl.1269




1263
       AKRON_001215997; MCKPUB00027629; MCKPUB00027633; MCKPUB00027634.
1264
  AKRON_000201322; MCKPUB00016892; MCKPUB00016894; MCKPUB00016895;
MCKPUB00016897.
1265
       MCKPUB00012560; MCKPUB00029683.
1266
       MCKPUB00012771.
1267
       MCKPUB00012751; MCKPUB00012754; MCKPUB00012774.
1268
  AKRON_000200803; AKRON_000280929; MCKPUB00016362; MCKPUB00016363;
MCKPUB00016365; MCKPUB00016581; MCKPUB00016584.
1269
       CUYAH_000031402; MCKPUB00018242; MCKPUB00018243; MCKPUB00018256.



                                                254
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 256 of 309. PageID #: 93353




         999.   Allen J. Quarterman of Akron, Ohio pled guilty on February 7, 2017 in the

Summit County Court of Common pleas to offenses including trafficking in heroin and

aggravated trafficking in drugs, namely fentanyl. On March 10, 2017, he was sentenced to five

years in prison.1270

         1000. Edgar R. Quiles of Cleveland, Ohio pled guilty on August 2, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Quiles was sentenced to

nine months in prison.1271

         1001. Ruben Lopez Quiroz pled guilty on February 27, 2012 in the Cuyahoga County

Court of Common Pleas of trafficking heroin, and he was sentenced to three years in prison.1272

         1002. Rolando Ramos pled guilty on April 17, 2008 in the Cuyahoga County Court of

Common Pleas to trafficking heroin. Mr. Ramos was sentenced to four years in prison.1273

         1003. Romell Ramsey of Cleveland, Ohio pled guilty on October 4, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Jackson was sentenced to

one year of community control.1274

         1004. Gary Ray, Jr. of Cleveland, Ohio, pled guilty on December 13, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Ray was sentenced to one

year of probation.1275 On July 25, 2018, in the Cuyahoga Court of Common Pleas, Mr. Ray pled


1270
  AKRON_000218157; AKRON_000283208; MCKPUB00006468; MCKPUB00006471;
MCKPUB00006472; MCKPUB00006473; MCKPUB00006475; MCKPUB00006476.
1271
       CUYAH_000052764; MCKPUB00011899; MCKPUB00011901; MCKPUB00011906.
1272
  CUYAH_000043787; MCKPUB00020576; MCKPUB00020577; MCKPUB00020579;
MCKPUB00029709; MCKPUB00029711; MCKPUB00029714.
1273
       CUYAH_000036131, MCKPUB00020504; MCKPUB00020505; MCKPUB00020510.
1274
       CUYAH_000033573, MCKPUB00020518; MCKPUB00020519; MCKPUB00020522.
1275
       CUYAH_000034307; MCKPUB00013534; MCKPUB00013535; MCKPUB00013538.



                                               255
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 257 of 309. PageID #: 93354




guilty to offenses including trafficking heroin and fentanyl. He was sentenced to four years in

prison.1276

         1005. Matthew M. Ray of Akron, Ohio pled guilty on May 6, 2014 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that

occurred in Akron. He was sentenced to two years of community control.1277

         1006. Rolando J. Reed of Cleveland, Ohio pled guilty on June 3, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1278 Mr.

Reed participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1279 Mr. Reed was sentenced to four months in prison.1280

         1007. Charles J. Rendino, Jr. of Akron, Ohio pled guilty on September 6, 2011 in the

Summit County Court of Common Pleas to aggravated trafficking in drugs (heroin), for conduct

that occurred in Akron. He was sentenced to three years of community control.1281

         1008. Shaquille D. Reynolds of Akron, Ohio pled guilty on August 20, 2015 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. He was

sentenced to eighteen months in prison.1282

         1009. Brock A. Richardson of Akron, Ohio pled guilty on March 8, 2017 in the Summit

County Court of Common Pleas to involuntary manslaughter and corrupting another with drugs.



1276
       CUYAH_000081451; MCKPUB00013541; MCKPUB00013542; MCKPUB00013547.
1277
       AKRON_001217963; MCKPUB00027636; MCKPUB00027637; MCKPUB00027640.
1278
       MCKPUB00020264; MCKPUB00029716.
1279
       MCKPUB00020475.
1280
       MCKPUB00020455; MCKPUB00020461; MCKPUB00020478.
1281
       AKRON_001175760; MCKPUB00027643; MCKPUB00027644; MCKPUB00027646.
1282
       AKRON_000286625; MCKPUB00020900; MCKPUB00020902; MCKPUB00020903.



                                                256
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 258 of 309. PageID #: 93355




Mr. Richardson gave fentanyl to Jacob Dolfi of Akron, Ohio, who then died from an overdose.

On March 20, 2017, Mr. Richardson was sentenced to five years in prison.1283

         1010. Darshawn Antonio Richardson of Akron, Ohio pled guilty on March 24, 2016 in

the Summit County Court of Common Pleas to trafficking in heroin. On April 21, 2016, he was

sentenced to two years of community control.1284

         1011. Lisa A. Richardson of Akron, Ohio pled guilty on October 4, 2018 in the

Northern District of Ohio to offenses including conspiracy to possess with intent to distribute

fentanyl and carfentanil, for actions between May 2016 and February 2018.1285 Ms. Richardson

set up post office boxes for the purpose of receiving the narcotic shipments, and she delivered

the narcotics to others for distribution in Akron.1286 Ms. Richardson is awaiting sentencing.1287

         1012. Marquise D. Richardson of Akron, Ohio pled guilty on April 20, 2015 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. Mr.

Richardson was sentenced to three years of community control.1288

         1013. Keith “K-Mack” Ricks of Cleveland, Ohio was convicted on June 8, 2015 in the

Northern District of Ohio of conspiracy to possess with intent to distribute heroin. Mr. Ricks

was part of a conspiracy to bring heroin from Chicago and Atlanta and sell it throughout Greater




1283
  AKRON_000209946; SUMMIT_000064884; SUMMIT_001135899; AKRON_001151503;
MCKPUB00008230; MCKPUB00008233; MCKPUB00008235; MCKPUB00008236;
MCKPUB00008228.
1284
       AKRON_000218427; MCKPUB00009907; MCKPUB00009909; MCKPUB00009910.
1285
       MCKPUB00017638.
1286
       MCKPUB00017677.
1287
       MCKPUB00017670; MCKPUB00017680.
1288
  AKRON_000288527; MCKPUB00018269; MCKPUB00018271; MCKPUB00018272;
MCKPUB00018675; MCKPUB00018677; MCKPUB00018678.



                                               257
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 259 of 309. PageID #: 93356




Cleveland between 2011 and 2013. Prosecutors characterized the conspiracy as the largest-ever

heroin bust in northeast Ohio. Mr. Ricks obtained heroin from suppliers in Atlanta and then

distributed the heroin to other traffickers in Cleveland.1289

         1014. Steven Riddle of Cleveland, Ohio pled guilty in the Northern District of Ohio on

July 10, 2017 to offenses including possession with intent to distribute fentanyl.1290 On

December 5, 2017, officers arrested Mr. Riddle on two outstanding warrants and found

fentanyl.1291 On October 16, 2018, Mr. Riddle was sentenced to 240 months’ imprisonment.1292

He has filed a notice of appeal.1293

         1015. Sean Rieves of Maple Heights, Ohio was convicted on December 13, 2016 in the

Cuyahoga County Court of Common Pleas of trafficking fentanyl and heroin. Mr. Rieves was

sentenced to twelve years in prison.1294

         1016. Desmond El Riley of Akron, Ohio, pled guilty on March 17, 2011, in the Summit

County Court of Common Pleas, to trafficking in heroin and sentenced to 13 months in prison.

Subsequently, on September 8, 2014, Mr. Riley pled guilty in the Summit County Court of

Common Pleas to trafficking in heroin. Mr. Riley was sentenced to one year of incarceration,

suspended upon the condition that he completes a two-year term of community control.1295



1289
       MCKPUB00016070; MCKPUB00016066.
1290
       MCKPUB00021171; MCKPUB00021180.
1291
       MCKPUB00021178; MCKPUB00021159.
1292
       MCKPUB00021163.
1293
       MCKPUB00021170.
1294
       CUYAH_000030719; MCKPUB00020891; MCKPUB00020892; MCKPUB00020897.
1295
  AKRON_000205362; MCKPUB00010562; MCKPUB00010564; MCKPUB00010565;
MCKPUB00010566; MCKPUB00010568; MCKPUB00010570; MCKPUB00010571;
MCKPUB00010572.



                                                 258
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 260 of 309. PageID #: 93357




         1017. Sovathana E. Rim of Cleveland, Ohio pled guilty on February 1, 2002 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Rim was sentenced to six

years in prison.1296

         1018. Anthony D.M. Risten of Akron, Ohio pled guilty on June 9, 2016, in the Summit

County Court of Common Pleas, to offenses including trafficking in heroin. On June 9, 2016, he

was sentenced to two years of community control.1297

         1019. Juan Rivera of Cleveland, Ohio, pled guilty on July 31, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Rivera was sentenced to two years of

community control.1298

         1020. Jerome Rivers of Youngstown, Ohio pled guilty on July 31, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking heroin and U-47700 (“Pink”). Mr. Rivers was

sentenced to 36 months in prison.1299

         1021. Calvin Roberts of Akron, Ohio pled guilty on May 9, 2013 in the Summit County

Court of Common Pleas to trafficking heroin. Mr. Roberts was sentenced to two years

imprisonment.1300

         1022. Deshawn L. Roberts of Akron, Ohio pled guilty on August 7, 2015 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On August 10, 2015,

he was sentenced to two years in prison.1301


1296
       CUYAH_006947578; MCKPUB00021138; MCKPUB00021139; MCKPUB00021141.
1297
       AKRON_000291595; MCKPUB00006922; MCKPUB00006924; MCKPUB00006925.
1298
       CUYAH_000033577; MCKPUB00015952; MCKPUB00015953; MCKPUB00015956.
1299
       CUYAH_000074070; MCKPUB00015587; MCKPUB00015589; MCKPUB00015592.
1300
       MCKPUB00008264; MCKPUB00008265; MCKPUB00008267.
1301
       AKRON_000286230; MCKPUB00010537; MCKPUB00010539; MCKPUB00010540.



                                               259
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 261 of 309. PageID #: 93358




         1023. Andre L. Robinson of Cleveland, Ohio pled guilty on March 26, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking OxyContin, and he was sentenced to

two years in prison.1302

         1024. Darious Robinson (also known as Darius Robinson) of Akron, Ohio pled guilty

on August 21, 2015 in the Northern District of Ohio to possession with the intent to distribute

heroin.1303 He was sentenced on November 18, 2015 to 27 months in prison.1304

         1025. Jay J. Robinson of Akron, Ohio pled guilty on September 3, 2013 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that

occurred in Akron. Mr. Robinson was sentenced to ten months in prison.1305

         1026. Oscar Curtis Robinson of Tallmadge, Ohio pled guilty on May 30, 2017 in the

Northern District of Ohio to possession with intent to distribute fentanyl.1306 On October 27,

2016, Federal Bureau of Investigation (“FBI”) agents were notified by the Medway Drug Task

Force that a drug trafficker was on his way to Akron, Ohio. Officers surveilled the van, and they

observed Mr. Robinson exhibiting behavior consistent with hand-to-hand drug trafficking. On

February 2, 2017, officers arrested Mr. Robinson and searched his apartment, where they

recovered drugs including fentanyl. During sentencing, the judge remarked upon Mr.

Ronbinson’s “extraordinarily lengthy criminal history,” and said, “[t]his is a defendant who is




1302
       CUYAH_000038326; MCKPUB00006587; MCKPUB00006588; MCKPUB00006591.
1303
       MCKPUB00009611.
1304
       MCKPUB00009612; MCKPUB00009618; MCKPUB00009623.
1305
       AKRON_000204406; MCKPUB00027649; MCKPUB00027650; MCKPUB00027652.
1306
       MCKPUB00029742; MCKPUB00029785.



                                               260
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 262 of 309. PageID #: 93359




putting the drugs in our community that are killing people, literally killing people in our

community.” On September 5, 2017, Mr. Robinson was sentenced to 118 months in prison.1307

         1027. Sabrina M. Robinson pled guilty on January 18, 2017 in the Northern District of

Ohio to conspiracy to distribute and possess with intent to distribute fentanyl and acetyl fentanyl.

Ms. Robinson conspired with others to obtain fentanyl from suppliers in China and distribute the

drug people in Akron, Fairlawn, and elsewhere. On May 3, 2017, Ms. Robinson was sentenced

to ten years in federal prison.1308

         1028. Stanley L. Robinson of Akron, Ohio pled guilty on February 24, 2014 in the

Summit County Court of Common Pleas to trafficking in heroin. Mr. Robinson and was

sentenced to twelve months in prison for this offense.1309

         1029. Travon D. Robinson of Akron, Ohio pled guilty on April 12, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On August 3, 2016,

he was sentenced to six years in prison.1310

         1030. William D. Robinson pled guilty on August 8, 2014 in the Northern District of

Ohio to possession with intent to distribute and distribute heroin. He was one of twenty people

indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio for his

role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and Atlanta,

between 2011-2014. Mr. Robinson was sentenced to six months in prison.1311


1307
       MCKPUB00029742.
1308
  MCKPUB00020837; MCKPUB00020846; MCKPUB00020849; MCKPUB00020853;
MCKPUB00020867; MCKPUB00020861; MCKPUB00020869.
1309
       MCKPUB00027694; MCKPUB00027695; MCKPUB00027698.
1310
  AKRON_000218157; MCKPUB00022300; MCKPUB00022304; MCKPUB00022305;
MCKPUB00022308; MCKPUB00022364; MCKPUB00022295; MCKPUB00022299.
1311
       MCKPUB00022788.



                                                261
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 263 of 309. PageID #: 93360




         1031. Robert Lash Rodgers of Cuyahoga Falls, Ohio, was convicted on June 26, 2016 in

the Summit County Court of Common Pleas of involuntary manslaughter and aggravated

trafficking in drugs. Mr. Rodgers had sold fentanyl to Kevin Snyder that led to Mr. Snyder’s

fatal overdose in August 2015. Mr. Rodgers was sentenced to twelve years’ imprisonment.1312

         1032. Alfonso Rodrigo of Warrensville Heights, Ohio pled guilty on February 26, 2018

in the Northern District of Ohio to conspiracy to possess with intent to distribute drugs, including

conspiracy to possess with intent to distribute fentanyl.1313 Mr. Rodrigo participated in a

conspiracy that spanned from January 1, 2010 to September 28, 2016, including by using

vehicles to transport narcotics, distributing narcotics from a residence in Maple Heights, Ohio,

and arranging for others to transport fentanyl from Yonkers, New York to Maple Heights, Ohio

in March 2016.1314 On June 5, 2018, Mr. Rodrigo was sentenced to 200 months in prison.1315

Mr. Rodrigo had previously been convicted in the Cuyahoga County Court of Common Pleas of

trafficking in heroin.1316

         1033. Octavio Rodrigo of Maple Heights, Ohio pled guilty on February 13, 2018 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute drugs

including heroin and fentanyl.1317 Mr. Rodrigo participated in a conspiracy that spanned from

January 1, 2010 to September 28, 2016. Mr. Rodrigo used a residence in Maple Heights, Ohio to


1312
  AKRON_000200889; MCKPUB00020186; MCKPUB00020190; MCKPUB00020191;
MCKPUB00020185.
1313
       MCKPUB00027706; MCKPUB00006320; MCKPUB00029786.
1314
       MCKPUB00006320.
1315
       MCKPUB00006403.
1316
  MCKPUB00006410; MCKPUB00006411; MCKPUB00006415; MCKPUB00006417;
MCKPUB00006430.
1317
       MCKPUB00019199; MCKPUB00019116.



                                                262
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 264 of 309. PageID #: 93361




store and distribute narcotics, and he arranged for others to transport fentanyl from Yonkers,

New York to Maple Heights, Ohio in March 2016.1318 On June 11, 2018, Mr. Rodrigo was

sentenced to ten years in prison.1319

         1034. Rafael A. Rodriguez of Cleveland, Ohio pled guilty on September 24, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Rodriguez was sentenced

to ten months in prison.1320

         1035. Roberto Thomas Rodriguez pled guilty on September 8, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Rodriguez was sentenced to

eighteen months of community control.1321

         1036. Dayviaire Michael Rogers of Akron, Ohio pled guilty on December 5, 2013 in the

Summit County Court of Common Pleas to trafficking in heroin. On May 23, 2014, he was

sentenced to eighteen months of community control. Mr. Rogers was arrested during a drug

transaction in a parking lot.1322 On August 24, 2016 in the Summit County Court of Common

Pleas, he pled guilty again to trafficking in heroin. On October 5, 2016, he was sentenced to one

year in prison.1323




1318
       MCKPUB00019116.
1319
       MCKPUB00019201; MCKPUB00019208; MCKPUB00019210.
1320
       CUYAH_000039201; MCKPUB00019346; MCKPUB00019348; MCKPUB00019350.
1321
       AKRON_000201688; MCKPUB00020208; MCKPUB00020210; MCKPUB00020211.
1322
       AKRON_000298571; MCKPUB00010335; MCKPUB00010337; MCKPUB00010338.
1323
       AKRON_000223415; MCKPUB00010339; MCKPUB00010341; MCKPUB00010342.



                                               263
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 265 of 309. PageID #: 93362




         1037. Reginald Rogers of Akron, Ohio pled guilty on May 16, 2017 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs, namely fentanyl, for conduct

that occurred in Akron. Mr. Rogers was sentenced to one year of community control.1324

         1038. Rosalyn Rollins of Cleveland, Ohio pled guilty on January 5, 2007 in the

Cuyahoga County Court of Common Pleas to offenses including deception to obtain a dangerous

drug. Specifically, during February and April 2006, she knowingly possessed a false

prescription for, deceptively procured the administration of, a prescription for, or the dispensing

of, fentanyl. Ms. Rollins was sentenced to one year of community control.1325

         1039. Steven Ross of Cleveland, Ohio pled guilty on July 21, 2009 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Ross was sentenced to one year of

community control.1326

         1040. Leonte Roulette of Cleveland, Ohio, pled guilty on May 24, 2017 in the Cuyahoga

County Court of Common Pleas to trafficking acrylfentanyl. He was sentenced to one year in

prison.1327

         1041. Rasean Lamont Rush of Akron, Ohio was indicted on June 21, 2018 in the

Summit County Court of Common Pleas on charges including aggravated trafficking in drugs.

On June 3, 2018, the Akron Police Department’s Street Narcotics Units Detail executed a search

warrant upon Mr. Rush’s residence and recovered fentanyl, loaded handguns, a loaded rifle, and

a digital scale. The case against Mr. Rush is pending.1328


1324
       AKRON_001281583; MCKPUB00027700; MCKPUB00027703; MCKPUB00027704.
1325
       CUYAH_000034160; MCKPUB00020565; MCKPUB00020567; MCKPUB00020570.
1326
       CUYAH_000038875; MCKPUB00021182; MCKPUB00021183; MCKPUB00021190.
1327
       CUYAH_000073011; MCKPUB00003944; MCKPUB00003945; MCKPUB00003948.
1328
       AKRON_001276204; MCKPUB00027719; MCKPUB00027720; MCKPUB00027722.



                                                264
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 266 of 309. PageID #: 93363




         1042. Colen W. Rushin of Akron, Ohio was convicted on September 3, 2013 in the

Summit County Court of Common Pleas of trafficking in heroin. He was sentenced to two years

of community control.1329

         1043. Tyshawn Russell of Cleveland, Ohio pled guilty on June 7, 2018 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Russell was sentenced to two years

and six months in prison.1330

         1044. Derrick Sales pled guilty to involuntary manslaughter and aggravated drug

trafficking, and he was sentenced to eight years in prison. Mr. Sales distributed fentanyl to

Sheena Marie Moore, who died of fentanyl toxicity in June 2016.1331

         1045. Muhammad Salett of Cleveland, Ohio pled guilty on April 4, 2017 in the

Northern District of Ohio to possession with the intent to distribute fentanyl.1332 On July 13,

2017, Mr. Salett was sentenced to 78 months in prison.1333

         1046. DeWayne L. Sammons of Akron, Ohio pled guilty on January 25, 2013 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. Mr.

Sammons was sentenced to eighteen months of community control.1334

         1047. Mario Perez Sanchez, a Mexican national, pled guilty on October 27, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute




1329
       AKRON_000201045; MCKPUB00009060; MCKPUB00009061; MCKPUB00009063.
1330
       CUYAH_000079731; MCKPUB00022422; MCKPUB00022423; MCKPUB00022426.
1331
       SUMMIT_000070954; MCKPUB00010488.
1332
       MCKPUB00019008.
1333
       MCKPUB00019010.
1334
       AKRON_00200775; MCKPUB00019017; MCKPUB00019025.



                                                265
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 267 of 309. PageID #: 93364




heroin.1335 The conspiracy took place in Cuyahoga County and other counties in Northern Ohio

from April 2012 through April 2015. Mr. Sanchez used couriers, some of whom he and his co-

conspirators had illegally brought to the United States from Mexico, to deliver heroin to their

customers in Northern Ohio, including the far west suburbs of Cuyahoga County.1336 On August

2, 2016, Mr. Sanchez was sentenced to 78 months in prison.1337

         1048. William A. Sanders of Akron, Ohio pled guilty on June 23, 2011 in the Summit

County Court of Common Pleas to trafficking in heroin. On August 12, 2010, the Akron Police

Department’s Street Narcotics Uniform Detail executed a search warrant at Mr. Sanders’s

residence and recovered heroin packaged for sale, a rifle, a handgun, and digital scales. Mr.

Sanders was sentenced to four years in prison.1338

         1049. Willie L. Sanders, Jr. pled guilty on July 29, 2014 in the Northern District of Ohio

to conspiracy to distribute and to possess with intent to distribute heroin. He was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Mr. Sanders was sentenced to 188 months in prison.1339 Mr.

Sanders had a prior conviction for trafficking in heroin.1340

         1050. Richard Sandy of Akron, Ohio pled guilty on May 18, 2015 in the Summit

County Court of Common Pleas to involuntary manslaughter and aggravated trafficking in drugs.


1335
       MCKPUB00018204.
1336
       MCKPUB00018225.
1337
       MCKPUB00018212; MCKPUB00018218; MCKPUB00018227.
1338
       AKRON_001216574; MCKPUB00027725; MCKPUB00027726; MCKPUB00027728.
1339
       MCKPUB00022777; MCKPUB00022791; MCKPUB00022788.
1340
       AKRON_000204406; MCKPUB00027731; MCKPUB00027732; MCKPUB00027734.



                                                266
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 268 of 309. PageID #: 93365




Mr. Sandy sold heroin laced with fentanyl to Alicia Dice of Akron, Ohio, who died from

fentanyl toxicity. Mr. Sandy bragged to a neighbor that his drugs killed fifteen people, according

to police reports.1341

         1051. Angel M. Santiago of Cleveland, Ohio pled guilty on October 6, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Santiago was sentenced to

three years in prison.1342

         1052. Gregory T. Savage, Sr. of Cleveland, Ohio pled guilty on June 20, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1343 Mr. Savage participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1344 Mr. Savage was sentenced to 156 months in prison.1345

         1053. Kevin M. Scott of Cleveland, Ohio pled guilty on August 6, 2014 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute heroin.1346 Mr.

Scott participated in a heroin trafficking enterprise that operated from September 2011 to

September 2013.1347 Mr. Scott was sentenced to three years of probation.1348

         1054. Ocey Scott of Cleveland, Ohio pled guilty on August 12, 2008 in the Cuyahoga

County Court of Common Pleas to trafficking opioids, including heroin. Specifically, he



1341
  AKRON_001151503; MCKPUB00019574; MCKPUB00019577; MCKPUB00019581;
MCKPUB00019578.
1342
       CUYAH_000039503: MCKPUB00006841; MCKPUB00006842; MCKPUB00006844.
1343
       MCKPUB00013896; MCKPUB00029809.
1344
       MCKPUB00014102.
1345
       MCKPUB00014087; MCKPUB00014089; MCKPUB00014105.
1346
       MCKPUB00016366; MCKPUB00029845; MCKPUB00029878.
1347
       MCKPUB00016573.
1348
       MCKPUB00016557; MCKPUB00016559; MCKPUB00016576.



                                                267
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 269 of 309. PageID #: 93366




unlawfully and knowingly sold or offered to sell heroin on school premises, in a school building,

or within 1,000 feet of the boundaries of a school. Mr. Scott was sentenced to one year of

community control.1349

         1055. Jamesha A. Scurry of Akron, Ohio pled guilty on January 30, 2018 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

fentanyl. She was given intervention in lieu of conviction.1350

         1056. Charles R. Seeley of Akron, Ohio pled guilty on May 13, 2010 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin, for conduct that

occurred in Akron. He was sentenced to two years of incarceration, suspended provided that he

complete three years of community control.1351

         1057. Danny M. Senter of Tallmadge, Ohio pled guilty on May 19, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin, and he was sentenced to one year in

prison.1352

         1058. Jack C. Shaffer of Akron, Ohio pled guilty on December 11, 2014 in the Summit

County Court of Common Pleas to involuntary manslaughter and corrupting another with drugs.

Mr. Shaffer gave Julia Robbins of Akron, Ohio a fatal overdose of heroin. On January 28, 2015,

Mr. Shaffer was sentenced to three years in prison.1353




1349
       CUYAH_000038584; MCKPUB00019086; MCKPUB00019087; MCKPUB00019090.
1350
       MCKPUB00027736; MCKPUB00027740; MCKPUB00027742; MCKPUB00027743.
1351
  AKRON_001216354; AKRON_001272421; MCKPUB00027745; MCKPUB00027746;
MCKPUB00027749.
1352
       AKRON_000201417; MCKPUB00009529; MCKPUB00009530; MCKPUB00009532.
1353
  AKRON_001151503; MCKPUB00014534; MCKPUB00014542; MCKPUB00014543;
MCKPUB00014539.



                                               268
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 270 of 309. PageID #: 93367




          1059. Marquis D. Shamell of Akron, Ohio pled guilty on July 20, 2014 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. Mr. Shamell was

sentenced to two years of incarceration.1354

          1060. Amanda M. Shaw of Akron, Ohio was convicted in the Summit County Court of

Common Pleas on November 13, 2013 and April 10, 2014 of trafficking in heroin.1355

          1061. Antwoine D. Sheffield of Akron, Ohio pled guilty on May 1, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. On September 12, 2013, the Akron

Police Department’s Street Narcotics Units Detail and SWAT team executed a search warrant at

his father’s apartment in Akron and recovered heroin, three firearms, syringes, and digital scales.

Mr. Sheffield’s father said that he regularly accepted drugs from Mr. Sheffield and held drugs

inside of the apartment for Mr. Sheffield. Mr. Sheffield was sentenced to one year of

incarceration, suspended provided that he complete two years of community control.1356

          1062. Marquess Shepard of Akron, Ohio pled guilty on February 22, 2016 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin and

prohibition of conveyance of drugs of abuse onto grounds of a detention facility, for conduct that

occurred in Akron. He was sentenced to thirty months in prison.1357

          1063. Leamon Shephard of Cleveland, Ohio pled guilty on February 27, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute one




1354
       MCKPUB00027752; MCKPUB00027753; MCKPUB00027756.
1355
  AKRON_000201153; MCKPUB00006552; MCKPUB00006554; MCKPUB00006555;
MCKPUB00006556; MCKPUB00006558; MCKPUB00006559.
1356
       AKRON_001217583; MCKPUB00027759; MCKPUB00027760; MCKPUB00027763.
1357
       AKRON_001290062; MCKPUB00027765; MCKPUB00027766; MCKPUB00027769.



                                                269
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 271 of 309. PageID #: 93368




kilogram or more of heroin.1358 Mr. Shephard participated in a heroin trafficking conspiracy that

operated from September 2011 to September 2013,1359 including by pooling money with others

to bring heroin from Atlanta, Georgia to Cleveland, Ohio and by selling heroin to other

distributors. On February 22, 2013, Mr. Shephard distributed heroin to a confidential informant

in Euclid, Ohio.1360 On July 22, 2015, Mr. Shephard was sentenced to 76 months in prison.1361

         1064. Juan D. Sheppard of Akron, Ohio pled guilty on September 11, 2015 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. On

September 4, 2014, Akron police officers received a tip that described an individual driving a

vehicle and trying to sell large amounts of heroin. Officers located Mr. Sheppard in a vehicle

matching the description and stopped the vehicle. Mr. Sheppard tried to conceal evidence by

forcing a female passenger to place a bag of heroin in her vagina. Mr. Sheppard was sentenced

to two years in prison.1362

         1065. James A. Shipman of Fairview Park, Ohio pled guilty on June 23, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Shipman was sentenced to

two years of community control.1363

         1066. Leroy Shuarod Steele of Akron, Ohio pled guilty in 2017 to conspiracy to possess

with intent to distribute fentanyl and distribution of fentanyl. Mr. Steele obtained fentanyl from


1358
       MCKPUB00017369; MCKPUB00029880; MCKPUB00029916.
1359
       MCKPUB00017586.
1360
       MCKPUB00017369.
1361
       MCKPUB00017560; MCKPUB00017566; MCKPUB00017569.
1362
  AKRON_001145139; AKRON_000201818; MCKPUB00015938; MCKPUB00015940;
MCKPUB00015941; MCKPUB00015942; MCKPUB00015944; MCKPUB00015945;
MCKPUB00015946; MCKPUB00015949; MCKPUB00015950; MCKPUB00015951.
1363
       CUYAH_000033120; MCKPUB00014986; MCKPUB00014987; MCKPUB00014989.



                                               270
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 272 of 309. PageID #: 93369




suppliers in China and distributed them to people in Akron, Fairlawn, and elsewhere in Ohio,

including to a person who suffered a fatal overdose on March 21, 2016.1364 On April 26, 2017,

Mr. Steele was sentenced to twenty years in prison.1365

         1067. Matt E. Shocklee pled guilty on July 24, 2014 in the Northern District of Ohio to

conspiracy to distribute and to possess with intent to distribute heroin. He was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Mr. Shocklee was sentenced to four years of probation.1366

         1068. Damon D. Sibley of Akron, Ohio, was indicted on April 4, 2018, in the Summit

County Court of Common Pleas, of offenses including aggravated trafficking in drugs (fentanyl)

and trafficking in heroin. His case is pending.1367

         1069. Gary Simpson of Cleveland Heights, Ohio, pled guilty on January 10, 2018 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking heroin and fentanyl.

Mr. Simpson was sentenced to six years in prison.1368

         1070. Dustin Sinkovic of Cleveland, Ohio pled guilty on January 22, 2007 in the

Cuyahoga County Court of Common Pleas to possession or trafficking of counterfeit controlled




1364
  MCKPUB00017599; MCKPUB00017606; MCKPUB00017609; MCKPUB00017613;
MCKPUB00017618.
1365
       MCKPUB00017620.
1366
  MCKPUB00017599; MCKPUB00017606; MCKPUB00017609; MCKPUB00017613;
MCKPUB00018304.
1367
       AKRON_0003254145; MCKPUB00009280; MCKPUB00009282; MCKPUB00009290;
MCKPUB00009292; MCKPUB00009293; MCKPUB00009294.
1368
       CUYAH_000077157; MCKPUB00013549; MCKPUB00013550; MCKPUB00013555.



                                                271
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 273 of 309. PageID #: 93370




substances (counterfeit heroin). Mr. Sinkovic was sentenced to two years of community

control.1369

         1071. Jeffrey Howard Sires of Akron, Ohio pled guilty on July 20, 2011 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred in Akron. Mr.

Sires was sentenced to prison for 23 months.1370

         1072. Christopher James Small of Akron, Ohio pled guilty on March 24, 2016 in the

Summit County Court of Common Pleas to trafficking in heroin. On April 21, 2016, he was

sentenced to two years of community control.1371

         1073. Anthony Armani Smith of Akron, Ohio pled guilty on October 1, 2018 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. On October

31, 2018, he was sentenced to two years of community control.1372

         1074. Daryl R. Smith of Akron, Ohio pled guilty on December 9, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. On January 6, 2015, he was sentenced

to one year of incarceration, although the sentence was suspended upon the condition that Mr.

Smith complete two years of community control.1373




1369
       CUYAH_000034495; MCKPUB00011857; MCKPUB00011858; MCKPUB00011861.
1370
       AKRON_001157975; MCKPUB00027772; MCKPUB00027773; MCKPUB00027775.
1371
  AKRON_000218427; AKRON_001287228; MCKPUB00009001; MCKPUB00009004;
MCKPUB00009006; MCKPUB00009007.
1372
       AKRON_001142801; MCKPUB00006888; MCKPUB00006890; MCKPUB00006891.
1373
       AKRON_000297289; MCKPUB00009917; MCKPUB00009919; MCKPUB00009920.



                                              272
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 274 of 309. PageID #: 93371




         1075. Julio J. Smith, Sr. of Maple Heights, Ohio pled guilty on March 31, 2006 in the

Cuyahoga Court of Common Pleas to trafficking heroin. On May 4, 2006, Mr. Smith was

sentenced to eighteen months of community control.1374

         1076. Kevin Smith of Akron, Ohio pled guilty on July 13, 2015 in the Summit County

Court of Common Pleas to trafficking in heroin. He was sentenced to eighteen months of

community control.1375

         1077. Mario D. Smith of Cleveland, Ohio pled guilty on October 27, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Smith was sentenced to

three years in prison.1376

         1078. Roland Smith of Cleveland, Ohio pled guilty on August 11, 2016 in the Northern

District of Ohio to conspiracy to possess with intent to distribute fentanyl and heroin.1377 Mr.

Smith maintained premises for the purposes of distributing drugs. During sentencing, the

Government noted Mr. Smith’s prior conviction for drug trafficking and said that “the moment

he got out of jail. . . . he was being investigated,” and “he came out a much, much better criminal

this time.”1378 Mr. Smith was sentenced on November 16, 2016 to 78 months in prison.1379

         1079. Shane Smith of Akron, Ohio pled guilty on March 11, 2015 in the Summit County

Court of Common Pleas to trafficking in heroin. Mr. Smith was given intervention in lieu of


1374
       CUYAH_000021000; MCKPUB00015958; MCKPUB00015959; MCKPUB00015962.
1375
  AKRON_000220016; MCKPUB00016586-16587; MCKPUB00016588;
MCKPUB00016589.
1376
  CUYAH_000031231; MCKPUB00018228; MCKPUB00018229-18231;
MCKPUB00018232.
1377
       MCKPUB00020480; MCKPUB00029940.
1378
       MCKPUB00029940.
1379
       MCKPUB00020483; MCKPUB00020490; MCKPUB00020495.



                                                273
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 275 of 309. PageID #: 93372




conviction and placed in the Turning Point Program, but he was terminated from the program on

January 7, 2019 due to numerous violations during the program.1380

         1080. Timothy L. Smith of Cleveland, Ohio pled guilty on January 12, 2017 in the

Northern District of Ohio to possession with intent to distribute heroin.1381 Mr. Smith was

arrested in the course of an FBI investigation into a ring of drug dealers on the east side of

Cleveland. On May 3, 2017, Mr. Smith was sentenced to 31 months in prison.1382

         1081. Dean R. Snider, Jr. of Cleveland, Ohio pled guilty on February 12, 2008 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Snider was sentenced to

two years of community control.1383

         1082. Dustin W. Somerville pled guilty on March 23, 2018 in the Northern District of

Ohio to possession with intent to distribute a substance containing carfentanil. Mr. Somerville

was sentenced on June 8, 2018 to 38 months in prison.1384

         1083. Angelo Isaiah Sommerville of Akron, Ohio pled guilty on August 29, 2011 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to two years

of community control. On June 20, 2018, he pled guilty in the Summit County Court of




1380
       MCKPUB00027814; MCKPUB00027817; MCKPUB00027818.
1381
       MCKPUB00022214.
1382
       MCKPUB00027821; MCKPUB00022223; MCKPUB00022230.
1383
       CUYAH_000037639; MCKPUB00010355; MCKPUB00010357; MCKPUB00010359.
1384
  MCKPUB00009250; MCKPUB00009252; MCKPUB00009254; MCKPUB00009255;
MCKPUB00009257.



                                                274
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 276 of 309. PageID #: 93373




Common Pleas to offenses including aggravated trafficking in drugs, namely oxycodone. On

August 22, 2018, he was sentenced to two years of community control.1385

         1084. Alfonso C. Soto pled guilty on June 14, 2006 in the Cuyahoga County Court of

Common Pleas to trafficking heroin. Mr. Soto was sentenced to one year of community

control.1386

         1085. Phillip Southall of Warrensville Heights, Ohio pled guilty on January 23, 2007 in

the Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr.

Southall was sentenced to three years in prison.1387

         1086. Arvis D. Spears of Akron, Ohio pled guilty on April 10, 2017 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in drugs, namely

carfentanil. He was sentenced to two years in prison.1388

         1087. Maurice Edwards Speaight, Jr. of Akron, Ohio pled guilty on January 16, 2013 in

the Summit County Court of Common Pleas to trafficking in heroin, and he was sentenced to

eighteen months of community control. In addition, Mr. Speaight pled guilty on March 16, 2016

in the Summit County Court of Common Pleas to trafficking of heroin, and he was sentenced to

two years imprisonment.1389




1385
  AKRON_000206159; SUMMIT_000458276; SUMMIT_000721680; MCKPUB00006873;
MCKPUB00006875; MCKPUB00006876; MCKPUB00006878; MCKPUB00006881;
MCKPUB00006883.
1386
       CUYAH_000033120; MCKPUB00006297; MCKPUB00006298; MCKPUB00006300.
1387
       CUYAH_000034312, MCKPUB00019292; MCKPUB00019293; MCKPUB00019296.
1388
       AKRON_000292611; MCKPUB00007506; MCKPUB00007508; MCKPUB00007509.
1389
  AKRON_001145786; AKRON_000204267; AKRON_000286152; MCKPUB00018333;
MCKPUB00018335; MCKPUB00018336; MCKPUB00018337; MCKPUB00018340;
MCKPUB00018341.



                                               275
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 277 of 309. PageID #: 93374




         1088. Michael Steele, Jr. of Cleveland, Ohio pled guilty on March 7, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Steele was sentenced to

two years in prison.1390

         1089. Alec Steinberger of Highland Heights, Ohio pled guilty in the Northern District of

Ohio on August 1, 2017 to offenses including distribution of furanyl fentanyl with a death

enhancement and possession with intent to distribute furanyl fentanyl.1391 On January 30, 2016,

Mr. Steinberger received by mail furanyl fentanyl that originated in China. On February 25,

2016, Mr. Steinberger’s customer, Laith Hudson, suffered a fatal overdose after ingesting furanyl

fentanyl that he bought from Mr. Steinberger. On November 1, 2017, Mr. Steinberger was

sentenced to twelve years’ imprisonment.1392

         1090. Jonathan Stepp of Cleveland, Ohio pled guilty on March 22, 2017 in the Northern

District of Ohio to conspiracy to possess with intent to distribute and to distribute drugs

including heroin and fentanyl, as well as distribution of heroin.1393 Mr. Stepp participated in a

conspiracy that spanned from January 1, 2010 to September 28, 2016, including by purchasing

heroin for redistribution in Northeast Ohio. On January 30, 2015 and March 19, 2015, Mr. Stepp

sold heroin to a confidential source.1394 On June 28, 2017, Mr. Stepp was sentenced to 108

months in prison.1395




1390
       CUYAH_000034259; MCKPUB00029976; MCKPUB00029978; MCKPUB00029981.
1391
       MCKPUB00006284; MCKPUB00006292.
1392
       MCKPUB00006290; MCKPUB00011864.
1393
       MCKPUB00015697; MCKPUB00029983.
1394
       MCKPUB00015697.
1395
       MCKPUB00015780; MCKPUB00015782.



                                                276
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 278 of 309. PageID #: 93375




         1091. Raamses Coleus Stevens of Akron, Ohio pled guilty on October 17, 2016 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin and

corrupting another with drugs. He was sentenced to one year in prison.1396

         1092. Mario R. Stewart of Maple Heights, Ohio pled guilty on August 7, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl, carfentanil, and heroin. Mr.

Stewart was sentenced to 36 months in prison.1397

         1093. Derek Scott Stiggers of Akron, Ohio, pled guilty on May 22, 2018 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

five years in prison.1398

         1094. Tremayne R. Stone of Akron, Ohio pled guilty on January 6, 2010 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred in Akron. He

was sentenced to five years of incarceration, suspended provided that he complete two years of

community control.1399

         1095. Richard Stormer of Brooklyn, Ohio pled guilty on January 22, 2007 in the

Cuyahoga County Court of Common Pleas to distributing counterfeit opioids, including

counterfeit heroin. Mr. Stormer was sentenced to six months in the Cuyahoga County Jail.1400




1396
  AKRON_000212335; SUMMIT_001138100; SUMMIT_001138183;
SUMMIT_000064880; MCKPUB00019342; MCKPUB00019345.
1397
       CUYAH_000080248; MCKPUB00018235; MCKPUB00018236; MCKPUB00018239.
1398
  AKRON_000206457; MCKPUB00010460; MCKPUB00010463; MCKPUB00010469;
MCKPUB00010471.
1399
       AKRON_001157391; MCKPUB00027845; MCKPUB00027846; MCKPUB00027849.
1400
       CUYAH_000034495; MCKPUB00019582; MCKPUB00019583; MCKPUB00019586.



                                              277
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 279 of 309. PageID #: 93376




         1096. Tramonte Lamar Stroud of Akron, Ohio, pled guilty on December 1, 2016 in the

Summit County Court of Common Pleas to offenses including aggravated trafficking in drugs,

namely fentanyl. He was sentenced to two years of community control.1401

         1097. Justin Sudimak pled guilty in the Northern District of Ohio on May 10, 2013 to

conspiracy to distribute and to possess with the intent to distribute heroin, in violation of 21

U.S.C. § 846. The conduct occurred in locations including Akron, Ohio. On August 9, 2013,

Mr. Sudimak was sentenced to eight months in prison (time served).1402

         1098. Anthony L. Suggs of Akron, Ohio, pled guilty on July 9, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. On April 10, 2015, Mr. Suggs was

sentenced to three years in prison.1403

         1099. Larry L. Sullivan, Jr. pled guilty on July 25, 2014 in the Northern District of Ohio

to possession with intent to distribute and distribute heroin. He was one of twenty people

indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio for his

role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and Atlanta,

between 2011-2014. Mr. Sullivan was sentenced to 63 months in prison.1404

         1100. Justin Sulzmann of Fairview Park, Ohio pled guilty on April 7, 2009 in the

Cuyahoga Court of Common Pleas to attempted trafficking of heroin. Mr. Sulzmann was

sentenced to six months in jail.1405



1401
  AKRON_000206233; MCKPUB00022288; MCKPUB00022289; MCKPUB00022291;
MCKPUB00022292.
1402
       MCKPUB00016005; MCKPUB00016011.
1403
  AKRON_000205256; MCKPUB00027851; MCKPUB00006940; MCKPUB00006946;
MCKPUB00006950; MCKPUB00006953; MCKPUB00006954; MCKPUB00006955.
1404
       MCKPUB00017119.
1405
       CUYAH_000039846; MCKPUB00003307; MCKPUB00003308; MCKPUB00003311.


                                                 278
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 280 of 309. PageID #: 93377




         1101. Ryan “TJ” Sumlin was convicted by a jury in 2018 on charges of distribution of

fentanyl and heroin that resulted in death, possession with intent to distribute fentanyl, and

possession with intent to distribute heroin. Mr. Sumlin sold a mix of fentanyl and heroin to

Carrie Dobbins of Akron, Ohio on March 28, 2015, without telling her he had mixed in fentanyl.

Ms. Dobbins then died from an overdose. Mr. Sumlin continued to sell fentanyl after hearing of

Ms. Dobbins’s death, and even after his arrest. On August 23, 2018, Mr. Sumlin was sentenced

to life in prison and was ordered to pay restitution of $4,639.85 to cover the cost of the Ms.

Dobbins’s funeral.1406

         1102. Alonzo B. Sykes pled guilty on July 23, 2014 in the Northern District of Ohio to

conspiracy to distribute and to possess with intent to distribute heroin, as well as possession with

intent to distribute and distribute heroin. He was one of twenty people indicted in a case brought

by the U.S. Attorney’s Office for the Northern District of Ohio for his role in a conspiracy to

bring heroin to Akron, Ohio from cities, including Chicago and Atlanta, between 2011-2014.

Mr. Sykes was sentenced to 135 months in prison.1407

         1103. Allen Taborn of Cleveland, Ohio pled guilty on October 22, 2007 in the

Cuyahoga County Court of Common Pleas to knowingly selling or offering to sell, and

trafficking in heroin. Mr. Taborn was sentenced to two years of community control on

November 26, 2007.1408

         1104. Dangelo Tapley of Akron, Ohio pled guilty in the Summit County Court of

Common Pleas to offenses including aggravated trafficking in drugs (fentanyl), attempted


1406
       MCKPUB00020631; MCKPUB00020633.
1407
       MCKPUB00006482; MCKPUB00006501; MCKPUB00006498.
1408
       MCKPUB00006477; MCKPUB00006478; MCKPUB00006480.



                                                279
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 281 of 309. PageID #: 93378




participation in a criminal gang, and carrying a concealed weapon.1409 On February 20, 2018,

Mr. Tapley was arrested in the course of police investigation of suspected gang activity,

including at Mr. Tapley’s house. In their arrest of Mr. Tapley and others in a vehicle that had

just departed the house, detectives from the Akron Police Department’s Gang Unit and Gun

Violence Reduction Team recovered a bulletproof vest and two loaded pistols. In their

subsequent search of the house, officers recovered fentanyl, two loaded pistols, and digital

scales. Mr. Tapley and two others were identified as members of the “Grimey 90’s gang.”1410

Mr. Tapley was sentenced to a prison for three years, with the sentence suspended upon the

condition that Mr. Tapley complete three years of community control.1411

          1105. Michael S. Tatum of Akron, Ohio pled guilty on December 5, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred in Akron. He

was sentenced to eighteen months of incarceration for this offense, suspended provided that he

complete two years of community control.1412

          1106. James M. Taylor of Akron, Ohio pled guilty on February 7, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin. On March 18, 2013, he was sentenced

to two years in prison.1413




1409
       MCKPUB00027853; MCKPUB00027854; MCKPUB00027856; MCKPUB00027865.
1410
       AKRON_001132227.
1411
       MCKPUB00027853; MCKPUB00027854; MCKPUB00027856; MCKPUB00027865.
1412
       AKRON_001217676; MCKPUB00027870; MCKPUB00027871; MCKPUB00027873.
1413
  AKRON_000204616; MCKPUB00015133; MCKPUB00015135; MCKPUB00015136;
MCKPUB00015137.



                                               280
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 282 of 309. PageID #: 93379




         1107. Lavell Taylor of Cleveland, Ohio, pled guilty on November 29, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl and heroin. Mr. Taylor was

sentenced to one year in prison.1414

         1108. Willie Taylor of Cleveland, Ohio pled guilty on November 9, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Taylor was sentenced to

one year of community control.1415

         1109. Gus C. Tell, Jr. pled guilty on January 15, 2014 in the Summit County Court of

Common Pleas to trafficking in heroin. According an email report of an Akron police officer,

Mr. Tell was “once again” selling heroin in Akron. Mr. Tell was sentenced to 12 months of

incarceration.1416

         1110. Robert Tepper of Akron, Ohio pled guilty on April 5, 2017 in the Summit County

Court of Common Pleas to involuntary manslaughter. Mr. Tepper had administered a fatal dose

of fentanyl to his wife, Karen Tepper. On April 12, 2017, Mr. Tepper was sentenced to three

years in prison.1417

         1111. Trevez M. Terrell of Mansfield, Ohio pled guilty on July 13, 2015 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On July 20, 2015, he

was sentenced to twelve months in prison.1418




1414
       CUYAH_000031627; MCKPUB00017352; MCKPUB00017353; MCKPUB00017355.
1415
       CUYAH_000036745; MCKPUB00022794; MCKPUB00022795; MCKPUB00022798.
1416
       AKRON_000374687; MCKPUB00027876; MCKPUB00027877; MCKPUB00027880.
1417
  SUMMIT_000119179; SUMMIT_001138729; MCKPUB00019599; MCKPUB00019602;
MCKPUB00019604; MCKPUB00019605.
1418
       AKRON_000286477; MCKPUB00022334; MCKPUB00022336; MCKPUB00022337.



                                                281
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 283 of 309. PageID #: 93380




         1112. David Thomas, Jr. of Akron, Ohio pled guilty on February 3, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. On November 12, 2014, police officers

spotted Mr. Thomas making a hand-to-hand transaction, and, in a search incident to arrest,

officers recovered several bags of heroin. The court sentenced Mr. Thomas to eighteen months

in prison.1419

         1113. David Leroy Thomas pled guilty on November 27, 2012 in the Summit County

Court of Commons Pleas to offenses including trafficking in heroin. Mr. Thomas was sentenced

to three years of community control.1420

         1114. Kenneth M. Thomas of Akron, Ohio pled guilty on April 29, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin.1421 Mr. Thomas was

sentenced to eleven months in prison.

         1115. Raffael D. Thomas of Akron, Ohio, pled guilty to offenses including involuntary

manslaughter and corrupting another with drugs, and he was sentenced to five years in prison.

Mr. Thomas had sold fentanyl to a Barberton woman who overdosed on the drug in April

2015.1422

         1116. Rashaad Maurice Thomas of Akron, Ohio, was convicted on August 26, 2014 in

the Summit County Court of Common Pleas of trafficking in heroin.1423

         1117. Stephen A. Thomas of Maple Heights, Ohio, a corrections officers at Cuyahoga

County Jail, was indicted on May 16, 2019 in the Cuyahoga County Court of Common Pleas on


1419
       AKRON_001145255; MCKPUB00027883; MCKPUB00027884; MCKPUB00027886.
1420
       MCKPUB00027888; MCKPUB00027889; MCKPUB00027892.
1421
       AKRON_000207995; AKRON_000211947; MCKPUB00016287; MCKPUB00016289.
1422
       SUMMIT_001141093; MCKPUB00019378.
1423
       AKRON_000201181; MCKPUB00019403; MCKPUB00019405; MCKPUB00019406.



                                              282
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 284 of 309. PageID #: 93381




counts including illegal conveyance of drugs of abuse onto grounds of a governmental facility,

trafficking in a fentanyl-related compound, trafficking in heroin, and corrupting another with

drugs.1424 Mr. Thomas is accused of smuggling heroin and a fentanyl-related compound into

Cuyahoga County Jail for the purpose of selling it to inmates, and selling it to inmates including

to Kelly Angle on January 18, 2019, who overdosed but lived, and David Sowell on May 8,

2019.1425 On May 8, 2019, Mr. Thomas was seen on survelliance video going into Mr. Sowell’s

cell and selling him the opioids; Mr. Thomas was arrested later that day.1426 Cuyahoga County

Assistant Prosecutor Matthew Meyer said in a court hearing that investigators have evidence that

Mr. Thomas was part of a larger drug- and contraband-smuggling ring.1427 The case against Mr.

Thomas is pending.1428

             1118. Tamartus Thomas of Cleveland, Ohio pled guilty on October 29, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Thomas was sentenced to

eighteen months in prison.1429

             1119. Trevon Thomas of Akron, Ohio pled guilty on January 29, 2016 in the Summit

County Court of Common Pleas to involuntary manslaughter and aggravated trafficking in drugs.

Mr. Thomas sold heroin and fentanyl to Carissa Ewing, who died of an overdose. Mr. Thomas

was sentenced to seven years in prison.1430


1424
       CUYAH_002399328; MCKPUB00029992.
1425
       MCKPUB00029986; MCKPUB00029992.
1426
       MCKPUB00029988.
1427
       Id.
1428
       MCKPUB00029985.
1429
       CUYAH_000080731; MCKPUB00021442; MCKPUB00021443; MCKPUB00021448.
1430
  SUMMIT_000064880; MCKPUB00022338; MCKPUB00022343; MCKPUB00022344;
MCKPUB00029998.



                                                 283
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 285 of 309. PageID #: 93382




         1120. Reginald C. Thomas-Robinson of Cleveland, Ohio pled guilty on April 10, 2013

in the Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Thomas-Robinson

was sentenced to fourteen months in prison.1431

         1121. Dionte Thompson of Cleveland, Ohio pled guilty on December 30, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1432 Mr. Thompson participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1433 Mr. Thompson was sentenced to 151 months in

prison.1434

         1122. Garland J. “Chill” Thompson pled guilty on July 3, 2014 in the Northern District

of Ohio to conspiracy to distribute and to possess with intent to distribute heroin. He was one of

twenty people indicted in a case brought by the U.S. Attorney’s Office for the Northern District

of Ohio for his role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago

and Atlanta, between 2011-2014. Mr. Thompson was sentenced to 130 months in prison.1435

         1123. Gary Blaine Thompson pled guilty on January 4, 2016 in the Summit County

Court of Common Pleas to offenses including trafficking in heroin, for conduct that occurred in

Akron, Ohio. He was sentenced to five years in prison.1436

         1124. Terrick Thompson of Akron, Ohio pled guilty on May 29, 2018 in the Northern

District of Ohio to possession with intent to distribute a controlled substance, including mixtures


1431
       CUYAH_000054398; MCKPUB00019468; MCKPUB00019469; MCKPUB00019471.
1432
       MCKPUB00010830; MCKPUB00030000; MCKPUB00030038.
1433
       MCKPUB00011039.
1434
       MCKPUB00011021; MCKPUB00011023; MCKPUB00011042.
1435
       MCKPUB00013506; MCKPUB00013518; MCKPUB00013521.
1436
       AKRON_001218215; MCKPUB00027895; MCKPUB00027896; MCKPUB00027899.



                                                284
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 286 of 309. PageID #: 93383




containing detectable amounts of fentanyl, heroin, and carfentanil. Mr. Thompson was

sentenced to 152 months in prison. Mr. Thompson had a prior conviction for aggravated

trafficking in drugs, namely fentanyl.1437

         1125. Tymaine Tedall Thompson of Akron, Ohio, was convicted in the Summit County

Court of Common Pleas on March 1, 2017 of trafficking in heroin and aggravated trafficking in

drugs. On May 1, 2017, Mr. Thompson was sentenced to one year in prison.1438

         1126. Paris D. Timmons of Akron, Ohio pled guilty on December 1, 2016 in the

Summit County Court of Common Pleas of offenses including aggravated trafficking in drugs,

for conduct involving opioids. On January 26, 2017, Ms. Timmons was sentenced to two years

of community control.1439

         1127. Anthony L. Townsend of Akron, Ohio pled guilty on May 20, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Townsend was sentenced on June

3, 2013 to one year in prison, to run concurrently with prior convictions, for a total sentence of

three years.1440

         1128. Tremaine L. “Juice” Townsend of Akron, Ohio pled guilty on May 16, 2013 in

the Northern District of Ohio to conspiracy to distribute and to possess with the intent to

distribute heroin, in violation of 21 U.S.C. § 846. The conduct occurred in locations including




1437
       SUMMIT_000071039; SUMMIT_001505077; MCKPUB00021867; MCKPUB00021875.
1438
  AKRON_000200981; AKRON_000202961; MCKPUB00022364; MCKPUB00022368;
MCKPUB00022369; MCKPUB00030071; MCKPUB00030072; MCKPUB00030074;
MCKPUB00030075.
1439
       AKRON_000212461, MCKPUB00019249; MCKPUB00019252.
1440
       AKRON_000204739; MCKPUB00023754; MCKPUB00023756; MCKPUB00023757.



                                                285
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 287 of 309. PageID #: 93384




Akron. On September 13, 2013, Mr. Townsend was sentenced to 60 months in prison. Mr.

Townsend’s prison term was subsequently reduced to 49 months.1441

         1129. Chauncy A. Travis of Akron, Ohio pled guilty on April 5, 2013 in the Summit

County Court of Common Pleas to trafficking in heroin. He was sentenced to eighteen months

of community control.1442

         1130. Amonte L. Trice of Akron, Ohio pled guilty on June 18, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin, for conduct that occurred in Akron. Mr.

Trice was sentenced to six months in prison for this offense.1443

         1131. Preston Tucker of Maple Heights, Ohio pled guilty on December 19, 2006 in the

Cuyahoga County Court of Common Pleas to trafficking opioids, including heroin. Mr. Tucker

was sentenced to five years of community control.1444

         1132. Tevaris Tucker of Bedford, Ohio pled guilty on June 26, 2013 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Tucker was sentenced to one and one

half years of community control.1445

         1133. Willie S. Tullis of Akron, Ohio pled guilty on August 8, 2016 in the Summit

County Court of Common Pleas to offenses including aggravated trafficking in heroin, fentanyl,

and oxycodone. Mr. Tullis was sentenced to three years of incarceration, which was suspended

on the condition that he complete three years of community control. On August 29, 2017, Mr.




1441
       MCKPUB00022309; MCKPUB00022310; MCKPUB00022321; MCKPUB00022327.
1442
       AKRON_000204629; MCKPUB00008908; MCKPUB00008911; MCKPUB00008912.
1443
       AKRON_001218931; MCKPUB00027903; MCKPUB00027904; MCKPUB00027906.
1444
       CUYAH_000034090, MCKPUB00019333; MCKPUB00019334; MCKPUB00019339.
1445
       CUYAH_000055327; MCKPUB00021916; MCKPUB00021917; MCKPUB00021920.



                                               286
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 288 of 309. PageID #: 93385




Tullis pled guilty in the Summit County Court of Common Pleas to offenses including

trafficking in heroin. Mr. Tullis was sentenced to four years of incarceration.1446

         1134. Devonte Rueben Turner was convicted on September 30, 2016 in the Summit

County Court of Common Pleas of involuntary manslaughter, corrupting another with drugs, and

trafficking in heroin, and he was sentenced to ten years in prison. Mr. Turner provided

carfentanil to David Chapman of Akron, Ohio, who died of an overdose on July 6, 2016, as well

as to Misty McGraw of Akron, Ohio, who died of an overdose on July 11, 2016.1447

         1135. Joe Louis Turner II was convicted on September 14, 2017 in the Summit County

Court of Common Pleas of involuntary manslaughter and corrupting another with drugs. Mr.

Turner sold carfentanil to Belinda Godfrey of Akron, Ohio, who died of an overdose on

September 22, 2016, as well as to an Akron man who non-fatally overdosed. Mr. Turner was

sentenced to seven years in prison.1448

         1136. Marshay L. Turner of Maple Heights, Ohio pled guilty on June 12, 2018 in the

Cuyahoga County Court of Common Pleas to trafficking heroin, fentanyl, and carfentanil. Ms.

Turner was placed in intervention in lieu of conviction.1449




1446
  AKRON_000205918; MCKPUB00022801; MCKPUB00022804; MCKPUB00022806;
MCKPUB00030076; MCKPUB00030078; MCKPUB00030079.
1447
  AKRON_000294908; AKRON_001151503; MCKPUB00010805; MCKPUB00010807;
MCKPUB00010808; MCKPUB00010811; MCKPUB00010812.
1448
  AKRON_001220880; MCKPUB00015641; MCKPUB00015645; MCKPUB00015648;
MCKPUB00015650; MCKPUB00015651.
1449
       CUYAH_000079139; MCKPUB00018273; MCKPUB00018274; MCKPUB00018277.



                                                287
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 289 of 309. PageID #: 93386




         1137. Michael D. Tyler of Akron, Ohio pled guilty on March 23, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

seven years in prison.1450

         1138. Elizabeth Ulrey of Akron, Ohio, pled guilty in April 2016 to involuntary

manslaughter and corrupting another with drugs. Ms. Ulrey sold fentanyl to a Cuyahoga Falls

man who died after injecting what he believed to be heroin. She was sentenced to four years in

prison.1451

         1139. Ambray Underwood of Cleveland, Ohio pled guilty on July 19, 2018 in the

Cuyahoga Court of Common Pleas to trafficking fentanyl. He was sentenced to four years of

community control.1452

         1140. David Urrabazo-Maldonado, Jr. pled guilty on April 17, 2018 in the Northern

District of Ohio to offenses including conspiracy with intent to distribute and to distribute drugs

including heroin and fentanyl, distribution of heroin, and possession with intent to distribute

fentanyl.1453 Mr. Urrabazo-Maldonado participated in a conspiracy that spanned from January 1,

2010 to September 28, 2016, including by distributing heroin on September 23, 2015. According

to the indictment, on or about February 20, 2016, Mr. Urrabazo-Maldonado attempted to

transport cash from either Washington, D.C. or New York City to Cleveland, Ohio. On March




1450
       AKRON_000288850; MCKPUB00018675; MCKPUB00018677; MCKPUB00018678.
1451
  AKRON_000212087; SUMMIT_001138006; SUMMIT_001138009; MCKPUB00012271;
MCKPUB00012273; MCKPUB00012274; MCKPUB00012275.
1452
       CUYAH_000032047; MCKPUB00006560; MCKPUB00006563; MCKPUB00006564.
1453
       MCKPUB00010228.



                                                288
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 290 of 309. PageID #: 93387




21, 2016, Mr. Urrabazo-Maldonado received a delivery containing approximately fentanyl.1454

On April 19, 2018, Mr. Urrabazo-Maldonado was sentenced to ten years in prison.1455

         1141. Michael Vaden of Cleveland, Ohio pled guilty on September 9, 2010 in the

Cuyahoga Court of Common Pleas to trafficking offenses involving heroin. On October 4, 2010,

he was sentenced to one year in prison.1456

         1142. Tracy L. Vanhorn pled guilty on August 5, 2015 in the Summit County Court of

Common Pleas to involuntary manslaughter. Ms. Van Horn helped facilitate a heroin deal for a

man she met at a support group who later overdosed on the drug in February 2015. On August

12, 2015, she was sentenced to three years in prison.1457

         1143. Richard Vargas of Cleveland, Ohio pled guilty on June 9, 2010 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Vargas was sentenced to one year of

community control.1458

         1144. LeTroy P. Vaughn of Akron, Ohio pled guilty on August 20, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. On September 29, 2015, he was

sentenced to three years in prison.1459




1454
       MCKPUB00010228.
1455
       MCKPUB00010311; MCKPUB00010318; MCKPUB00010329.
1456
       CUYAH_014631520; MCKPUB00018949; MCKPUB00018950; MCKPUB00018953.
1457
  AKRON_000286843; MCKPUB00022265; MCKPUB00022266; MCKPUB00022267;
MCKPUB00022269; MCKPUB00022270.
1458
       MCKPUB00024475; MCKPUB00024478; MCKPUB00024479.
1459
       AKRON_000288578; MCKPUB00017624; MCKPUB00017626; MCKPUB00017627.



                                               289
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 291 of 309. PageID #: 93388




         1145. Neidalyz Vazquez of Lorain, Ohio pled guilty on January 22, 2008 in the

Cuyahoga Court of Common Pleas to trafficking heroin. Mr. Vazquez was sentenced to two

years of community control.1460

         1146. Abimelec Vega of Cleveland, Ohio pled guilty in the Northern District of Ohio on

January 3, 2017 to conspiracy to possess with intent to distribute and to distribute heroin and

acetylfentanyl, distribution of a substance containing heroin and acetylfentanyl, distribution of a

substance containing acetylfentanyl, and distribution of a substance containing fentanyl. Mr.

Vega carried out these offenses in and around Cleveland from August 3, 2016 to September 15,

2016.1461 Mr. Vega told a source that someone had died from heroin or fentanyl he had sold.

Mr. Vega was sentenced to 74 months’ imprisonment on May 1, 2017.1462

         1147. Mizraim Vega of South Euclid, Ohio pled guilty in the Northern District of Ohio

on January 3, 2017 to conspiracy to possess with intent to distribute and to distribute heroin and

acetylfentanyl, distribution of a substance containing acetylfentanyl, distribution of a substance

containing fentanyl, possession with intent to distribute a substance containing heroin, and

crossing state lines in furtherance of drug trafficking. Mr. Vega carried out these offenses in and

around Cleveland from August 3, 2016 to September 15, 2016.1463 Mr. Vega advised a customer

to dilute the heroin he sold because “[t]hat stuff could kill someone.” Mr. Vega was sentenced to

72 months’ imprisonment on May 1, 2017.1464




1460
       CUYAH_000036277; MCKPUB00004771; MCKPUB00004772; MCKPUB00004775.
1461
       MCKPUB00006226; MCKPUB00006231.
1462
       MCKPUB00006239; MCKPUB00006233; MCKPUB00006241.
1463
       MCKPUB00018975; MCKPUB00006226; MCKPUB00030080.
1464
       MCKPUB00018988; MCKPUB00018982; MCKPUB00018990.



                                                290
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 292 of 309. PageID #: 93389




         1148. Lavester E. Vickers of Akron, Ohio pled guilty on September 9, 2015 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. On

November 18, 2015, he was sentenced to eighteen months of community control.1465

         1149. Brandon Wagner of Berea, Ohio pled guilty on November 17, 2016 in the

Northern District of Ohio to distribution of heroin resulting in death or serious bodily injury.1466

In March 2016, Mr. Wagner sold heroin that later caused the fatal overdose of a Lakewood, Ohio

man.1467 On March 22, 2017, Mr. Wagner was sentenced to 150 months in prison.1468 Prior to

his arrest in the case, Mr. Wagner was convicted in the Cuyahoga County Court of Common

Pleas of trafficking in heroin.1469

         1150. Eric Walker of Akron, Ohio pled guilty on October 24, 2014 in the Summit

County Court of Common Pleas to trafficking in heroin. Mr. Walker was sentenced to thirty

months of community control.1470

         1151. Roland Walker of Cleveland, Ohio pled guilty on October 16, 2012 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Walker was sentenced to

twelve months community control.1471




1465
       AKRON_000280183; MCKPUB00017357; MCKPUB00017359.
1466
       MCKPUB00007701.
1467
       MCKPUB00007731.
1468
       MCKPUB00007704.
1469
  MCKPUB00007711; MCKPUB00007714; MCKPUB00007715; MCKPUB00007719;
MCKPUB00007722; MCKPUB00007725.
1470
       MCKPUB00027992; MCKPUB00027993; MCKPUB00027996.
1471
       CUYAH_000053185; MCKPUB00020497; MCKPUB00020498; MCKPUB00020501.



                                                291
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 293 of 309. PageID #: 93390




         1152. Jodarryel Wallace of Cleveland, Ohio, pled guilty on May 7, 2018 in the

Cuyahoga Court of Common Please to offenses including trafficking heroin and fentanyl. Mr.

Wallace was sentenced to two years of probation.1472

         1153. Bin Wang pled guilty on August 7, 2018 to offenses including drug conspiracy,

conspiracy to import a controlled substance, and drug distribution. Mr. Wang, a Chinese

national, operated Cambridge Chemicals, Wonda Science, and other companies from a

warehouse in Woburn, Massachusetts. He purchased opioids and other drugs from a Chinese

drug trafficking organization and distributed them to locations in Northeast Ohio and throughout

the United States.1473 On November 19, 2018, Mr. Wang was sentence to 71 months in

prison.1474

         1154. Antonio M. Washington pled guilty on August 10, 2016 in the Cuyahoga County

Court of Common Pleas to trafficking heroin and fentanyl. Mr. Washington was sentenced to

two years of community control.1475

         1155. Duane Washington of Cleveland, Ohio pled guilty on April 1, 2016 in the

Cuyahoga County Court of Common Pleas to conspiracy to traffic heroin and attempted

trafficking of heroin. Mr. Washington was sentenced to seven years in prison.1476




1472
       CUYAH_000030209; MCKPUB00015624; MCKPUB00015625; MCKPUB00015628.
1473
       MCKPUB00007643; MCKPUB00007645.
1474
       MCKPUB00007643.
1475
       CUYAH_000029994; MCKPUB00006992; MCKPUB00006993; MCKPUB00006996.
1476
       CUYAH_000070777; MCKPUB00011851; MCKPUB00011852; MCKPUB00011855.



                                              292
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 294 of 309. PageID #: 93391




         1156. Jerome A. Watkins of Cleveland, Ohio, pled guilty on December 5, 2017 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking heroin. On February

28, 2018, Mr. Watkins was sentenced to two years of community control.1477

         1157. William G. Watkins of Mogadore, Ohio pled guilty on July 26, 2012 in the

Summit County Court of Common Pleas to trafficking in heroin, and he was sentenced to two

years of community control. Mr. Watkins also pled guilty on May 2, 2013 in the same court to

trafficking in heroin, and he was sentenced to two years of community control.1478

         1158. Antwan Devonta Watson of Akron, Ohio pled guilty on January 17, 2017 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to three

years in prison. Mr. Watson had previously pled guilty to trafficking in heroin on July 24, 2014,

and he sentenced to one year in prison.1479

         1159. Clentonio Watson of Maple Heights, Ohio pled guilty on July 10, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Watson was sentenced to

one year of community control.1480

         1160. Michael O. Watson of Cleveland, Ohio pled guilty on January 8, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Watson was sentenced to

one year of community control.1481



1477
       MCKPUB00024434; MCKPUB00024437; MCKPUB00024444; MCKPUB00024448.
1478
  AKRON_000204358; MCKPUB00022743; MCKPUB00022746; MCKPUB00022747;
MCKPUB00022748; MCKPUB00022751; MCKPUB00022752.
1479
  MCKPUB00007023; MCKPUB00007025; MCKPUB00007026; MCKPUB00007027;
MCKPUB00007029; MCKPUB00007030.
1480
       CUYAH_000055469; MCKPUB00009045; MCKPUB00009046; MCKPUB00009049.
1481
  CUYAH_000027734; CUYAH_000039916; MCKPUB00018943; MCKPUB00018944;
MCKPUB00018947.



                                               293
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 295 of 309. PageID #: 93392




         1161. Sergio D. Watson of Akron, Ohio pled guilty on April 17, 2017 in the Summit

County Court of Common Pleas to aggravated trafficking in drugs (fentanyl), for conduct that

occurred in Akron. Mr. Watson was sentenced to twenty-four months of community control.1482

         1162. Denay M. Webb pled guilty on July 23, 2014 in the Northern District of Ohio to

conspiracy to distribute and to possess with intent to distribute heroin. She was one of twenty

people indicted in a case brought by the U.S. Attorney’s Office for the Northern District of Ohio

for her role in a conspiracy to bring heroin to Akron, Ohio from cities, including Chicago and

Atlanta, between 2011-2014. Mr. Webb was sentenced to fifteen months in prison.1483

         1163. Jamez Jamel Webb II of Cleveland, Ohio pled guilty on October 1, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1484 Mr. Webb participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1485 Mr. Webb was sentenced to fourteen months in

prison.1486

         1164. Danny Weber of Akron, Ohio pled guilty on July 30, 2013 in the Summit County

Court of Common Pleas to offenses including aggravated trafficking in drugs. On January 21,

2013, officers responded to a complaint about illegal activity at an Akron residence and arrested

Mr. Weber, recovering items including heroin packaged for sale and drug paraphernalia.1487




1482
       AKRON_001284245; MCKPUB00027998; MCKPUB00028003; MCKPUB00028004.
1483
       MCKPUB00010408; MCKPUB00010423.
1484
       MCKPUB00015140.
1485
       MCKPUB00015346.
1486
       MCKPUB00010420; MCKPUB00015331; MCKPUB00015333; MCKPUB00015349.
1487
       AKRON_001279226; MCKPUB00028006; MCKPUB00028007; MCKPUB00028010.



                                                294
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 296 of 309. PageID #: 93393




         1165. Scott T. Weisner pled guilty on May 2, 2017 in the Summit County Court of

Common Pleas to involuntary manslaughter. On or about August 31, 2016, Mr. Weisner sold

heroin to an individual who died after overdosing on that heroin. Mr. Weisner was sentenced to

three years in prison.1488

         1166. Joshua M. Whethers of Cleveland, Ohio was indicted on March 26, 2019 in the

Cuyahoga Court of Common Pleas for offenses including trafficking in fentanyl and heroin. The

proceedings are ongoing.1489 Mr. Whethers has prior convictions for trafficking in fentanyl and

heroin.1490

         1167. Jacob White of Parma, Ohio pled guilty on August 29, 2007 in the Cuyahoga

County Court of Common pleas to trafficking heroin. Mr. White was sentenced to eight months

in prison.1491

         1168. Dashawn D’Anthony Whitlow of Copley, Ohio pled guilty on June 26, 2014 in

the Summit County Court of Common Pleas to offenses including trafficking in heroin. Mr.

Whitlow was sentenced to eighteen months in prison. On November 2, 2018, Mr. Whitlow pled

guilty in the Summit County Court of Common Pleas to offenses including aggravated

trafficking in drugs and trafficking in heroin. Mr. Whitlow was sentenced to eight years in

prison.1492



1488
       SUMMIT_001138953; SUMMIT_001138965; MCKPUB00020881; MCKPUB00020883.
1489
       MCKPUB00028035; MCKPUB00028036; MCKPUB00028038.
1490
  MCKPUB00028012; MCKPUB00028017; MCKPUB00028019; MCKPUB00028028;
MCKPUB00028031; MCKPUB00028033.
1491
       CUYAH_000034430; MCKPUB00014755; MCKPUB00014756; MCKPUB00014761.
1492
  AKRON_000201450; MCKPUB00009921; MCKPUB00009923; MCKPUB00009924;
MCKPUB00009925; MCKPUB00009927; MCKPUB00009930; MCKPUB00009935;
MCKPUB00009936.



                                              295
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 297 of 309. PageID #: 93394




         1169. John W. Whitmore of Cleveland, Ohio pled guilty on August 16, 2016 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl and heroin, corrupting another

with drugs, and other related offenses. He was sentenced to six years in prison.1493

         1170. Brian L. Williams of Akron, Ohio pled guilty on December 30, 2016 in the

Northern District of Ohio to possession with intent to distribute fentanyl. During the sentencing

hearing for Mr. Williams’ co-defendant, Akron Detective Michael Gilbride testified that Mr.

Williams and his co-defendant sold drugs from their residence in a “large-scale trafficking

operation,” and the court found that Mr. Williams may have been “the primary leader” of the

operation. In a search of the residence, law enforcement officers had recovered fentanyl, heroin,

plastic baggies, digital scales, grinders, and cutting agents. As Detective Gilbride testified,

grinders and cutting agents are necessary to crush heroin, purchased in bulk, into powder and

process it for further distribution. The sentencing judge observed that Mr. Williams resided in a

“drug house.”1494 On April 17, 2017, Mr. Williams was sentenced to 180 months in prison.1495

Mr. Williams had previously been convicted in the Summit County Court of Common Pleas of

trafficking in heroin.1496

         1171. Carmen Christine Williams of Akron, Ohio, pled guilty on December 5, 2012 in

the Summit County Court of Common Pleas of offenses including trafficking in heroin. She was

sentenced to two years of community control. On September 4, 2018, Ms. Williams was




1493
       CUYAH_000029834; MCKPUB00015674; MCKPUB00015675; MCKPUB00015678.
1494
       MCKPUB00030082; MCKPUB00030091.
1495
       MCKPUB00008191.
1496
  MCKPUB00008192; MCKPUB00008194; MCKPUB00008195; MCKPUB00008196;
MCKPUB00008203; MCKPUB00008205; MCKPUB00008206.



                                                296
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 298 of 309. PageID #: 93395




indicted in the Summit County Court of Commons Pleas for crimes including trafficking in

heroin and aggravated trafficking in drugs, namely fentanyl.1497 That case is pending.

         1172. Cortney Williams of Cuyahoga Falls, Ohio pled guilty on August 10, 2018 in the

Northern District of Ohio to conspiracy to possess with intent to distribute fentanyl.1498 On

April 17, 2018, law enforcement officers surveilled Ms. Williams coming and going from an

Akron, Ohio residence. They executed a search warrant at the residence later that day and

recovered pills on the kitchen counter. When officers detained Ms. Williams later that day, she

had pills and a drug ledger documenting her sales and deliveries. The pills were stamped to look

like oxycodone, but were fentanyl and cutting agents. In announcing the indictment, U.S.

Attorney Justin E. Herdman stated, “These arrests helped save at least 1,500 lives.” At the same

time, Akron Police Chief Kenneth Ball described the defendants as “criminal predators [who]

were willing to put so many at great risk by poisoning prescription drugs with fentanyl.”1499 Ms.

Williams is awaiting sentencing.1500

         1173. Dazmon R. Williams of Akron, Ohio, was convicted on November 6, 2015 in the

Summit County Court of Common Pleas of involuntary manslaughter and trafficking in heroin.

Mr. Williams had sold Tammy McMasters heroin on which she fatally overdosed in Akron on

October 22, 2014. Mr. Williams was sentenced to six years’ incarceration.1501




1497
  AKRON_000204584; MCKPUB00008725; MCKPUB00008727; MCKPUB00008728;
MCKPUB00008731; MCKPUB00008733; MCKPUB00008736; MCKPUB00008737.
1498
       MCKPUB00030103.
1499
       MCKPUB00009219.
1500
       MCKPUB00009212; MCKPUB00009221.
1501
  AKRON_000220700; SUMMIT_000625447; MCKPUB00010347; MCKPUB00010350;
MCKPUB00010353; MCKPUB00010354.



                                               297
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 299 of 309. PageID #: 93396




         1174. Delamar D. Williams of Garfield Heights, Ohio pled guilty on March 7, 2018 in

the Northern District of Ohio to offenses including possession with intent to distribute heroin for

conduct on October 19, 2017.1502 According to the complaint, investigators oversaw two

controlled purchases of heroin from Mr. Williams. On October 19, 2017, law enforcement

officers executed a search warrant at Mr. Williams’s home and recovered heroin, carfentanil, and

a firearm.1503 Mr. Williams had a number of prior drug-related convictions in the Cuyahoga

County Court of Common Pleas, including at least two convictions involving heroin.1504

         1175. Derrien A. Williams pled guilty on August 4, 2015 in the Summit County Court

of Common Pleas to offenses including trafficking in heroin. On August 28, 2015, he was

sentenced to four years in prison.1505

         1176. Dominic D. Williams of Akron, Ohio pled guilty on October 23, 2015 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin.

Mr. Williams was sentenced to three years of incarceration.1506

         1177. Ejiro Williams of South Euclid, Ohio pled guilty on August 20, 2013 in the

Cuyahoga County Court of Common Pleas to trafficking counterfeit heroin. Mr. Williams was

sentenced to ten months in prison.1507




1502
       MCKPUB00010366.
1503
       MCKPUB00030105; MCKPUB00030112; MCKPUB00030115.
1504
  MCKPUB00010369; MCKPUB00010370; MCKPUB00010373; MCKPUB00010375;
MCKPUB00010376; MCKPUB00010380.
1505
       AKRON_000220960; MCKPUB00010490; MCKPUB00010491; MCKPUB00010493.
1506
  AKRON_000205625; AKRON_000288343; MCKPUB00011045; MCKPUB00011047;
MCKPUB00011048.
1507
       CUYAH_000055866; MCKPUB00012264; MCKPUB00012266; MCKPUB00012269.



                                                298
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 300 of 309. PageID #: 93397




         1178. Gregory Lee Williams of Akron, Ohio pled guilty on April 29, 2015 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, for conduct

that occurred in Akron, Ohio. He was sentenced to two years of community control.1508

         1179. Jamal H. Williams of Cleveland, Ohio pled guilty on February 13, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1509 Mr. Williams participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1510 Mr. Williams was sentenced to 30 months in prison.1511

         1180. John W. Williams IV of Akron, Ohio pled guilty on January 11, 2010 in the

Summit County Court of Common Pleas to trafficking in heroin. Mr. Williams was sentenced to

one year of incarceration.1512

         1181. Kevin Williams of Richmond Heights, Ohio pled guilty on December 19, 2017 in

the Northern District of Ohio to possession with intent to distribute heroin.1513 On September 11,

2017, a K-9 unit alerted federal authorities to the presence of narcotics in Mr. Williams’s vehicle,

from which they recovered heroin.1514 During sentencing, U.S. Postal Inspector Myrick Dennis

testified that law enforcement officials found various photographs saved on Mr. Williams’s

phone that depicted him participating in drug trafficking. The photographs depicted assault

rifles, drugs including heroin and oxycodone hydrochloride pills, and Mr. Williams holding large



1508
       AKRON_001218609; MCKPUB00028063; MCKPUB00028064; MCKPUB00028067.
1509
       MCKPUB00014769; MCKPUB00030125.
1510
       MCKPUB00014975.
1511
       MCKPUB00014960; MCKPUB00014978; MCKPUB00030125.
1512
       MCKPUB00028070; MCKPUB00028071; MCKPUB00028073.
1513
       MCKPUB00016590; MCKPUB00030127.
1514
       MCKPUB00016593.



                                                299
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 301 of 309. PageID #: 93398




sums of cash. The sentencing judge observed that Mr. Williams “is a heroin distributor,

distributing the very drugs that are killing our people in the community in Cuyahoga County and

throughout the state. They’re dying in the streets. They’re dying in the hospitals because of

drug traffickers like this defendant.” Mr. Williams was sentenced to six years’ imprisonment.

Mr. Williams had at least one prior heroin-related conviction.1515

         1182. Latierra T. Williams of Cleveland, Ohio, pled guilty on January 22, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. She was sentenced to two years

of probation.1516

         1183. Lavon Devon Williams pled guilty in the Northern District of Ohio on June 24,

2013 to knowingly and intentionally using and maintaining a place in Akron, Ohio for the

purposes of manufacturing, distributing, and using heroin, in violation of 21 U.S.C. § 856. On

September 24, 2013, Mr. Williams was sentenced to two years’ probation.1517

         1184. Rashon Anthony Williams of Akron, Ohio pled guilty on February 8, 2017 in the

Summit County Court of Common Pleas to involuntary manslaughter and trafficking in heroin.

Mr. Williams provided carfentanil to a pregnant woman, Megan V. Carlson of Cuyahoga Falls,

who died of an overdose on August 4, 2016. On February 8, 2017, Mr. Williams was sentenced

to eight years of prison.1518 Mr. Williams had a prior conviction in the Summit County Court of

Common Pleas for trafficking in heroin.1519



1515
       MCKPUB00016618; MCKPUB00016625; MCKPUB00030127.
1516
       CUYAH_000034002; MCKPUB00017130; MCKPUB00017132; MCKPUB00017135.
1517
       MCKPUB00017360; MCKPUB00017367.
1518
  SUMMIT_001142529; SUMMIT_001142601; SUMMIT_000064884; MCKPUB00019411;
MCKPUB00019417; MCKPUB00019418; MCKPUB00030188.
1519
       MCKPUB00030185; MCKPUB00030187; MCKPUB00030190.



                                               300
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 302 of 309. PageID #: 93399




         1185. Raymond L. Williams of Cleveland, Ohio pled guilty on June 23, 2009 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Williams was sentenced to

three years in prison.1520

         1186. Rodney Williams of Cleveland, Ohio pled guilty on August 12, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Williams was sentenced to

ten months in prison.1521

         1187. Shaun D. Williams of Cleveland, Ohio pled guilty on May 15, 2014 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin.1522 Mr. Williams participated in a heroin trafficking enterprise that operated from

September 2011 to September 2013.1523 Mr. Williams was sentenced to eighteen months in

prison.1524

         1188. Terrance Williams of Akron, Ohio pled guilty on December 21, 2016 in the

Summit County Court of Common Pleas to trafficking in heroin. He was sentenced to two years

of community control. On August 16, 2017, he pled guilty in the Summit County Court of

Common Pleas to offenses including aggravated trafficking in drugs, namely fentanyl. He was

sentenced eight years in prison.1525




1520
       CUYAH_000041788; MCKPUB00019431; MCKPUB00019432; MCKPUB00019434.
1521
       CUYAH_000036147; MCKPUB00020253; MCKPUB00020254; MCKPUB00020256.
1522
       MCKPUB00020914; MCKPUB00030191.
1523
       MCKPUB00021120.
1524
       MCKPUB00021105; MCKPUB00021107; MCKPUB00021123.
1525
  AKRON_000206491; MCKPUB00021839; MCKPUB00021841; MCKPUB00021842;
MCKPUB00021845; MCKPUB00021847; MCKPUB00021850; MCKPUB00021851.



                                                301
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 303 of 309. PageID #: 93400




         1189. Randy Willis of Parma, Ohio pled guilty on March 4, 2009 in the Cuyahoga Court

of Common Pleas to trafficking heroin. Mr. Willis was sentenced to two years in prison.1526

         1190. Rodney D. Willis of Cleveland, Ohio pled guilty on April 25, 2016 in the

Cuyahoga County Court of Common Pleas to conspiracy to traffic heroin and trafficking heroin.

Mr. Willis was sentenced to two years of community control.1527

         1191. Damon E. Wilson of Akron, Ohio pled guilty on March 28, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. On October 13,

2016, he was sentenced to eighteen months in prison.1528

         1192. Dereece D. Wilson of Akron, Ohio, pled guilty on July 14, 2017 to charges of

aggravated possession of drugs and involuntary manslaughter. Mr. Wilson sold fentanyl to an

individual who died from an overdose. Mr. Wilson was sentenced to nine years in prison.1529

         1193. Nathaniel Wilson of Cleveland, Ohio pled guilty on January 24, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Wilson was sentenced to

three years in prison.1530

         1194. Teon R. Wilson of Tallmadge, Ohio pled guilty on October 14, 2009 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin. Mr. Wilson

was sentenced to two years in prison and fined $10,000.1531


1526
       CUYAH_000040609; MCKPUB00019390; MCKPUB00019391; MCKPUB00019394.
1527
       CUYAH_000070777; MCKPUB00020243; MCKPUB00020244; MCKPUB00020247.
1528
       AKRON_001154747; MCKPUB00009274; MCKPUB00009278; MCKPUB00009279.
1529
  SUMMIT_001138605; AKRON_000228041; MCKPUB00010438; MCKPUB00010444;
MCKPUB00010445.
1530
       CUYAH_000033108; MCKPUB00019042; MCKPUB00019043; MCKPUB00019048.
1531
  AKRON_000201470; MCKPUB00021597; MCKPUB00021599; MCKPUB00021601;
MCKPUB00021602.



                                              302
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 304 of 309. PageID #: 93401




         1195. Terry Lee Wilson was convicted by a jury on October 4, 2009 in the Summit

County Court of Common Pleas of offenses including trafficking in heroin. On October 14,

2009, he was sentenced to life imprisonment without the possibility of parole.1532

         1196. Gregory L. Winfield of Cleveland, Ohio pled guilty on July 2, 2012 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Winfield was sentenced to

two years in prison.1533

         1197. Shirleen Winfield of Cleveland, Ohio pled guilty on July 2, 2012 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Ms. Winfield was sentenced to two years

in prison.1534

         1198. Ryan J. Winston of Akron, Ohio, pled guilty on March 25, 2015 in the Summit

County Court of Common Pleas to trafficking in heroin. He was sentenced to one year in

prison.1535

         1199. Terry C. Winters of Cleveland, Ohio pled guilty on January 17, 2017 in the

Cuyahoga County Court of Common Pleas to trafficking fentanyl. Mr. Winters was sentenced to

six months in jail.1536

         1200. Tia Marie Wise of Akron, Ohio pled guilty on June 23, 2016 in the Summit

County Court of Common Pleas to offenses including prohibition of conveyance of drugs of

abuse onto grounds of specified governmental facility. According to the complaint, she



1532
  AKRON_000326304; MCKPUB00021897; MCKPUB00021901; MCKPUB00021910;
MCKPUB00021911.
1533
       CUYAH_000052488; MCKPUB00013890; MCKPUB00013891; MCKPUB00013894.
1534
       CUYAH_000052488; MCKPUB00021132; MCKPUB00021133; MCKPUB00021136.
1535
       AKRON_000207494; MCKPUB00020626; MCKPUB00020628; MCKPUB00020629.
1536
       CUYAH_000030523; MCKPUB00021877; MCKPUB00021879; MCKPUB00021883.



                                               303
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 305 of 309. PageID #: 93402




knowingly conveyed, or attempted to convey, fentanyl onto a detention facility or mental

institution. She was sentenced to two years of community control.1537

          1201. Kevin Witt pled guilty on June 24, 2009 in the Cuyahoga Court of Common Pleas

to trafficking heroin. Mr. Witt was sentenced to three years in prison.1538

          1202. Kevin J. Wolverton of Akron, Ohio pled guilty on November 13, 2018 in the

Summit County Court of Common Pleas to aggravated trafficking in drugs and involuntary

manslaughter. Mr. Wolverton sold heroin on May 25, 2016 to Steven Oakes, who subsequently

died of an overdose.1539 Mr. Wolverton was sentenced to four years and eleven months in

prison.

          1203. Angelo D. Wood of Akron, Ohio pled guilty on March 25, 2016 in the Summit

County Court of Common Pleas to offenses including trafficking in heroin. He was sentenced to

four years in prison.1540

          1204. Breanna Woods of Cleveland, Ohio pled guilty on February 28, 2014 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Ms. Woods was sentenced to

one year of community control.1541

          1205. Deonte L. Woods of Akron, Ohio was convicted on February 16, 2017 in the

Summit County Court of Common Pleas of aggravated trafficking and corrupting another with




1537
       AKRON_000294507; MCKPUB00022158; MCKPUB00022160.
1538
       CUYAH_000039947; MCKPUB00016627; MCKPUB00016628; MCKPUB00016632.
1539
       AKRON_001289227; MCKPUB00016634; MCKPUB00016636; MCKPUB00016637.
1540
  SUMMIT_000678768; AKRON_000290891; MCKPUB00006868; MCKPUB00006871;
MCKPUB00006872.
1541
       CUYAH_000056835; MCKPUB00007951; MCKPUB00007952; MCKPUB00007955.



                                               304
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 306 of 309. PageID #: 93403




drugs. Mr. Woods sold fentanyl to Andrew Muelheim within 1,000 feet of a school, which

caused his death on March 10, 2016. Mr. Woods was sentenced to four years in prison.1542

         1206. Robert Worthy of Cleveland, Ohio pled guilty on July 26, 2006 in the Cuyahoga

County Court of Common Pleas to trafficking heroin. Mr. Worthy was sentenced to two years of

community control.1543

         1207. Raymundo Wren of Cleveland, Ohio pled guilty on January 1, 2015 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute

heroin. Mr. Wren participated in a heroin trafficking enterprise that operated from September

2011 to September 2013.1544 Mr. Wren was sentenced to time served.1545

         1208. Darius M. Wright of Cleveland, Ohio pled guilty on July 26, 2010 in the

Cuyahoga County of Common Pleas to offenses including trafficking heroin. On August 25,

2010, Mr. Wright was sentenced to two years in prison.1546

         1209. Marquel Diamond Wright of Akron, Ohio pled guilty on February 12, 2014 in the

Summit County Court of Common Pleas to offenses including trafficking in heroin, for conduct

that occurred in Akron. Mr. Wright was sentenced to two years in prison.1547




1542
  AKRON_000208074; AKRON_000223002; MCKPUB00010434; MCKPUB00010436;
MCKPUB00010437.
1543
       CUYAH_000020902; MCKPUB00020203; MCKPUB00020204; MCKPUB00020206.
1544
       MCKPUB00019451.
1545
       MCKPUB00019436; MCKPUB00019438; MCKPUB00019454.
1546
       CUYAH_014630960; MCKPUB00024216; MCKPUB00024220; MCKPUB00024221.
1547
       AKRON_000200925; AKRON_001217017; MCKPUB00018267; MCKPUB00018268.



                                                305
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 307 of 309. PageID #: 93404




         1210. Ramon Wright of Akron, Ohio was indicted on October 9, 2018 in the Summit

County Court of Common Pleas for offenses including aggravated trafficking in drugs, namely

fentanyl. The case is pending.1548

         1211. Zaire M. Wright of University Heights, Ohio pled guilty on February 14, 2018 in

the Cuyahoga County Court of Common Pleas to trafficking fentanyl. Mr. Wright was sentenced

to two years of community control.1549

         1212. Dontez Yeager of Akron was indicted on March 7, 2018 in the Northern District

of Ohio for crimes including possession with intent to distribute heroin for conduct on January

15, 2018.1550 The proceedings are currently pending. Mr. Yeager has prior drug-related

convictions in the Summit County Court of Common Pleas.1551

         1213. David W. Yoak of Akron, Ohio pled guilty on October 9, 2012 in the Summit

County Court of Commons Pleas to offenses including complicity to commit trafficking in

heroin and trafficking in heroin. Mr. Yoak was sentenced to four years in prison.1552

         1214. Charles Yonkings of Lakewood, Ohio pled guilty on January 24, 2011 in the

Cuyahoga County Court of Common Pleas to offenses including trafficking heroin. Mr.

Yonkings was sentenced to two years in prison.1553




1548
       MCKPUB00030193; MCKPUB00030194; MCKPUB00030195.
1549
       CUYAH_000078549; MCKPUB00022808; MCKPUB00022809; MCKPUB00022812.
1550
       MCKPUB00030196.
1551
  MCKPUB00011638; MCKPUB00011640; MCKPUB00011641; MCKPUB00011633;
MCKPUB00011636; MCKPUB00011637.
1552
       MCKPUB00028075; MCKPUB00028076; MCKPUB00028078.
1553
       CUYAH_000044641; MCKPUB00008901; MCKPUB00008902; MCKPUB00008905.



                                               306
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 308 of 309. PageID #: 93405




         1215. Alfonso Yunis of Seven Hills, Ohio pled guilty on May 31, 2016 in the Northern

District of Ohio to offenses including conspiracy to possess with intent to distribute and to

distribute oxycodone, as well as distribution of oxycodone.1554 On March 15, 2017, Mr. Yunis

was sentenced to nineteen months in prison.1555

         1216. Danny Zahand of Cleveland, Ohio pled guilty on January 29, 2007 in the

Cuyahoga County Court of Common Pleas to trafficking heroin. Mr. Zahand was sentenced to

three and a half years in prison.1556

         1217. Cesar Zambrano-Espinal of Cleveland, Ohio pled guilty on April 17, 2017 in the

Northern District of Ohio to conspiracy to possess with intent to distribute and to distribute drugs

including heroin and fentanyl.1557 Mr. Zambrano-Espinal participated in a conspiracy that

spanned from January 1, 2010 to September 28, 2016, including by distributing heroin from a

residence in Cleveland, Ohio to others who redistributed it around Northern Ohio. On July 26,

2017, Mr. Zambrano-Espinal was sentenced to 33 months in prison.1558

         1218. Fujing Zheng, also known as Gordon Jin, of Shanghai, China was charged on

August 22, 2018 with crimes including conspiracy to manufacture and distribute controlled

substances, conspiracy to import controlled substances into the United States, operating a

continued criminal enterprise, and money laundering. Mr. Zheng co-leads a Chinese drug

organization that has sold fentanyl analogues such as carfentanil, acetyl fentanyl, and furanyl




1554
       MCKPUB00006443; MCKPUB00006438.
1555
       MCKPUB00006445; MCKPUB00006451; MCKPUB00006459.
1556
       CUYAH_000034468; MCKPUB00009533; MCKPUB00009534; MCKPUB00009537.
1557
       ; MCKPUB00008840; MCKPUB00008757.
1558
       MCKPUB00008842; MCKPUB00008849; MCKPUB00008852.



                                                307
Case: 1:17-md-02804-DAP Doc #: 1920-5 Filed: 07/19/19 309 of 309. PageID #: 93406




fentanyl into the United States since 2008. The drugs that Mr. Zheng’s organization shipped led

directly to the fatal overdoses of two people in Akron, Ohio.1559

         1219. Guanghua Zheng of Shanghai, China was charged on August 22, 2018 with

crimes including conspiracy to manufacture and distribute controlled substances, conspiracy to

import controlled substances into the United States, operating a continued criminal enterprise,

and money laundering. Mr. Zheng co-leads a Chinese drug organization that has sold fentanyl

analogues such as carfentanil, acetyl fentanyl, and furanyl fentanyl into the United States since

2008. The drugs that Mr. Zheng’s organization shipped led directly to the fatal overdoses of two

people in Akron, Ohio.1560




1559
       MCKPUB00013478; MCKPUB00013476.
1560
       MCKPUB00013478; MCKPUB00013476.


                                               308
